Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 1 of 439 Page ID
                                  #:1425




                       EXHIBIT 1
Call Kurtis Investigates: Rental Website Offers Homes Not for Rent « CBS Sacramento

                                                                            Case 8:15-cv-02111-JLS-KES
                                                                                    Sacramento SIGN UP FOR NEWSLETTERS Document 47-4 Filed 12/02/16 Page 2 of 439 Page ID                                                                                        Search

                                                                                                                              #:1426

                                                                                                                                                                                                                                          Follow Us


                                                                                                     Home       News      Sports      Audio     Video   Best Of   Events     Health   Traffic   Weather    Directory    Travel    Deals   Autos       Contests

                                                                                                     Latest News          Local       Drought      Call Kurtis    Politics     Entertainment     Offbeat     Business      Tech       Galleries


                                                                                                    Expand +




                                                                                                      WATCH: Live news and more on CW31 | Latest forecast | Real-time traffic conditions


                                                                                                     Call Kurtis Investigates: Rental Website Offers Homes Not for Rent
                                                                                                     September 21, 2015 11:13 PM By Kurtis Ming

                                                                                                     Filed Under: Call Kurtis, Call Kurtis Investigates


                                                                                                                                                                                                                                 LISTEN LIVE


                                                                                                                                                                                                                                    FOLLOW US ON




                                                                                                                                                                                                                                  Sign Up for Newsletters




                                                                                                                  SACRAMENTO (CSB13) —  Needing a larger place to live, Faith Hayes
                                                                                                                   found a listing of a home with a swimming pool for $1,800 a month on
                                                                                                                   ApartmentHunterz.com.

                                                                                                                   “It said this is available for immediate occupancy,” she recalls seeing.

                                                                                                                   The site promises 97,000 plus exclusive listings including many not
                                                                                                                   found on free sites or in newspapers. In order to get the landlord’s
                                                                                                                   contact information, Faith had to pay $29.95. When she called, she says
                                                                                                                   she was surprised at what she heard.

                                                                                                                   “That house was sold 2 years ago,” she said she was told. “We’re not
                                                                                                                   renting any properties whatsoever.”

                                                                                                                   According to the California Bureau of Real Estate, it’s not the first time
                                                                                                                   they’ve heard of this company.

                                                                                                                   “They’ve been operating knowingly without a license for quite some
                                                                                                                   time,” said Spokesperson Tom Pool.

                                                                                                                   He says the state revoked ApartmentHunterz license in July after his
                                                                                                                   department went after the owner for a variety of violations. Some
                                                                                                                   violations dated back eight years.




http://sacramento.cbslocal.com/2015/09/21/call-kurtis-investigates-rental-website-offers-homes-not-for-rent/[4/28/2016 10:57:06 AM]
Call Kurtis Investigates: Rental Website Offers Homes Not for Rent « CBS Sacramento

                                                                            Case 8:15-cv-02111-JLS-KES
                                                                                         “Renters would pay the moneyDocument          47-4 wasFiled
                                                                                                                     and find out the property           12/02/16 Page 3 of 439 Page ID
                                                                                                                                                not in fact
                                                                                         available,” he said.                        #:1427
                                                                                                                   He says ApartmentHunterz also took ads from other places and posted
                                                                                                                   them on their site without permission, which the state says is illegal.
                                                                                                                   CBS13 found more than a month after the company’s license was
                                                                                                                   revoked, the website is still up. We reached out to the company
                                                                                                                   repeatedly, but never heard back.

                                                                                                                   “Clearly at this point we can work with law enforcement in order to
                                                                                                                   pursue a criminal investigation and lead to some sort of criminal
                                                                                                                   penalties,” Pool said.

                                                                                                                   After Faith told ApartmentHunterz she planned to call us, she says they
                                                                                                                   refunded her $29.95.



                                                                                                                   Kurtis Ming
                                                                                                                               Follow

                                                                                                                   Eight-time Emmy Award winner Kurtis Ming is CBS13's consumer investigative
                                                                                                                   reporter. Since joining CBS13 in 2003, he's held the position of general assignment
                                                                                                                   reporter and weekend anchor, before starting the "Call Kurtis" consumer advocacy
                                                                                                                   program,...
                                                                                                                   More from Kurtis Ming




                                                                                                      More From CBS Sacramento




                                                                                                                                                                                                                           Follow Us


                                                                                                     NEWS                               SPORTS            SCORES & STATS           BEST OF               OTHER               CORPORATE
                                                                                                     Local                              Kings             MLB                      Events                CBS Careers         About Us

                                                                                                     Call Kurtis                        A’s               NBA                      Local Pages           Weather             Advertise

                                                                                                     Politics                           Raiders           NFL                      Travel                Traffic             Business Development

                                                                                                     Entertainment                      Shows             NHL                                            Links & Numbers

                                                                                                     Business                           Podcasts          NCAA Football                                  Contests


http://sacramento.cbslocal.com/2015/09/21/call-kurtis-investigates-rental-website-offers-homes-not-for-rent/[4/28/2016 10:57:06 AM]
Call Kurtis Investigates: Rental Website Offers Homes Not for Rent « CBS Sacramento

                                                                            Case 8:15-cv-02111-JLS-KES
                                                                                    Consumer   Interviews Document
                                                                                                           NCAA Basketball  47-4 Filed 12/02/16
                                                                                                                                         Only CBS      Page 4 of 439 Page ID
                                                                                    Health                 PGA             #:1428        Contact CBS13

                                                                                                                                                                                                                                               Contact KHTK


                                                                                                                                      ©2016 CBS Local Media, a division of CBS Radio Inc. All rights reserved.             By viewing our video content, you are accepting the terms of our Video Services Policy
                                                                                                                                      Powered by WordPress.com VIP
                                                                                                                                                                                                                 Privacy Policy Terms of Use Your California Privacy Rights Mobile User Agreement           Ad
                                                                                                                                                                                                                 Choices EEO Reports KMAX-TV Public File KOVR-TV Public File




http://sacramento.cbslocal.com/2015/09/21/call-kurtis-investigates-rental-website-offers-homes-not-for-rent/[4/28/2016 10:57:06 AM]
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 5 of 439 Page ID
                                  #:1429




                       EXHIBIT 2
                                              CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 6 of 439 Page ID
                                  #:1430

    1                 IN THE UNITED STATES DISTRICT COURT

    2                    CENTRAL DISTRICT OF CALIFORNIA

    3                           SOUTHERN DIVISION

    4
    5   COSTAR REALTY INFORMATION,   )
        INC., and APARTMENTS, LLC,   )
    6                                )
                       Plaintiffs,   )
    7                                )
                 vs.                 ) No. 8:15-cv-02111-JLS-KES
    8                                )
        APARTMENT HUNTERS, INC.,     )
    9   KEVIN SHAYAN and STEVEN      )
        SHAYAN,                      )
  10                                 )
                       Defendants.   ) (Pages 1 - 216)
  11    _____________________________)

  12
  13
  14
  15
  16
  17               Videotaped deposition of KEVIN SHAYAN

  18         (pursuant to Rule 309(b)(6)), taken on behalf

  19         of the Plaintiffs, at 725 South Figueroa Street,

  20         31st Floor, Los Angeles, California, commencing

  21         at 8:58 a.m., on Thursday, September 29, 2016,

  22         before Kathleen Mary O'Neill, CSR 5023, RPR.

  23
  24
  25



                                                                         1
                                Abrams, Mah & Kahn
                                              CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 7 of 439 Page ID
                                  #:1431

    1   APPEARANCES:

    2
        For Plaintiffs:
    3
             WILLIAMS & CONNOLLY LLP
    4        BY: DAVID K. BAUMGARTEN, ESQ.
                  NICHOLAS J. BOYLE, ESQ.
    5        725 Twelfth Street N.W.
             Washington, D.C. 20005
    6        202/434-5343

    7
    8   For Defendants:

    9        FOX ROTHSCHILD LLP
             BY: LINCOLN BANDLOW, ESQ.
  10         1800 Century Park East
             Suite 300
  11         Los Angeles, California 90067
             310/228-2913
  12
  13
        Videographer:
  14
             JEANNIE SCHWARZE
  15         Dean Jones Videos
             213/385-9756
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25



                                                                         2
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 8 of 439 Page ID
                                  #:1432

    1                              I N D E X

    2
        DEPONENT                   EXAMINED BY                  PAGE
    3
        Kevin Shayan               Mr. Baumgarten                  6
    4
                                   (P.M. Session)               113
    5
    6
                   Videotape No. 1 . . . . . . Page         5
    7
                   Videotape No. 2 . . . . . . Page        52
    8
                   Videotape No. 3 . . . . . . Page 113
    9
                   Videotape No. 4 . . . . . . Page 181
  10
  11
                             UNANSWERED QUESTIONS
  12
                                   Page    Line
  13
                                    26       11
  14                                45        1
                                   105       22
  15
  16
        EXHIBITS FOR IDENTIFICATION:                            PAGE
  17
  18      1   8/23/16 Plaintiffs' Updated Notice                   9
              of Rule 30(b)(6) Deposition of Apartment
  19          Hunters, Inc.

  20      2   BBB Business Review                                29

  21      3   12/18/15 letter from Nicholas J. Boyle             35
              to Legal Department Apartment Hunters,
  22          Inc.

  23      4   3/21/16 Plaintiffs' First Set of                   43
              Requests for Production of Documents
  24          to Apartment Hunters, Inc.

  25



                                                                         3
                                Abrams, Mah & Kahn
                                              CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 9 of 439 Page ID
                                  #:1433

    1   EXHIBITS FOR IDENTIFICATION:       (Continued)          PAGE

    2
          5   ICANN WHOIS Contact Information                    54
    3
          6   ICANN WHOIS Contact Information                    55
    4
          7   Viewdns.info Reverse Whois Lookup                  58
    5
          8   Screen shot of apartmenthunterz.info               60
    6
          9   9/1/16 Declaration of Kevin Shayan                 71
    7         in Support of Defendants' Opposition
              to Plaintiffs' Motion to Compel
    8         Production of Documents

    9   10    Exhibit A: Sample of Infringing                    77
              Photographs Found on
  10          apartmenthunterz.com?

  11    11    2/25/15 Transcript of Proceedings                 126

  12    12    9/21/16 email from David Baumgarten               156
              to Lincoln Bandlow and Margo Arnold
  13
        13    MxToolbox look-up of                              164
  14          mail.apartmenthunterz.com

  15    14    Exhibit 8 in the California Board                 190
              of Real Estate Hearing
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25



                                                                         4
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 10 of 439 Page ID
                                   #:1434

    1                       LOS ANGELES, CALIFORNIA

    2                    THURSDAY, SEPTEMBER 29, 2016

    3                                8:58 A.M.

    4                                 -o0o-

    5              THE VIDEOGRAPHER:      Good morning.                       08:57:20

    6              This is the videotaped deposition of Kevin

    7    Shayan, taken at 725 South Figueroa Street, 31st floor,

    8    Los Angeles, California, on Thursday, September 29,

    9    2016, in the matter of CoStar Realtor -- Realty

   10    Information, Inc. and Apartments, LLC vs. Apartment                  08:57:39

   11    Hunters, Inc., et al., Case No. CV-02111-JLS-KES,

   12    U.S. District Court, Central District of California,

   13    Southern Division.

   14              This deposition is on behalf of the plaintiffs.

   15              My name is Jeannie Schwarze with Dean Jones                08:58:02

   16    Attorney Video Services of Los Angeles and Santa Ana.

   17              This deposition is commencing at 8:58 a.m.

   18              Would all present please identify themselves

   19    beginning with the deponent.

   20              THE WITNESS:     I'm Kevin Shayan with Apartment           08:58:16

   21    Hunters, Incorporated.

   22              MR. BANDLOW:     Lincoln Bandlow of Fox Rothschild

   23    on behalf of Defendants.

   24              MR. BAUMGARTEN:     David Baumgarten of Williams &

   25    Connolly on behalf of plaintiffs.



                                                                          5
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 11 of 439 Page ID
                                   #:1435

    1              MR. BOYLE:    Nick Boyle from Williams &

    2    Connolly.

    3              THE REPORTER:     Sir, would you please raise your

    4    right hand.

    5              You do solemnly state that the testimony you

    6    are about to give shall be the truth, the whole truth,

    7    and nothing but the truth, so help you God?

    8              THE WITNESS:     I do.

    9              THE REPORTER:     Thank you.

   10
   11                         KEVIN SHAYAN,

   12              having been first duly placed under

   13              oath, was examined and testified

   14              as follows:

   15
   16                           EXAMINATION

   17    BY MR. BAUMGARTEN:

   18         Q.   Good morning, Mr. Shayan.

   19         A.   Good morning, sir.       How are you?

   20         Q.   Good.    Thank you.

   21              Could you please state your full name and

   22    address for the record?

   23         A.   Yes.    It's Kevin Shayan.     It's S-h-a-y-a-n.

   24    And the address is 32565 Golden Lantern, Dana Point,

   25    California.                                                          08:59:03




                                                                          6
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 12 of 439 Page ID
                                   #:1436

    1         Q.    Thank you.

    2               Have you ever given a deposition before?

    3         A.    Yes, sir.

    4         Q.    And in connection with what matter was that?

    5         A.    With the Department of Real Estate.                       08:59:12

    6         Q.    So you're referring to your testimony before

    7    the Department of Real Estate?

    8         A.    Yes.

    9         Q.    Okay.

   10               And so that was not a deposition; correct?                08:59:20

   11               That was a hearing that you gave testimony;

   12    correct?

   13         A.    Right.

   14         Q.    Okay.    All right.

   15         A.    And previously in a previous matter with                  08:59:26

   16    another company, I was also deposed.

   17         Q.    And what matter was that?

   18         A.    Westside Rentals vs. Apartment Hunters.

   19         Q.    So let me then just give you a few quick sort

   20    of reminder guidelines about the process.                            08:59:45

   21               First of all, it's important that you answer

   22    with words instead of nodding, so that the court

   23    reporter can get everything down.

   24         A.    Understood.

   25         Q.    Please let me try to always finish asking a               08:59:53




                                                                          7
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 13 of 439 Page ID
                                   #:1437

    1    question before you begin your answer.        It's a lot

    2    better if we don't talk over each other, again for the

    3    court reporter.

    4               If you don't understand a question, just let me

    5    know, and I'll try to clarify it.                                    09:00:05

    6               From time to time your lawyer, Mr. Bandlow, may

    7    object.    He will get his objection on the record.        But

    8    unless he instructs you not to answer, you still need to

    9    go ahead and answer the question despite his objection.

   10               And finally, if you want to take a break at any           09:00:23

   11    time, just let me know.      I just ask that if a question

   12    is pending, you answer that question before we take a

   13    break.

   14               Is there any reason you can't testify fully and

   15    accurately here today?                                               09:00:34

   16         A.    No.

   17         Q.    Okay.

   18               Can you briefly take me through your

   19    educational background?

   20         A.    I finished high school at University High in              09:00:39

   21    West Los Angeles, and I did a year of junior college.

   22         Q.    Okay.

   23               And can you -- since that year of junior

   24    college, can you take me through your employment

   25    history?                                                             09:00:56




                                                                          8
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 14 of 439 Page ID
                                   #:1438

    1         A.    Employment history, I was in the car stereo

    2    sales business on Westwood Boulevard.

    3               After that I was a 33-1/3 owner at Contact

    4    Stereo on Wilshire Boulevard in Beverly Hills.

    5               After that my brother and I started the company           09:01:19

    6    named Wholesale Tronics where we were distributing

    7    electronics to retailers.

    8               Later on Wholesale Connection.

    9               And thereafter, in 1999, we started this

   10    company.                                                             09:01:50

   11         Q.    Apartment Hunters, Incorporated?

   12         A.    Yes, sir.

   13               MR. BAUMGARTEN:    Let's mark this as Exhibit 1,

   14    I guess.

   15               (Discussion held off the record.)                         09:02:19

   16               (Exhibit 1 was marked for identification.)

   17         Q.    BY MR. BAUMGARTEN:     Have you seen this document

   18    before, Mr. Shayan?

   19         A.    One moment, please.

   20               (The witness reviews a document.)                         09:02:51

   21               Yes, I have.

   22         Q.    Okay.

   23               And you understand that you are testifying

   24    today as the designated representative of Apartment

   25    Hunters, Incorporated?                                               09:03:09




                                                                          9
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 15 of 439 Page ID
                                   #:1439

    1         A.   Yes, I am.

    2         Q.   And I may from time to time refer to Apartment

    3    Hunters as "AHI" just for brevity.

    4              Is that okay?

    5         A.   Yes.                                                        09:03:20

    6         Q.   And all of my questions will be directed to

    7    your knowledge as a representative of Apartment Hunters

    8    and not limited to your personal knowledge.

    9              Do you understand that?

   10         A.   Yeah.    So we're not going to mix them up.       So        09:03:27

   11    it's all me as a representative of the company.

   12         Q.   Correct.

   13              If I'm asking a question or I'm asking for your

   14    personal knowledge, I'll make that clear.

   15         A.   Thank you very much.                                        09:03:40

   16         Q.   If you could flip to the -- I guess what's

   17    numbered as page 2 here, really the third page of this

   18    document.    It's a list of topics.

   19         A.   Page 2?

   20         Q.   Yes.                                                        09:03:54

   21         A.   No. 1.

   22         Q.   Page 3, numbered 2.

   23         A.   Uh-huh.

   24         Q.   Do you understand that you have been designated

   25    to provide testimony on these specific topics?                        09:04:03




                                                                          10
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 16 of 439 Page ID
                                   #:1440

    1         A.   Yes.

    2         Q.   And did you review this list of topics prior to

    3    today?

    4         A.   Yes.

    5         Q.   Have you taken any steps to prepare to testify             09:04:10

    6    about these topics?

    7         A.   I've read them.

    8         Q.   Any other steps?

    9         A.   Yeah.

   10              I've done every single thing that's been                   09:04:19

   11    mentioned here.

   12         Q.   Okay.

   13              Did you review documents, for instance, to --

   14         A.   Yes, of course.

   15         Q.   Did any documents refresh your recollection?               09:04:31

   16         A.   Refresh my . . .

   17         Q.   Recollection.

   18         A.   When these were given to me and prior to these

   19    when I received the lawsuit, I did exactly all of these

   20    steps and had done them before.       So refresh my                  09:04:50

   21    recollection, as far as -- these were already in place.

   22    So if you're asking me if I did a refresher last night,

   23    I didn't have to.     But these were in place and done.        I

   24    could answer them without reading this.

   25         Q.   Okay.                                                      09:05:19




                                                                         11
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 17 of 439 Page ID
                                   #:1441

    1              So specifically in preparation for this

    2    deposition, not in connection with when you first

    3    received the complaint, did you review any documents to

    4    prepare for --

    5         A.   No.                                                        09:05:30

    6         Q.   -- today?

    7              And did you -- putting aside Mr. Bandlow for a

    8    moment, did you speak to anyone in preparation for this

    9    deposition?

   10         A.   No, sir.                                                   09:05:40

   11         Q.   And just yes or no, have you met with

   12    Mr. Bandlow or spoken with Mr. Bandlow to prepare

   13    for these -- to discuss these topics?

   14         A.   No.

   15         Q.   Who owns Apartment Hunters, Incorporated?                  09:05:52

   16         A.   Steve Shayan.

   17         Q.   100 percent?

   18         A.   100 percent.

   19         Q.   Does Apartment Hunters, Incorporated have any

   20    relationship to Rental Home Listings, Incorporated?                  09:06:09

   21         A.   Rental Home Listings, Incorporated is also

   22    owned by Steve Shayan.

   23         Q.   And Real Estate Data Solutions, Incorporated?

   24         A.   It's also owned by Steve Shayan.

   25         Q.   Does Apartment Hunters, Incorporated have any              09:06:27




                                                                         12
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 18 of 439 Page ID
                                   #:1442

    1    corporate officers?

    2         A.    The corporate officers are Steve Shayan.

    3         Q.    And what is his position?

    4         A.    He's the CEO.

    5         Q.    And are you a corporate officer?                          09:06:41

    6         A.    None of the companies.

    7         Q.    Are there -- and no other corporate officers

    8    other than Steve at Apartment Hunters?

    9         A.    Correct.

   10         Q.    Does Apartment Hunters have an in-house                   09:06:49

   11    counsel?

   12         A.    We did up to a while ago.        At this point we

   13    don't.    But we are in touch with our in-house counsel.

   14    But as far as having one full time, no.

   15         Q.    Okay.                                                     09:07:15

   16               And is your in-house counsel -- just a

   17    yes-or-no question -- providing you legal advice in

   18    connection with this lawsuit?

   19         A.    No.

   20         Q.    Could you -- and who is that individual?                  09:07:26

   21         A.    Jilbert Tahmazian, which was originally

   22    handling the case prior to the insurance company.

   23         Q.    You mentioned an insurance company.

   24               Could you clarify what that means?

   25         A.    Access, which is handling the case with                   09:07:49




                                                                         13
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 19 of 439 Page ID
                                   #:1443

    1    Lincoln.

    2         Q.    And is Access paying for your defense?

    3         A.    Yes.

    4         Q.    Could you briefly describe AHI's business.

    5         A.    We are a prepaid rental listing service, so we            09:08:13

    6    are an apartment listing company.        Unlike the other

    7    websites, we charge a fee to the person that's looking.

    8    So we get the listings from the landlords, property

    9    management companies, and we are a member of the

   10    multiple listing service.                                            09:08:36

   11               So the data comes directly from the MLS,

   12    property management companies to our website, and we

   13    don't display the address and the phone number until we

   14    charge the subscription fee.       And once you pay, you see

   15    the address and a phone number.                                      09:09:02

   16               So we're just ALS, Apartment Listing Service.

   17         Q.    And is the MLS feed, is that the only source of

   18    the listings?

   19         A.    I had mentioned before, individual landlords a

   20    portion.    Then we get feeds from huge companies.                   09:09:21

   21    That's -- for example, Apartment Guide, ForRent.com,

   22    other huge companies, and then also the MLS.         So we have

   23    agreements, partnerships with the REITs, the real estate

   24    investment trusts.     And on a daily and some hourly basis

   25    we get photos and property descriptions and prices from              09:09:53




                                                                         14
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 20 of 439 Page ID
                                   #:1444

    1    partners, as well as inputted by hand from landlords, as

    2    well as faxes.

    3         Q.   So your testimony is essentially, if I'm

    4    correct, that your Apartment Hunters is also sort of

    5    receiving listings passively through other people rather              09:10:20

    6    than affirmatively copying listings from other websites?

    7         A.   There is no copying.      It's all coming in the

    8    traditional way.

    9         Q.   Are you aware that a number of different

   10    property owners and renters have accused AHI of copying               09:10:36

   11    listings from other sites?

   12         A.   Accused, yes.

   13         Q.   You're aware of the complaints made to the

   14    Better Business Bureau?

   15         A.   I haven't read them recently, but I'm sure                  09:10:47

   16    they're there.

   17         Q.   Are you aware of complaints that have been

   18    posted on Trulia.com?

   19         A.   We were partners with them.       And the

   20    complaints, I believe, are not for the listings.          They        09:11:03

   21    are for the fact that we charge a fee.        But I haven't

   22    read the Trulia complaints.

   23         Q.   Are you aware of the allegations that have been

   24    made by the California Bureau of Real Estate?

   25         A.   Yes.                                                        09:11:21




                                                                          15
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 21 of 439 Page ID
                                   #:1445

    1         Q.    Are you aware that there are allegations of

    2    copying information off documents made by Property Three

    3    Technology Group?

    4         A.    Property Three?

    5         Q.    Property Three Technology Group, yes.                     09:11:34

    6         A.    I don't recall the name.

    7         Q.    Okay.

    8               They filed a lawsuit in Federal Court in

    9    Indiana.

   10         A.    A Property Three case was filed and was -- we             09:11:44

   11    actually won that case because the Nigerian gentleman

   12    who sued us did not have a water -- a -- sorry about

   13    that, did not have a trademark on any of those.

   14    So we were actually in a lawsuit for a bunch of blank

   15    forms.                                                               09:12:20

   16               So intent to terminate vacancy, parking spot

   17    forms, blank leases, right, notice to pay rent or quit,

   18    we had a receipt that we had paid in 2002 to purchase

   19    these blank forms, and we had put them on our website

   20    for convenience of the landlords.        So they were a bunch        09:12:48

   21    of forms that, you know, landlords would print and -- to

   22    provide to the tenants.

   23               And this gentleman claimed that he has -- he

   24    had copyrights to them.      And once we went to the court

   25    in Indiana, the copyright was not filed, and he did not              09:13:08




                                                                         16
                                Abrams, Mah & Kahn
                                                 CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 22 of 439 Page ID
                                   #:1446

    1    have one.    And at the end we ended up getting a judgment

    2    against that gentleman, and he filed bankruptcy.

    3         Q.    Okay.

    4               Are you aware of the allegations made by

    5    Westside Rentals and Mark Verge?                                     09:13:27

    6         A.    Yes.

    7         Q.    And so I don't need you to go through the

    8    substance of all of them, but all of those allegations

    9    Apartment Hunters denies, yes?

   10         A.    All those --                                              09:13:40

   11         Q.    All the different allegations of --

   12         A.    Yes.    Yes.

   13         Q.    Are you familiar with the term "scraping"?

   14         A.    Yes.

   15         Q.    What does that mean to you?                               09:13:50

   16         A.    To me it means grabbing a spatula or taking

   17    something off.     It would mean screen scraping.       It would

   18    mean -- yeah.

   19         Q.    What is "screen scraping"?

   20         A.    Screen scraping is when you would write a                 09:14:04

   21    program that would pretty much -- you would order the

   22    program to go inside a website, grab the data and bring

   23    it back.

   24         Q.    And does Apartment Hunters ever do screen

   25    scraping?                                                            09:14:22




                                                                         17
                                   Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 23 of 439 Page ID
                                   #:1447

    1         A.    No, sir.

    2         Q.    How do you -- how do you know that none of the

    3    Apartment Hunters employees ever engage in screen

    4    scraping?

    5         A.    Because I'm in charge of that, and I would know           09:14:32

    6    if anybody did that kind of conduct.        And we don't have

    7    the ability or the knowledge to write that kind of code.

    8         Q.    And how would you know?

    9               You said you're in charge, how would you know?

   10         A.    Because our employees don't engage in that kind           09:14:50

   11    of behavior, and the company's foundation was not built

   12    on scraping, which is actually illegal.

   13         Q.    Are any Apartment Hunters employees compensated

   14    based on the number of listings they upload to the

   15    website?                                                             09:15:13

   16         A.    Absolutely not.

   17         Q.    Where is Apartment Hunters located?

   18         A.    In Dana Point.

   19               Apartment Hunters is actually an Internet

   20    company, so it has no location.       So it's web based.             09:15:26

   21         Q.    And where do you work on a daily basis?

   22         A.    From Dana Point.

   23         Q.    And where does your brother work on a daily

   24    basis?

   25         A.    From Dana Point.    We both work there from Dana          09:15:42




                                                                         18
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 24 of 439 Page ID
                                   #:1448

    1    Point.

    2         Q.   Does anyone else work at that location with

    3    you?

    4         A.   No.

    5         Q.   Are there any other physical locations in the              09:15:52

    6    United States where Apartment Hunters employees work?

    7         A.   Absolutely not.

    8         Q.   Can you identify each employee that performed

    9    work for Apartment Hunters in 2015?

   10         A.   No.                                                        09:16:08

   11         Q.   Can you --

   12         A.   I can identify two of our I.T. guys, which is

   13    Dennis Portnov, who is some of the time in Russia, and

   14    he's the one who is -- owns his own company and helps us

   15    with our servers and also helps us with programming the              09:16:41

   16    website because I do not code.       I have no knowledge of

   17    programming and coding.      I dream it up, tell them, and

   18    they program it.

   19              So Vidmantas Macys is the second guy who is

   20    running the Apartment Hunters LT, the small Lithuanian               09:17:06

   21    office and corporation, which is also Steve is the

   22    president.

   23              And those two people at the moment I know their

   24    name, and I could identify them.        The other employees,

   25    to tell you first name, last name, I would not know.                 09:17:26




                                                                         19
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 25 of 439 Page ID
                                   #:1449

    1          Q.   Let me ask a couple of follow-ups.

    2               You said Mr. Portnov is in Russia some of the

    3    time?

    4          A.   Yes.

    5          Q.   Where in Russia is he?                                    09:17:43

    6          A.   Where he is . . . the city, honestly, I don't

    7    recall, because I haven't been there.

    8          Q.   And you said "some of the time."       Where is

    9    he --

   10          A.   He travels.    So he goes to Italy.     He went to        09:18:02

   11    Spain for three months.      So he's just a private

   12    contractor.      We consider him as an employee because he

   13    works for us full time, but he travels all the time.           So

   14    he goes to Spain.     He went to Milan for three months, so

   15    he goes around.     But he -- he has changed his hours to            09:18:26

   16    U.S. hours, and he works for us on mostly a full-time

   17    basis.

   18          Q.   And you said he owns his own company?

   19          A.   He has a -- I guess the company there, so a

   20    name.                                                                09:18:48

   21          Q.   And do you know what the name of that company

   22    is?

   23          A.   I don't, sir.

   24          Q.   Does he have people working for him?

   25          A.   No.    I'm not sure.   To my knowledge, no.               09:18:58




                                                                         20
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 26 of 439 Page ID
                                   #:1450

    1         Q.    Have you ever asked him whether he subcontracts

    2    any work for Apartment Hunters out to other people?

    3         A.    No.

    4         Q.    You never asked?

    5         A.    No.                                                       09:19:11

    6         Q.    Switching to Lithuania and Mr. Macys.

    7               How many other employees are there in Lithuania

    8    other than Mr. Macys?

    9         A.    We have about, and this changes all the time,

   10    six or seven customer support ladies that are in charge              09:19:38

   11    of answering the phones and answering the ticketing

   12    systems.    "Ticketing systems" meaning the incoming

   13    customer support questions, and the chats online, and

   14    issuing refunds, and also helping the customers with

   15    their search.      Also, all of our calls that come in are           09:20:08

   16    automatically instantaneously converted into a ticket.

   17    So we take a real call, as we're speaking right now, and

   18    transcribe it to text.      So the seven ladies are there.

   19               Then we have two groups of four people who are

   20    in charge of data and making sure that the data feeds                09:20:35

   21    that are coming from the partners are proper, and

   22    they -- they put them up.      That's one group.     The other

   23    group is in charge of removing the rented listings,

   24    making sure that the old ones are gone.

   25         Q.    Okay.   So --                                             09:21:01




                                                                         21
                                Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 27 of 439 Page ID
                                   #:1451

    1         A.   But again, I don't know first name, last names.

    2    I don't want to guess.

    3         Q.   Sure.

    4              THE REPORTER:     Excuse me.      Could we go off the

    5    record for just a moment?

    6              MR. BOYLE:    Sure.

    7              THE REPORTER:     Counsel?

    8              MR. BANDLOW:     Yes.

    9              THE VIDEOGRAPHER:       Off record, 9:21 a.m.

   10              (Recess taken from 9:21 a.m. to 9:27 a.m.)                 09:27:35

   11         Q.   BY MR. BAUMGARTEN:      Mr. Shayan, when we took

   12    the break, we were talking about some of your employees

   13    and subsidiaries.

   14              Going back to the Lithuanian office, Apartment

   15    Hunters wholly owns that subsidiary; correct?                        09:27:48

   16         A.   Yes.

   17         Q.   And Apartment Hunters fully controls that

   18    subsidiary as well?

   19         A.   Yes.

   20         Q.   Do you and your brother supervise Mr. Macys?               09:27:56

   21         A.   My brother not.     I do most.

   22         Q.   And how do you supervise him?

   23         A.   I work from about 9:00 p.m. till 4:00 a.m., and

   24    we are on the phone and usually do some sort of a screen

   25    share, if needed, but mostly on the phone.         And I             09:28:27




                                                                         22
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 28 of 439 Page ID
                                   #:1452

    1    handwrite or draw some of my stuff, and, if need be,

    2    send it over to them.      If not, I just tell them what I

    3    need because the website was designed a long time ago.

    4    So we're not building stuff.       We're just making

    5    modifications.     They --                                           09:28:56

    6         Q.    How -- I'm sorry.     I didn't mean to cut you

    7    off.

    8         A.    And they just do their job.

    9         Q.    How do you send things over to him?

   10         A.    Just a quick scan and send over and that's it.            09:29:08

   11         Q.    By email?

   12         A.    No.

   13               I just -- yeah.    By -- I scan it and send it

   14    and that's it.     But I do some drawings and send it to

   15    them.                                                                09:29:26

   16         Q.    When you speak to them, are you speaking in

   17    English?

   18         A.    Yes.

   19         Q.    And do you ever speak to any of -- you

   20    mentioned a bunch of employees who work --                           09:29:37

   21         A.    I've never spoken to any of the staff members

   22    at all except Dennis and Vidmantas.

   23         Q.    And so I think you said that there were

   24    essentially three groups.      There are seven customer

   25    support representatives; and then there are two groups               09:30:05




                                                                         23
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 29 of 439 Page ID
                                   #:1453

    1    of four programmers, one who uploads and sort of checks

    2    the incoming things, and the other four remove listings;

    3    correct?

    4         A.    Correct, sir.

    5         Q.    So that is 15 employees total?                            09:30:19

    6         A.    Yes.

    7         Q.    Okay.

    8         A.    But it varies.    Some of them quit, and some of

    9    them come and go.     Because those customer support

   10    people, they have a real day job.        So you have to              09:30:32

   11    understand they're working graveyard shift based on the

   12    hours that they're working.       So they're working our

   13    daytime which is their evening time.

   14         Q.    And do you supervise them, or is it Mr. Macys?

   15         A.    It's mostly Mr. Macys.                                    09:30:54

   16         Q.    And so, again, let's focus on the -- let's

   17    focus on the eight programmers.

   18               That's also more Mr. Macys' --

   19         A.    I don't do any supervision.      It's all there.

   20         Q.    And so how do you know what they're doing?                09:31:07

   21         A.    Through Mr. Macys and a report in our admin

   22    panel.

   23               In our administrative panel there are little

   24    squares, and the only person that doesn't have to report

   25    is Mr. Macys, because I do speak to him on a daily basis             09:31:27




                                                                         24
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 30 of 439 Page ID
                                   #:1454

    1    via telephone.

    2               In the admin panel, the other boys type exactly

    3    what they've accomplished.       And we have a task manager,

    4    a project management system and a progress system.          So I

    5    do sit there and actually go one by one through what                  09:31:52

    6    they've done, which is hours of work, and check it and

    7    make sure that things are in order.

    8         Q.    Sitting here today, though, you cannot identify

    9    their names; correct?

   10         A.    No.                                                        09:32:09

   11               I just -- you know, they have Roman names in

   12    Lithuanian.      So it's Kaskus, if you want, Danius,

   13    Nergius.    But I don't really want to be put on record by

   14    just saying -- I don't have the full list of them.          So

   15    it's -- and most of them are the same name.         They use          09:32:33

   16    the old Roman names.

   17         Q.    You mentioned the admin panel.

   18               Is that a software?

   19               What is that?

   20         A.    Admin panel is the administrative panel where              09:32:44

   21    we have built -- where I go in as the owner of the

   22    company.    It's our back end.

   23         Q.    Okay.

   24               And is there a specific piece of software --

   25         A.    No.                                                        09:33:01




                                                                          25
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 31 of 439 Page ID
                                   #:1455

    1         Q.   -- in this --

    2         A.   This is one page, HTML page, and it's built for

    3    me to go in.    And all -- I had a dream to have one page

    4    where everything is and all of the information is and

    5    that's where I get my reports.        It's -- call it my home        09:33:16

    6    page.

    7         Q.   Sure.

    8              How do you access that page?

    9              Is it a website?

   10         A.   Through the web.                                           09:33:24

   11      * Q.    What is the -- what is the address that you

   12    open to get there?

   13         A.   That's not going to be given.

   14              MR. BANDLOW:     Yes.   That's proprietary and not

   15    relevant.    So if you can explain to me what the                    09:33:35

   16    relevance is, I'll listen.

   17              THE WITNESS:     That would be funny for you to

   18    get into the back end of the company.

   19              MR. BAUMGARTEN:     You're instructing him not to

   20    answer?                                                              09:33:45

   21              MR. BANDLOW:     Yes, I am on that.

   22              MR. BAUMGARTEN:     Okay.

   23              THE WITNESS:     What is the --

   24              MR. BANDLOW:     That's his whole company.      That's

   25    everything he has and possibly --



                                                                         26
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 32 of 439 Page ID
                                   #:1456

    1              THE WITNESS:     That was funny.

    2         Q.   BY MR. BAUMGARTEN:      The admin panel, are there

    3    sort of daily reports?

    4              What is the -- how often is data inputted?

    5         A.   I'm not going to answer that either.                       09:34:13

    6         Q.   Okay.

    7              Is this information backed up?

    8         A.   I'm not going to answer anything regarding my

    9    company's information.

   10         Q.   Let me ask you another question about                      09:34:29

   11    Lithuania.    I apologize if I mispronounce this.

   12              Have you heard of the law firm of Glimstedt,

   13    G-l-i-m-s-t-e-d-t?

   14         A.   No.

   15              We do have a law firm in Lithuania.        I do not        09:34:45

   16    know the name.     I'm not sure if that is it or not.       But

   17    we do have a law firm that formed a corporation and is

   18    still employed by us, but I do not know the name.

   19         Q.   Have you directly spoken to them?

   20         A.   Never.                                                     09:35:13

   21         Q.   How do you communicate -- sorry.        Switching to

   22    Russia and Mr. Portnov.

   23              How do you communicate with him?

   24         A.   I had said before, by phone.

   25         Q.   By phone.                                                  09:35:31




                                                                         27
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 33 of 439 Page ID
                                   #:1457

    1               And is he -- with the time differential, you're

    2    also talking to him in the -- at night in the U.S. while

    3    it's the day in Europe --

    4         A.    Just -- just earlier I mentioned that he

    5    switched his hours to U.S. hours.        So, yeah, I mean --         09:35:40

    6    I -- I work with the Lithuania people.        I work from 9:00

    7    to 4:00 a.m., and then I sleep till about 11:00, 11:30

    8    in the morning, and then I do the Dennis shift, which is

    9    daytime.

   10         Q.    I see.   Thank you.    That makes sense.                  09:36:05

   11               Do you ever email with Mr. Portnov?

   12         A.    Do I ever email?    Not necessary.     We're just

   13    all the time on the phone.

   14         Q.    Do you ever send him drawings or sketches like

   15    you send to --                                                       09:36:28

   16         A.    No.

   17               The website is always finished.       I mean, there

   18    is no changes needed for me to do drawings or sketches.

   19    It's just fixing stuff.

   20         Q.    Does Apartment Hunters have a fraud prevention            09:36:41

   21    team?

   22         A.    Fraud prevention team, as far as -- can you

   23    clarify what you mean by "fraud"?

   24               MR. BAUMGARTEN:    Sure.   Well, why don't I show

   25    you an exhibit.     I think that will be easier.       This          09:37:01




                                                                         28
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 34 of 439 Page ID
                                   #:1458

    1    is -- and we'll mark this as Exhibit 2.

    2              (Exhibit 2 was marked for identification.)

    3         Q.   BY MR. BAUMGARTEN:       This is a printout of the

    4    Better Business Bureau website.       And if you look at the

    5    second page, there's a complaint that -- it starts at                09:37:39

    6    the bottom of the second page and continues on the third

    7    page, and on the third page in bold it says "Business

    8    Response."

    9         A.   Hold on.    Allow me -- because you guys have

   10    printed on both sides.                                               09:37:53

   11              MR. BANDLOW:     You're talking --

   12         Q.   BY MR. BAUMGARTEN:       Right.   That complaint that

   13    starts there at the bottom of that page.

   14              MR. BANDLOW:     The plaintiff -- it starts "I am

   15    a property owner in Southern California"?                            09:37:59

   16              MR. BAUMGARTEN:     Correct.

   17              MR. BANDLOW:     Okay.   Here (indicating).

   18         Q.   BY MR. BAUMGARTEN:       If you -- I'm sorry, we

   19    don't -- we're not going to talk about the substance of

   20    the complaint, but if you continue on to the next page,              09:38:08

   21    you'll see in bold sort of a third of the way from the

   22    top, it says "Business Response."

   23              And if you go down to the third big paragraph,

   24    it says "We do have a fraud prevention team."

   25              So it would seem that someone from your company            09:38:28




                                                                         29
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 35 of 439 Page ID
                                   #:1459

    1    has posted this.

    2              Do you post responses to --

    3         A.   Allow me to read the response.

    4         Q.   Sure.

    5         A.   (The witness reviews a document.)                           09:38:41

    6              100 percent yes.     100 percent yes.

    7         Q.   I'm sorry, 100 percent yes what?

    8         A.   We do have actually a live human.        One would be

    9    me and the other Steve.      To a certain extent on this

   10    particular case, yes, there is human being intervention               09:39:22

   11    on fraud.

   12         Q.   Okay.

   13              And did you post this?

   14         A.   No.

   15         Q.   Do you know who did?                                        09:39:31

   16         A.   Steve or one of our previous secretaries.

   17              What is the date on this?

   18         Q.   The date seems to be June 16th, 2016.         It's a

   19    few months ago.

   20         A.   That would be Steve.                                        09:39:48

   21         Q.   You mentioned previous secretaries.

   22         A.   That would be going back a few years when we

   23    were in a physical office in Beverly Hills.

   24         Q.   Have you -- in 2015 or '16, you've had no

   25    secretaries?                                                          09:40:04




                                                                          30
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 36 of 439 Page ID
                                   #:1460

    1         A.   No.

    2         Q.   Let me just make sure that I've asked this.

    3              Other than the folks that we've spoken about

    4    before, which is yourself, your brother Steve,

    5    Mr. Macys, Mr. Portnov, the seven customer support                   09:40:15

    6    representatives, and the eight programmers, are there

    7    any other individuals who have worked as employees in

    8    2015 or 2016?

    9         A.   No, sir.

   10         Q.   And are there any other individuals who you                09:40:27

   11    hired to provide services as independent contractors

   12    that you would not consider employees?

   13         A.   No, sir.

   14         Q.   Is there someone who has the title of senior

   15    account manager at Apartment Hunters?                                09:40:41

   16         A.   No.

   17         Q.   So if someone was signing responses to the

   18    Better Business Bureau with that title, you're not sure

   19    who it would be?

   20         A.   No.   Senior account manager?      No.                     09:40:53

   21         Q.   Do you know if Apartment Hunters has a

   22    development manager?

   23         A.   Development manager would be Vidmantas.

   24         Q.   And you said that Mr. Macys does sometimes post

   25    responses on the internet?                                           09:41:13




                                                                         31
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 37 of 439 Page ID
                                   #:1461

    1         A.    Yes.

    2               And he does also reply to these, because the

    3    data department is under his supervision.

    4         Q.    Let me ask you about a new topic.

    5               Prior to this lawsuit, did Apartment Hunters              09:41:38

    6    have a formal policy regarding the routine retention or

    7    destruction of documents and data?

    8         A.    One more time, please.

    9         Q.    Yes.    Sure.

   10               Prior to this lawsuit, did Apartment Hunters              09:41:52

   11    have any sort of formal policy regarding how documents

   12    were dealt with in terms of preserving them or deleting

   13    them on sort of a routine basis?

   14         A.    We preserve everything, including paper, phone

   15    bills of AT&T going back to 1999.        So we have always           09:42:12

   16    preserved and have even paper copies of everything.           We

   17    don't do any deleting or shredding system in our

   18    company.

   19         Q.    Okay.   Let me follow up.

   20               First of all, is there a written policy                   09:42:41

   21    explaining this --

   22         A.    No.

   23         Q.    -- or that's just --

   24         A.    Internal policy.

   25         Q.    Okay.



                                                                         32
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 38 of 439 Page ID
                                   #:1462

    1         A.   But keeping data, we don't past a certain

    2    point.    And I can't tell you which data and specifically

    3    what because I don't manage the servers.           But as far as

    4    shredding or getting rid of stuff, it is not our policy

    5    to get rid of stuff.                                                   09:43:06

    6         Q.   So your testimony, if I understand it, is that

    7    you preserve all hard copy documents?

    8         A.   Hard copy documents, yeah.        Yes.   Correct.

    9         Q.   Okay.

   10              And data, however, is not necessarily always                 09:43:18

   11    preserved?

   12         A.   Data is preserved to a point, because if you're

   13    talking about pictures and listings going back to 1999,

   14    then we need the entire 31st floor to be servers.          But

   15    that would be impossible.                                              09:43:40

   16         Q.   Sure.

   17         A.   But going back to a backup point and preserving

   18    it, yes, we do.

   19         Q.   And I certainly understand the reasoning for

   20    what you're saying with the data.                                      09:43:57

   21              Is there a formal written policy about when

   22    data goes away, or is it sort of done on a more ad hoc

   23    basis?

   24         A.   There is no written policy is the answer.           And

   25    the period of it is not known to me at the moment.            I        09:44:14




                                                                           33
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 39 of 439 Page ID
                                   #:1463

    1    don't recall.

    2              But there is a complete conservative system put

    3    in place by Dennis, who's been with us for 12 years, and

    4    we do preserve going back quite a while.         I would say

    5    about a month or so.      And that is a guess. So more than          09:44:48

    6    a month or so we don't.

    7         Q.   So you think website data is kept roughly a

    8    month, and then it's --

    9         A.   Or less.

   10         Q.   A month or less and then it's purged.                      09:45:07

   11              And what about emails, do you purge emails on a

   12    regular basis?

   13         A.   Yes.

   14         Q.   And who is in charge of purging emails?

   15         A.   The staff.    Dennis, I guess.     Vid and Dennis.         09:45:28

   16    This is all technical or automated.         I'm not sure.

   17    I don't do any computer-related stuff.

   18         Q.   So you're not sure of Apartment Hunters'

   19    policies and practices regarding the deletion of emails?

   20         A.   Well, this is a small company -- so small to               09:45:52

   21    medium-size company, so we don't have the corporate

   22    structure or the government structure, if you're going

   23    into the Hillary side, no.       We don't have written

   24    complete books and policies, because there's just less

   25    than 30 people there, so . . .                                       09:46:15




                                                                         34
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 40 of 439 Page ID
                                   #:1464

    1         Q.    But your understanding is that Mr. Macys,

    2    Mr. Portnov and --

    3         A.    Which email deletions are you exactly speaking

    4    about?

    5         Q.    Well, let's focus on the general policy of the            09:46:29

    6    company.

    7         A.    There's no book of laws and records that if one

    8    employee leaves, we hand another employee's handbook to

    9    the new one coming.

   10         Q.    Understood.                                               09:46:44

   11               And so what you're saying is that Mr. Macys and

   12    Mr. Portnov and the other employees are sort of free to

   13    use their judgment on deletion?

   14         A.    Correct, because there's no reason to go back

   15    to the emails.                                                       09:46:57

   16         Q.    Other than emails and website data, are there

   17    any other categories of information that are also

   18    deleted or purged because of space reasons or any other

   19    constraints?

   20         A.    Listings.                                                 09:47:17

   21               MR. BAUMGARTEN:    Let me show you a document

   22    we'll mark as Exhibit 3.

   23               This is a letter that was sent by my colleague,

   24    Mr. Boyle, to Apartment Hunters on December 18th.

   25               (Exhibit 3 was marked for identification.)                09:47:45




                                                                         35
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 41 of 439 Page ID
                                   #:1465

    1         Q.   BY MR. BAUMGARTEN:       And my question will be:

    2    Have you ever seen this before?

    3         A.   (The witness reviews a document.)

    4              Cease and desist . . .

    5              MR. BANDLOW:     Did you ever get this letter?             09:47:49

    6              THE WITNESS:     No.   Because -- No.    This was --

    7    this is not the one that came with the lawsuit.          We

    8    never ever got this.

    9              MR. BANDLOW:     Okay.

   10              THE WITNESS:     This I have never received                09:48:31

   11    whatsoever.    We never ever received this.       Had we gotten

   12    a cease and desist I would have known.

   13         Q.   BY MR. BAUMGARTEN:       So --

   14         A.   This and the apartments.com terms in this

   15    manner or the words "cease and desist" has never ever                09:48:55

   16    been sent to us.

   17         Q.   So this was sent to you on December 18th, which

   18    was the same day that the complaint was served.          This

   19    was delivered by hand.

   20         A.   Oh, yes.    Yes.                                           09:49:10

   21              If this was in the same box as the lawsuit,

   22    I did receive it.

   23         Q.   Okay.

   24         A.   It was on top of the lawsuit in a box

   25    eight-and-a-half-eleven.



                                                                         36
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 42 of 439 Page ID
                                   #:1466

    1         Q.   That sounds right, yes.

    2         A.   Yes.

    3              And they gave me two boxes:       One for Steve, and

    4    one for me.    Yes.   Correct.

    5              I was -- I was engulfed in the lawsuit.                    09:49:36

    6    Apparently I didn't look over the cease and desist.           So,

    7    yes, it was there.

    8         Q.   And so let me direct you to the second page, or

    9    the back of the first page, the paragraph that starts

   10    "Third" in bold:                                                     09:50:01

   11                     "Third, in connection with the

   12              above-referenced lawsuit, we are sending

   13              this letter to remind Apartment Hunters

   14              and its affiliates," et cetera, "of their

   15              legal obligation to take immediate steps

   16              to preserve relevant documents and

   17              evidence in their possession, custody,

   18              or control."

   19         A.   Uh-huh.

   20         Q.   I'm going to skip the next big paragraph.                  09:50:21

   21                     "The steps Apartment Hunters and

   22              its affiliates, directors, officers,

   23              employees, and agents should take to

   24              preserve and maintain relevant documents

   25              should include without limitation                          09:50:30




                                                                         37
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 43 of 439 Page ID
                                   #:1467

    1              the following."

    2              And then moving on to the next page there are

    3    four bullet points.     These are the steps, and I'll

    4    direct you to the second one, which reads:

    5                    "Suspend any routine document                        09:50:42

    6              destruction policies and switch off

    7              any function that could result in the

    8              automatic deletion of relevant

    9              documents, including, without any

   10              limitation, the automatic deletion                         09:50:54

   11              of email or website content."

   12         A.   This was done.     And I have an email that was

   13    sent out to the employees with the subject line saying,

   14    "Our new 2016 legal challenge."       And the email went

   15    out -- okay, when I was served this, I made a phone call             09:51:20

   16    to Jilbert Tahmazian, which --

   17              MR. BANDLOW:     Don't -- don't tell the contents

   18    of that phone conversation.

   19              THE WITNESS:     Thank you.

   20              MR. BANDLOW:     That's your attorney.                     09:51:34

   21              THE WITNESS:     I did send this email to my

   22    employees with the subject line that "Our New Legal

   23    Challenge."    After that I followed up with a phone call.

   24    I spoke on a conference call with Dennis and Vidmantas

   25    about preservation of documents, about taking all the                09:51:56




                                                                         38
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 44 of 439 Page ID
                                   #:1468

    1    listings off, however, preserving them.         And also I used

    2    the words, "I want you guys to find out how the hell

    3    they got there."

    4              And furthermore, I asked them to talk to each

    5    and every employee, including even the ladies in                     09:52:22

    6    customer support, and let them know that this

    7    preservation is in place so that nobody touches

    8    anything.

    9              And that email was sent to Lincoln.

   10         Q.   BY MR. BAUMGARTEN:      Following that phone call          09:52:51

   11    with Mr. Macys and Mr. Portnov where you gave them

   12    instructions about preservation, did anyone monitor the

   13    steps they took to implement your directions about

   14    preservation?

   15         A.   I don't get into the servers.       Okay?    But when      09:53:10

   16    I give orders, historically, it's done.

   17         Q.   So the answer is that you were relying on

   18    Mr. Macys and Mr. Portnov to --

   19         A.   100 percent I can assure you that it's done.

   20         Q.   But you did not personally monitor what they               09:53:23

   21    were doing?

   22         A.   I cannot get into the servers.        I have zero

   23    knowledge of how to even log into a server.

   24         Q.   And did anyone else monitor what Mr. Macys or

   25    Mr. Portnov were doing?                                              09:53:38




                                                                         39
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 45 of 439 Page ID
                                   #:1469

    1         A.   Neither myself nor Steve can even make a single

    2    web page that says "You're invited to a birthday party."

    3         Q.   And just to be clear, did this preservation

    4    instruction include -- extend to emails?

    5         A.   We didn't exchange any emails.        We don't             09:54:08

    6    exchange emails.     We do everything by telephone.

    7         Q.   Okay.

    8         A.   Are you talking customer emails, because we

    9    send the customer a receipt, "Thank you for signing up,"

   10    and then we send the customer daily emails of the new                09:54:24

   11    listings, landlord emails.       Because among the employees,

   12    we just do -- we have a sophisticated phone system, a

   13    VPN.   So we don't dial each other.         We push a button.

   14    It's an extension to Lithuania.       So we don't really use

   15    emails.                                                              09:54:46

   16         Q.   I understand that, but my question is sort of

   17    narrow.

   18              Were there any directions given about

   19    preservation of emails, whether it was internal or with

   20    customers or anything?      There were no instructions given

   21    regarding emails --

   22         A.   It was all -- it was by email that I sent

   23    these, and then I immediately pushed a button and spoke

   24    to them live.

   25         Q.   I understand.                                              09:55:08




                                                                         40
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 46 of 439 Page ID
                                   #:1470

    1         A.    There was no emails.

    2         Q.    There was no instruction regarding emails?

    3         A.    Yes, because there was no emails to preserve.

    4         Q.    That letter that you sent or the email

    5    regarding, I think, "the legal challenge" you called it,             09:55:31

    6    who drafted that?

    7         A.    I did.

    8         Q.    And just a yes-or-no question here, did an

    9    attorney monitor or oversee your drafting of that

   10    email?                                                               09:55:44

   11         A.    No.

   12         Q.    So you've testified that this email went out,

   13    and you previously had testified that your sort of basic

   14    policy was that website data, as you understand it, is

   15    only kept for about the course of about a month in                   09:56:29

   16    general?

   17         A.    Yes.    About a month, yes.

   18         Q.    And so has that policy changed since you sent

   19    out this legal challenge letter?

   20         A.    The policy has not changed, but the data that             09:56:41

   21    was required here was preserved on the day this was

   22    served to us.

   23         Q.    Okay.

   24               So you took steps as to specific data, but the

   25    overall policy has not changed?                                      09:57:03




                                                                         41
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 47 of 439 Page ID
                                   #:1471

    1          A.   Correct.

    2          Q.   Okay.   So --

    3          A.   There's no reason for us to change the policy

    4    the second we get a lawsuit.

    5               When we received this lawsuit, we did preserve            09:57:13

    6    what was requested of us.

    7          Q.   Okay.   Thank you.

    8               Do the -- and excuse my ignorance.       I don't

    9    actually know what the official language of Lithuania

   10    is.                                                                  09:57:50

   11          A.   It's Lithuanian.

   12          Q.   Lithuanian.     I thought so.    I didn't want to

   13    assume.

   14               Do the employees under Mr. Macys in Lithuania,

   15    do they speak English or Lithuanian?                                 09:58:00

   16          A.   They do both, because they have to code in

   17    English, I guess.     So, yes.    But they speak horrible

   18    English, but they code in perfect English.

   19          Q.   Do they understand English?

   20          A.   Yeah.                                                     09:58:18

   21          Q.   Are you aware that on March 21st of this year

   22    CoStar served requests for production of documents to

   23    Apartment Hunters?

   24          A.   I'm not sure.    It's pretty vague.     If they did,

   25    which documents, which service, which one?                           09:58:48




                                                                         42
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 48 of 439 Page ID
                                   #:1472

    1         Q.   Sure.    Let's show you a document.      That's fair.

    2              I'm going to mark Exhibit 4.       This is a

    3    document reading "Plaintiffs' First Set of Requests for

    4    Production of Documents to Apartment Hunters,

    5              (Exhibit 4 was marked for identification.)                 09:59:13

    6              THE WITNESS:     (To Mr. Bandlow) We did this,

    7    right?

    8              MR. BANDLOW:     Uh-huh.   We did.

    9              THE WITNESS:     Yes, we did.

   10         Q.   BY MR. BAUMGARTEN:      Has anyone at Apartment            09:59:38

   11    Hunters, aside from your attorney Mr. Bandlow or any of

   12    your other attorneys, reviewed these document requests?

   13         A.   Of course.

   14         Q.   And just yes or no, have you discussed these

   15    document requests with either Mr. Bandlow or one of his              09:59:52

   16    colleagues?

   17         A.   Yes.

   18         Q.   Has anyone at Apartment Hunters spoken to

   19    employees about the retention of documents potentially

   20    responsive to these requests?                                        10:00:09

   21         A.   Oh, a lot.

   22         Q.   And when were those conversations?

   23         A.   Immediately after it was served.

   24         Q.   So are you referring to the email you sent in

   25    December?                                                            10:00:24




                                                                         43
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 49 of 439 Page ID
                                   #:1473

    1         A.   Immediately after that email, and continuously

    2    after that, and then in detail after this particular

    3    paper and the requests within this.

    4         Q.   Okay.

    5              And did you directly speak -- who did you                  10:00:41

    6    directly speak to after this -- after this paper came in

    7    March?

    8         A.   There are only two people, so Dennis and Vid.

    9         Q.   And --

   10         A.   This actually gives more detailed information              10:00:58

   11    after the preservation was ordered.         So after the

   12    lawsuit, complete preservation was in place, and this

   13    gives more instruction and more discussions where needed

   14    to go inside the preservation.

   15              (Discussion held off the record

   16         between Mr. Bandlow and the witness.)

   17         Q.   BY MR. BAUMGARTEN:      So did anyone other than

   18    yourself talk to Mr. Macys and Mr. Portnov about the

   19    preser- --

   20         A.   Absolutely not.                                            10:01:49

   21         Q.   Has Apartment Hunters hired an eDiscovery

   22    vendor?

   23         A.   A what?

   24         Q.   An eDiscovery vendor?

   25         A.   Never heard of that.                                       10:02:02




                                                                         44
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 50 of 439 Page ID
                                   #:1474

    1      * Q.    And Apartment Hunters' outside counsel, in

    2    other words, Mr. Bandlow and his colleagues, have they

    3    spoken to anyone other than yourself about the

    4    collection of documents?

    5              MR. BANDLOW:     Objection.    Calls for                   10:02:23

    6    attorney-client privilege.

    7              Instruct the witness not to answer.

    8              Stop getting into what we've instructed, what

    9    we've shown them, any of that stuff.        You know that's

   10    privileged.    He's not going to answer it.                          10:02:32

   11              MR. BAUMGARTEN:     Respectfully, I think the

   12    names of who he's spoken to would not be privileged

   13    given that's the sort of information --

   14              MR. BANDLOW:     That's not the preface of your

   15    question.    You can ask him who he has spoken to about              10:02:41

   16    issues of document retention and preservation.          There's

   17    no problem with that question.       But when you preface it

   18    with his outside counsel, et cetera, you're getting into

   19    privilege.

   20              MR. BAUMGARTEN:     I'm asking who outside counsel         10:02:53

   21    has spoken to.     I think it's fair to ask who outside

   22    counsel has spoken to.      I'm not asking for the

   23    substance.    I'm asking for --

   24              MR. BANDLOW:     The only way he would know who

   25    outside counsel has spoken to would be by outside                    10:03:02




                                                                         45
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 51 of 439 Page ID
                                   #:1475

    1    counsel informing him, which would reveal

    2    communications.     It is an improper question.

    3              I'm instructing him not to answer.

    4              MR. BAUMGARTEN:     I mean, it's also possible he

    5    would have an independent basis for knowing without                  10:03:21

    6    having talked to you.      And if he only knows through you,

    7    I'm fine with that objection, if that's what you're

    8    instructing.    But I think it's fair to at least ask him

    9    whether he has an independent basis to know.

   10              MR. BANDLOW:     If what you want to do is depose          10:03:34

   11    me and ask me who we've dealt with on document

   12    preservation issues, knock yourself out.         Serve that

   13    depo notice.    But until you do that, no.       He's not going

   14    to answer that particular question.         If you want to

   15    rephrase it better, you can.                                         10:03:47

   16         Q.   BY MR. BAUMGARTEN:      So, Mr. Macys [sic],

   17    without revealing any --

   18              MR. BOYLE:    It's Mr. Shayan.

   19         Q.   BY MR. BAUMGARTEN:      I'm sorry.    Mr. Shayan, I

   20    apologize.

   21              Mr. Shayan, without revealing any information

   22    that your attorneys have told you, do you have any

   23    independent basis, apart from what your attorneys have

   24    told you, to know whether or not your attorneys have

   25    spoken to any employees about document preservation or               10:04:11




                                                                         46
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 52 of 439 Page ID
                                   #:1476

    1    document collection?

    2         A.    Completely confusing question.       So let's do it

    3    one more time.

    4         Q.    Sure.

    5               I want you to put aside anything you know                 10:04:23

    6    through your attorneys.

    7               And the question is:     Do you have any knowledge

    8    of whether your attorneys have talked to any of your

    9    employees about the collection or preservation of

   10    documents?                                                           10:04:34

   11               And if you only know from your attorneys, don't

   12    tell me.    But if you know on your own --

   13         A.    I have no idea.

   14               Actually, if the question clearly is has my

   15    attorney spoken to my employees?        Is that your question?       10:04:50

   16    The answer would be no.      Absolutely not.

   17         Q.    Okay.   Thank you.    Let me ask a slightly

   18    different question.

   19               Can you -- are you aware that your attorneys

   20    have produced some documents, in other words, turned                 10:05:12

   21    over some documents to us in this matter?

   22         A.    Yes.

   23         Q.    And those documents presumably came from

   24    somewhere on your servers or systems, correct, or your

   25    files?                                                               10:05:27




                                                                         47
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 53 of 439 Page ID
                                   #:1477

    1         A.   Uh-huh.

    2         Q.   Okay.

    3              Can you tell me all the locations that

    4    documents were collected from for review?

    5              Where did the documents come from?                         10:05:36

    6         A.   I couldn't tell you, because we -- our

    7    Lithuanian team produced them as we were asked, and I

    8    sent the requests that you guys gave us over to

    9    production.    Then when it came back, I reviewed them and

   10    then sent them over.                                                 10:06:04

   11         Q.   So you're -- you're not personally sure of the

   12    sources of the documents that have been --

   13         A.   Sources meaning exactly what?

   14         Q.   Well, let's -- sure.      Let's start.

   15              Are you clear of the "sources," meaning                    10:06:14

   16    locations, of documents that have been searched in order

   17    to locate --

   18         A.   Locations as in physical or server locations?

   19         Q.   So I understand you know that something in

   20    Lithuania was searched and something in Russia perhaps.              10:06:27

   21    I'm talking about server locations.

   22              Are you aware of what server locations were

   23    searched?

   24         A.   Of course.

   25         Q.   Okay.    What were those locations?                        10:06:38




                                                                         48
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 54 of 439 Page ID
                                   #:1478

    1         A.   Amazon.    We are on an Amazon Cloud, and there

    2    is no physical machines for me to tell you anything.           So

    3    we're on a huge Amazon Cloud sitting next to the Netflix

    4    in Canada.

    5         Q.   All right.                                                 10:07:00

    6         A.   So we went down when Netflix Canada went down

    7    for three hours.

    8         Q.   Okay.

    9              And do you know whether the Amazon -- were

   10    there any other locations other than this Amazon Cloud               10:07:13

   11    that were searched?

   12         A.   No.

   13              For the last several years we've been on a

   14    cloud.    Previous to that we were in Texas.       That's

   15    pretty much it.                                                      10:07:27

   16         Q.   Okay.

   17              Do you know how this Amazon Cloud, how this was

   18    searched?

   19              In other words, was it searched using search

   20    terms electronically?                                                10:07:35

   21              Was it searched manually by someone clicking

   22    through documents?

   23         A.   I have no idea how to get into a server, for

   24    the fifth time.     I have no knowledge of servers.

   25         Q.   So you have no knowledge of what your employees            10:07:48




                                                                         49
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 55 of 439 Page ID
                                   #:1479

    1    did to search the servers?

    2         A.   That is not what I said.

    3              You asked me, "Do you know how it was

    4    searched?"    My response was I don't have the knowledge

    5    to go into servers, nor how they are searched.                       10:08:03

    6              I didn't say I have no knowledge of what my

    7    employees do.     I said I do not have the -- myself the

    8    information of how it's done.

    9              But I believe 100 percent in the capability of

   10    my employees, and please do not put them down or                     10:08:28

   11    constantly think they're unsupervised, because . . .

   12    done.

   13         Q.   Okay.

   14         A.   This company did $3 million plus in sales, and

   15    you're constantly saying it's unsupervised.                          10:08:47

   16         Q.   Mr. Shayan, I certainly do not mean to offend

   17    you or your employees --

   18         A.   Got it.

   19         Q.   -- but I do need to ask the question directly.

   20         A.   I appreciate it.                                           10:08:55

   21         Q.   You know that your employees performed searches

   22    of the Amazon server.      And what I'm asking is whether

   23    you can tell me any more details about those searches

   24    beyond that they were done.

   25         A.   They performed it, produced it, handed it to               10:09:11




                                                                         50
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 56 of 439 Page ID
                                   #:1480

    1    me.   I checked, make sure they're relevant to your

    2    questions, handed it over, you got them.

    3          Q.   But you do not know exactly what they did?

    4               You trust them, but you don't know exactly what

    5    they did; correct?                                                   10:09:25

    6          A.   They did a search.

    7               But if you're asking me how they do a search on

    8    a server versus a normal computer, I don't know.

    9          Q.   I'm not asking for the technical details.        I'm

   10    asking you what you know in terms of whether the                     10:09:38

   11    searches were electronic or manual, for instance.

   12               Did they --

   13          A.   You can't manually search a server.

   14          Q.   Let me rephrase.

   15               Whether they ran search terms or whether they,            10:09:48

   16    for instance, just clicked through documents one by one.

   17               Do you have any sense of --

   18          A.   In the server there's no documents.       So

   19    every -- everything is files.       Okay?   So I'm not -- is

   20    this -- I'm not sure what your question is.                          10:10:04

   21               But whatever they did was there live preserved.

   22    I'm not sure.      Is this a trick question?     I don't

   23    understand the question.

   24          Q.   I assure you it's not a trick question.

   25          A.   Okay.   Can I take a break?                               10:10:22




                                                                         51
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 57 of 439 Page ID
                                   #:1481

    1              MR. BAUMGARTEN:     Sure.

    2              THE WITNESS:     Thank you.

    3              THE VIDEOGRAPHER:      Off record, 10:10 a.m.

    4              This concludes tape No. 1.

    5              (Recess taken from 10:10 a.m. to 10:18 a.m.)               10:10:35

    6              THE VIDEOGRAPHER:      This begins tape No. 2 in

    7    the videotaped deposition of Kevin Shayan, taken at

    8    725 South Figueroa Street, 31st floor, Los Angeles,

    9    California on September 29th, 2016.

   10              My name is Jeannie Schwarze with Dean Jones                10:18:53

   11    Legal Videos, Inc. out of Santa Ana, California.

   12              Returning to record, 10:19 a.m.

   13         Q.   BY MR. BAUMGARTEN:      Mr. Shayan, let me move to

   14    a new topic.

   15              What websites does Apartment Hunters,                      10:19:10

   16    Incorporated own or operate?

   17         A.   We own apartmenthunterz.com.

   18              We own featuredrentals.com.

   19              We own wetakesection8.com.

   20              We own ifindrentals.com.                                   10:19:34

   21              We own foreclosureplaces.com.

   22         Q.   What about 4rentinla.com?

   23         A.   4rentinla.com is a website we owned, and we've

   24    turned it off, but the domain is ours.

   25         Q.   When did you turn it off?                                  10:20:02




                                                                         52
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 58 of 439 Page ID
                                   #:1482

    1         A.   A long time ago.     This is previous to the suit.

    2         Q.   Do you know if it was prior to October of 2015?

    3         A.   Yes.

    4              It was prior to October of 2015.

    5         Q.   4rentinnewyork.com?                                        10:20:41

    6         A.   We owned that website, as well, and it was shut

    7    down, and it was shut down prior to October of 2015.

    8         Q.   What happens if someone goes to

    9    4rentinnewyork.com right now?

   10         A.   We decided to merge all the baby sites into                10:20:59

   11    featuredrentals.com.

   12         Q.   So if someone goes to that website, it

   13    redirects them?

   14         A.   Yes, sir.

   15         Q.   leaseinsandiego.com?                                       10:21:12

   16         A.   The same.

   17              We -- these were regional sites that we had

   18    prior to going national.

   19         Q.   rentinsanfrancisco.com?

   20         A.   Again, that's the same one.       Redirects them to        10:21:25

   21    featuredrentals.com.

   22         Q.   ineedtomove.com?

   23         A.   ineedtomove.com is a domain that we owned, and

   24    that also just takes you to, I believe, apartmenthunterz

   25    or featuredrentals.     I'm not sure.                                10:21:44




                                                                         53
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 59 of 439 Page ID
                                   #:1483

    1         Q.   findforeclosuresnow.com?

    2         A.   findforeclosuresnow.com was a domain name that

    3    we started our foreclosure website with and later on I

    4    found a better name, which is foreclosureplaces.com.

    5    They both are going to the same web page.                            10:22:10

    6              MR. BAUMGARTEN:     Let me show you a document.

    7              I'm going to mark this as Exhibit 5.         And this

    8    is a document produced by your attorneys with Bates

    9    stamp AHI-000188.

   10              (Exhibit 5 was marked for identification.)                 10:23:01

   11         Q.   BY MR. BAUMGARTEN:      This is -- have you seen

   12    this document?

   13         A.   It was produced by who?

   14              MR. BANDLOW:     By us.

   15              THE WITNESS:     By you?   Uh-huh.                         10:23:06

   16              And what domain is it for?

   17         Q.   BY MR. BAUMGARTEN:      If you skip to the second

   18    page, you'll see it's the back of your first page.

   19              See at the very top it reads "Domain Name:

   20    apartmenthunterz.com"?                                               10:23:21

   21         A.   Uh-huh.    Okay.

   22         Q.   And I'll represent that your attorneys produced

   23    this document to us on June 1st, 2016.

   24              Have any changes been made to the registration

   25    for this particular website since --                                 10:23:36




                                                                         54
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 60 of 439 Page ID
                                   #:1484

    1         A.   No, sir.

    2         Q.   So if I looked up the current registration

    3    info, it would look the same?

    4         A.   Correct.

    5              MR. BAUMGARTEN:     Okay.   Let me show you another        10:23:46

    6    document then.

    7              THE WITNESS:     Actually, this -- if any changes

    8    were made to this document, it would have been changed

    9    by Dennis, and I would not have any knowledge of it.

   10              MR. BAUMGARTEN:     Okay.                                  10:24:08

   11              THE WITNESS:     So if the changes were made --

   12    again, this is an area that I would not have changed.

   13              MR. BAUMGARTEN:     Sure.   Let me show you another

   14    document.    I'll mark this Exhibit 6.

   15              THE WITNESS:     I stand corrected, because this           10:24:29

   16    is not an area that I would also go in.

   17              MR. BAUMGARTEN:     Sure.   And this is Exhibit 6.

   18              (Exhibit 6 was marked for identification.)

   19         Q.   BY MR. BAUMGARTEN:      I apologize that it looks

   20    like the bottom of the document has not -- it looks like             10:24:41

   21    only the first two pages printed, but I'm going to focus

   22    my questions on the first two pages anyway.         I'm happy

   23    to print a full copy at the break if you think there's

   24    anything missing here that's relevant.

   25              But I used the same ICANN Whois lookup tool                10:24:56




                                                                         55
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 61 of 439 Page ID
                                   #:1485

    1    that your attorneys used to produce the document marked

    2    as Exhibit 5.      And I ran this, I believe, on

    3    September 23rd.

    4               If you compare the "Registrant Contact," the

    5    name is all different.      It's now changed from --                 10:25:13

    6         A.    Oh, it just became private.

    7         Q.    Right.

    8         A.    We just -- we just -- we just decided that we

    9    want the Whois private.      That's all.    A lot of companies

   10    do this.                                                             10:25:28

   11         Q.    And when did you decide that?

   12         A.    I have no idea.

   13               But, you know, some people just start

   14    soliciting us on these domains to buy it or to sell us

   15    some products, and we were getting apparently solicited              10:25:41

   16    for products or items or search engine optimization or

   17    marketing or advertising, at which point we just decided

   18    to do a protection and privacy thing.

   19               This is so -- this is so common on the internet

   20    that -- I mean, from this you could get                              10:26:07

   21    Mark Zuckerberg's address and just drive by.         So

   22    everybody has it protected.

   23         Q.    Okay.

   24               But you made the change between June 1st and

   25    September 23rd; correct?                                             10:26:21




                                                                         56
                                Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 62 of 439 Page ID
                                   #:1486

    1         A.    I assume.   I didn't do the physical typing and

    2    going into the domain place and changing it.

    3         Q.    But you told Dennis to make the change?

    4         A.    I didn't tell him.     I just corrected myself

    5    that if changes were made, they weren't made by me.                  10:26:32

    6         Q.    Sorry, they were made by you?

    7               MR. BANDLOW:    Were not.

    8               THE WITNESS:    They were not made by me,

    9    so . . .

   10         Q.    BY MR. BAUMGARTEN:     So you don't -- you don't          10:26:41

   11    know -- you don't know why -- I mean, do you know

   12    specifically -- let me strike that.

   13               Did you discuss this change with Dennis between

   14    June 1st and September 23rd?

   15         A.    No, sir.                                                  10:26:56

   16         Q.    Did you know if any other registrations have

   17    changed for domains that Apartment Hunters, Incorporated

   18    had --

   19         A.    If I didn't discuss it on apartmenthunterz.com,

   20    which is one of our main domains, I would not have                   10:27:09

   21    discussed it with him on any other ones.

   22         Q.    We have talked about a lot of different domain

   23    names.    I understand that a lot of them just redirect to

   24    one of your main sites.

   25               Do you have a sense of about how many domain              10:27:28




                                                                         57
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 63 of 439 Page ID
                                   #:1487

    1    names are registered to the company?

    2         A.    I don't have an exact number.

    3         Q.    Ballpark?

    4         A.    I don't know.

    5               MR. BANDLOW:    Don't speculate.     You know or you      10:27:40

    6    don't know.

    7               THE WITNESS:    I don't know.

    8               MR. BAUMGARTEN:    Okay.   Let me show you another

    9    exhibit.    I'll mark this as Exhibit 7.

   10               This is from a website called Viewdns.info.com.           10:27:59

   11    And this is Reverse Whois results for info at

   12    apartmenthunterz.com.

   13               (Exhibit 7 was marked for identification.)

   14         Q.    BY MR. BAUMGARTEN:     So in other words, what

   15    we've done is we've done a lookup for any website where              10:28:17

   16    the email that it's registered to is

   17    info@apartmenthunterz.com.

   18         A.    Uh-huh.

   19         Q.    So let me start by asking you,

   20    info@apartmenthunterz.com, I assume that's an email                  10:28:31

   21    that your company controls?

   22         A.    Uh-huh.

   23         Q.    And so this has 95 domains registered to you.

   24               Does that seem roughly -- I know you don't know

   25    for sure, but roughly?                                               10:28:41




                                                                         58
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 64 of 439 Page ID
                                   #:1488

    1          A.   Uh-huh.

    2          Q.   Okay.

    3          A.   I recognize these names.      These are from the

    4    1999, 2000 era that buying domain names was the thing to

    5    do.                                                                  10:28:56

    6          Q.   Right.

    7               And you see that the creation date was over a

    8    number of years.     I see that.

    9          A.   And a lot of them have dropped off and not

   10    renewed.                                                             10:29:05

   11          Q.   Okay.    Well, let me ask you a question here

   12    about one of the names on here, one of the domains.

   13               I don't know exactly what number it is, but

   14    it's apartmenthunterz -- with a z -- .info.         So it's

   15    right below apartmenthunterz -- sorry,

   16    apartmenthuntersnewyork.com.

   17               Do you see apartmenthunterz.info?

   18          A.   Yeah.

   19          Q.   And so that's a web -- that's a domain

   20    registered to you?                                                   10:29:33

   21          A.   Yes.

   22               MR. BAUMGARTEN:    Okay.   Let me show you another

   23    document.    I'll mark this as No. 8.

   24               This is a -- I'll represent that this is a

   25    screen shot of what happened when I tried to go to that              10:29:55




                                                                         59
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 65 of 439 Page ID
                                   #:1489

    1    website because I was curious.

    2               (Exhibit 8 was marked for identification.)

    3          Q.   BY MR. BAUMGARTEN:     It looks like this is a --

    4          A.   Right.

    5          Q.   -- password-protected website; correct?                   10:30:07

    6          A.   100 percent password protected.

    7          Q.   And is this a website that you have a user name

    8    and password to?

    9          A.   100 percent.

   10               And this is a website you will never have the             10:30:18

   11    user name and password to.

   12          Q.   I'm not going to ask for your user name and

   13    password.

   14               I am going to ask, though, who has user names

   15    and passwords to this website?                                       10:30:26

   16          A.   You will not get that either.      This is a

   17    sandbox where we actually do development under, and this

   18    is where we test our stuff, and this is where beta mode

   19    happens, and this is where even Google crawlers don't go

   20    to.                                                                  10:30:54

   21          Q.   Okay.

   22          A.   So good luck.

   23          Q.   Is the information at this website, is that

   24    also stored on the Amazon --

   25          A.   Yes.



                                                                         60
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 66 of 439 Page ID
                                   #:1490

    1         Q.    -- Cloud?

    2         A.    Yes.

    3         Q.    Have steps been taken to preserve the

    4    information that one would access by going through this

    5    website?                                                             10:31:14

    6         A.    The stuff here is not related to anything here

    7    (indicating).

    8         Q.    Okay.   But --

    9         A.    This is all new development, and it's not even

   10    been made live.     It's just in beta format.                        10:31:23

   11         Q.    I understand.

   12         A.    And it's not been presented to the public.

   13               Assume this as the futuristic drones that

   14    Amazon claims is going to fly and bring your packages.

   15    This is not related to this case.                                    10:31:46

   16         Q.    I understand that's your position, but --

   17         A.    But it's on the Amazon Cloud, and since it's in

   18    development, it was preserved, obviously, because it's

   19    still being -- in its initial baby stages.         The answer

   20    is yes.                                                              10:32:03

   21         Q.    Are there -- so this Amazon Cloud drive, the

   22    website data is stored there for --

   23         A.    Everything is stored there.

   24         Q.    Photographs?

   25         A.    Everything.                                               10:32:24




                                                                         61
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 67 of 439 Page ID
                                   #:1491

    1         Q.   Are there any other cloud drives that you use,

    2    or it's just this Amazon Cloud?

    3         A.   Amazon.    I mean -- yeah, Amazon.

    4         Q.   Within this Amazon Cloud, do you know whether

    5    the data for the different websites, so in other words,              10:32:46

    6    apartmenthunterz.com versus featuredrentals.com, is the

    7    data for both those websites and any other websites

    8    stored all together or is it separated --

    9         A.   I have --

   10         Q.   -- in some way?

   11         A.   -- zero server knowledge, ninth time.

   12         Q.   Do you know, is Amazon Web Services the

   13    corporate name of who you contract with for the Amazon

   14    Cloud?

   15         A.   I believe so.                                              10:33:21

   16         Q.   And your website that states

   17    apartmenthunterz.com, is that also hosted by the

   18    Amazon Cloud or the Amazon Web Services or is there

   19    another host for that?

   20         A.   It's hosted by Amazon.                                     10:33:42

   21         Q.   And I assume, then, that Amazon owns all of the

   22    servers and IP addresses and everything else that are

   23    used to make your websites function; right?

   24              You're essentially renting space on those?

   25         A.   Amazon owns their cloud obviously.        Right?           10:33:59




                                                                         62
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 68 of 439 Page ID
                                   #:1492

    1         Q.   Upon receiving the complaint in this case in

    2    December, did Apartment Hunters send a litigation hold

    3    letter to Amazon or to the Amazon Web Services?

    4         A.   No.

    5         Q.   Have any steps been taken to inform Amazon to              10:34:24

    6    preserve data?

    7         A.   We took care of that ourselves, so, no.

    8         Q.   Are you aware that in the discovery in this

    9    case that we have asked Apartment Hunters to identify

   10    the sources from which it obtains listings, photographs,             10:35:12

   11    and all of its website information?

   12         A.   Uh-huh.

   13         Q.   And your attorneys on your behalf -- or on

   14    Apartment Hunters' behalf provided the answer that --

   15    and I'll read this quickly, that the company obtains                 10:35:30

   16    listings from up to a hundred different partner feeds,

   17    but then listed seven entities in particular.

   18              Does that sound correct?

   19         A.   Seven, but constantly we are getting more and

   20    more partners since we've attended other trade shows.                10:35:52

   21    But, yes.

   22         Q.   So let me ask about those that were listed.

   23              RentPath, that's -- I think that's apparently,

   24    I guess, the umbrella for apartmentguide.com,

   25    rentals.com, and mynewplace.com?                                     10:36:16




                                                                         63
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 69 of 439 Page ID
                                   #:1493

    1         A.    Right.

    2         Q.    And so when the company gets incoming feeds

    3    from RentPath, what is the -- the file format?

    4               How does that come in?

    5         A.    I believe it comes in an XML format, but each             10:36:24

    6    one of one -- again, this area, I cannot open the feed.

    7    I cannot see how many listings.       And when I open the

    8    XML, it's all garbled.      I have -- I don't know how to

    9    open a zip file pretty much.

   10               So what happens is that comes directly to the             10:36:45

   11    guys.     And the four people that I mentioned earlier are

   12    in charge of checking it, making sure it's good, and all

   13    of that.

   14               But I believe it comes in an XML file.

   15         Q.    And do you know whether the listing information           10:37:01

   16    and data and photos come all together in one feed or if

   17    it's separate?

   18         A.    I don't know that.     I don't know if the photos

   19    come separately.

   20         Q.    Do you know how often the feeds will come in?             10:37:16

   21         A.    Yes.

   22               They come daily.    Twice a day sometimes.

   23         Q.    And do you know whether the data is effectively

   24    an entire new set of data each day or --

   25         A.    It's new, completely brand-new data.                      10:37:32




                                                                         64
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 70 of 439 Page ID
                                   #:1494

    1         Q.   Okay.

    2              And does that replace the old data, or is it

    3    just additions and subtractions?

    4         A.   No.    It replaces the old data.

    5         Q.   Okay.                                                      10:37:45

    6              And those answers that you just gave as to

    7    RentPath, would those also be true as to Dominion

    8    Enterprises?

    9         A.   Yes.

   10         Q.   And also true as to ListHub?                               10:37:55

   11         A.   Oh, ListHub, it comes four times a day, five

   12    times a day, every hour, and that's very time sensitive.

   13         Q.   And each of those, with ListHub again, it's

   14    entirely new or replaces the old data, not just the --

   15         A.   And photos get replaced and, yes, time stamps,             10:38:15

   16    and all of that.

   17         Q.   Okay.

   18              One of the other websites that was listed on

   19    the company's behalf is onsite.com.

   20              What is onsite.com?                                        10:38:31

   21         A.   I believe that this company is a little

   22    platform that goes to the management companies and helps

   23    them make a feed for them.       Smaller companies that

   24    cannot take their data and make a feed, this guy, this

   25    corporation helps them, I believe.                                   10:39:01




                                                                         65
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 71 of 439 Page ID
                                   #:1495

    1         Q.   So they actually do send you incoming data --

    2         A.   Yes.

    3         Q.   They'll send you, perhaps, XML feeds and --

    4         A.   Oh, yes.    I believe, yes.

    5         Q.   Have you -- has Apartment Hunters asked                    10:39:09

    6    onsite.com to preserve any of the feeds that they sent

    7    you?

    8         A.   No.

    9              Once they send us, it's our job to put it up.

   10         Q.   Okay.                                                      10:39:22

   11              Has Apartment Hunters asked RentPath to

   12    preserve anything they've sent you?

   13         A.   Why would they preserve what they've sent?

   14    That's their internal system.       I don't -- I cannot order

   15    anybody outside of our company to do anything.                       10:39:33

   16         Q.   You can request that they do.

   17         A.   The answer is no.

   18         Q.   Is the answer also no as to Dominion

   19    Enterprises?

   20         A.   The answer is no on all of them.        I don't run        10:39:43

   21    their companies.

   22         Q.   And ListHub, as well, the answer is no?

   23         A.   No.

   24              MR. BANDLOW:     Asked and answered.     He said as

   25    to all of them.     But you can ask again.                           10:39:54




                                                                         66
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 72 of 439 Page ID
                                   #:1496

    1               MR. BAUMGARTEN:    I don't want to ask a compound

    2    question.    I'm just trying to make sure we're not losing

    3    anything.

    4         Q.    Let me ask about another company that was

    5    listed, rentalutions.com, r-e-n-t-a-l-u-t-i-o-n-s.com.               10:40:03

    6               Do you know what that website is?

    7         A.    I'm not familiar with that.      Vidmantas works

    8    with them.    So he is the manager of getting these

    9    relationships.     I know a few that I know, but the rest

   10    of them, the relationships are with Vidmantas.                       10:40:24

   11         Q.    Do you know showmojo.com?

   12         A.    I dealt with them for about a week initially

   13    when they came on.     But again, we hired Vidmantas to be

   14    in charge of affiliates, partners, negotiations.

   15         Q.    What does showmojo.com do, do you know?                   10:40:45

   16         A.    ShowMojo does the same thing I explained

   17    earlier.    It goes to the management companies.        And IT49

   18    there is the same.     These are little corporations that

   19    go to the management companies, charge them a small fee,

   20    and help them to make XML files.                                     10:41:03

   21         Q.    And has Apartment Hunters asked either ShowMojo

   22    or IT49 --

   23         A.    No.

   24         Q.    I need to finish the question.

   25         A.    Got it.



                                                                         67
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 73 of 439 Page ID
                                   #:1497

    1         Q.    Has Apartment Hunters asked ShowMojo or IT49 to

    2    preserve what they're sending you?

    3         A.    No.

    4         Q.    Okay.   Thank you.

    5               So these feeds that come in, and why don't we                10:41:27

    6    take RentPath as an example.       These feeds that come in

    7    once a day, twice a day, are they preserved when they

    8    come in?

    9               So you've got one in, and then as soon as you

   10    get the new one in, what happens to the prior one on                    10:41:41

   11    your system?

   12         A.    It gets overwritten.

   13         Q.    So there is -- at any time your systems only

   14    have one feed per --

   15         A.    Correct.                                                     10:41:53

   16         Q.    -- source?

   17               And that's continued to be the policy even

   18    after receiving the complaint in this litigation?

   19         A.    Correct.

   20               Let me clarify.    The company has backups.        So        10:42:07

   21    I am not savvy if all the servers were to crash what

   22    backup Dennis or Vid would put up and how that plays

   23    into the feeds and which feed would be put up.          But

   24    that's a tricky question.       And I don't have knowledge of

   25    that.                                                                   10:42:46




                                                                            68
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 74 of 439 Page ID
                                   #:1498

    1               So asking me if we killed the feed of yesterday

    2    or today or we have one week of backup, because we

    3    usually do keep backups up to a week, if the server blew

    4    up and caught on fire.      But this is a technical question

    5    I couldn't really answer, and it's walking a fine line               10:43:08

    6    going too technical into the server base.

    7               So I just want to be clear that when you ask me

    8    what happens with the feeds, I can reply to you that in

    9    a normal arena it replaces yesterday's feed, but in the

   10    back end, the answer is if there was a situation where               10:43:30

   11    the servers just died, our system replicates and brings

   12    back historic information up to, I guess, a few days,

   13    so . . .

   14          Q.   Okay.   So you --

   15          A.   I just want to be clear that not everything               10:43:52

   16    dies, because we do have backups.

   17          Q.   Sure.   And I understand that you're not

   18    100 percent sure.

   19               But to the best of your knowledge, it sounds

   20    like it's a few days or maybe a week that it is backed               10:44:06

   21    up.

   22          A.   Yeah.

   23               I don't have that knowledge.      It's just left --

   24    I interviewed these people 13 years ago, and they've

   25    been there 13 years, and that's in their hands.                      10:44:18




                                                                         69
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 75 of 439 Page ID
                                   #:1499

    1              (To Mr. Bandlow) Are you okay?

    2              MR. BANDLOW:     Yes.   I'm fine.

    3              THE WITNESS:     (To Mr. Bandlow) I'm checking on

    4    you.

    5              MR. BANDLOW:     No worries.

    6         Q.   BY MR. BAUMGARTEN:      So let me ask you two

    7    questions about the backups.

    8              Where are the backups?

    9         A.   See --

   10         Q.   You don't know where --                                    10:44:40

   11         A.   I have no idea, and I'm assuming that such a

   12    thing exists.    So again, I don't even know if they're

   13    backed up.    I don't know if they replicate themselves.

   14    I don't know if they're cloning.        I've heard the word

   15    "cloning" come from Dennis, that the second they die                 10:45:03

   16    they clone themselves.      But I cannot give you any of

   17    this information because I don't know.

   18         Q.   And I'm just asking for your knowledge as to

   19    each of these things.

   20              So a related question is:         Do you know whether      10:45:16

   21    these backups have been -- to the extent they exist,

   22    have been searched in connection with this litigation?

   23         A.   Yes.   And -- yes.

   24              We have -- we have opened up every single door

   25    and preserved, and opened up every single door and                   10:45:35




                                                                         70
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 76 of 439 Page ID
                                   #:1500

    1    searched.    We've actually scrubbed.

    2              MR. BAUMGARTEN:     Let me show you a document.

    3              This will be marked as Exhibit 9.        And this is

    4    the "Declaration of Kevin Shayan in Support of

    5    Defendants' Opposition to Plaintiffs' Motion to Compel               10:46:30

    6    Production of Documents."

    7              (Exhibit 9 was marked for identification.)

    8         Q.   BY MR. BAUMGARTEN:      So I believe if you look

    9    toward the end of this, you'll see your signature.

   10         A.   (The witness reviews a document.)                          10:46:51

   11         Q.   I assume you reviewed this document before

   12    signing it?

   13         A.   (Witness nods head up and down.)

   14         Q.   Sorry.    I need a verbal response.

   15         A.   Yes, sir.                                                  10:47:01

   16         Q.   Thank you.    So why don't we jump to

   17    paragraph 6.    So you write:

   18                    "... I arranged for the immediate

   19              preservation of a copy of the property

   20              listings identified by CoStar as containing                10:47:15

   21              appropriated material.      However, I do

   22              not believe that any of the images

   23              identified by CoStar in its complaint

   24              were on Apartment Hunters' website in

   25              December 2015 when Apartment Hunters was                   10:47:25




                                                                         71
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 77 of 439 Page ID
                                   #:1501

    1               notified of the allegations."

    2         A.    Right.

    3         Q.    So now, when you say "arranged for immediate

    4    preservation," is that a reference to what we've talked

    5    about today, your call to Mr. Macys and Mr. Portnov?                 10:47:36

    6         A.    Yes, sir, and a phone call thereafter.

    7         Q.    Okay.

    8               And when was the second phone call?

    9         A.    No, the first phone call.

   10         Q.    The first phone call.

   11         A.    Immediately after the email, and the email I

   12    don't have here.     Unfortunately, I also left my phone in

   13    the car.    But we have an email with the date and all of

   14    that.

   15         Q.    I see.   So there's an email and a call?                  10:48:00

   16         A.    And a call immediately after, and I explained

   17    that I even went down the chain of employees.

   18         Q.    Okay.    I'm sorry, you went down the . . .

   19         A.    The chain even to the seven ladies that don't

   20    have anything to do with the listings, and I made sure               10:48:17

   21    the whole company knows.

   22         Q.    You emailed all of them; correct?

   23         A.    No.

   24               I emailed to Dennis and Vidmantas that subject

   25    line, "Our New 2016 Legal Challenge," and I asked them               10:48:30




                                                                         72
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 78 of 439 Page ID
                                   #:1502

    1    to even tell the team of four -- the other team of four,

    2    down to the customer support.       Nobody touches anything.

    3         Q.   So I want to just -- looking at this statement

    4    here, I just want to understand it.

    5              You say that you arranged for the immediate                10:48:51

    6    preservation of the listings identified by CoStar, but

    7    then you also say that you don't believe any of the

    8    images identified by CoStar were on the website.

    9              So I'm trying to understood what was preserved

   10    in that case.    It seems like you're saying that you                10:49:11

   11    tried to preserve a certain set of listings, but you

   12    couldn't find them?

   13         A.   No.   You're just trying to make this -- twist

   14    this.

   15              I looked at the photos, and by our demeanor,               10:49:23

   16    okay, and your earlier question of what is scraping, it

   17    is not a practice we do.      And the photos that were

   18    there, in my eyes, there were exterior photos and normal

   19    photos to me that could not be copyrighted, in my first

   20    view, and that's what I said.       I don't think these were         10:49:51

   21    on our site.

   22              And I would put my life on it that we received

   23    them from a feed and that proved to be.         When we went to

   24    look for them, we have found them now in a feed.          And

   25    that is my declaration.                                              10:50:14




                                                                         73
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 79 of 439 Page ID
                                   #:1503

    1              So we did not scrape them, and my declaration

    2    is 100 percent correct.      We have the photos, all except

    3    two I couldn't locate any feed.

    4         Q.   So when did you find these photos?

    5              THE WITNESS:     Lincoln, you got them like a few          10:50:40

    6    days ago; right?

    7              MR. BANDLOW:     Yes.

    8              THE WITNESS:     We're done searching for them,

    9    and we have them, except two I couldn't locate, all from

   10    a legitimate agreement with those companies.                         10:50:50

   11         Q.   BY MR. BAUMGARTEN:      So let me start with,

   12    which -- which company was it that had given you --

   13         A.   I don't -- I'm not going to get into it in this

   14    depo, but we're going to present it to you, that those

   15    photos, whether exact or not, were found -- those                    10:51:14

   16    buildings were found with the photos and located.

   17         Q.   So your testimony is that you know which feeds

   18    the photographs that CoStar has identified came from,

   19    you discovered that last week, but you're not --

   20         A.   I'm not going --

   21         Q.   -- going to tell me?

   22         A.   -- to give testimony on something that hasn't

   23    been presented yet.     So I'm not going there.

   24              MR. BANDLOW:     We have to put the information

   25    together for you to produce it to you.        We're in the           10:51:51




                                                                         74
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 80 of 439 Page ID
                                   #:1504

    1    process of doing that.

    2              MR. BAUMGARTEN:     Okay.

    3         Q.   Will you tell me whether it was from --

    4         A.   No.

    5         Q.   -- just one web source or multiple?                        10:52:08

    6         A.   No.

    7         Q.   Let me just go back to paragraph 6.        I truly am

    8    just trying to understand.

    9              At the time in December 2015, am I correct that

   10    you had not been able to find any listings initially in              10:52:29

   11    December 2015?

   12         A.   Uh-huh.

   13         Q.   You did not find any listings; correct?

   14         A.   Uh-huh.

   15              MR. BANDLOW:     Yes or no.

   16              THE WITNESS:     No, no, no, no.

   17         Q.   BY MR. BAUMGARTEN:      You did not find any?

   18         A.   Right.

   19         Q.   Okay.

   20              And so what was actually preserved in December             10:52:41

   21    2015 if you couldn't find any of the listings?

   22         A.   The lawsuit was originally served, I believe,

   23    two months -- there's a two-month gap almost between

   24    when it was served . . . I don't understand your

   25    question exactly.                                                    10:53:11




                                                                         75
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 81 of 439 Page ID
                                   #:1505

    1         Q.   Sure.    Let me try to clarify.

    2              My understanding is that Apartment Hunters has

    3    only in the last week identified or found on its -- the

    4    cloud or on servers the listings that CoStar identified

    5    in its complaint; is that correct?                                   10:53:30

    6         A.   Right.

    7         Q.   And you've also stated that certain things were

    8    preserved in December?

    9         A.   Right.

   10         Q.   And so I'm trying to figure out, if you didn't             10:53:39

   11    find the listings till last week, what specifically was

   12    preserved --

   13         A.   Everything that --

   14         Q.   -- last December?

   15         A.   Everything that was mentioned in the original              10:53:48

   16    lawsuit, and the listings that later came.         Your later

   17    filings is what we preserved, and other stuff that was

   18    mentioned in the original suit, we have kept constantly

   19    going on.

   20              But specifically December 2015 was just the                10:54:10

   21    general complaint.     After that you asked for more

   22    detailed stuff that we started to preserve.         But as a

   23    practice, we don't do any digital or physical

   24    destruction.

   25              MR. BAUMGARTEN:     Let me show you what we'll             10:54:34




                                                                         76
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 82 of 439 Page ID
                                   #:1506

    1    mark as Exhibit 10.

    2              (Exhibit 10 was marked for identification.)

    3         Q.   BY MR. BAUMGARTEN:      This is Exhibit 8 to the

    4    complaint, it was filed along with the complaint.

    5         A.   Uh-huh.                                                    10:54:52

    6         Q.   And this includes roughly 26 different

    7    listings, I believe, that encompass somewhere in the

    8    90s.   I don't know the exact number of photographs.

    9         A.   Uh-huh.

   10         Q.   Did you see this in December when we first                 10:55:09

   11    served the complaint?

   12         A.   Uh-huh.

   13         Q.   I'm sorry, I need "yes."

   14              MR. BANDLOW:     Say "yes" or "no."

   15              THE WITNESS:     Yes, yes, yes.

   16         Q.   BY MR. BAUMGARTEN:      Sorry about that, but I --

   17         A.   No.    I was looking -- I apologize.

   18         Q.   No.    That's fine.

   19              So these listings that you got in December --

   20         A.   Yes.                                                       10:55:29

   21         Q.   -- how were these preserved?

   22              What was done to preserve these specifically?

   23         A.   These listings, when we went to get them, these

   24    photos were not there.      When we pulled up these URLs, we

   25    had either floor plans there or a different photo there.             10:55:53




                                                                         77
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 83 of 439 Page ID
                                   #:1507

    1               So by the time that you had served us and you

    2    had pulled up these URLs, first of all, the listing ID

    3    numbers had changed, and we couldn't open these URLs.

    4    Secondly of all, these photos were not on your site

    5    anymore.    So we couldn't pull up these photos.                     10:56:19

    6         Q.    I understand that.

    7               So my question is:     What was preserved, then,

    8    in December?

    9               I understand that you couldn't -- because you

   10    couldn't pull up the photos, you couldn't preserve                   10:56:28

   11    them --

   12         A.    Right.

   13         Q.    -- but what was preserved?

   14         A.    We had to go -- I'm not -- we started to

   15    preserve our entire back end of listings, photos not to              10:56:37

   16    be overwritten until we can go and look for what you're

   17    asking for.    So if we had these photos in the past, they

   18    would have been overwritten with new stuff.

   19               So when you served us in December, all

   20    processes were turned off.       That's preservation.     But        10:57:02

   21    when I went in to look for these immediately after I got

   22    the suit, these photos we didn't have.        They were

   23    replaced already.

   24         Q.    So you've also written, and this is at

   25    paragraph 8 of the same -- of your statement, your                   10:57:22




                                                                         78
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 84 of 439 Page ID
                                   #:1508

    1    declaration, you wrote that you "froze the listings at

    2    issue."

    3         A.    Yes.

    4         Q.    Those were these issues -- these listings?

    5         A.    Yes.                                                      10:57:31

    6               But at the time they had already changed.

    7         Q.    I understand that.

    8         A.    See, what happens, the second it becomes

    9    midnight, 12:01, these listing IDs change.          They get

   10    refreshed.                                                           10:57:45

   11         Q.    Every day?

   12         A.    Yeah.   Of course.    There's a new session, a new

   13    cookie.    It opened you up for error HTTP 404.

   14               (To Mr. Bandlow) We did this, right, Lincoln?

   15               MR. BANDLOW:    Uh-huh.                                   10:58:07

   16         Q.    BY MR. BAUMGARTEN:     And you did this -- you did

   17    this once on -- in December after you took a snapshot of

   18    the website on that day after we sent this to you;

   19    correct?

   20         A.    I didn't take a snapshot.         I went killing          10:58:12

   21    myself to open these, and the ones I opened did not have

   22    any of these images.      So we didn't have these photos.

   23         Q.    Okay.

   24               So if you didn't have the photos, which I

   25    understand --                                                        10:58:33




                                                                         79
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 85 of 439 Page ID
                                   #:1509

    1         A.    Uh-huh.

    2         Q.    -- I'm trying to understand exactly what was

    3    done to preserve.

    4               You captured the website as it existed on that

    5    day?                                                                 10:58:43

    6               What did you do exactly?

    7         A.    We didn't have to capture the website as it is

    8    that day.    We stopped any processes that would actually

    9    remove listings, remove photos, replace photos, or

   10    feeds --                                                             10:59:01

   11         Q.    So did --

   12         A.    Allow me to finish.

   13         Q.    Sure.

   14         A.    -- replace feeds, remove photos, remove

   15    listings, any automated process.                                     10:59:06

   16               So there was no destruction process.        It would

   17    just be automated processes that would clean up space

   18    for us.    Right?    That's what we stopped.     That's

   19    preservation.

   20         Q.    You stopped the automated processes that clean            10:59:27

   21    up space?

   22         A.    Right.

   23               So this would be -- this would eventually --

   24    this is what we were earlier talking about.         If we kept

   25    photos going back to 1999, as you recall earlier, we                 10:59:40




                                                                         80
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 86 of 439 Page ID
                                   #:1510

    1    would need 31 floors of servers.

    2         Q.   Okay.

    3         A.   And then this is what we started to preserve,

    4    look for, and try to see where it came from.

    5         Q.   So your testimony is that you -- I understand              10:59:54

    6    that you don't have every photo since 1999.

    7              But you're saying that you do have every piece

    8    of information since on or about December 18th, 2015?

    9         A.   We are going to present photos to you once they

   10    are ready.                                                           11:00:14

   11         Q.   I appreciate that, but that's not my question

   12    here.

   13              My question is:     Has every incoming feed

   14    listing since December 18th or about then been

   15    preserved?                                                           11:00:31

   16         A.   That relates to the fact that the photos that

   17    we received were in that feed and not taken from CoStar.

   18         Q.   So you have -- you've only have been preserving

   19    some of the incoming feeds since December of --

   20         A.   We have found --                                           11:00:50

   21         Q.   -- 2015?

   22         A.   -- the same property addresses with these

   23    pictures in our feeds.      We have the feeds, yes.

   24         Q.   Okay.    That's not my question though.

   25         A.   I don't understand your question.                          11:01:02




                                                                         81
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 87 of 439 Page ID
                                   #:1511

    1         Q.   Well, I'll rephrase for --

    2         A.   And also, your question is pretty much you're

    3    trying to get earlier information before we present you

    4    with the photos.     I pretty much can't answer that until

    5    you prepare the photos and present it.                               11:01:19

    6              MR. BANDLOW:      Well, he's asking you about

    7    processes that you went through over the course of time.

    8    Obviously, we are going to produce to him the

    9    information that we have just uncovered that shows where

   10    all of these came from.                                              11:01:33

   11              But to the extent that he's asking you what

   12    process you went through to preserve documents --

   13              THE WITNESS:      Right.   We preserve --

   14              MR. BANDLOW:      -- do the best you can to answer

   15    his question.                                                        11:01:42

   16              THE WITNESS:      We preserve everything actually.

   17    So when I said we've turned off every automated process,

   18    so we've kept the feeds.

   19         Q.   BY MR. BAUMGARTEN:      Okay.     So let me make sure

   20    I understand.                                                        11:01:53

   21         A.   Uh-huh.    Yes.

   22         Q.   Your testimony was that normally RentPath sends

   23    you a feed every day or twice a day?

   24         A.   Uh-huh.

   25         Q.   And that the new feed replaces the old feed?               11:02:05




                                                                         82
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 88 of 439 Page ID
                                   #:1512

    1         A.   Uh-huh.

    2         Q.   That the old feed might be backed up for three

    3    days to a week?

    4         A.   Yes.

    5         Q.   But generally the old feed is just written over            11:02:15

    6    because of storage preservation issues?

    7         A.   Correct.

    8              MR. BOYLE:    You need to say "yes."

    9              THE WITNESS:     Yes.   Sorry about that.     Yes.

   10         Q.   BY MR. BAUMGARTEN:      Okay.     So if, for instance,     11:02:24

   11    we went and said, "We want to see every feed that you

   12    received on January 20th of 2016" --

   13         A.   Correct.

   14         Q.   -- you would have every feed that you have

   15    received from --                                                     11:02:39

   16         A.   Correct, and we presented some feeds to you.

   17         Q.   I'm sorry.    You presented -- I know you --

   18         A.   We did send you the feeds.        We did deliver

   19    feeds.    So if you asked me for the January 20th feed,

   20    yes, we have it.                                                     11:02:56

   21              MR. BAUMGARTEN:     Okay.   Why don't we take a

   22    short break.     We've been going for about 45 minutes.

   23    Why don't we take a short break.

   24              THE WITNESS:     We can go for a quick bite maybe?

   25              MR. BANDLOW:     Yeah, when do you think we can



                                                                         83
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 89 of 439 Page ID
                                   #:1513

    1    have lunch?

    2              THE VIDEOGRAPHER:      Off record, 11:03 a.m.

    3              (Recess from 11:03 a.m. to 11:13 a.m.)

    4              THE VIDEOGRAPHER:      Returning to record,

    5    11:13 a.m.                                                           11:13:46

    6         Q.   BY MR. BAUMGARTEN:      So, Mr. Shayan, before we

    7    go back into questions, I just want to confirm that

    8    you're aware that there is a protective order in this

    9    case.

   10              Are you aware of that?                                     11:14:01

   11         A.   Yes.

   12         Q.   And that means that there are protections for

   13    how information can be shared, and things can be marked

   14    such that it wouldn't be shared beyond the attorneys of

   15    my client.                                                           11:14:16

   16         A.   Right.

   17         Q.   But your position is that you're going to

   18    refuse to answer certain factual questions about, for

   19    instance, the admin panel, about apartmenthunterz.com

   20    info based on confidentiality concerns?                              11:14:28

   21         A.   Not confident- -- yes.      Some of it is confiden-

   22    -- admin panel is completely proprietary stuff, so --

   23              MR. BANDLOW:     And irrelevant to the lawsuit.

   24    It contains no information remotely relevant to anything

   25    in this lawsuit.                                                     11:14:44




                                                                         84
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 90 of 439 Page ID
                                   #:1514

    1              MR. BOYLE:    So are you representing on the

    2    record that the daily reports from the coders in

    3    Lithuania have been reviewed?

    4              MR. BANDLOW:     What are you talking about?      The

    5    daily reports that he sees on his admin?                             11:14:55

    6              MR. BOYLE:    Yes.   Have they been reviewed?

    7              MR. BANDLOW:     What do you mean by "reviewed"?

    8              MR. BOYLE:    Reviewed for responsiveness.

    9              MR. BANDLOW:     That I don't know.

   10              MR. BOYLE:    So you cannot make that                      11:15:08

   11    representation?

   12              MR. BANDLOW:     I thought you were talking about

   13    his back-end site.

   14              THE WITNESS:     That's the back-end site.

   15              MR. BOYLE:    We want to make it clear so that             11:15:15

   16    there's no surprise when it happens, so we will be

   17    seeking relief from the court because there's no basis

   18    not to answer those questions.

   19              MR. BANDLOW:     Well, I don't think he was -- I

   20    don't think he was asked those questions.         I don't think      11:15:27

   21    he was asked, "Did you review the -- your admin reports

   22    to see if there were any communications with any of your

   23    employees regarding facts relevant to this lawsuit?"

   24              MR. BOYLE:    Well, he was asked preliminary

   25    questions about those reports, and the record will show              11:15:43




                                                                         85
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 91 of 439 Page ID
                                   #:1515

    1    that he refused to answer questions about those reports,

    2    so the --

    3              THE WITNESS:     That's not --

    4              MR. BOYLE:    -- predicate questions you said you

    5    would refuse to answer.      So we can't investigate that.           11:15:55

    6    If you want to speak off the record about --

    7              THE WITNESS:     There is no reporting there.

    8    This is -- "I arrived at 8:00 a.m.          I worked here.

    9    I worked on this."     They don't talk amongst themselves.

   10              MR. BOYLE:    Would you like to speak off the              11:16:09

   11    record and then we can ask those questions?

   12              MR. BANDLOW:     If you want to ask him about if

   13    he ever saw in his daily review of what his employees

   14    were doing, anything that related to CoStar or this

   15    lawsuit or anything of that nature, I'll evaluate that               11:16:21

   16    question.    But just to simply say, you know, "Will you

   17    produce all of the daily communications with your

   18    employees" --

   19              THE WITNESS:     No.   I delete it daily.     It gets

   20    deleted daily.     It's like, "Boss, I came in at 8:00.              11:16:33

   21    Tomorrow can I have the day off?"        It's just --

   22              MR. BANDLOW:     Okay.

   23              THE WITNESS:     It's just a little note page.

   24              MR. BOYLE:    Okay.    So he was asked how many

   25    reports were made, how often they were made, whether                 11:16:44




                                                                         86
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 92 of 439 Page ID
                                   #:1516

    1    they were backed up.      The record will reflect he refused

    2    to answer.

    3              If he's willing to answer those --

    4              MR. BAUMGARTEN:     I can go back.

    5              MR. BOYLE:    -- David can go back to those.        He     11:16:53

    6    wouldn't answer whether they were backed up.         He said

    7    that's confidential.

    8              THE WITNESS:     No, no.   It's like a little

    9    yellow sticky pad for four people.

   10              MR. BOYLE:    That's nonresponsive.                        11:17:05

   11              We can go back to this and get an answer.         That

   12    will avoid having to go to the court.

   13              MR. BANDLOW:     You can ask him questions about

   14    what he recalls seeing of his communications by his

   15    employees --

   16              THE WITNESS:     But that is --

   17              MR. BANDLOW:     -- and he --

   18              THE REPORTER:     Sir, you have to wait --

   19              THE WITNESS:     That is the heart of the company

   20    and access will never be given.

   21              THE REPORTER:     I cannot report --

   22              MR. BANDLOW:     We're not on the record.

   23              THE REPORTER:     -- when you answer on top of the

   24    other attorneys.

   25              MR. BANDLOW:     We're not on the record.



                                                                         87
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 93 of 439 Page ID
                                   #:1517

    1              THE WITNESS:     We're not on the record.

    2              MR. BANDLOW:     We're not on the record.      We

    3    haven't been yet.

    4              MR. BOYLE:    We have been.

    5              THE REPORTER:     You are on the record.

    6              MR. BANDLOW:     When did we go on the record?

    7              You said "Before we go on the record, I wanted

    8    to clarify some things to you."

    9              THE REPORTER:     I have been on the record.        Are

   10    you off the record now?

   11              MR. BOYLE:    No, he didn't say, "Before we go on

   12    the record."

   13              MR. BANDLOW:     Okay.   That's all fine.     I don't

   14    want -- so then let her be able to type again.

   15              THE REPORTER:     I just want to say, sir, when

   16    you interrupt them, I cannot report --

   17              THE WITNESS:     We were off the record.

   18              MR. BOYLE:    No, we were not off the record.

   19              THE REPORTER:     I was reporting on the record.

   20              MR. BAUMGARTEN:     I'm pretty sure I said,

   21    "Before I ask some more questions."

   22              MR. BANDLOW:     I never heard her announce that

   23    we were back on the record, which happens every single

   24    time a videotape recommences.

   25              THE REPORTER:     She did say that.



                                                                         88
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 94 of 439 Page ID
                                   #:1518

    1               MR. BOYLE:    Everybody else in the room heard

    2    it.

    3               MR. BANDLOW:    That's fine.      Let's go off the

    4    record for a moment right now, please.

    5               THE REPORTER:    Sure.   Off the record?

    6               MR. BAUMGARTEN:    Sure.

    7               MR. BOYLE:    Sure.

    8               THE VIDEOGRAPHER:     Off record, 11:18 a.m.

    9               (Discussion held off the record.)

   10               THE VIDEOGRAPHER:     Returning to record,                11:20:04

   11    11:20 a.m.

   12          Q.   BY MR. BAUMGARTEN:     Mr. Shayan, let's talk a

   13    little bit about the admin panel.

   14               I believe you've testified that you get reports

   15    from the Lithuanian -- the employees based in Lithuania.             11:20:18

   16          A.   I get notes, daily notes.

   17          Q.   Daily notes, okay.

   18               And you get notes from all the programmers?

   19          A.   Not all.   I get notes -- I don't get notes from

   20    the team leaders or the lead programmer Vidmantas.                   11:20:30

   21               Just every day in there, they write down a few

   22    major achievements, questions, or vacation requests.            If

   23    I have time to read them, I read them.         If I have to

   24    leave it there, I say "@Kevin, do this."         If it's

   25    something just informational, there's an X red button.               11:21:00




                                                                         89
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 95 of 439 Page ID
                                   #:1519

    1    I hit it to clean it.      Because if I don't clean it, then

    2    they think I don't care, I haven't read it, and it's

    3    unmotivational, et cetera.

    4         Q.    Okay.

    5         A.    Sometimes when I'm not there, it adds up to be             11:21:16

    6    two days, three days.      I write "@Kevin, will read.      Do

    7    not move," and that's it.      It's like a square yellow

    8    sticky where they just type requests.

    9         Q.    And this is sort of the primary way that you

   10    communicate with the coders; correct?                                 11:21:38

   11         A.    It's not a primary way.      It's just a little

   12    sticky -- I keep telling you.       It's a sticky little

   13    notepad.

   14         Q.    I understand.

   15               But you've said that you -- you never talk to              11:21:47

   16    the coders on the phone; right?

   17         A.    I've never spoken to them.       This is -- this is

   18    just the little request page and a little "Boss, can I

   19    take tomorrow off?     Can I be late, my wife is going

   20    there?"    And instead of -- when Vidmantas is not                    11:22:02

   21    available, they write to me there, me being admin.

   22         Q.    Sure.

   23               So when they need to talk to you, they talk to

   24    you about it through this admin panel; correct?

   25         A.    Right.                                                     11:22:16




                                                                          90
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 96 of 439 Page ID
                                   #:1520

    1         Q.   Okay.

    2              And you said Vidmantas doesn't use it, and you

    3    said the team leader doesn't use it?

    4         A.   Yeah.

    5              Those guys are immune because they're pretty                11:22:23

    6    much supervisors.

    7         Q.   I'm sorry, who is the team leader, is that

    8    Vidmantas or --

    9         A.   Vidmantas, Dennis, Garmanus, the other guys

   10    that are in charge of uploading.        There's a team leader         11:22:35

   11    in charge of putting the listings up, feeds up, or

   12    removing the listings.      There's team leaders.      So they

   13    are immune.     They can pretty much come and go as they

   14    wish.

   15         Q.   And these notes that are left for you, you                  11:22:52

   16    effectively delete them as you deal with them?

   17         A.   Yeah.

   18              I just read them.      It's today's happenings, you

   19    know, "We bought lunch for everybody," you know,

   20    ta-ta-ta, and that's it.                                              11:23:07

   21         Q.   And after receiving this complaint, did you

   22    change your policy and start preserving these notes?

   23         A.   No.

   24         Q.   Is this sort of notepad the entirety of your

   25    admin panel, or are there other parts to your admin                   11:23:20




                                                                          91
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 97 of 439 Page ID
                                   #:1521

    1    panel?

    2         A.   No.

    3              There's a lot more to the admin panel, but

    4    that's the proprietary workings for me of the company,

    5    and that is, again, proprietary and none of anybody's                11:23:36

    6    business.    That's like giving Samsung access to Apple's

    7    business.

    8         Q.   Okay.    I'll come back to that, but let me go

    9    back to the notepad part of it.

   10              Do you ever confirm achievements that people               11:23:57

   11    have made, or do you confirm the daily activities

   12    they've done via that notepad?

   13         A.   What do you mean confirm?         That's their job.

   14    I don't have to say, "Wow, thank you," or "Good job."

   15    There's no back and forth like that.                                 11:24:13

   16         Q.   Is there ever any discussion of job-related --

   17    I understand that there's discussions of "Can I take

   18    vacation?"

   19              Are there ever any discussions of job-related

   20    activities or operational issues through that panel?                 11:24:27

   21         A.   No.

   22         Q.   Okay.

   23         A.   They get it from the team leaders.

   24         Q.   Okay.    Let me go back to, then, the

   25    non-notepad.                                                         11:24:39




                                                                         92
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 98 of 439 Page ID
                                   #:1522

    1               There is data on this admin panel other than

    2    the notepad part; correct?

    3         A.    Yes.

    4         Q.    Okay.

    5               And are you willing to answer whether or not                11:24:53

    6    that data has been preserved in connection with this

    7    lawsuit?

    8         A.    Yes.

    9               That data has been preserved, of course.

   10         Q.    All the data in the admin panel has been                    11:25:03

   11    preserved?

   12         A.    Of course.

   13         Q.    And who was it preserved by?

   14         A.    This is the front panel.      This is the HTML

   15    panel.    This is like opening the web page panel.         This        11:25:20

   16    is not the code panel.      So when I said my dream was to

   17    make a web page where I could see, because I can't code.

   18    So this is the dummy version.

   19               It was preserved by Dennis and Vid.       The

   20    preservation cannot be on a HTML, if you understand.                   11:25:41

   21    HTML is opening www.google.com.       That's not where

   22    preservation happens.      Preservation happens on a server.

   23         Q.    Correct.

   24         A.    Okay?   Preservation did not happen at admin

   25    level on a single page.                                                11:26:03




                                                                           93
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 99 of 439 Page ID
                                   #:1523

    1         Q.   It did not happen?

    2         A.   On this particular admin panel.

    3              This admin panel does not have the capability

    4    to talk to the Amazon server and start saying preserve

    5    this and that.     This is a much more basic page.       So when     11:26:23

    6    the email came out and telephone conversation came,

    7    preservation was done on the Amazon server.

    8              You keep trying to twist it that whether I did

    9    it or not.    I am not capable of getting into the server

   10    nor is this page, admin.                                             11:26:39

   11         Q.   The admin page --

   12         A.   Is not capable of going into the Amazon server.

   13    It is connected to the database.        However, it does not

   14    have a button to preserve, or the button to get into the

   15    database, put a date range in, and preserve.         It just         11:26:59

   16    doesn't have it.     It's just informational.      It was made

   17    for me because I can't get into the MySQL.         I can't get

   18    into the database.     They made it so I don't screw

   19    anything up.    That's pretty much it.

   20         Q.   Mr. Shayan, this will go quicker if you just               11:27:21

   21    let me ask the question --

   22         A.   Go ahead.

   23         Q.   -- and you just answer the question.

   24         A.   Go ahead.

   25         Q.   Yes or no, data comes in through the admin                 11:27:28




                                                                         94
                                Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 100 of 439 Page ID
                                    #:1524

     1    panel from -- there is information in there that you

     2    read?

     3              There's something in the admin panel; correct?

     4        A.    I can clarify for you.

     5        Q.    Okay.                                                     11:27:38

     6        A.    Data comes in there inputted by hand by the

     7    landlords.   Okay?    And still after 15 years my brother

     8    Steve and I sit there and we call it the small bid.

     9    It's a small bid.     Where we actually read each and every

    10    listing and go through all the photos before it goes                11:28:08

    11    live.

    12              Some of these landlords put in discriminatory

    13    sentences, like "This property is perfect for adults, no

    14    children," et cetera.

    15        Q.    Sure.                                                     11:28:25

    16        A.    And we go through that even though we have

    17    filters and clean it up, some negative pictures or

    18    nudity, et cetera.

    19              So every hour we go in there, there's 30, 40,

    20    50 listings.    Some of them only want to allow it for two          11:28:42

    21    days.    We extend it because you can't rent a place in

    22    two days.    So that is in the admin panel.      Right?

    23              So when it said in that BBB that, you know,

    24    that we have measures, that is what it is talking about.

    25    We verify the listings.      And also people, the Nigerians         11:29:04




                                                                         95
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 101 of 439 Page ID
                                    #:1525

     1    came to see our database, put in fake listings.         That's

     2    where the buck stops.

     3              So admin does have listings in it, not the

     4    feeds.   The feeds don't come to admin.       The feeds go to

     5    the server.                                                         11:29:25

     6        Q.    Understood.    So let me ask a few follow-ups.

     7        A.    Number of sales comes to the admin.

     8        Q.    The listings that come through to the admin,

     9    are those preserved in some way?

    10        A.    I approve them.     They go live to the website.          11:29:42

    11    After that they are in the database, and they are

    12    preserved, yeah, because the landlord can deactivate

    13    them and activate them.

    14        Q.    Okay.    So what --

    15        A.    So they're back in the database.       So they're         11:30:03

    16    back where the listings -- all the listings are.

    17        Q.    And then whatever preservation is whatever

    18    would be happening to the whole database?

    19        A.    Right.

    20              We don't see -- we didn't delete.        We activate      11:30:15

    21    or deactivate.     If I may explain?    Our system doesn't

    22    let you delete.    It lets you activate or deactivate.

    23        Q.    And when something is deactivated, then it

    24    disappears from the system; correct?

    25        A.    No, sir.                                                  11:30:28




                                                                         96
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 102 of 439 Page ID
                                    #:1526

     1               It sits there.    As a landlord, it sits there.

     2    You could also reactivate it.       We have a landlord system

     3    and then we have a feed system.       They operate

     4    separately.

     5          Q.   Okay.   That's helpful.                                  11:30:44

     6               And your testimony is that when things come in

     7    from landlords, you or your brother quality-control

     8    every single one?

     9          A.   Every single one.

    10          Q.   That's not true of the feed agreements;                  11:30:57

    11    correct?

    12               Those come through and are automatically going

    13    in?

    14               Does that --

    15          A.   No.                                                      11:30:58

    16               Feeds are also -- I mentioned earlier, feeds

    17    are also checked by Dennis, and also the feed clean and

    18    make sure that they are not duplicates.        They're

    19    correct.   They're photos.     And I don't -- I had

    20    mentioned, I don't know if the photos come separately               11:31:16

    21    from the text.     I'm not savvy to that.

    22          Q.   Okay.

    23               Let me turn to the other topic that you had

    24    initially refused to answer factual questions regarding,

    25    and let me -- if you're not going to answer, that's                 11:31:39




                                                                         97
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 103 of 439 Page ID
                                    #:1527

     1    fine.    I just want to be clear on this.

     2              So that was the apartmenthunterz.info website.

     3              (Telephone interruption)

     4        A.    Sorry, I left my phone -- I'll turn it off.

     5    Sorry about that.     Sorry about that.     Go ahead.               11:31:57

     6        Q.    Your testimony previously on the

     7    apartmenthunterz.info website was that, for instance,

     8    you would not tell me who can access that site.

     9        A.    Me, Dennis, and Vid, and not even -- I don't

    10    think Steve goes in there.      But me, Dennis, Steve, and          11:32:09

    11    Vid.

    12        Q.    And can you tell me at a general level what

    13    sort of information is in that website?

    14        A.    If we were to make the apartmenthunterz.com

    15    pink, before we chose what shade of pink, we would throw            11:32:25

    16    it in there until we decide.

    17        Q.    And has the information within

    18    apartmenthunterz.info been preserved in some way?

    19        A.    Yes.

    20              It's the same exact thing until we choose what            11:32:40

    21    color.   It's a sandbox, as we call it in the internet

    22    industry.   It's our playground for testing new stuff.

    23        Q.    Let me go back to some prior testimony.

    24              You've talked about the backups; correct?

    25              That there's a lot of information, and                    11:33:06




                                                                         98
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 104 of 439 Page ID
                                    #:1528

     1    therefore, generally, the feed agreement -- I'm sorry,

     2    that feeds that come in, the data, is only backed up for

     3    about three days to a week?

     4        A.    I have very, very limited knowledge there,

     5    because that is also on a server.       And I just have             11:33:23

     6    confidence that a couple of times when the servers went

     7    down, we were able to bring them up from a previous

     8    backup.   So I cannot answer too many backup questions.

     9        Q.    That's fine.

    10        A.    I can answer to the best of my knowledge.                 11:33:45

    11        Q.    All I'm asking is for you to answer my direct

    12    questions to the extent you can.

    13              You've also just testified, I think, that

    14    following receiving this complaint, you changed

    15    Apartment Hunters' policy so that every single feed that            11:34:03

    16    comes in is preserved?

    17        A.    Yes, sir.

    18        Q.    So the one incoming feed that you said

    19    refreshes four times a day, you have four feeds each day

    20    for ten months.                                                     11:34:18

    21              That's all been saved?

    22        A.    Yes, sir.

    23        Q.    And where has that been saved?

    24        A.    Obviously, on the server.

    25        Q.    On the Amazon Cloud server?                               11:34:26




                                                                         99
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 105 of 439 Page ID
                                    #:1529

     1        A.    Yes, sir.

     2        Q.    And so that's -- is that -- that must be much

     3    more data than you'd ever previously saved; correct?

     4        A.    I believe so, yes.     It's in a zip or a tar

     5    file.                                                                11:34:41

     6        Q.    Okay.

     7        A.    But you're talking -- see, this -- the one that

     8    you just mentioned has nothing to do with the listings.

     9    This is the multiple listing service.        I want to be

    10    clear.   This is not normal apartments.       This is the            11:35:00

    11    Realtor data.

    12        Q.    I'm sorry, what . . .

    13        A.    What you just mentioned, ListHub --

    14        Q.    Yes.

    15        A.    -- that's the Coldwell Banker.                             11:35:20

    16        Q.    Yes.

    17        A.    That's Re/Max.

    18        Q.    Yes.

    19        A.    So if we preserved it or not, which we have,

    20    has got nothing to do with the CoStar matter.         CoStar         11:35:26

    21    doesn't go to the MLS site.      CoStar is doing the

    22    apartments.    But I just wanted to clarify that.

    23        Q.    I would be happy to discuss just the feeds that

    24    you believe the CoStar information came from if you

    25    could tell me what those feeds are.                                  11:35:47




                                                                         100
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 106 of 439 Page ID
                                    #:1530

     1        A.    Minus the ListHubs, sir.

     2        Q.    Okay.   So RentPath, for instance?

     3        A.    Yes, yes, yes, yes, yes.

     4        Q.    So the --

     5        A.    Because we're licensed for the MLS, right, and            11:36:02

     6    that's Realtors.

     7        Q.    So taking RentPath, has every feed that's come

     8    in from RentPath --

     9        A.    Yes, sir.

    10              MR. BANDLOW:    Let him finish -                          11:36:15

    11              THE WITNESS:    Sorry.    It --

    12        Q.    BY MR. BAUMGARTEN:     I also just want to state,

    13    when no question is pending, it's -- you really can't

    14    just start speaking, sir.      I have to ask -- wait for my

    15    questions.   Okay?                                                  11:36:24

    16        A.    Sorry about that.

    17        Q.    If you could only respond when I ask a

    18    question, I'd appreciate it.

    19        A.    I apologize.

    20        Q.    Thank you.                                                11:36:30

    21              Other than the cloud, does Apartment Hunters

    22    have any other places where any sort of information is

    23    stored?

    24        A.    No.

    25        Q.    So the folks in -- well, let's start with                 11:36:44




                                                                        101
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 107 of 439 Page ID
                                    #:1531

     1    yourself.

     2               You work at a laptop?     A desktop?    What type of

     3    computer do you use?

     4        A.     I have a touchscreen and a huge computer.

     5        Q.     Okay.                                                    11:36:58

     6               And on that huge computer, there's a hard

     7    drive; correct?

     8        A.     Yes, sir.

     9        Q.     Has that hard drive been preserved in

    10    connection with this matter?                                        11:37:06

    11        A.     I don't store anything on it.      I don't usually

    12    download.    I just get on the web, open a page, and

    13    that's it.   I don't have any data on it.

    14        Q.     Do your --

    15        A.     I have music on it, and that's it.                       11:37:23

    16        Q.     Your employees in Lithuania, do they use

    17    laptops?    Do they use desktops?

    18        A.     Desktops.

    19        Q.     And have those hard drives been preserved or

    20    searched in connection with this matter?                            11:37:39

    21        A.     I have no idea what -- whether they store stuff

    22    on it, or it's on the Amazon server.         I have not been to

    23    Lithuania.

    24        Q.     So you're not sure whether the hard drives have

    25    been searched and they may store things?                            11:37:58




                                                                        102
                                  Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 108 of 439 Page ID
                                    #:1532

     1        A.    I have not been to Lithuania.

     2        Q.    Everything that is done in -- let me strike

     3    that.

     4              Are there any other cloud servers that your

     5    employees either in Lithuania or Russia use?                        11:38:10

     6        A.    No, sir.

     7        Q.    Do you have hard copy files personally?

     8        A.    No, sir.

     9        Q.    Do you know if your employees in Lithuania or

    10    Russia have hard copy files?                                        11:38:24

    11        A.    No, they don't.

    12        Q.    They don't.    Okay.

    13              Do you know whether there are any external hard

    14    drives or thumb drives that are ever used?

    15        A.    Absolutely not.                                           11:38:35

    16        Q.    And how do you know not if you've never been to

    17    Lithuania?

    18        A.    We don't have a reason to do thumb drives or

    19    external drives.     There's plenty of storage on our

    20    cloud.                                                              11:38:50

    21        Q.    So we've talked about the cloud a lot.

    22              In addition to whatever steps were taken to

    23    search the cloud, have any steps been taken to go to

    24    individual employees and ask them, "Do you personally

    25    have documents related to this matter"?                             11:39:10




                                                                        103
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 109 of 439 Page ID
                                    #:1533

     1        A.    No.

     2              They -- they wouldn't normally have it.         It

     3    would all be Dennis and Vidmantas.

     4              (Discussion held off the record

     5        between Mr. Bandlow and the witness.)

     6              THE WITNESS:    The email we sent went down -- I

     7    said it several times -- even down to the girls in

     8    customer support.

     9        Q.    BY MR. BAUMGARTEN:     Understood.    Let me back up

    10    a moment.                                                            11:40:02

    11              You said that the MLS listings had been stored

    12    in some sort of zip file or a tar file; correct?

    13        A.    Right, but they're not related to this case.

    14        Q.    So the listings that are related to this case,

    15    how have they been stored?                                           11:40:17

    16        A.    They've been stored on the server.

    17        Q.    Are they also in zip files, or how are --

    18        A.    I don't know --

    19        Q.    -- they stored?

    20        A.    -- the format, because if it's huge, they're               11:40:24

    21    tarred.   That's what I've heard.      Tar.

    22        Q.    T-a-r?

    23        A.    That's the word that I've heard on -- while I

    24    talk to them, because that's a format that can hold a

    25    lot more information than zip.                                       11:40:41




                                                                         104
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 110 of 439 Page ID
                                    #:1534

     1        Q.    Okay.

     2        A.    That's all I know.

     3        Q.    Okay.

     4        A.    So they have tarred them, I believe, but when

     5    it gets technical, I wish I could help.                             11:40:53

     6        Q.    Your understanding, though, is that those tar

     7    files and zip files stay on the backup -- the tar and

     8    zip files stay on the cloud server?

     9        A.    Correct, sir.

    10        Q.    And those tar and zip files have been searched,           11:41:02

    11    that's why you didn't search them?

    12        A.    And preserved.

    13        Q.    Are you familiar with -- do you know what

    14    interrogatories are?

    15        A.    Yes.                                                      11:41:24

    16        Q.    And you're aware that CoStar served

    17    interrogatories on Apartment Hunters?

    18        A.    Yes.

    19        Q.    And you're aware that Apartment Hunters served

    20    some responses to CoStar?                                           11:41:31

    21        A.    Yes, sir.

    22      * Q.    Can you name the -- so I'll ask -- this is a

    23    yes-or-no question.

    24              Did you speak with Mr. Bandlow or any of his

    25    colleagues about the answers to those?                              11:41:43




                                                                        105
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 111 of 439 Page ID
                                    #:1535

     1              MR. BANDLOW:    Objection.    Calls for

     2    attorney-client communications.

     3              I instruct him not to answer.

     4              MR. BAUMGARTEN:     Whether or not he spoke?

     5              MR. BANDLOW:    Well, you give a subject matter,

     6    so he's going to confirm a subject matter, and therefore

     7    that's going to reveal attorney-client privilege.

     8              So, yes, I object, and I instruct him not no

     9    answer.

    10              "Did you talk to your client about the murder?            11:41:57

    11    Just yes or no," that's asking for attorney-client

    12    communication, and you know it is.

    13              MR. BOYLE:    A privilege log contains the

    14    subject matter of the communication.

    15              MR. BANDLOW:    Okay.   You've asked him a broad          11:42:08

    16    question about what he's discussed with his lawyers

    17    about an interrogatory response.

    18              MR. BOYLE:    No, he didn't.      He asked --

    19              MR. BAUMGARTEN:     Has he -- yes or no, has he

    20    spoken with his attorneys about the responses to                    11:42:14

    21    interrogatories.

    22              MR. BOYLE:    It's perfectly proper.

    23              MR. BANDLOW:    You're asking for the substance

    24    of his communications with his counsel.

    25              MR. BOYLE:    No, he's not.                               11:42:23




                                                                        106
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 112 of 439 Page ID
                                    #:1536

     1              MR. BAUMGARTEN:     Yes or no, has he spoken.

     2    Have conversations occurred?      There's no substance.

     3              MR. BANDLOW:    Well, I think there's actually a

     4    case law for the even existence of a conversation being

     5    a privileged communication.                                         11:42:34

     6              But I'll let him answer this one question with

     7    it not being a waiver of the privilege.

     8              You can answer that one question.        Have you

     9    spoken to your lawyers about the interrogatory

    10    responses?                                                          11:42:44

    11              THE WITNESS:    Yeah, because --

    12              MR. BANDLOW:    That's it.    Yes.

    13              MR. BAUMGARTEN:     That's all I'm asking for.

    14    Okay.

    15        Q.    And I'm going to ask the same question that I             11:42:50

    16    think we decided was proper before.

    17              Without telling me any information that you

    18    know from your conversations with your attorney, do you

    19    know, yes or no, whether any other employees of

    20    Apartment Hunters have spoken with Mr. Bandlow or his               11:43:03

    21    colleagues regarding the interrogatory responses?

    22        A.    No.

    23        Q.    You do not know?

    24        A.    Nobody has spoken.     Nobody else have spoken

    25    with Mr. Bandlow.                                                   11:43:17




                                                                        107
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 113 of 439 Page ID
                                    #:1537

     1        Q.    All right.     That's all I need.    Thank you.

     2              Mr. Shayan, are you aware that to date your

     3    attorneys have produced two agreements relating to feeds

     4    and turned those over to us, produced two agreements?

     5        A.    I believe so, yes, sir.                                   11:43:46

     6        Q.    Let me -- so one was with ForRent Media, and

     7    the other was with Move Sales, Incorporated?

     8        A.    Yes.   Yes.    That's ListHub, yes.

     9        Q.    That's ListHub.     Okay.

    10              And are you aware that CoStar has represented             11:44:04

    11    that ForRent is a competitor to which it does not

    12    provide its listings?

    13        A.    Pardon me?

    14              MR. BANDLOW:     I'm sorry, yes.    Object.   Vague

    15    and ambiguous.                                                      11:44:16

    16              Can you do that one again?

    17              MR. BAUMGARTEN:     Sure.

    18        Q.    CoStar has represented that ForRent is a

    19    competitor of CoStar and therefore CoStar does not

    20    provide its listings to ForRent.                                    11:44:25

    21        A.    Yes.

    22        Q.    Are you aware of that fact?

    23        A.    Yes, sir.

    24        Q.    Can you -- and by "you" I mean, can Apartment

    25    Hunters explain how Apartment Hunters' agreement with               11:44:35




                                                                        108
                                  Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 114 of 439 Page ID
                                    #:1538

     1    ForRent could have authorized Apartment Hunters to use

     2    CoStar's listings?

     3        A.    I don't understand.

     4        Q.    Apartment Hunters produced the ForRent listing

     5    agreement because it believed that perhaps this                     11:44:54

     6    agreement authorized it to publish content that CoStar

     7    had identified; correct?

     8        A.    No.

     9        Q.    Well, let me ask you then:        Why was -- without

    10    revealing any attorney-client communications, why was               11:45:10

    11    that agreement with ForRent Media produced?

    12              Why did you turn that over to us?

    13              Why is that relevant?

    14              Again, not telling us what your attorney told

    15    you.                                                                11:45:23

    16        A.    The question was where do we get -- identify

    17    every source from which you receive data, so we did.

    18        Q.    Okay.

    19              Do you have a reason to believe that the

    20    listings that CoStar has identified as being CoStar's               11:45:33

    21    came from ForRent Media?

    22        A.    Yes.

    23        Q.    And what is that reason?

    24        A.    Similar photos with the same exact address of

    25    the same exact building are in those feeds.                         11:45:51




                                                                        109
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 115 of 439 Page ID
                                    #:1539

     1        Q.    And when did you find those photos?

     2        A.    After searching through all the feeds, in the

     3    last two or three weeks recently we have been able to

     4    put together most -- I would say 95 percent of the

     5    listing photos in question that they did come through               11:46:32

     6    the feeds.

     7        Q.    And --

     8        A.    Or were present previously on the site.         I

     9    don't have the sheet, the Excel sheet in front of me.

    10        Q.    So when this agreement with ForRent was                   11:46:58

    11    presented to CoStar, which I believe was in --

    12        A.    It's not --

    13        Q.    -- May or --

    14        A.    -- all through ForRent.      It came from several

    15    other sources, as well as directly posted through our               11:47:07

    16    website, so . . .

    17        Q.    I'm going to ask you again to not interrupt my

    18    question --

    19              MR. BANDLOW:    Wait for his question.

    20              MR. BAUMGARTEN:     -- and let me finish my

    21    question before you just talk.

    22              THE WITNESS:    Okay.

    23              MR. BAUMGARTEN:     Thank you.

    24        Q.    CoStar -- excuse me.

    25              Apartment Hunters produced this agreement with            11:47:24




                                                                        110
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 116 of 439 Page ID
                                    #:1540

     1    ForRent to CoStar in May or June.

     2        A.    Uh-huh.

     3        Q.    In May or June, what was your basis for

     4    believing that this agreement was the source of the

     5    CoStar photos?                                                      11:47:37

     6              MR. BANDLOW:    Objection.    Lacks foundation,

     7    that he had any basis at that time.

     8              You can answer.

     9              THE WITNESS:    In May or June?

    10        Q.    BY MR. BAUMGARTEN:      In May or June, did you           11:47:46

    11    believe that the CoStar photos had come from ForRent?

    12        A.    The only reason we produced these was the

    13    question you asked that identify all the sources from

    14    which you received data.      That was the only basis that

    15    we produced those documents.                                        11:48:05

    16        Q.    Why don't we look at the exhibit that we marked

    17    as No. 9.

    18        A.    If you guys --

    19        Q.    There's no question.      Sorry.   If you need a

    20    break, that's fine, but there's no question pending.                11:48:16

    21        A.    No, no, no.    Grab a bite to eat, because I

    22    usually -- I'm on a different schedule.        I work 10:00 at

    23    night to 5:00 in the morning, and this is actually my

    24    sleep time, so I'm starving.

    25              MR. BANDLOW:    Okay.                                     11:48:29




                                                                        111
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 117 of 439 Page ID
                                    #:1541

     1              MR. BAUMGARTEN:     We can go off record.     That's

     2    fine.

     3              MR. BANDLOW:    We have to go off the record and

     4    find you some food.

     5              THE VIDEOGRAPHER:     Off record, 11:48 a.m.              11:48:30

     6              This concludes tape No. 2.

     7              (Lunch recess from 11:48 a.m. to 12:29 p.m.)

     8                                  -o0o-

     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25



                                                                        112
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 118 of 439 Page ID
                                    #:1542

     1                       LOS ANGELES, CALIFORNIA

     2                    THURSDAY, SEPTEMBER 29, 2016

     3                              12:29 P.M.

     4                                 -o0o-

     5              THE VIDEOGRAPHER:     This begins tape No. 3 in           12:29:22

     6    the videotaped deposition of Kevin Shayan, taken at 725

     7    South Figueroa Street, 31st Floor, Los Angeles,

     8    California, on September 29th, 2016.

     9              My name is Jeannie Schwarze with Dean Jones

    10    Legal Videos, Inc. out of Santa Ana, California.

    11              Returning to record, 12:29 p.m.

    12
    13                        EXAMINATION (Resumed)

    14    BY MR. BAUMGARTEN:

    15        Q.    Mr. Shayan, could I ask you to look at Exhibit            12:29:46

    16    No. 9 again.

    17        A.    Yes, sir.

    18        Q.    This is the declaration that you signed on

    19    September 1st.

    20        A.    Yes, sir.                                                 12:29:58

    21        Q.    And if I could refer you to paragraph 5.         I'm

    22    going to read the last two sentences -- or the last

    23    three sentences:

    24                    "To maintain the substantial amount

    25              of data, Apartment Hunters only stores                    12:30:13




                                                                        113
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 119 of 439 Page ID
                                    #:1543

     1              the most recent listing information for

     2              a property.    As new photos are uploaded

     3              for a specific property, they are merged

     4              with existing photos and information and

     5              older, outdated material associated with                   12:30:24

     6              the property is removed from the listing.

     7              Because of the sheer volume of this data,

     8              removed content is not backed up."

     9        A.    Correct.

    10        Q.    This was an accurate statement on                          12:30:33

    11    September 1st; correct?

    12        A.    Yes.

    13        Q.    And is this a statement of Apartment Hunters'

    14    current policy?

    15        A.    Yes.                                                       12:30:43

    16        Q.    So currently removed content is not backed up?

    17        A.    It's merged in a marriage together.        So what

    18    happens is that when a new listing comes with two photos

    19    and then the same listing comes with other photos at the

    20    same address, our system actually merges them together.              12:31:10

    21    It's not a -- yes, it's a marriage, merged with the

    22    existing information and the older -- it merges.          So

    23    they get associated together, and one of them has to

    24    leave.

    25        Q.    Let me move on to a different topic.                       12:31:36




                                                                         114
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 120 of 439 Page ID
                                    #:1544

     1              The -- let me show you or ask you.        So we've

     2    been talking about ForRent Media.

     3        A.    For . . .

     4        Q.    ForRent Media, which was one of the two listing

     5    agreements that your counsel produced.                               12:32:10

     6        A.    Yes, sir.

     7        Q.    And I just want to clarify.

     8              Was this produced because you believe that we

     9    asked for all listing agreements, and this is a listing

    10    agreement that you have, or was it produced because you              12:32:22

    11    think that that agreement specifically might have given

    12    you the rights to produce -- to publish the CoStar

    13    photos?

    14        A.    No, sir.

    15              It was produced because you asked, "Give us the            12:32:34

    16    source of any and all sources you do business with or

    17    receive data from."     You asked the broad question, and

    18    we gave you everything.

    19        Q.    And let me ask, then, the same question as to

    20    the second agreement with Move Sales, Inc., which I                  12:32:55

    21    understand is ListHub.

    22              That was also produced because that was an

    23    agreement that you have for listing data and not because

    24    you had a specific belief that Move Sales, Inc. was

    25    providing the photos that CoStar had identified?                     12:33:11




                                                                         115
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 121 of 439 Page ID
                                    #:1545

     1        A.     Correct.

     2               It was asked, yes, for us to name any place we

     3    get listings from.

     4        Q.     Okay.

     5               And you're aware that those are the only two             12:33:24

     6    feed agreements that Apartment Hunters produced;

     7    correct?

     8        A.     Well, there's several others; right?

     9    ApartmentGuide.

    10        Q.     I'm talking about that there have only been two          12:33:37

    11    physically.    I understand that you've named some other

    12    sources.

    13        A.     Right.

    14        Q.     But there have only been two feed agreements

    15    that have been produced in this matter --

    16        A.     Right.

    17        Q.     -- ForRent and Move Sales.

    18        A.     Correct.

    19        Q.     You're aware of that?

    20        A.     Right.   Right.   Right.                                 12:33:52

    21               We could not locate the actual written for the

    22    others.

    23        Q.     And who conducted the search for the other feed

    24    agreements?

    25        A.     I and Steve did.    Apparently, the other written        12:34:03




                                                                        116
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 122 of 439 Page ID
                                    #:1546

     1    ones during our move was misplaced.

     2        Q.    Let me direct you to the same exhibit and

     3    paragraph 15.    If I could ask you to look at paragraph

     4    15 of your declaration from September 1st.         I'm going to

     5    read this.                                                          12:34:37

     6                    "Apartment Hunters has produced

     7              the written agreements it believes serve

     8              as the source of the CoStar photos that

     9              allegedly existed on its website.        Aside

    10              from the written agreements produced,

    11              Apartment Hunters also has agreements

    12              with specific property owners and/or

    13              managers that were orally entered into.

    14              Additional agreements have not been

    15              produced because there are no others                      12:34:54

    16              in Apartment Hunters' possession that

    17              reasonably relate to CoStar listing or

    18              CoStar photographs."

    19              So the first sentence there, you state that you

    20    produced the written agreements that Apartment Hunters              12:35:09

    21    believes serve as the source of the CoStar photos.

    22              Is your testimony today that that wasn't the

    23    case, that you just produced these because they were

    24    listings in general?

    25              MR. BANDLOW:    You've got two different time             12:35:22




                                                                        117
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 123 of 439 Page ID
                                    #:1547

     1    frames.   You've got a time frame for when we originally

     2    produced these agreements, and you've got a time frame

     3    for when he did this declaration.       So your question

     4    confuses those two together -- or is confusing as to

     5    what was his state of mind as to which of those periods             12:35:36

     6    of time that you're asking about.

     7              You've asked him what his state of mind was

     8    back in the summer when we produced documents.         This is

     9    a separate state of mind as of a few weeks ago.

    10              MR. BAUMGARTEN:     Okay.

    11              MR. BANDLOW:    So I think it's confusing.

    12              MR. BAUMGARTEN:     Okay.   Let me -- let me do it

    13    this way then.

    14        Q.    Sitting here today, do you believe that the

    15    agreement with ForRent Media has been the source of the             12:35:59

    16    photographs and listings identified by CoStar?

    17        A.    Not the exact same photos, but within that

    18    address of the same building we have found photos that

    19    are not the same photos that CoStar says, but they were

    20    on our website.                                                     12:36:27

    21        Q.    Okay.

    22              MR. BANDLOW:    You may have found that

    23    particular property that is the subject of --

    24              THE WITNESS:    That particular property that is

    25    the subject of what we're talking about today, and the              12:36:37




                                                                        118
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 124 of 439 Page ID
                                    #:1548

     1    photos were given to us via that feed.

     2        Q.    BY MR. BAUMGARTEN:     How are the photos -- you

     3    said there are similar photos.       How are they --

     4        A.    No.    They're not similar.

     5              It is not the same exact photo that CoStar has            12:36:48

     6    a copyright on.    It is a different photo of the same

     7    exact building.

     8        Q.    So it's not that it's -- strike that.

     9              For instance, the CoStar photo might be the

    10    building from one side of the street, and the photo you             12:37:11

    11    found is from the other side of the street?

    12        A.    Correct, sir.

    13        Q.    And for Move Sales, Inc., do you presently,

    14    sitting here today, believe that that agreement has been

    15    the source of CoStar photos and listings?                           12:37:34

    16        A.    No, sir.

    17        Q.    Are there any other agreements, other than

    18    ForRent Media, that you believe are the source of the

    19    CoStar photographs?

    20        A.    Yes.                                                      12:37:43

    21              They are in the other feeds.       But right this

    22    minute, without having the documents in front of me that

    23    we're about to produce, I cannot pinpoint it for you.

    24        Q.    Going back to paragraph 15 of your declaration,

    25    you also mention oral agreements.                                   12:38:03




                                                                        119
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 125 of 439 Page ID
                                    #:1549

     1              Sitting here today, do you presently believe

     2    that any of the CoStar photographs ended up on your

     3    website as a result of oral agreements?

     4        A.    Right.   And also property managers.       And

     5    inputted directly manually by owners of the properties              12:38:23

     6    and property managers.

     7        Q.    So there are three categories of sources that

     8    you have identified --

     9        A.    Correct.

    10        Q.    -- ForRent, oral agreements, and property                 12:38:37

    11    managers?

    12        A.    There's actually five.

    13        Q.    Could you tell me the other two?

    14        A.    Yes.

    15              So what happens is that we have over 30,000 --            12:38:44

    16    28,900 or so registered landlords that come to our site,

    17    enter their data manually on a daily basis, and put in

    18    their photos on a daily basis.       Okay.

    19              Then we have what's called a speed post where a

    20    landlord can come in quickly without registering as a               12:39:16

    21    landlord, throw in their listings.

    22              And orally is where we call the management

    23    company, ask for permission to enter their listings, and

    24    the answer would be, "I already gave you permission.

    25    You go ahead and put it from my website."                           12:39:38




                                                                        120
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 126 of 439 Page ID
                                    #:1550

     1              And also we receive faxes on a daily basis from

     2    these landlords to enter them.

     3              And we receive emails.      And I have the emails.

     4              (To Mr. Bandlow) As I've given you.        All the

     5    emails we've given.                                                  12:40:03

     6        Q.    I just want for the record to reflect by "you"

     7    you mean Mr. Bandlow and not me.

     8        A.    Yes, sir.

     9              I've given the emails from the landlords.         I've

    10    given the faxes from the landlords to Mr. Bandlow.                   12:40:10

    11              (To Mr. Bandlow)     Right, sir?

    12              MR. BANDLOW:    I think we have those.

    13              THE WITNESS:    But I have them.      If you haven't

    14    received them, I have emails, I have faxes I got on

    15    different dates going back a long time that we receive               12:40:23

    16    from the management companies.       And I have . . .

    17              MR. BANDLOW:    You can keep talking.

    18              THE WITNESS:    And I have the 28,000 landlords.

    19        Q.    BY MR. BAUMGARTEN:     Okay.      So all those emails

    20    you're talking about contain permissions; correct?                   12:40:51

    21        A.    No.

    22              All those emails contain permissions -- okay.

    23    Let's start from scratch.

    24              All those emails are with letterhead of the

    25    management company --                                                12:41:04




                                                                         121
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 127 of 439 Page ID
                                    #:1551

     1        Q.     Yes.

     2        A.     -- below with their properties and their

     3    prices.

     4        Q.     Yes.

     5               Those are emails to you from landlords;                  12:41:09

     6    correct?

     7        A.     Management companies.

     8        Q.     From management companies.

     9        A.     And all the smaller landlords, and it says,

    10    "Please put these in.     Update these."                            12:41:16

    11        Q.     Understood.

    12        A.     And those are emails and then faxes.

    13        Q.     And are you saying -- I understand that you're

    14    talking about that these are all the many sources that

    15    in general Apartment Hunters gets listings from?                    12:41:33

    16        A.     Correct.

    17        Q.     Are you also saying as to the CoStar photos and

    18    listings in particular, you have emails as to those?

    19        A.     No, sir.

    20        Q.     Okay.                                                    12:41:43

    21               And are you saying you have emails as to the

    22    same buildings but with different photos?

    23        A.     No, sir.

    24        Q.     So let's just focus, then, on the CoStar photos

    25    and listings, what you think has authorized those.                  12:41:55




                                                                        122
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 128 of 439 Page ID
                                    #:1552

     1              You said you have some things from ForRent, and

     2    those are photos -- different photos of the same

     3    building; correct?

     4        A.    Uh-huh.

     5        Q.    Okay.                                                     12:42:08

     6              And you had -- you said you had five sources of

     7    CoStar photos.

     8        A.    Allow me.

     9              The speed post would allow any manager of the

    10    CoStar buildings to go in and put the listing in, which             12:42:18

    11    would be seeding our database.

    12        Q.    I don't want to interrupt you, but are there

    13    specific speed posts that you have identified?

    14        A.    We cannot identify speed posts, because the

    15    name explains it all.     You could just go in without us           12:42:35

    16    capturing any movement, and it just says, "Description,"

    17    "Title," "Photo," "Push Post."       It does not go in front

    18    of me for approval.     It just goes up.

    19        Q.    So do you --

    20        A.    It's unmanaged, unlooked at, whatever you call            12:42:56

    21    it --

    22              MR. BANDLOW:    Quality-controlled.

    23              THE WITNESS:    -- posting system.

    24              MR. BAUMGARTEN:     I'd appreciate if he testifies

    25    rather than you.    I think that's fair to ask.



                                                                        123
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 129 of 439 Page ID
                                    #:1553

     1              MR. BANDLOW:    I knew there was a word that he

     2    wanted me to remind him of.

     3              MR. BAUMGARTEN:     I would still appreciate that,

     4    though.   There's been a lot since lunch.

     5        Q.    The speed posts -- this is a yes-or-no                    12:43:21

     6    question.

     7              Have you -- are you aware of specific speed

     8    posts that contain the CoStar photos we've identified,

     9    yes or no?

    10        A.    No.                                                       12:43:31

    11        Q.    Are you aware of specific emails from landlords

    12    or from property management companies giving you

    13    permission as to the specific CoStar listings and

    14    photographs that we've referenced, yes or no?

    15        A.    No.                                                       12:43:50

    16        Q.    Are you aware of specific faxes from whomever

    17    referencing the specific CoStar photos and listings that

    18    we've referenced?

    19        A.    No.

    20        Q.    Going back to the oral agreements, does                   12:44:01

    21    Apartment Hunters keep records of oral agreements it

    22    receives?

    23        A.    No.

    24        Q.    So if property owner Joe calls you up and says,

    25    "You can use all of my listings," there's no -- how do              12:44:23




                                                                        124
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 130 of 439 Page ID
                                    #:1554

     1    you -- how do you know in a month that you can use it?

     2               How do you remember?

     3        A.     This is just notes that Steve and I would make

     4    on a pad, and it was back when we were cold calling the

     5    landlords and made notes next to their names.         We pretty     12:44:44

     6    much no longer do it.     They're coming to the site and

     7    doing it themselves.     And we haven't done this since, I

     8    want to tell you, four years ago.       I don't have the

     9    exact date.

    10        Q.     So if you haven't done this, then there's no             12:45:09

    11    way that any oral agreements could --

    12        A.     Oral agreements do not come in this --

    13        Q.     Please, you have to let me ask the question.

    14               If you haven't done this for four years,

    15    there's no way that oral agreements could have been the             12:45:21

    16    basis for the CoStar photos appearing on your website;

    17    correct?

    18        A.     100 percent correct, sir.

    19        Q.     Is there a reason, then, that in paragraph 15

    20    you've included:                                                    12:45:34

    21                    "Aside from the written agreements

    22               produced, Apartment Hunters also has

    23               agreements with specific property owners

    24               and/or managers that were orally entered

    25               into"?



                                                                        125
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 131 of 439 Page ID
                                    #:1555

     1               You agree that that's not relevant to this case

     2    now; correct?

     3          A.   Right.

     4          Q.   Okay.

     5          A.   Just wanted to . . .                                     12:45:50

     6          Q.   When you have a listing up on the website, if

     7    you look at that listing, based on the listing ID, can

     8    you tell what feed it came from?

     9          A.   No.

    10          Q.   Can you in any way tell what a specific                  12:46:10

    11    listing, where the feed came from?

    12          A.   No, sir.

    13          Q.   There's no tracking of listings?

    14          A.   No, sir.

    15               MR. BAUMGARTEN:    Let me pull another document          12:46:39

    16    up.   We'll mark this as Exhibit 11.

    17               (Exhibit 11 was marked for identification.)

    18          Q.   BY MR. BAUMGARTEN:    And this is a copy of the

    19    testimony -- a transcript of the testimony that you

    20    provided before the California Bureau of Real Estate on             12:47:04

    21    February 25th, 2015.

    22               I think earlier today you referenced that

    23    testimony.

    24               Do you recall giving it?

    25          A.   Yes, sir.                                                12:47:13




                                                                        126
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 132 of 439 Page ID
                                    #:1556

     1        Q.    If I could ask you to turn to page 202.         I just

     2    want to ask a quick question.

     3        A.    Yes, sir.

     4        Q.    At the very bottom of page 202 your lawyer

     5    Mr. Tahmazian --                                                    12:47:32

     6        A.    Yes, sir.

     7        Q.    Okay.   Mr. Tahmazian asks you:

     8                    "Now, when you receive this feed

     9              from other sources, you obviously know

    10              that these are listings that are on Trulia                12:47:39

    11              or any other company that you receive

    12              from; correct?"

    13              And you say, "Yes."

    14              I understood that to mean that you know

    15    where -- that you know when you get a listing, you know             12:47:52

    16    the source.

    17              Is that not what you're testifying to here?

    18        A.    That is not what he asked me.       That is not in

    19    this manner what he asked me.

    20        Q.    Okay.                                                     12:48:05

    21              What was he asking you?

    22        A.    That is previous to it being on the website.

    23    That is what he meant.     Receiving it and displaying it

    24    is two different things.

    25              You asked me when I look at a listing and it's            12:48:20




                                                                        127
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 133 of 439 Page ID
                                    #:1557

     1    on the website, do I know where it's from.         This is --

     2    this is a different question.

     3        Q.    Is there any phase -- so when you have the XML

     4    file with all of the many listings coming in, you know

     5    which source that's from --                                         12:48:39

     6        A.    If it was --

     7        Q.    -- in each XML file?

     8        A.    -- was opened for me and segregated for me,

     9    yes.

    10        Q.    Mr. Macys could tell you that?                            12:48:45

    11        A.    Yes.

    12        Q.    But then once that XML file is transformed into

    13    listings on the website --

    14        A.    I couldn't.

    15        Q.    And no one else at Apartment Hunters could                12:48:55

    16    either?

    17        A.    We don't mark them.

    18        Q.    Okay.   Let me ask you to go back -- I'm sorry

    19    for jumping around, but go back to Exhibit 9, your

    20    declaration.                                                        12:49:16

    21        A.    Yes, sir.

    22        Q.    And one more question about paragraph 15.

    23    I just want to know, you referenced the CoStar --

    24        A.    Paragraph?

    25        Q.    15, I'm sorry.     I'll give you time to get              12:49:31




                                                                        128
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 134 of 439 Page ID
                                    #:1558

     1    there.   I apologize.

     2        A.    15.   Yes, sir.

     3        Q.    And the last -- in the last sentence you talk

     4    about that there are no other agreements that reasonably

     5    relate to "CoStar Listing" or "CoStar Photographs."          And    12:49:42

     6    "CoStar Listing" and "CoStar Photographs" are both

     7    capitalized terms here.      I think that is meant to be a

     8    defined term.    In other words, if there was a specific

     9    set of listings and photographs you're referring to.

    10              What are the specific CoStar listings and                 12:50:03

    11    photographs you're referencing when you use that defined

    12    term?

    13        A.    I did not type this, so -- I mean, I had not

    14    written this.

    15        Q.    Well, let me rephrase then, if you're not sure

    16    exactly what --

    17        A.    If you're looking for capitalization, I did not

    18    type this.   I had written this and handed it to my

    19    attorney, so . . .

    20        Q.    Let me -- let me ask you this question in a               12:50:29

    21    different way then.

    22              When you went and looked for the CoStar

    23    listings and CoStar photographs, were you only looking

    24    for the listings and photographs that we identified in

    25    Exhibit A, which has been marked today as Exhibit 10?               12:50:47




                                                                        129
                                 Abrams, Mah & Kahn
                                                 CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 135 of 439 Page ID
                                    #:1559

     1              Is that the list -- the full list of listings

     2    and photographs you were searching for?

     3        A.    Can you give me a minute to read this, please?

     4        Q.    Sure.

     5        A.    (The witness reviews a document.)                         12:51:03

     6              (Discussion held off the record

     7        between Mr. Bandlow and the witness.)

     8              MR. BAUMGARTEN:     Sorry.   A question is pending

     9    here, so I'm not sure why you're consulting.

    10              MR. BANDLOW:    I'm allowed to consult with my            12:51:23

    11    client anytime I'd like to.      I just did and I'll do it

    12    again if I want to.

    13              MR. BOYLE:    During a -- when there's a question

    14    pending you're going to talk to your client?

    15              MR. BANDLOW:    I can talk to my client, yes.             12:51:31

    16              MR. BOYLE:    About the substance of it?

    17              Was that question about privilege?

    18              MR. BANDLOW:    I'm not going to tell you

    19    anything about what that conversation was about.

    20              MR. BOYLE:    Well, it's improper to coach your           12:51:39

    21    client --

    22              MR. BANDLOW:    I'm not coaching my client.

    23              MR. BOYLE:    -- to coach a client when a

    24    question of substance is pending.       And we --

    25              MR. BANDLOW:    And that's not what I did.



                                                                        130
                                 Abrams, Mah & Kahn
                                                 CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 136 of 439 Page ID
                                    #:1560

     1                MR. BOYLE:    And we object.

     2                MR. BANDLOW:    Okay.

     3                MR. BOYLE:    And don't do it again.

     4                MR. BANDLOW:    I'll do it -- as often as I feel

     5    like talking to my client, I'll lean in and talk to him.            12:51:53

     6                THE WITNESS:    I'm not sure what you're asking

     7    me.   I'm confused.

     8          Q.    BY MR. BAUMGARTEN:      Let me ask you the --

     9          A.    So I don't know what the question is.

    10          Q.    Let me ask you the question again.                      12:52:06

    11                Both in this declaration and generally today

    12    you've testified that you searched for listings and

    13    photo- -- CoStar listings and photographs; correct?

    14          A.    Uh-huh.

    15          Q.    What was the source that you were getting the           12:52:19

    16    listings and photographs to search for?

    17                How did you know which ones to search for?

    18          A.    The entire database.

    19          Q.    Not where did you search, but what specific

    20    photographs and listings were you looking for?                      12:52:35

    21                How did you decide which photos you were trying

    22    to --

    23          A.    The ones in Exhibit A and the ones in the other

    24    file.      The ones that you had given us with the

    25    addresses.     There's another page.                                12:52:42




                                                                        131
                                   Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 137 of 439 Page ID
                                    #:1561

     1        Q.     We have not produced -- okay.      That has not

     2    been marked as an exhibit.

     3        A.     That's not here.

     4        Q.     That's fine.

     5        A.     Please refer to it by name.                              12:52:50

     6        Q.     There's not a question pending right now.

     7        A.     Please refer to it by name, because it's not

     8    here.    So it's not just this.     It's the other one with

     9    the thin lines.

    10        Q.     We understand your answer.                               12:53:05

    11        A.     (To Mr. Bandlow) Right?

    12               MR. BANDLOW:   Yeah.

    13        Q.     BY MR. BAUMGARTEN:     When Apartment Hunters

    14    receives the feeds, you said there's a team that --

    15    there's a four-person team in Lithuania who works on the            12:53:30

    16    uploads?

    17        A.     Correct.

    18        Q.     Okay.

    19               And those feeds go into a database?

    20        A.     Correct.                                                 12:53:40

    21        Q.     Is the database a piece of software?

    22               What is the database?

    23        A.     The database is a MySQL database.

    24        Q.     MySQL?

    25        A.     Right.                                                   12:53:56




                                                                        132
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 138 of 439 Page ID
                                    #:1562

     1        Q.    Okay.   And is there a specific piece of

     2    software used to run that?

     3        A.    MySQL is a platform.      It's used by every single

     4    company that runs queries, so . . .

     5        Q.    And what is it that the four employees who are            12:54:23

     6    doing the uploading do when they're putting the feed

     7    into the database?

     8              What are they doing?

     9        A.    They're putting the feed into the database.

    10    That's what they do.                                                12:54:36

    11        Q.    What does that involve?

    12              Do you know what that involves?

    13        A.    I don't know the technical stuff.

    14        Q.    The content that is stored, each listing, how

    15    is each listing identified?                                         12:54:48

    16              You mentioned that there is a listing ID.

    17              Is that the main way listings are identified?

    18        A.    I'm not -- again, that's technical stuff.         I'm

    19    not sure if they're broken down by session, by cookie,

    20    by how.   But the MySQL to me is like a honey bee that              12:55:09

    21    one column is the beds, one column is the baths, one

    22    column is hardwood floors, one column is that.         I'm not

    23    sure how it's identified.

    24        Q.    You testified before that every listing has a

    25    unique listing ID; correct?                                         12:55:31




                                                                        133
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 139 of 439 Page ID
                                    #:1563

     1        A.    Correct.

     2        Q.    Okay.   And is that --

     3        A.    That pulls it up.

     4        Q.    Sure.

     5              And is that -- the listing ID, is that by                 12:55:36

     6    building or unit?

     7        A.    No, unit.

     8        Q.    And that listing ID is then used to create the

     9    URL for the website on apartmenthunterz.com, for

    10    instance?                                                           12:55:53

    11        A.    Correct, sir.

    12        Q.    And I believe your testimony earlier today is

    13    that the listing ID for each unit changes each day at

    14    midnight?

    15        A.    Correct.                                                  12:56:02

    16              And/or during the day if that same -- it

    17    changes even several times during the day.

    18        Q.    So if I were to search for a listing right now

    19    and find a listing in Los Angeles that I liked, and I

    20    bookmarked that URL, and then in three days I went back             12:56:17

    21    to that --

    22        A.    It won't be there.     For sure it won't be there

    23    because -- in three days for sure it won't be there.          In

    24    the same day it might have changed, but in three days it

    25    will be gone.     It will --                                        12:56:36




                                                                        134
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 140 of 439 Page ID
                                    #:1564

     1        Q.     Even if all else stays --

     2        A.     It will be a changed URL, and it will say

     3    "Sorry.    The listing you are inquiring about is not

     4    available.   You might also like" . . .

     5        Q.     The photographs that your website published,             12:56:53

     6    those are also published through an SQL database?

     7        A.     Of course.    They're married to the text, or

     8    they get married at some point.

     9        Q.     So each photograph is linked to a specific unit

    10    listing; correct?                                                   12:57:12

    11        A.     Again, it's too technical for me when they get

    12    married or connected, so I'd like to not take a guess.

    13        Q.     You know there's a unique ID for each unit

    14    listing.

    15               Is there a unique ID for each photograph?                12:57:25

    16        A.     I'm not positive of that, so I don't want to

    17    answer how they're married.

    18        Q.     Your attorneys have told us that at some point

    19    since October or November of 2015, Apartment Hunters has

    20    changed the way it stores or organizes its photographs.             12:57:44

    21               Can you explain how that -- what that change

    22    was?

    23        A.     I cannot.    I'm not sure.   I can't.    I don't

    24    have . . .

    25        Q.     Do you agree with that statement, that the               12:58:03




                                                                        135
                                  Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 141 of 439 Page ID
                                    #:1565

     1    system of organizing Apartment Hunters' photos has

     2    changed since October, November of 2015?

     3        A.    I'm not sure in what way, but if that is what

     4    they've said, then that is.      But I'm not sure in what

     5    fashion you're talking about.                                       12:58:22

     6        Q.    All right.

     7              The answers that we've just been talking about

     8    for the past five or so minutes about how the feeds come

     9    in and how things are stored, is the same true both for

    10    apartmenthunterz -- not only for apartmenthunterz.com               12:58:42

    11    but for featuredrentals and all the other websites that

    12    your company operates?

    13        A.    Yes.

    14              But apartmenthunterz and featuredrentals are

    15    two different, because apartmenthunterz is just                     12:58:57

    16    California, and featuredrentals is nationwide, and the

    17    URLs are different than each other.

    18        Q.    Understood.

    19        A.    So the same property in California on

    20    apartmenthunterz is different than the same property as             12:59:11

    21    a URL ID.

    22        Q.    Sure.

    23              But the principles of data storage --

    24        A.    Yes, sir.

    25        Q.    -- are the same?                                          12:59:19




                                                                        136
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 142 of 439 Page ID
                                    #:1566

     1        A.     The same, sir.

     2        Q.     When you said you had -- that you've preserved

     3    all of the incoming feeds, is that true for websites

     4    other than apartmenthunterz.com, or have you only

     5    preserved the feeds for apartmenthunterz.com?                       12:59:40

     6        A.     We don't get separate feeds.

     7        Q.     You've talked about deactivation of listings.

     8               I take it that there is no logging of when

     9    listings are deactivated.      It just happens when you get

    10    the feed in?                                                        01:00:24

    11        A.     That is not related to the feed.      The

    12    deactivation is strictly on the landlord's side.

    13        Q.     Okay.

    14               When a landlord tells you to deactivate a

    15    listing --

    16        A.     The landlord doesn't tell me to deactivate the

    17    listing.

    18        Q.     Okay.

    19               You said there's deactivation on the landlord

    20    side?                                                               01:00:46

    21        A.     Correct.

    22        Q.     When is there deactivation on the landlord

    23    side?

    24        A.     We started this from the beginning where the

    25    landlord comes and types in a huge description of the               01:00:51




                                                                        137
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 143 of 439 Page ID
                                    #:1567

     1    property.   We wanted to make sure they don't have to

     2    type it again.    So we actually were one of the first

     3    companies that the delete button doesn't work, so you

     4    cannot delete.    Even if you intentionally want to hurt

     5    us, it wouldn't delete it.      You just deactivate that            01:01:15

     6    listing.    So when it's vacant, you activate.       When it's

     7    full you deactivate.     You price-change it.      And we have

     8    nothing to do with that.

     9               If there is a major change, it will come back

    10    to that approval that earlier we spoke about that Steve             01:01:36

    11    and I see, if it's a drastic change.        If it's a minor

    12    change, we don't even get to see it.        It goes live.

    13        Q.     Are there any records of the minor changes?

    14               Are there any records kept in the Apartment

    15    Hunters system of when a --                                         01:01:55

    16        A.     No, sir.

    17        Q.     -- landlord makes minor changes?

    18        A.     No, sir.

    19               There's I believe -- I believe again.       I don't

    20    know the background code.      But I believe there's a              01:02:02

    21    filter of drastic changes being those derogatory words

    22    or some crazy prices on a six bedroom being $500.          But I

    23    don't know the protection of the back end when it comes

    24    to our attention.     But usually a registered landlord

    25    that we have the IP, usually we don't intervene.                    01:02:32




                                                                        138
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 144 of 439 Page ID
                                    #:1568

     1        Q.    Have any of these landlord postings -- do you

     2    have -- sitting here today, do you believe that any of

     3    those landlord postings are the source for the CoStar

     4    photographs --

     5        A.    They could very well be.                                   01:02:46

     6              Because previously to CoStar purchasing

     7    apartments.com, we had relationships with the buildings

     8    when Times Company owned apartments.com.        And all the

     9    managers used to come and post on our website.

    10        Q.    Okay.                                                      01:03:08

    11              Have you found specific postings from landlords

    12    with CoStar -- the CoStar photos and listings at issue?

    13        A.    I have not looked.     On the landlord database, I

    14    have not looked.

    15        Q.    On the landlord database, you've mentioned that            01:03:23

    16    nothing is ever deleted.      It's only activated or

    17    deactivated; correct?

    18        A.    Yes.

    19        Q.    So is it correct to say that every posting from

    20    a landlord over the past decade would still be there on              01:03:41

    21    the cloud somewhere?

    22        A.    I cannot attest to that.      But I know that the

    23    text of the landlords is preserved by

    24    activate/deactivate.     I don't know if the photos are

    25    overwritten or there.     However, I can check.      I don't         01:03:58




                                                                         139
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 145 of 439 Page ID
                                    #:1569

     1    know the answer.

     2               I know the accounts are there.      I know the

     3    managers' names are there.      I know the IP address of the

     4    buildings could be there.

     5        Q.     Do you still have tab No. 9 in front of you?             01:04:30

     6        A.     Yes, sir.

     7        Q.     Paragraph 8.   I'll read this again.

     8                    "Apartment Hunters cannot simply

     9               'look up' the listing on its servers

    10               and find the alleged photos, because the

    11               specific photos were not on Apartment

    12               Hunters' website or part of its data in

    13               December 2015 when Apartment Hunters

    14               froze the listings at issue."

    15               When you say "froze the listings at issue,"

    16    what does that mean?

    17        A.     That's the preservation.

    18        Q.     What does that mean?

    19               What does that -- how did you preserve listings

    20    if you couldn't find them?                                          01:05:12

    21        A.     That is the document preservation and stopping

    22    the scripts.    That's -- that's what we spoke about

    23    earlier.

    24        Q.     And what are the listings at issue then?

    25               Is it the specific -- what are the listings at           01:05:25




                                                                        140
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 146 of 439 Page ID
                                    #:1570

     1    issue?

     2        A.    The listings that you had given us with the

     3    lawsuit, we just froze everything.          We froze the

     4    processes.   I had mentioned this earlier again.           I don't

     5    know what other answer you're looking for, but that's                01:05:40

     6    what I have explained.

     7        Q.    Okay.

     8              When you say "the listing," do you mean the

     9    URL?

    10        A.    Yes.                                                       01:05:50

    11        Q.    And you testified earlier that the URL

    12    changes --

    13        A.    Changes.

    14        Q.    -- from day to day?

    15        A.    Right.                                                     01:05:57

    16              So we didn't look up.      These photos weren't

    17    there.

    18        Q.    You're talking about Exhibit --

    19        A.    Exhibit A.

    20        Q.    -- that's been marked as Exhibit 10?                       01:06:06

    21        A.    Yes.

    22              And then in the back end of the property, we

    23    just went and put a wall on these particular listings.

    24    Whether the -- first of all, these photos weren't there,

    25    but we just put a halt to the normal scripts that                    01:06:19




                                                                         141
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 147 of 439 Page ID
                                    #:1571

     1    override and did everything.      We just did it, document

     2    preservation, but --

     3        Q.    For those URLs?

     4        A.    For the company's back-end processors.

     5              You keep trying to trick me into something, and           01:06:38

     6    it's not going to happen.      So the twisting of words is

     7    actually becoming a little bit boring.

     8              We stopped everything, and it was written here

     9    by me.   If my English was bad, forgive me.

    10        Q.    I'm sorry.    I don't mean to bore you, sir.       I'm    01:06:56

    11    certainly not trying --

    12        A.    It's not boring --

    13        Q.    -- to twist your words.

    14        A.    -- boring me.    It's exciting me actually.       But

    15    it's too much exciting.      I've explained it with my              01:07:01

    16    horrible English as good as I could.

    17        Q.    Okay.

    18              The listings at issue -- I just want to try to

    19    ask one more time.

    20              The listings at issue, are they just the URLs             01:07:12

    21    that were listed in Exhibit A, or was it every URL for

    22    the entire website?

    23        A.    What I said here is that in lieu of the

    24    horrible screen shots where the top of the screen shot

    25    was from one building and the bottom of it was from                 01:07:30




                                                                        142
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 148 of 439 Page ID
                                    #:1572

     1    another building.

     2              In other words, the bottom of the screen shots

     3    were a pair of men's pants and the top was a lady's

     4    shirt.   That's how horrible the screen shots were.         We

     5    are still going through and finding those backup and                01:07:48

     6    photos, and we're done, and we are -- handed it to

     7    Lincoln, and we have found the photos.

     8              So I'm not sure which period you're asking

     9    about.

    10              You guys didn't give us the data --                       01:08:20

    11        Q.    There's no question pending right now.

    12        A.    Good.   So I'll take a bathroom break.

    13        Q.    Okay.

    14              MR. BANDLOW:    Let's go off the record for his

    15    bathroom break, please.                                             01:08:31

    16              THE VIDEOGRAPHER:     Off record, 1:08 p.m.

    17              (Recess taken from 1:08 p.m. to 1:27 p.m.)

    18              THE VIDEOGRAPHER:     Returning to record,

    19    1:27 p.m.

    20        Q.    BY MR. BAUMGARTEN:     Mr. Shayan, let me start by        01:27:38

    21    just going back to one issue we talked about.

    22              You said the data for apartmenthunterz.com is

    23    in the same location as all the data for all the other

    24    websites that Apartment Hunters owns; correct?

    25        A.    Yes, sir.                                                 01:27:56




                                                                        143
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 149 of 439 Page ID
                                    #:1573

     1        Q.    Have there been -- the various steps that

     2    you've talked about today regarding the preservation of

     3    data relating to apartmenthunterz.com, have all those

     4    same steps also been taken as to every other website

     5    owned by --                                                         01:28:14

     6        A.    You're at the same exact database.        The answer

     7    is yes.

     8        Q.    You've testified that you have located certain

     9    listings and photographs in going through the files that

    10    were preserved; correct?                                            01:28:39

    11        A.    Yes.

    12        Q.    And I want to understand sort of the full scope

    13    of what you are searching through.

    14        A.    I had mentioned that I'm not testifying until

    15    we submit the photos, so I'm not going deeper than we               01:28:55

    16    have located some photos.      And I said that immediately

    17    after I retracted.     Because I don't want to get into the

    18    deposition of something that is not here nor was it in

    19    your deposition papers.

    20        Q.    Okay.   I'm going to --                                   01:29:18

    21        A.    (To Mr. Bandlow) Are you okay?

    22              MR. BANDLOW:    (Nods head up and down.)

    23              THE WITNESS:    Okay.

    24        Q.    BY MR. BAUMGARTEN:      Let me first state for the

    25    record that looking at Exhibit No. 1, the notice, we                01:29:28




                                                                        144
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 150 of 439 Page ID
                                    #:1574

     1    have item 11.     The topic is:

     2                    "The sources of documents, if any,

     3              that have been searched electronically

     4              (e.g., drives, servers, networks, databases)

     5              in order to locate documents for collection

     6              or production in this action, and, if any

     7              electronic searches were conducted, who

     8              conducted such searches."

     9        A.    And the reply says we're still looking, and

    10    we're continuing to look, and we'll provide them as soon            01:29:53

    11    as possible.    And prior to getting here we were

    12    preparing them, so I can't be deposed on something we

    13    haven't given you.

    14        Q.    Mr. Shayan, I'd appreciate it if you don't cut

    15    me off while I'm asking questions.

    16        A.    Okay.

    17        Q.    Second, I'm not sure what you mean by your

    18    response to this.     This is a list of topics.      There were

    19    no responses.

    20              Third, again, just for the record I want to be            01:30:12

    21    clear that I also emailed with Ms. Arnold last week to

    22    confirm that given that we had agreed to postpone our

    23    motion to compel until this deposition was held, given

    24    counsel's representations repeatedly that our various

    25    questions relating to the motion to compel would be



                                                                        145
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 151 of 439 Page ID
                                    #:1575

     1    answered with this depo, I emailed with Ms. Arnold to

     2    confirm that the witness would be prepared to testify on

     3    behalf of Apartment Hunters regarding all of the various

     4    issues that have been discussed in a motion to compel,

     5    the draft that was exchanged at the end of August and               01:30:50

     6    early September, and Ms. Arnold confirmed that the

     7    witness would be.

     8              MR. BANDLOW:    What we confirmed was the witness

     9    would be able to testify about retention, about search,

    10    about et cetera.                                                    01:31:06

    11              What he's saying to you now is the results of

    12    that search we have just come up with within the last

    13    few days.

    14              And to the extent that you want to ask

    15    questions about the entirety of the results of that                 01:31:16

    16    search, he doesn't have that information in front of him

    17    right now and would feel uncomfortable testifying

    18    because it would require him to speculate.

    19              So to the extent you want to ask him what was

    20    done to preserve documents, what kind of searches were              01:31:29

    21    done, who conducted those things, he's here to do that.

    22    But if you get into the specifics of, well, so now you

    23    found out X, Y, and Z, he can't answer that because he

    24    doesn't have that data in front of him.

    25              THE WITNESS:    Right.    Right.   I'm not being          01:31:46




                                                                        146
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 152 of 439 Page ID
                                    #:1576

     1    uncooperative.    It's just --

     2              MR. BOYLE:    There's no question pending.

     3              First, the failure to disclose to us that some

     4    of our listing information has been found in advance of

     5    this deposition, I think, is highly troubling.                      01:31:58

     6              THE WITNESS:    We don't have it.

     7              MR. BANDLOW:    I don't have it yet.      I don't

     8    have it in my possession.

     9              MR. BOYLE:    Second --

    10              MR. BANDLOW:    It doesn't exist yet.                     01:32:04

    11              MR. BOYLE:    Obviously Mr. Shayan and his

    12    counsel knew that it had been located.

    13              Second, the response, Mr. Shayan, from you is a

    14    non sequitur.    The question was:     What was searched?

    15    There's no --                                                       01:32:22

    16              THE WITNESS:    I didn't get his question, so --

    17              MR. BOYLE:    It's got nothing to do with the

    18    topic that has been raised.      The question is:     What is

    19    the universe that was searched?

    20              THE WITNESS:    The servers.                              01:32:36

    21              MR. BAUMGARTEN:     Let me try to ask the question

    22    again.   If you could listen to the whole question before

    23    cutting me off, I'd appreciate it.

    24              The question I would like to ask is, you have

    25    stated that you have located certain listings and feeds.            01:32:43




                                                                        147
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 153 of 439 Page ID
                                    #:1577

     1    And I'm trying to understand exactly what was searched.

     2              You also stated, and we've talked about this,

     3    in paragraph 8 of Exhibit 9, your declaration, you

     4    stated that Apartment Hunters "froze the listings at

     5    issue," and that paragraph continues:                               01:33:05

     6                    "Thus, Apartment Hunters is

     7              diligently going through its backup

     8              servers and comparing each photo to

     9              CoStar's Exhibit A in order to identify

    10              the photos and then the sources."                         01:33:15

    11              So I just want to confirm that whether or not

    12    where you have now apparently located some listing

    13    information is in this universe of frozen listings from

    14    December of 2015.

    15              Is that where you have found the listings and             01:33:31

    16    feeds, from the information you froze in December of

    17    2015?

    18        A.    No.   It will be -- no, sir.

    19              I found -- no.     We have located some from the

    20    feeds and not from the frozen of 2015.        It's after 2015.      01:33:45

    21        Q.    So you have found it in new feeds that have

    22    come in --

    23        A.    See, the --

    24        Q.    I'm asking a question.      You must let me finish.

    25              You have found listings and feeds that you                01:34:01




                                                                        148
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 154 of 439 Page ID
                                    #:1578

     1    think relate to CoStar's content in feeds that came in

     2    after December 18, 2015?

     3        A.    I cannot answer that correctly because I did

     4    not open the feeds myself, and I cannot give you a

     5    specific date of which feed contained the photos.                   01:34:19

     6    That's what I'm trying to explain.

     7              I had my employees get the data, and they did

     8    find the photos, but I don't know the dates that you're

     9    asking, was it pre-December 2015 or post-December 2015.

    10        Q.    Did -- have listings -- has information that              01:34:42

    11    you think relates to CoStar's content also been found on

    12    the backup servers?

    13              Is that a separate --

    14        A.    Yes.

    15        Q.    -- in your mind -- let me finish.                         01:34:54

    16              Is that in your mind a separate place to search

    17    than the feeds?

    18        A.    100 percent.

    19        Q.    So your testimony today -- I just want to make

    20    sure we're correct -- is that you have now -- your                  01:35:04

    21    company has now found information that you think relates

    22    to CoStar's content in both No. 2, feeds of unknown

    23    dates, and 2, in your backup servers?

    24        A.    Correct.

    25        Q.    Okay.                                                     01:35:21




                                                                        149
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 155 of 439 Page ID
                                    #:1579

     1        A.    And previous feeds backed up, yes.

     2              Sorry.   I didn't understand in the beginning.

     3        Q.    Have you found any content that you believe was

     4    related to -- sorry.     Let me strike that.

     5              Your attorneys have represented to us that you            01:35:52

     6    were searching -- you were spending substantial time and

     7    effort trying to identify the material that CoStar

     8    claims it has found on www.apartmenthunterz.com.

     9              Has Apartment Hunters also searched for

    10    material that CoStar has found on other websites?                   01:36:16

    11        A.    Correct.    Yes.

    12        Q.    And the substantial -- the substantial time and

    13    effort, who has spent that substantial time and effort?

    14              Is that Mr. Macys and Mr. Portnov?

    15        A.    Yes, sir.                                                 01:36:35

    16        Q.    Would you say you personally have spent time

    17    and effort?

    18        A.    I cannot do the search on the servers, sir.

    19        Q.    Other than Mr. Macys and Mr. Portnov, is there

    20    anyone else who has spent substantial time and effort               01:36:45

    21    searching for material?

    22        A.    I'm not aware of that.      But usually top

    23    management, those two guys are the ones that I consult

    24    with.

    25        Q.    Okay.                                                     01:36:55




                                                                        150
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 156 of 439 Page ID
                                    #:1580

     1              And to the extent they have been searching for

     2    photographs, do you have an understanding of how that

     3    search was being conducted?

     4              Were they, for instance, going one by one

     5    looking at photos and comparing them visually?                      01:37:11

     6              Was there some electronic searching of the

     7    photographs?

     8              Do you have any idea how the search was

     9    conducted?

    10        A.    I believe that they would be looking at a time            01:37:20

    11    period first, and then they would be looking by address

    12    ID to find them.    That would be my guess.      By ZIP code,

    13    by address ID.

    14        Q.    So you've said time period, ZIP code, and

    15    address ID?                                                         01:37:42

    16        A.    Right.

    17              And then what I heard is geocoding.        Again,

    18    that goes to -- I am not savvy on the server what kind

    19    of a search bar they have in MySQL.         But I believe they

    20    would be looking at it by address, ZIP code, and then to            01:38:02

    21    find a photo that relates to the properties mentioned.

    22    I'm not -- I have no idea what a search bar inside the

    23    server would give you.

    24        Q.    So your understanding of the process, which I

    25    understand is not firsthand, is that Mr. Macys or                   01:38:21




                                                                        151
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 157 of 439 Page ID
                                    #:1581

     1    Mr. Portnov took, for instance, the address of the

     2    building that was listed on Exhibit A, which has been

     3    marked here as Exhibit 10, and would put that into the

     4    SQL server and try to find other listings from the same

     5    period -- from the same period with that address?                   01:38:45

     6        A.    That was given to us or entered into the fast

     7    post or by a landlord, yes.      That's what we were looking

     8    for.

     9        Q.    And separate and apart from the search that

    10    started by trying to identify the listing and then look             01:39:04

    11    for the information, photograph, was there any search

    12    that just used the photograph as the primary searching

    13    tool?

    14        A.    We don't have a system like that, sir.

    15        Q.    So you don't have the ability to, for instance,           01:39:19

    16    hash photos or do anything like that?

    17        A.    I don't know what "hash photos" is.

    18        Q.    You said that you've identified photos from the

    19    same buildings as some of the addresses that are listed

    20    in Exhibit A, marked here as Exhibit 10, but that you               01:39:45

    21    have not found the same exact photographs; correct?

    22        A.    Yes.

    23        Q.    And you have not found -- I just want to make

    24    sure.

    25              And you're saying that you have not found even            01:40:02




                                                                        152
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 158 of 439 Page ID
                                    #:1582

     1    a single one of the same exact photographs?         Everything

     2    you have found is just a similar photo?

     3        A.    I just got the research like two days ago from

     4    my team, and I haven't sent it even over to Lincoln yet.

     5    So I cannot give you an accurate answer in this -- in               01:40:24

     6    this session.

     7        Q.    Okay.

     8              Do you know whether the SQL database can be

     9    searched by listing ID?

    10        A.    Yes.                                                      01:40:53

    11        Q.    It can be?

    12        A.    I believe so.

    13              But again, if you opened up a MySQL database

    14    here, I don't know how to search it.        This is the honest

    15    truth.   I don't have any of that knowledge.                        01:41:05

    16        Q.    But you understand that you were asked to

    17    testify today about the sources of documents, if any,

    18    that have been searched electronically?

    19        A.    But I don't have that knowledge.       I only know

    20    the front end of the computer.       I can't tell you what I        01:41:22

    21    don't know.

    22        Q.    Do you ever -- are you familiar with the

    23    portion of Apartment Hunters' terms and conditions that

    24    set forth the steps that someone can request to take

    25    down a photo by?                                                    01:41:56




                                                                        153
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 159 of 439 Page ID
                                    #:1583

     1        A.    Very little.    It would be -- we have a button

     2    there that says "Claim This Listing," and then we have a

     3    digital copyright act there that says, you know, if you

     4    believe that we're violating your copyright, you push

     5    the button, and you would let us know.        And to that           01:42:16

     6    extent I know.

     7              And at the time we built the website in 1999,

     8    we had our initial attorney, Jilbert, help us with the

     9    terms and conditions and privacy report.        And then one

    10    more time we had purchased the privacy seals.         It's on       01:42:41

    11    the bottom of our website.      And they reviewed every

    12    30 days to make sure it's the updated privacy.

    13              It's called TRUSTe.     It's the largest company

    14    that there is for privacy statements and customer

    15    protection.    They are the ones who audit our terms and            01:43:07

    16    conditions and privacy seals.       They charge like $2,500

    17    or something.    They make us modify and make sure it's up

    18    to the latest standards.

    19        Q.    When you search for a listing by address,

    20    I understand that you might get a number of listings;               01:43:35

    21    right?

    22              So if there is a building that has 20

    23    apartments, there might be three listings; correct?

    24        A.    Correct, sir.

    25        Q.    Do you have any sense of from the -- there                01:43:49




                                                                        154
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 160 of 439 Page ID
                                    #:1584

     1    are -- in Exhibit A, marked here as Exhibit 10, there

     2    are, I think, 26 different addresses.

     3              Do you have any idea of during the search

     4    process that we've been discussing today, how many

     5    individual listings those addresses lead to?                         01:44:05

     6        A.    No, sir.

     7        Q.    And do you have any idea how many photos were

     8    associated over any period of time with those addresses?

     9        A.    No, sir.

    10        Q.    And you said you don't use any sort of hashing             01:44:20

    11    software.

    12              Just so there's no doubt, do you use any sort

    13    of image-comparison software?

    14        A.    We don't even -- I don't know what "hashing"

    15    means.   And "image comparison," I never heard of it                 01:44:32

    16    except in Google Photos.      Like you can go to Google

    17    Photos, take a picture of this phone, and it will tell

    18    you what it is.    I've never seen anything else like

    19    that.

    20        Q.    So about a week and a half ago on                          01:45:00

    21    September 21st I provided Mr. Bandlow and Ms. Arnold

    22    with a list of 34 URLs in which the specific CoStar

    23    photos had been published, the specific URLs.         And it

    24    seems like it's after we provided that is when you found

    25    the information you're going to disclose to us at some               01:45:18




                                                                         155
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 161 of 439 Page ID
                                    #:1585

     1    point; correct?

     2        A.    Yes.

     3        Q.    Who was involved in taking that information and

     4    running searches with it?

     5        A.    Do you have that paper?      May I look at it?            01:45:31

     6        Q.    Sure.

     7              I would like you to first answer the question,

     8    though.

     9        A.    I would like to look at the document so I could

    10    exactly explain to you what you had provided.                       01:45:46

    11              MR. BAUMGARTEN:     I'm going to mark this as

    12    Exhibit 12.    This is a letter that I sent to Mr. Bandlow

    13    and Ms. Arnold on September 21st, 2016, with a

    14    spreadsheet attached.

    15              (Exhibit 12 was marked for identification.)               01:46:05

    16              THE WITNESS:    (The witness reviews a document.)

    17              I'll explain to you.      These URLs are

    18    absolutely -- the addresses I could pull up.         Okay.   At

    19    the time that you pulled these listing URLs, they were

    20    alive.    But these picture URLs are completely                     01:46:30

    21    meaningless, because this is a session ID created for

    22    that photo.    These are just session IDs.      In a --

    23        Q.    BY MR. BAUMGARTEN:     I just want to clarify,

    24    just because we're using so many --

    25              MR. BANDLOW:    When you say "these" and "those,"         01:46:49




                                                                        156
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 162 of 439 Page ID
                                    #:1586

     1    for the record let's make sure you tell what you're

     2    referring to.

     3               THE WITNESS:    I'm referring --

     4          Q.   BY MR. BAUMGARTEN:    You're talking about the

     5    third column --                                                     01:46:54

     6          A.   -- that photograph URLs --

     7          Q.   This information is useless?

     8          A.   Correct, sir.

     9               So the listing URL changes, and the photograph

    10    URL that's attached to that is a long string that's                 01:47:03

    11    generated by the server, and it is gone.        The only thing

    12    good here is this first column, which is the property

    13    name and the street name and Oceanside, California, and

    14    the ZIP code.      The rest of it, this would not pull up if

    15    you pasted it, and that would not pull up if you pasted             01:47:27

    16    it.

    17          Q.   Okay.

    18               Are you aware that CoStar has asked your

    19    attorneys whether your company would provide a

    20    third-party vendor access to Apartment Hunters' photo               01:48:02

    21    database so that that third-party vendor could run an

    22    automated photo image comparison between CoStar's images

    23    and Apartment Hunters'.

    24               Are you aware of that?

    25          A.   Yes.                                                     01:48:12




                                                                        157
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 163 of 439 Page ID
                                    #:1587

     1        Q.    Okay.

     2              And Apartment Hunters has refused; correct?

     3        A.    100 percent.

     4        Q.    Okay.

     5              And in your declaration, this is Exhibit 9,               01:48:17

     6    paragraph 18, you've written:

     7                    "If Apartment Hunters were ordered

     8              to produce its servers to a third party

     9              for inspection, the time and effort that

    10              Apartment Hunters would have to spend                     01:48:30

    11              to prepare its data for such a review

    12              would effectively shut down its business

    13              for weeks and likely forever."

    14        A.    Put us out of business.      And there's nobody

    15    else more qualified than our team to provide this.                  01:48:41

    16        Q.    Okay.

    17              And so you understand that what we propose is

    18    not for you to turn over your servers to someone, but --

    19        A.    Just to give you access.

    20        Q.    You have to let me finish.                                01:48:54

    21              What we proposed is to provide a third party

    22    remote access to the server; correct?

    23        A.    Yes, sir.

    24        Q.    Okay.

    25              And have you -- has Apartment Hunters ever                01:49:01




                                                                        158
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 164 of 439 Page ID
                                    #:1588

     1    worked with a company called PicScout?

     2        A.    We have never worked with an outside party, and

     3    we will not let an outside party come in because of the

     4    sophisticated way that our system is and how old it is.

     5    Because we have written code on top of code, and we                   01:49:27

     6    don't -- it's spaghetti.      This company started on, you

     7    know, very little money, and we don't really know.          I

     8    don't know -- what's the name of it?

     9        Q.    PicScout.

    10              Just yes or no, have you worked with PicScout?              01:49:51

    11        A.    No, sir.

    12        Q.    Have you worked -- again, yes or no, have you

    13    worked with Vobile?

    14        A.    What?

    15        Q.    Vobile, V-o-b-i-l-e.                                        01:49:59

    16        A.    No, sir.

    17        Q.    And are you aware that another CoStar

    18    competitor, which is named RealMassive, has implemented

    19    a realtime in-line filtering system that compares its

    20    photographs to CoStar?                                                01:50:17

    21        A.    I saw that in a settlement agreement.        That was

    22    agreed upon.    And that could be a possibility if there

    23    is a settlement.     But, again, I've never used that, but

    24    I'm open to it.

    25        Q.    You realize that's what we're talking about                 01:50:38




                                                                          159
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 165 of 439 Page ID
                                    #:1589

     1    here, as just -- as a net settlement, that's the sort of

     2    monitoring and/or third-party remote access that we've

     3    proposed; right?

     4        A.     We won't -- it's not an access.      It would be --

     5    access is not what would be agreed to, but it would                 01:50:54

     6    be . . . how can I put it?       Guaranteed that this --

     7    first of all, this did not happen.

     8               And I'm not sure, Lincoln, help me out here.

     9               If there was ever an agreement -- first of all,

    10    we've never been to the site.       There's no digital              01:51:20

    11    footprint.   There's no IP addresses.        And there's no

    12    photos found on our website.

    13               But if this thing could go away with a

    14    guarantee that these photos would be compared to

    15    CoStar's, you guys would have to provide us photos for              01:51:40

    16    the comparison to happen.       There's going to be no access

    17    given.

    18        Q.     My question was whether or not you're aware

    19    that this settlement is in place, which it sounds like

    20    you are.                                                            01:51:53

    21               And so my next question is whether you're aware

    22    that this comparison system, this third-party comparison

    23    system has been implemented with no negative impacts on

    24    RealMassive's business?

    25        A.     Well, I --



                                                                        160
                                  Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 166 of 439 Page ID
                                    #:1590

     1              MR. BAUMGARTEN:     Objection.    Lacks foundation.

     2    Calls for speculation, for him to speculate about what

     3    it has done to someone else's business.

     4              But you can answer.

     5              MR. BANDLOW:    I'm asking if he's aware of it.            01:52:14

     6    If the answer's no, then he's not.

     7              THE WITNESS:    If it involves remote access, the

     8    answer is no.     We will not get --

     9        Q.    BY MR. BAUMGARTEN:     Sir, that's not my

    10    question.                                                            01:52:20

    11              My question is whether you're aware of how this

    12    agreement, which you apparently know about --

    13        A.    I have no idea how the agreement was drawn.

    14        Q.    That's all I'm asking.

    15        A.    Okay.                                                      01:52:29

    16        Q.    So can you tell me what Apartment Hunters would

    17    have to do to, quote, prepare its data to allow a third

    18    party to run a comparison software?

    19        A.    We will not allow a third party into our system

    20    or give them our data.                                               01:52:48

    21        Q.    I understand that's your position.        But what

    22    you've written in your sworn declaration is that --

    23        A.    It would pretty much shut us down.

    24        Q.    What you've written in your declaration is that

    25    it would -- we can go with that, that it would                       01:52:59




                                                                         161
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 167 of 439 Page ID
                                    #:1591

     1    effectively shut down your business.

     2              Why would giving a third party monitoring

     3    access shut down the business?

     4        A.    It entails a gigantic amount of research and

     5    copying of our data and photographs, and we're not set               01:53:17

     6    up for that, period.

     7        Q.    And if you've never worked with one of these

     8    companies that does this, how do you know that you would

     9    have to do --

    10        A.    I asked our top programmers, and we're just a              01:53:37

    11    small company, and we're not set up for that.         You're

    12    asking for a giant to come in or for us to give a copy.

    13    We're not set up for that.

    14              Well, you can shake your head all you want, and

    15    we're not.                                                           01:53:52

    16              MR. BOYLE:    Can we go off the record for just

    17    one second?    I think the witness is confused.

    18              Can we just go off the record?

    19              THE REPORTER:    Counsel?

    20              MR. BANDLOW:    Sure.                                      01:54:01

    21              THE VIDEOGRAPHER:     Off record, 1:54 p.m.

    22              (Discussion held off the record.)

    23              THE VIDEOGRAPHER:     Returning to record,

    24    1:59 p.m.

    25        Q.    BY MR. BAUMGARTEN:      Mr. Shayan, we've talked           01:59:14




                                                                         162
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 168 of 439 Page ID
                                    #:1592

     1    about Amazon Web Services hosting the website.

     2              Does Amazon Web Services also host the email

     3    server for Apartment Hunters?

     4        A.    I don't know that we have an email server.         I'm

     5    not sure.   Again, that's too technical for me.        I know       01:59:33

     6    we send and receive emails.      I don't think we have an

     7    email server.

     8              MR. BANDLOW:    Could we take a quick break?

     9              MR. BAUMGARTEN:     Sure.

    10              MR. BOYLE:    Sure.                                       02:00:09

    11              THE VIDEOGRAPHER:     Off record, 2:00 p.m.

    12              (Recess from 2:00 p.m. to 2:07 p.m.)

    13              THE VIDEOGRAPHER:     Returning to record,

    14    2:07 p.m.

    15        Q.    BY MR. BAUMGARTEN:     Mr. Shayan, we were talking        02:07:05

    16    about Apartment Hunters, Incorporated's email server.

    17              So your testimony is that you're not sure

    18    whether the company has an email server?

    19        A.    I'm not positive, sir.      I know we use an email

    20    front named Zimbra.                                                 02:07:18

    21        Q.    Zimbra?   Is that sort of like a client, sort of

    22    like a Microsoft Outlook --

    23        A.    Uh-huh.   Client.     Yes, sir.

    24        Q.    And is -- everyone uses that, both yourself as

    25    well as the employees in Lithuania and Russia?                      02:07:38




                                                                        163
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 169 of 439 Page ID
                                    #:1593

     1        A.    I believe my employees use a different client.

     2        Q.    Do you know what that one is?

     3        A.    No.

     4              They do an IMAP or a POP3 or something.         I'm

     5    not sure.   But I don't think -- as far as paying, we                 02:07:49

     6    don't have a server.

     7        Q.    Okay.

     8              In order to send emails from a -- at an

     9    apartmenthunterz.com address, there must be some sort of

    10    server somewhere.                                                     02:08:04

    11              Let me show you a look-up we did.

    12              So this is Exhibit 13, and this is a look-up we

    13    did online a few days ago on a website called MxToolbox.

    14              (Exhibit 13 was marked for identification.)

    15        Q.    BY MR. BAUMGARTEN:     And what we did is we took           02:08:30

    16    the domain name of mail.apartmenthunterz.com and ran

    17    this to find the IP address.      And so this sort of

    18    confirms that there is an IP address it says with its

    19    domain name?

    20        A.    Oh, excuse me.     Oh, there's info at Apartment            02:08:49

    21    Hunters and the customers send and receive emails and

    22    all that.   I didn't say no.     But if there's --

    23        Q.    If you need water, take a second.

    24        A.    Sorry.   I didn't -- I'm thinking of a server as

    25    a physical box that just sends and receives emails.          But      02:09:03




                                                                          164
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 170 of 439 Page ID
                                    #:1594

     1    of course there is emails.

     2        Q.    And when I say "server," I mean -- I'm not

     3    saying whether or not --

     4        A.    I was thinking that it's the same place where

     5    the Amazon servers are, and we're using the same                    02:09:16

     6    platform, yeah.

     7        Q.    So to the extent that you guys do have email

     8    addresses, it would be run through --

     9        A.    Oh, for sure.

    10        Q.    I have to ask the question.                               02:09:29

    11              To the extent you guys have email addresses, it

    12    would be run through Amazon?

    13        A.    Yes, sir.

    14        Q.    Okay.

    15        A.    There you go.                                             02:09:37

    16        Q.    So you have some email addresses, and

    17    we'll talk about them specifically, that end in

    18    apartmenthunterz.com.

    19              Are there other email addresses that your

    20    company has that end in, for instance, @ifindrentals.com            02:09:52

    21    or @ any other website name?

    22        A.    Yes, sir.

    23        Q.    And what are the other --

    24        A.    Each domain has an @featuredrentals,

    25    @wetakesection8, @ifindrentals, the websites that we                02:10:18




                                                                        165
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 171 of 439 Page ID
                                    #:1595

     1    mentioned earlier.

     2        Q.    4rentinnewyork?

     3        A.    4rentinnewyork, I believe that it's no reply

     4    right now.   Don't quote me.     I didn't follow up on what

     5    the company -- the employees did with the emails.                     02:10:32

     6        Q.    Okay.

     7        A.    Or if it says the site is no longer up.         But

     8    the live sites have an info@, and I don't have a kevin@

     9    on all the sites.     I have kevin@apartmenthunterz,

    10    kevin@featuredrentals.     And only the employees also have           02:10:54

    11    @apartmenthunterz and @featuredrentals, not @ . . .

    12        Q.    Okay.

    13        A.    And then there's customersupport@.

    14        Q.    At both -- at apartmenthunterz and

    15    featuredrentals --

    16        A.    At all of them.

    17        Q.    So every -- every domain we mentioned earlier

    18    there's going to be info@ and customersupport@?

    19        A.    Yes.

    20              And then there's also landlords@, except                    02:11:29

    21    section8 there's no landlords@.

    22        Q.    Okay.   So --

    23        A.    Oh, ifindrentals there's no landlords@.

    24        Q.    Let me ask it this way.      Let's start with the

    25    info@apartmenthunterz.com.                                            02:12:07




                                                                          166
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 172 of 439 Page ID
                                    #:1596

     1        A.    Uh-huh.

     2        Q.    Has anyone searched that email account for

     3    documents responsive in this litigation?

     4        A.    Yes, sir.

     5        Q.    And who performed that search?                             02:12:19

     6        A.    That's a keyboard search.         Dennis, Vid, and

     7    myself, I did.

     8        Q.    When you say "a keyboard search," I'm not

     9    familiar with that term.

    10        A.    Inside the keyboard.

    11              MR. BANDLOW:    Keyword.

    12        Q.    BY MR. BAUMGARTEN:     Keyword.     I'm sorry?

    13        A.    And nothing comes up.

    14        Q.    And so --

    15        A.    Right now if you type it, all of this comes up.            02:12:45

    16        Q.    So a keyword search, in other words, you're

    17    using search terms?

    18        A.    Yes.

    19        Q.    And did you develop the list of search terms?

    20        A.    As far as the building numbers, the building               02:12:57

    21    names, ZIP codes, any mention of those building names,

    22    once you gave us the suit, we went in there and tried

    23    and we -- there was no mention of it.

    24              Then among the employees, if you're asking,

    25    there is no communication.      It's all between us.                 02:13:19




                                                                         167
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 173 of 439 Page ID
                                    #:1597

     1        Q.     Okay.   I don't want to know about your

     2    communications with your attorney.          What I'm asking is a

     3    very narrow question.

     4               Who decided which search terms to run against

     5    your email?                                                         02:13:37

     6        A.     Independently each one I did.       I don't know

     7    what Dennis did.    I don't know what Vid did.       I checked,

     8    and there is no negative communication among the two of

     9    them.

    10        Q.     So you -- you ran some searches in your email            02:13:52

    11    accounts?

    12        A.     Actually, I ran some searches just to look to

    13    see if a landlord had posted, if there was any seeding

    14    if there was a landlord account.       But among the two of

    15    them, I explicitly trust them, and it wasn't in my mind             02:14:10

    16    that they were doing something between the two of them

    17    regarding these CoStar accounts.

    18        Q.     Let me try to narrow the question then.        If you

    19    could just focus on the very narrow question I'm asking.

    20               You personally ran some searches; correct?               02:14:29

    21        A.     Yes.

    22        Q.     Was that over many email addresses?

    23               Was it against one email account?

    24        A.     They're all in the same place.       They're

    25    aliases.



                                                                        168
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 174 of 439 Page ID
                                    #:1598

     1        Q.     So you can run a search for every email account

     2    at once?

     3        A.     Yes.

     4        Q.     Okay.

     5               Everything that's on the apartmenthunterz.com            02:14:49

     6    group?

     7        A.     Right.

     8        Q.     And is that same -- would that same search also

     9    get all the addresses at featuredrentals.com?

    10        A.     Right.                                                   02:14:59

    11        Q.     So you have one search that searches every

    12    email account in the whole --

    13        A.     Right.

    14        Q.     And in the entire company, all the different

    15    domain names, about how many email accounts are there               02:15:08

    16    total or email aliases?

    17        A.     I'm not positive to give you an accurate

    18    number, sir.

    19        Q.     Do you have a sense of whether it's dozens or

    20    hundreds or any --                                                  02:15:21

    21        A.     It's below -- below 50 easy.

    22        Q.     And you can search all of these aliases at

    23    once?

    24        A.     Yes, sir.

    25        Q.     And you performed some searches?                         02:15:33




                                                                        169
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 175 of 439 Page ID
                                    #:1599

     1        A.    I did.

     2        Q.    And about how many different terms would you

     3    say you ran?    Was it ten?    Was --

     4        A.    I'm not positive.

     5        Q.    Do you have a sense?      I mean, you ran them.           02:15:42

     6        A.    No.

     7        Q.    And who -- and you yourself said, "These seem

     8    like some good search terms to run.         I'll run them."

     9    You didn't consult with anyone else about what other

    10    words you should be using?

    11        A.    No, sir.

    12        Q.    Okay.

    13              Now, you've also said that Mr. Macys and

    14    Mr. Portnov also ran some searches?

    15        A.    Right.                                                    02:16:02

    16        Q.    And you told them to run searches?

    17        A.    Right.

    18        Q.    And do you know what terms they actually used

    19    to search?

    20        A.    Initially we were looking for "Welcome to                 02:16:10

    21    Apartment Hunters.     Your listing has been posted,"

    22    Welcoming the building manager or the landlord of the

    23    addresses that were in the initial lawsuit document.

    24    And later on the next day we decided that that is not

    25    a good place to look, so we put our efforts elsewhere.              02:16:39




                                                                        170
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 176 of 439 Page ID
                                    #:1600

     1              Post that among communications between the two

     2    employees, I've checked probably once because I was

     3    looking for some docs, and there's no communications

     4    between Dennis and Vidmantas, and that's about it.

     5        Q.    So let me ask my question, because I'm not sure           02:17:11

     6    that was responsive.

     7              My question is:     Do you know what search terms

     8    Mr. Macys has run?

     9        A.    No.

    10        Q.    Do you know what search terms Mr. Portnov has             02:17:18

    11    run?

    12        A.    No.

    13        Q.    Do you have reason to believe that anyone other

    14    than yourself and those two individuals has run search

    15    terms?                                                              02:17:30

    16        A.    No.

    17        Q.    You believe -- the answer is no.       Okay.

    18              So I think you talked about two different types

    19    of searches.    One was you were looking for emails to

    20    landlords, the "Welcome to Apartment Hunters"?                      02:18:03

    21        A.    Uh-huh.

    22        Q.    And I think you talked a little bit about

    23    searches for emails between Mr. Macys and Mr. Portnov?

    24        A.    The reason I said that is because initially you

    25    brought up a question that do your employees discuss                02:18:18




                                                                        171
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 177 of 439 Page ID
                                    #:1601

     1    this case among them as a trust issue, and I said my

     2    employees do not discuss this case between them.          The

     3    three of us have telephonic meetings, and I explicitly

     4    trust them.

     5              So when I went to look for a particular                     02:18:37

     6    document and I typed "CoStar," there was no emails back

     7    and forth as a conversation in that search result.

     8        Q.    Okay.

     9              So the searches of the -- between Mr. Macys and

    10    Mr. Portnov that you're talking about, that's just a                  02:18:59

    11    different search term that you used?

    12              It wasn't that it was in a different part of

    13    the server or a different search box?

    14        A.    No, sir, not at all.

    15        Q.    Okay.                                                       02:19:10

    16              Can you access your -- any of your accounts

    17    through, like, a smartphone, through an iPhone, or a

    18    BlackBerry?    Can you access apartmenthunterz.com?

    19        A.    I don't have a BlackBerry, and I am not sure

    20    our website is BlackBerry friendly.         I can access them         02:19:27

    21    through a phone, an iPad.      We were trying, but my phone

    22    died.

    23        Q.    And so my question is not whether you can

    24    access the website, but whether you can check your --

    25    for instance, I think it's kshayan@apartmenthunterz.com,              02:19:41




                                                                          172
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 178 of 439 Page ID
                                    #:1602

     1    can you on an iPhone pull up the emails for that?

     2        A.    kshayan@apartments.com?

     3        Q.    @apartmenthunterz.com, yes.

     4        A.    I don't have that email.

     5        Q.    Okay.   We'll come back to --                             02:19:57

     6              MR. BOYLE:    Kevin@apartmenthunterz?

     7              THE WITNESS:    Yes, I have

     8    kevin@apartmenthunterz.com.

     9        Q.    BY MR. BAUMGARTEN:     Okay.

    10        A.    Yes.    And I can pull up those emails.                   02:20:04

    11        Q.    You can pull that up on the phone.        Okay.

    12    I apologize.     I just wrote that down wrong.

    13              So you can pull that up on your phone?

    14        A.    Yes, sir.

    15        Q.    And can other employees also check their                  02:20:17

    16    apartmenthunterz.com email on their phone?

    17        A.    Previously there was total transparency, and

    18    everybody could see everything.       Recently I have

    19    separated mine into a separate folder, and now they

    20    cannot see my --                                                    02:20:42

    21              MR. BANDLOW:    He's asking you can other

    22    employees check their own email addresses.

    23              THE WITNESS:    Oh, sorry.     I didn't get it.

    24    Yes, all of them have their own email addresses.

    25    I thought you were talking about mine.                              02:20:55




                                                                        173
                                 Abrams, Mah & Kahn
                                                 CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 179 of 439 Page ID
                                    #:1603

     1        Q.    BY MR. BAUMGARTEN:     No.

     2              Have steps been taken in connection with this

     3    litigation to search anyone's phone for responsive

     4    emails?

     5        A.    I'm not sure I get it.       Check their phones?          02:21:07

     6        Q.    Have any steps been taken to search either your

     7    phone or any employees' phones for responsive

     8    communications?

     9        A.    No.

    10        Q.    Do you frequently send text messages?                     02:21:21

    11        A.    To my brothers and sometimes family.

    12        Q.    Do you text with your brother about your

    13    business?

    14        A.    No.

    15        Q.    Do you text with anyone about the business?               02:21:38

    16        A.    No.

    17              I only have two brothers and nothing about

    18    business.

    19        Q.    One of your brothers is Steven; correct?

    20        A.    Right, but he lives two blocks away from my               02:21:49

    21    house, so texting would be kind of . . .

    22        Q.    You know, kids these days text all the time, so

    23    you never know.

    24        A.    Go ahead.

    25        Q.    So your address is kevin@apartmenthunterz.com,            02:22:04




                                                                        174
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 180 of 439 Page ID
                                    #:1604

     1    that's your personal one?

     2        A.     For the company, yes.

     3        Q.     Do you have like a Gmail account also or Yahoo

     4    or something like that?

     5        A.     My Yahoo was kevin@listmyrentals.com.                    02:22:17

     6        Q.     Kevin --

     7        A.     Kevin@listmyrentals.com.

     8        Q.     And when you said that was your Yahoo, what do

     9    you mean by that?

    10        A.     I had -- we owned a domain called                        02:22:38

    11    listmyrentals.com.

    12        Q.     Yes.

    13        A.     And I had my personal email there.

    14               MR. BANDLOW:   You did not have a Yahoo email

    15    account.    You're using Yahoo generically.      You're not         02:22:47

    16    saying --

    17               THE WITNESS:   Right.

    18               MR. BANDLOW:   -- you have a Yahoo --

    19               THE WITNESS:   See, that domain was being hosted

    20    by Yahoo.   It was a one-page website way when we.         And      02:22:54

    21    that domain is being hosted on a 1495 Yahoo hosting.

    22        Q.     BY MR. BAUMGARTEN:    Understood.

    23        A.     And it's a Yahoo-hosted website with a Yahoo

    24    email hosting.

    25               Does that make sense?                                    02:23:09




                                                                        175
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 181 of 439 Page ID
                                    #:1605

     1              MR. BANDLOW:    Yes.

     2        Q.    BY MR. BAUMGARTEN:     Yes.

     3              Do you still use that kevin@listmyrentals.com?

     4        A.    Yeah.

     5              Occasionally, until a few nights ago when I saw             02:23:15

     6    everybody's been hacked.

     7        Q.    Have you searched that email address for

     8    documents relating to this case?

     9        A.    Yes.

    10              But it is full of spam.       There is nothing of           02:23:29

    11    substance in there.

    12        Q.    But you have searched it?

    13        A.    Not particularly for this case.       There is

    14    nothing there except solicitations.

    15        Q.    So this kevin@apartmenthunterz.com, you use                 02:23:46

    16    this every so often to communicate with folks outside of

    17    Apartment Hunters; correct?

    18        A.    Yes.    Vendors, friends, family, yeah.

    19        Q.    And do you also use that email account --

    20    actually, I'll strike that.      Give me one second.      I'm         02:24:15

    21    sorry.

    22              Does your brother have a similar

    23    steven@apartmenthunterz.com address?

    24        A.    Yes, sir.

    25              His is steveshayan@apartmenthunterz.com.         And        02:24:45




                                                                          176
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 182 of 439 Page ID
                                    #:1606

     1    he doesn't have a featuredrentals.

     2        Q.    Does Mr. Macys have any email addresses with

     3    just his specific name?

     4        A.    Yes.

     5        Q.    And what is that?                                         02:25:03

     6        A.    It's vidmantasmacys -- his full name --

     7    @apartmenthunterz.com.

     8        Q.    And does Mr. Portnov have one?

     9        A.    His is just his first name,

    10    dennis@apartmenthunterz.com.                                        02:25:18

    11        Q.    And the six customer -- six or seven customer

    12    support representatives in Lithuania, do they have email

    13    addresses with their names?

    14        A.    I believe it's support@apartmenthunterz.com.

    15        Q.    And you mentioned there's the two groups of               02:25:38

    16    four, so eight total programmers in Lithuania.

    17              Do they have individual email accounts?

    18        A.    No.    I think they use

    19    management@apartmenthunterz.com.

    20        Q.    So every --                                               02:26:01

    21        A.    And that comes to all of us.       It comes to me,

    22    Steve, Dennis, Vid.     It's a grouping.

    23        Q.    So every one -- all of your employees that

    24    we've been discussing all day, every one has at least

    25    one, if not more, email accounts that they can use                  02:26:20




                                                                        177
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 183 of 439 Page ID
                                    #:1607

     1    personally?

     2        A.    Right, sir.

     3        Q.    And your testimony is that no one ever e-mails

     4    within the company to each other, no one ever sends

     5    emails?                                                             02:26:34

     6        A.    No, sir.

     7        Q.    You only use it for outside people?

     8        A.    Yes, sir.

     9        Q.    That management@apartmenthunterz.com account,

    10    how long are emails stored there for?                               02:26:46

    11        A.    I don't have any idea.

    12        Q.    If one of the programmers in Lithuania sees an

    13    email and says, "Well, I've dealt with this," can he

    14    just go ahead and delete it?

    15        A.    Yes.                                                      02:27:05

    16        Q.    And that's still the case today?

    17        A.    Yes.   Sorry.   I have allergies.     Go ahead.

    18        Q.    If you need water or a break --

    19        A.    I'm good.    Thank you.

    20              MR. BANDLOW:    Do you need something else?               02:27:28

    21              THE WITNESS:    No, I'm good.     Thank you.

    22        Q.    BY MR. BAUMGARTEN:     Okay.

    23              The info@apartmenthunterz.com address, who can

    24    access that?

    25        A.    Everyone, but it's monitored constantly by the            02:27:40




                                                                        178
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 184 of 439 Page ID
                                    #:1608

     1    support ladies and Vid.

     2        Q.    Any idea about how many emails you get a month

     3    at that address?

     4        A.    Well, a number?     No.

     5        Q.    But you get emails to that account on a daily             02:28:04

     6    basis?

     7        A.    A lot.

     8        Q.    Do emails ever get sent out from

     9    info@apartmenthunterz.com?      So do people respond to

    10    customers using that address?                                       02:28:20

    11        A.    Yes.

    12        Q.    And those -- the customer support

    13    representatives when they are -- if they've gotten an

    14    email and they're done with it, they can delete the

    15    email?                                                              02:28:40

    16        A.    Yes, sir.

    17        Q.    That's still the case today?

    18        A.    Yes, sir.

    19        Q.    The address -- you said -- you said there are a

    20    lot of emails every day.                                            02:28:48

    21              Any idea, is that two dozen?       A hundred?    Any

    22    idea what the ballpark is, email --

    23        A.    It's probably -- I don't know.       6-, 7-, 800, if

    24    not a thousand, because --

    25        Q.    Per day?                                                  02:29:04




                                                                        179
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 185 of 439 Page ID
                                    #:1609

     1        A.    Per day.    Because every customer that comes and

     2    signs up gets a welcome.      "Here's your receipt for the

     3    payment," and then immediately they get the listings

     4    that are matching their search criteria.

     5              And also the landlords get an e-mail that "The            02:29:19

     6    following properties are about to expire," you know,

     7    "Would you like to delete them or add seven more days to

     8    them?"   There is a lot of going-back-and-forth emails

     9    both to landlords, guests who didn't sign up, and

    10    members who did sign up.                                            02:29:45

    11        Q.    So the info@apartmenthunterz.com address that's

    12    monitored by the customer support team, I assume that's

    13    then the address that you're going to be corresponding

    14    with customers from?

    15              That's where customer complaints --                       02:29:57

    16        A.    Also, for example, if some company wants to do

    17    business with us, they would be -- contact us at this

    18    email.

    19        Q.    Okay.

    20              And so, for instance, if the company wanted to            02:30:07

    21    set up a feed agreement, they would contact you at that

    22    info?

    23        A.    Correct.

    24        Q.    What about the address

    25    management@apartmenthunterz.com, what types of                      02:30:24




                                                                        180
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 186 of 439 Page ID
                                    #:1610

     1    communications come in there?

     2        A.    We don't have any -- it's published.        It's

     3    among us.    When we want to circulate something, that's

     4    all of us get it.

     5              MR. BAUMGARTEN:     Let me ask about -- well, why         02:30:49

     6    don't we take a quick break to change the tape.

     7              THE VIDEOGRAPHER:     Off record, 2:30 p.m.

     8              This concludes tape No. 2.

     9              (Recess taken from 2:30 p.m. to 2:33 p.m.)

    10              THE VIDEOGRAPHER:     This begins tape No. 4 in           02:33:13

    11    the videotaped deposition of Kevin Shayan taken at

    12    725 South Figueroa Street, 31st Floor, Los Angeles,

    13    California, on September 29th, 2016.

    14              My name is Jeannie Schwarze with Dean Jones

    15    Legal Videos, Inc. out of Santa Ana, California.

    16              Returning to record, 2:33 p.m.

    17        Q.    BY MR. BAUMGARTEN:     Mr. Shayan, we were talking

    18    about email addresses before the break, so let me ask

    19    you about another one, affiliate@apartmenthunterz.com.

    20        A.    Yes, sir.                                                 02:33:45

    21              That is the one that people who are our

    22    affiliates contact us with.      Because -- yes, affiliates.

    23        Q.    And who are your affiliates?       Who would you

    24    contact --

    25        A.    A lot of other rental websites who don't have             02:33:58




                                                                        181
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 187 of 439 Page ID
                                    #:1611

     1    any data, meaning listings, come to us for data.          So we

     2    feed a lot of data to other websites.        And that's how

     3    they communicate with us.

     4        Q.     Who gets the emails -- or who checks that email

     5    address?                                                             02:34:23

     6        A.     All of these, our manager, Vidmantas.

     7        Q.     Does anyone else track the affiliates?

     8        A.     I have access to it.     Dennis has access to it,

     9    but I don't check it.

    10        Q.     And it's up to Mr. Macys to decide when to                02:34:39

    11    delete emails on this account?

    12        A.     Correct.

    13               We are on a clean in-box system.

    14        Q.     There was a -- I can show you the exhibit if

    15    you need it -- but let me strike that.        Hold on one            02:35:02

    16    second.

    17               What do you mean by "clean in-box system"?

    18        A.     No.   I was just saying there's a lot of effort

    19    being put on keeping your in-boxes organized.         That's

    20    what I meant as an effort, but . . .                                 02:35:19

    21        Q.     Okay.

    22               I can show you an exhibit, if you need it,

    23    but I assume you're familiar with that on

    24    apartmenthunterz.com there's a contact desk page where

    25    there's a little form where a customer can enter a                   02:35:36




                                                                         182
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 188 of 439 Page ID
                                    #:1612

     1    complaint and send it, and it goes to you?

     2        A.    Uh-huh.

     3        Q.    I just need a verbal response.

     4              Not to you, but it goes to the company.         You're

     5    familiar --

     6        A.    Yes.

     7        Q.    -- with that?

     8        A.    Yes.   Yes.

     9        Q.    So who gets that one, that form where someone

    10    clicks enter and sends you a complaint?                             02:35:50

    11        A.    The ladies, the support ladies.

    12        Q.    And that --

    13        A.    It goes into our ticketing system.        We have a

    14    sophisticated ticketing system, and depending on what

    15    the words inside there are, we have a sophisticated                 02:36:01

    16    filter.   So what you type, it actually recognizes anger

    17    and it actually rates it and puts it in front of the

    18    ladies.

    19        Q.    And so the ticketing system is a piece of

    20    software?                                                           02:36:18

    21              It's not an email box, it's a separate piece of

    22    software?

    23        A.    No.

    24              We used to have software, but we wrote our own.

    25    And it's connected also to our phone system, where it               02:36:27




                                                                        183
                                  Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 189 of 439 Page ID
                                    #:1613

     1    does the phones and the little "Contact Us" box.          So in

     2    there if you go and say, "Hi, I want to sign up," it

     3    right away goes as a priority.

     4               And if you say, "Hi, I'm frustrated and I would

     5    like my money back," it goes as a priority.                         02:36:49

     6               If you say, "I'm interested to see a two

     7    bedroom/two bathroom," it gets an automated response

     8    that you can sign up for the service for $49 and you'll

     9    be able to see the property.

    10          Q.   So this ticketing system that you guys have              02:37:08

    11    created in a program, I assume there is some sort of

    12    database where -- that holds these incoming messages?

    13          A.   It's the ticketing system.       Every company has

    14    it.

    15               It's similar to an in-box of an email except             02:37:27

    16    there is condensers and then separated into an

    17    organized -- allow me one second -- an organized system

    18    where if I accidentally pick up the phone, I could see

    19    the interactions between you and the ladies.         And I

    20    could --    I don't have to again ask you, "Who did you             02:37:55

    21    speak to?   What did she tell you?"         It's the notes that

    22    an operator would take on you.       So when I pick up the

    23    phone I could say, "I see like Barbara told you this,

    24    and she promised you this."      It's the whole shebang.

    25          Q.   Understood.   Understood.                                02:38:13




                                                                        184
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 190 of 439 Page ID
                                    #:1614

     1              And that system when an incoming message is

     2    received, is it then preserved?

     3        A.    Oh, yeah.    It pops up right -- right -- yes.

     4        Q.    But my question, though, is:       Is it preserved,

     5    meaning saved?                                                       02:38:29

     6              Does it -- after the customer has been dealt

     7    with, does a record stay --

     8        A.    It's preserved until the subscription of that

     9    person ends.

    10        Q.    And is that -- that's still the policy today,              02:38:40

    11    that if --

    12        A.    Yes.

    13        Q.    -- someone who had sent a message in last

    14    December, if their subscription --

    15        A.    Has ended or we refunded them, it ends.         If         02:38:54

    16    they were a guest and haven't paid us, we usually keep

    17    it for 30 days because we still solicit them, "Please

    18    come and sign up."     But we have the information.

    19        Q.    And has this ticketing system been searched in

    20    connection with this lawsuit?                                        02:39:14

    21        A.    No.

    22        Q.    Let me move to a different email address.

    23              I think you briefly mentioned

    24    landlord@apartmenthunterz.com?

    25        A.    Yes.   I believe that's it.                                02:39:23




                                                                         185
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 191 of 439 Page ID
                                    #:1615

     1        Q.    Who would have access to that email account?

     2        A.    I . . . that's an outgoing box where we invite

     3    the landlords.

     4        Q.    So if people -- messages go out from landlord?

     5        A.    Right.                                                     02:39:40

     6              We would say, you know, "We haven't seen you

     7    come into the site for a long time."        "Here's your user

     8    name.    Here's your password.    Please come list with us

     9    or update your listing," something like that.

    10        Q.    And about how many emails a day would you say              02:39:54

    11    go out from landlord?

    12        A.    We haven't sent that many out in the last year

    13    due to the volume that we're sending, and our servers

    14    were incapable of invitations right now.

    15        Q.    Was that the case that you were not sending                02:40:11

    16    many of those in October, November of 2015?

    17        A.    Yes.

    18              Our capacity would not allow us to send any

    19    more invitations of this magnitude.

    20        Q.    And so if someone got that and they hit                    02:40:29

    21    "Reply," what would happen?

    22              Would you --

    23        A.    It wasn't that.     It was sending it out.      It

    24    wasn't getting it back.      It was just even sending them

    25    out we had a bottleneck.                                             02:40:42




                                                                         186
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 192 of 439 Page ID
                                    #:1616

     1        Q.    I understand.

     2              Before the bottleneck when you were able to

     3    send out from this address, if the recipient had

     4    replied, would it come back to you?

     5        A.    It was a no reply.     They were either -- from           02:40:53

     6    within that email, they would log in or they would take

     7    some other action.     It wasn't a two-way talk back and

     8    forth.

     9              (To Mr. Bandlow) Are you okay?

    10              MR. BANDLOW:    Uh-huh.    Stop checking on me.           02:41:11

    11    I'm good.

    12        Q.    BY MR. BAUMGARTEN:     So that's interactive, they

    13    can click a box in that email.

    14              What does that -- does that feed into some sort

    15    of system, if they click "Yes, use our listing" or "No"?            02:41:24

    16        A.    It would actually take you into their account.

    17              So behind the button, we had embedded the user

    18    name and password.     So it would say "Log In" and through

    19    a cookie, just in case the email was opened by somebody

    20    else, it would take you right into their account.                   02:41:51

    21        Q.    Sure.   And so --

    22        A.    And then they would see their listings.

    23        Q.    And then once they were in the account, they

    24    could click another button that granted Apartment

    25    Hunters permission or denied them permission?                       02:42:08




                                                                        187
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 193 of 439 Page ID
                                    #:1617

     1        A.    Right.

     2        Q.    And where was that permission or denial?

     3              Was that recorded?

     4        A.    What do you mean "permission or denial"?          These

     5    were registered landlords.                                          02:42:13

     6        Q.    Right.

     7              And my understanding is that these emails were

     8    essentially asking them whether they would like you to

     9    list a certain property for them, and that they --

    10        A.    Oh, those are separate emails.       Those are still      02:42:24

    11    going out.

    12        Q.    Okay.

    13        A.    These were -- these were old landlords that had

    14    not come to the site recently, and we would re-invite

    15    them and remind them that their user name is this, their            02:42:41

    16    password is this, and say "Please come back.         Your

    17    properties are still there typed up and inactive."

    18        Q.    I see.

    19        A.    The other one we would be sending them, "This

    20    is Apartment Hunters.     We have your listing.      Would you      02:42:58

    21    please give us permission to list it?"        And we would put

    22    a "Yes" button with a session ID and a cookie collected,

    23    and a "No" button with a session ID and a cookie

    24    collected.   And that would be a recorded permission, and

    25    it's a very simple four-line thing, and that is to this             02:43:17




                                                                        188
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 194 of 439 Page ID
                                    #:1618

     1    day going on.

     2        Q.    Okay.   Great.   So let me ask you a couple of

     3    follow-ups.

     4              No. 1, where did these -- this second set of --

     5    I'm not talking about the landlords that have been gone             02:43:29

     6    for a while.    I'm putting that aside.

     7              These asking for "We have your website" --

     8        A.    Not your website.     As we find websites and

     9    management companies on the internet, we type the email

    10    and say, "Do we have permission for your website?"          It's    02:43:44

    11    just we put their URL.     We don't type the list.

    12        Q.    Understand.    So we'll call these -- can I call

    13    these the permission emails?

    14        A.    Yes, sir.

    15        Q.    Okay, the permission emails.                              02:43:58

    16              Are those also sent out by

    17    landlord@apartmenthunterz.com?

    18        A.    I'm not sure what we use.

    19        Q.    Okay.

    20        A.    But it's -- it might be info.       I am not sure         02:44:05

    21    which email we use.

    22              But it just says, "We have noticed your

    23    management company URL.      Would you like us to list your

    24    properties on our website?      Push here for permission, or

    25    push here for not permission."                                      02:44:23




                                                                        189
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 195 of 439 Page ID
                                    #:1619

     1              MR. BAUMGARTEN:     Let me get another exhibit

     2    that I think will help refresh.       I'll mark this as

     3    Exhibit 14.

     4              And this was an exhibit in the California Board

     5    of Real Estate hearing.       This was marked as State's            02:44:43

     6    Exhibit 8 in that hearing.      We've now marked it as

     7    Exhibit 14.

     8              (Exhibit 14 was marked for identification.)

     9              THE WITNESS:    This is the yes and the no.

    10        Q.    BY MR. BAUMGARTEN:     And if you look at the             02:44:56

    11    second page, there is a spreadsheet.        The back of the

    12    first page for you really.

    13        A.    Uh-huh.

    14        Q.    That you testified at the time was a record of

    15    the emails that had gone out.                                       02:45:08

    16        A.    Right.

    17              This one was produced by Dennis, yes.

    18        Q.    Right.

    19              And so the "Email From" column says

    20    landlord@apartmenthunterz.com.

    21        A.    Correct.    Yeah.

    22              I just said I'm not sure, but it could be, yes.

    23        Q.    But based on that you think most likely the

    24    permission emails probably do come out from landlord?

    25        A.    Yeah.                                                     02:45:28




                                                                        190
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 196 of 439 Page ID
                                    #:1620

     1              Based on this, because it's a declaration of

     2    Vidmantas.   So this email just so -- because Lincoln has

     3    never seen it.    It goes out to the landlord, and there's

     4    a "Yes" button to the left.      There's a "No" button to

     5    the left.    And these are the affiliates.      And it says         02:45:47

     6    "May we put your listings on our website?        We've noticed

     7    you have a website, and if you let us put it, we'll

     8    syndicate it to these other websites."        And it says that

     9    we own these other companies, websites.        And then you

    10    push "Yes" or "No" and it lets the database know.                   02:46:05

    11        Q.    Okay.   So --

    12        A.    You want me to put it here?

    13        Q.    You can keep it in front of you.

    14        A.    Okay.

    15        Q.    This -- these emails were -- I guess there was            02:46:15

    16    a recording made of the emails that went out.

    17              Is that what this spreadsheet represents?

    18        A.    See, we know the "Yes" or "No" via that session

    19    and cookie ID.

    20        Q.    And you get that, and it fills in a                       02:46:31

    21    spreadsheet?

    22        A.    No.

    23              It fills in the MySQL database.

    24        Q.    It goes --

    25        A.    We just brought it down for the Department of             02:46:39




                                                                        191
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 197 of 439 Page ID
                                    #:1621

     1    Real Estate into a MySQL.

     2        Q.    This is an excerpt from the MySQL database?

     3        A.    Yes, sir.

     4        Q.    Okay.

     5              And is the "Yes" and "No" preserved in that SQL           02:46:48

     6    database forever?

     7        A.    Well, after this, they would have to send us an

     8    email if they want us to stop putting it.

     9        Q.    Okay.   That wasn't my question.

    10              My question was:     The "Yes" or "No" goes into          02:47:02

    11    the SQL database --

    12        A.    And preserved forever.

    13        Q.    Preserved forever.     Okay.

    14              In the California Board of Real Estate case,

    15    the question -- or the issue was whether a company                  02:47:23

    16    called HomeTeam Property had given you permission via

    17    this form to use their listings; correct?

    18        A.    Correct.

    19        Q.    And your testimony in that case was that you

    20    had sent them an email, and they had given you                      02:47:40

    21    permission, but that you no longer had either the email

    22    that you sent or the record of them giving you

    23    permission.

    24        A.    And his brother, who was a broker, had opened

    25    up a landlord account and/or posted it through the speed            02:48:00




                                                                        192
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 198 of 439 Page ID
                                    #:1622

     1    post.    This was the younger brother that was just trying

     2    to, you know, make an impression on his brother.

     3        Q.    Okay.

     4              So my question was:     Am I correct that you

     5    testified that the outgoing email had been purged                   02:48:15

     6    because you only keep the outgoing emails for every --

     7        A.    Correct --

     8        Q.    -- for a few months?

     9        A.    Correct.

    10        Q.    And is it still your policy today that these              02:48:24

    11    outgoing permission emails are only preserved for a few

    12    months?

    13        A.    Yes.

    14              I don't know how long, but we don't keep them.

    15    Once we grab the "Yes" or a "No," we don't actually keep            02:48:37

    16    the physical HTML.

    17              Is that what you're asking me, the color

    18    version of it?    This kind of version of it?

    19        Q.    Any record of the outgoing email.

    20        A.    Are you asking me about this pretty kind of               02:48:50

    21    version of it?

    22        Q.    I'm asking about any version of the outgoing

    23    email in whatever form.

    24        A.    Okay.

    25              The record of a "Yes" or a "No" is recorded in            02:49:00




                                                                        193
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 199 of 439 Page ID
                                    #:1623

     1    a database, and it stays there.       And if the landlord

     2    wants to change the "Yes" to a "No," they have to send

     3    us an email.

     4               This pretty HTML version is just a printout.

     5    So if you're asking if this is preserved, the answer is             02:49:22

     6    no.

     7          Q.   Okay.    And just for the record, "this pretty

     8    version" was the first page of Exhibit --

     9          A.   14.

    10          Q.   -- 14.                                                   02:49:32

    11               If a customer submits a request for refund by

    12    email, is that going to go to the

    13    info@apartmenthunterz.com address?

    14          A.   Customer support, info, we pick it up.

    15               We have a parsing system that if you use the             02:50:03

    16    words "unhappy," "money back," "did not find the place,"

    17    "sucks," "your website," "your website sucks," "the

    18    listings were rented" -- seriously.         We've thought about

    19    every bad word or dissatisfaction in the rental industry

    20    possible.   Our back end automatically has a light pink,            02:50:28

    21    medium pink, and a super red.       It reads what was typed

    22    and pushes it into -- in front of the ladies, and the

    23    ladies push a button and refund the people.         We have a

    24    28 percent refund ratio in our company.

    25          Q.   Okay.                                                    02:50:53




                                                                        194
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 200 of 439 Page ID
                                    #:1624

     1              The emails that go into the customer support at

     2    the apartmenthunterz.com address, those go to the

     3    customer service representatives.

     4              Once they deal with those emails, they delete

     5    the emails?                                                          02:51:11

     6        A.    It's not just emails.      They come to the chat.

     7    We have almost 21 hours out of the 24 hours live

     8    customer support, and they also are picking up the

     9    phones.

    10              So now we have live phone, them picking up, we             02:51:26

    11    have live chat, and right away email.        So they either

    12    pick up the phone, do the chat, or receive that ticket

    13    by that page, and they push the button, they refund.

    14              That is hell because some of them right away

    15    call and go, "I just opened my bank account.         I don't         02:51:51

    16    see the refund."    So they have to explain, "Ma'am, it

    17    takes 24 hours for it to hit your account."

    18              Those are preserved until the customer's happy

    19    and sees the refund posted to their account and that

    20    account has been settled.                                            02:52:09

    21        Q.    Okay.

    22              And that's -- you've testified earlier, I

    23    think, the ticketing system information is preserved

    24    until the account is closed?

    25        A.    And also, we reconcile with the credit card                02:52:24




                                                                         195
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 201 of 439 Page ID
                                    #:1625

     1    companies payments to us.      So once we close a batch, we

     2    get paid from the payment processor for a Visa or a

     3    Mastercard.    It all has to go hand in hand.

     4        Q.    Okay.

     5              And does the chat, does that also go into the             02:52:37

     6    ticketing system?

     7        A.    It all goes into the customer interaction.         So

     8    we gather it all into one simple place.

     9              So when you call and go, "My name is James

    10    Johnson," they ask you, "Mr. Johnson, there's twenty                02:52:54

    11    other Johnsons.    Can I get the last, you know, four

    12    digits of your phone number?      Or can you tell me, you

    13    know, some other unique thing?"       And it comes up, and

    14    they see you've chatted once, you've called twice, and

    15    you've emailed six times.                                           02:53:11

    16        Q.    Okay.

    17              So all that information, whether it comes in by

    18    chat or by phone or the contact-us form, it all goes

    19    into one system.    And the answer is the same for

    20    everything in that system, it's preserved until the                 02:53:23

    21    account is closed and all the financials are reconciled?

    22        A.    Yes, sir.

    23        Q.    And then it's deleted?

    24        A.    Right.

    25        Q.    Okay.



                                                                        196
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 202 of 439 Page ID
                                    #:1626

     1        A.    This was to make it faster for them to help the

     2    customer.

     3        Q.    Do you have a sense of about how many requests

     4    for refunds you get in a day?

     5        A.    Too many.    Actually, I just told you.      It           02:53:50

     6    becomes so much easier for $49 to refund them than to go

     7    to a chargeback system and all of that.        The refund

     8    ratio is exactly 26.5 or 27 percent out of a hundred.

     9        Q.    Okay.

    10        A.    But by per day, I do not have a perfect count.            02:54:11

    11    I could tell you per month.

    12        Q.    Sure.

    13        A.    Out of a hundred grand, 25,000 of it is gone.

    14        Q.    Okay.

    15              But do you have a sense of the number of people           02:54:20

    16    who sign up a month?

    17        A.    3,000 memberships.     I don't -- I can't do the

    18    math of 3,000 memberships.

    19        Q.    But per month, roughly 3,000 new memberships?

    20        A.    3,000 new memberships.                                    02:54:40

    21              I don't know what the average dollar amount is

    22    because we offer coupons, discounts, affiliate payments,

    23    so --

    24        Q.    That's fine.

    25              MR. BANDLOW:    Your question was what is the             02:54:53




                                                                        197
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 203 of 439 Page ID
                                    #:1627

     1    estimate of how many people are signing up per month?

     2              MR. BAUMGARTEN:     Yes.

     3              MR. BANDLOW:    Okay.

     4              THE WITNESS:    3,000.

     5        Q.    BY MR. BAUMGARTEN:      3,000.                            02:55:00

     6              And so roughly 25 percent of that end up

     7    seeking a refund.

     8        A.    And then dollar amount, you would have to

     9    figure it out.

    10        Q.    I won't try to do that math right now.        That's      02:55:09

    11    fine.    I just wanted to get a sense of the numbers.

    12        A.    See, this part I like.      The earlier part was

    13    tough questions.

    14              MR. BANDLOW:    None of them are tough.      You're

    15    doing fine.                                                         02:55:27

    16        Q.    BY MR. BAUMGARTEN:      Are there any other

    17    non-individual email accounts; in other words, other

    18    things that are like info@ or landlord@ that we haven't

    19    discussed?

    20              And that's true both of apartmenthunterz.com              02:55:42

    21    and any of the other websites.

    22        A.    No.

    23        Q.    We've discussed all of them?

    24        A.    Yeah.

    25              MR. BAUMGARTEN:     Okay.   Why don't we take a           02:55:54




                                                                        198
                                 Abrams, Mah & Kahn
                                                 CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 204 of 439 Page ID
                                    #:1628

     1    quick five-minute break, and let me look through what

     2    else we have.

     3              MR. BANDLOW:    Sure.

     4              THE VIDEOGRAPHER:     Off record, 2:56 p.m.

     5              (Recess taken from 2:56 p.m. to 3:03 p.m.)                02:56:03

     6              THE VIDEOGRAPHER:     Returning to record,

     7    3:03 p.m.

     8        Q.    BY MR. BAUMGARTEN:      Mr. Shayan, just a couple

     9    more questions about how folks access the internet.

    10              Do you have -- in your office with your brother           03:03:31

    11    here in California, do you have an internet service

    12    provider you use, for instance, Comcast, Verizon?

    13        A.    I use Cox.

    14        Q.    Cox.   Okay.

    15        A.    And my brother uses AT&T U-verse.                         03:03:48

    16        Q.    Do you know how your employees in Lithuania --

    17    do they have a Lithuania version of AT&T perhaps?

    18        A.    They're more fortunate.      They have fiber.

    19        Q.    They have fiber.     Okay.

    20              Do you know what company they use?                        03:04:07

    21        A.    I have no idea, sir.

    22        Q.    Do you have the ability to monitor or track the

    23    IP addresses that your employees in Lithuania visit?

    24        A.    No, sir.

    25        Q.    And do you have the ability to monitor or track           03:04:21




                                                                        199
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 205 of 439 Page ID
                                    #:1629

     1    the IP addresses of Mr. Portnov?

     2        A.    I have no idea, sir.

     3        Q.    To use the Amazon Cloud server, can everyone,

     4    both you and your brother in the U.S. and everyone in

     5    Lithuania, just log in directly to -- is there like a               03:04:54

     6    website Amazon.com/ something that you log into?

     7        A.    No.

     8              There is no Amazon.com.      It's just -- just like

     9    that -- just like that -- if you can please turn on your

    10    computer for a second, and I'll tell you where to go                03:05:09

    11    really quickly, that apartmenthunterz.info, if you

    12    could.   You'll see it's just a module of a website, and

    13    you could access it, and it just takes you in.         It's all

    14    web based.

    15        Q.    So I think your answer is that your employees             03:05:31

    16    will log into apartmenthunterz.info --

    17        A.    No.

    18              My employees know how to get into the Amazon

    19    web servers through the Amazon interface.        My brother

    20    and I, as non-web server people, have been given an                 03:05:43

    21    internet page for dummies that displays the dummy way of

    22    the server information.

    23        Q.    So you're not 100 percent sure, then, how your

    24    employees actually get into the --

    25        A.    No.                                                       03:06:04




                                                                        200
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 206 of 439 Page ID
                                    #:1630

     1              There is an interface.      There's a web -- there

     2    is a server interface for server people that I don't

     3    understand, and if I touch something, the whole thing

     4    blows up.

     5        Q.    But it's some sort of web interface that they             03:06:16

     6    use?

     7        A.    A server interface.     It's not web based.      It's

     8    actually Linux -- Linux based.

     9        Q.    Okay.

    10              And apart from the cloud, from everything                 03:06:35

    11    that's on Amazon Cloud, does the company have any other

    12    sort of shared drives or any other networks that are

    13    used?

    14        A.    Nothing.    We don't -- we don't store anything.

    15    We just access it.                                                  03:06:53

    16        Q.    Access it.    Okay.

    17              Do you ever circulate information among

    18    management about the feed agreements that you guys are

    19    receiving?

    20        A.    Circulate?                                                03:07:12

    21        Q.    Yeah.

    22        A.    No.

    23              I just -- we -- we actually -- when I, myself,

    24    get an agreement with, for example, a company for rent,

    25    or Vidmantas solicits one of the larger companies and               03:07:27




                                                                        201
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 207 of 439 Page ID
                                    #:1631

     1    gets an agreement, or we were at the San Francisco

     2    Apartment Owners Association -- I wasn't there -- my

     3    brother Steve was there and gets an agreement, we come

     4    back and telephonically we say, "Guys, we have an

     5    agreement, and the original copy stays with me and Steve            03:07:48

     6    here."    And then they contact the tech people at that

     7    company, and they say, "Please send the feed to this

     8    email address," and that's it.

     9        Q.    I apologize if I already asked it, but you said

    10    the original copy.                                                  03:08:08

    11              That's a hard copy agreement?

    12        A.    It's a signed thing that "I, forrent.com, agree

    13    to give Apartment Hunters our listings for posting."

    14    It's the same kind that we have shown you but with other

    15    people.                                                             03:08:23

    16        Q.    And so those hard copy originals, those are

    17    stored by your brother at his office in California?

    18        A.    Right.

    19              Except ApartmentGuide, which we don't have.         We

    20    were negotiating to -- they were -- they came to us to              03:08:36

    21    buy the company.    And during the negotiation to buy the

    22    company at $8 million, they said, "We're going to just

    23    first give you data while we're negotiating," and, you

    24    know, we didn't -- we decided not to sell at that time.

    25              So that paperwork is not there, but the feed is           03:08:57




                                                                        202
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 208 of 439 Page ID
                                    #:1632

     1    legitimately coming.     We have an unsigned copy of the

     2    permission to receive the feed.

     3        Q.    Okay.

     4              And to the extent that you have other hard copy

     5    documents, have those all been searched in connection               03:09:17

     6    with this litigation?

     7        A.    Yes.

     8              And we have it, and we presented it to you.

     9    You can pick up the phone and call.

    10        Q.    When you get the hard copy agreement, for                 03:09:36

    11    instance, the ForRent one that you had or the Move one,

    12    do you scan those and stick them anywhere?

    13        A.    Just stick them in the file cabinet, home

    14    office.

    15        Q.    And your testimony was that a lot of those were           03:09:53

    16    lost in a move?

    17        A.    No, a couple of them that we didn't have.

    18              There's one of them we don't have.        The

    19    ApartmentGuide one we have, but I just explained that it

    20    was in the company merger, and that's it.        One of them        03:10:07

    21    we don't have because we moved out of our Beverly Hills

    22    office here.

    23        Q.    Okay.

    24              Does the company have any sort of archive of

    25    files related to the California Bureau of Real Estate               03:10:25




                                                                        203
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 209 of 439 Page ID
                                    #:1633

     1    proceedings?

     2        A.    It's with the attorney, in my emails, and also

     3    physically in the home office from the beginning to now.

     4              Also, if you're going to the archives of the

     5    Department of Real Estate, I would like to say that in              03:10:47

     6    2004, in December of 2004, we had a complete burndown in

     7    our offices in 201 North Robertson.         The entire building

     8    burnt down to the ground.      So my desk, my computers, my

     9    -- everything was burned down to the ground.

    10              And when I walked out of the car to go into the           03:11:14

    11    office, I didn't even see it, but I stepped into this

    12    much water (indicating), and they had red-taped the

    13    place.   There was nothing left.      And the office above me

    14    had plugged in too many things into one plug.         So we

    15    lost everything.    It's with the Beverly Hills Fire                03:11:35

    16    Department, and you could look it up.

    17        Q.    That sounds awful, and I'm sorry you had to go

    18    through that.

    19        A.    So some of the documents then are gone, the

    20    hard copy.                                                          03:11:49

    21        Q.    And so have you -- has anyone searched any of

    22    these records of the California Bureau of Real Estate

    23    proceedings that are with your lawyer in your home

    24    office and in your emails?

    25              Has anyone searched those?                                03:12:04




                                                                        204
                                 Abrams, Mah & Kahn
                                                CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 210 of 439 Page ID
                                    #:1634

     1        A.    Everything that we have, we have gotten from

     2    the lawyer, or he still has and we have forwarded it to

     3    Mr. Lincoln [sic].

     4              MR. BANDLOW:    I think we've -- didn't we

     5    produce that to you, our BRE files?                                 03:12:15

     6              MR. BAUMGARTEN:     No.

     7              MR. BANDLOW:    Oh, okay.    I think that's being

     8    processed.   We're producing that to you.

     9              THE WITNESS:    We have all the BRE files for

    10    you.                                                                03:12:23

    11              MR. BANDLOW:    Everything from BRE we're

    12    producing.   I thought it had been, but it's probably

    13    just getting arranged.

    14              MR. BAUMGARTEN:     Now we have one page from BRE.

    15              MR. BANDLOW:    Oh, no.    You're going to get a          03:12:26

    16    very big stack.

    17              THE WITNESS:    We have this big of a file

    18    (indicating).

    19              MR. BANDLOW:    Sorry.    I thought that had gone

    20    out the door.    It's probably being processed.                     03:12:35

    21        Q.    BY MR. BAUMGARTEN:     Does the company have any

    22    sort of archive of files related to the litigation with

    23    Mr. Verge and Westside Rentals?

    24        A.    Oh, I would have to ask Mr. Tahmazian, yes.

    25    But you could look up the case.                                     03:12:50




                                                                        205
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 211 of 439 Page ID
                                    #:1635

     1          Q.   Does the company have any sort of archive of

     2    files related to the lawsuit with Property Three

     3    Technology Group?

     4          A.   That's with Jilbert too.     If you would like, I

     5    can give you his number.      But I can get it for you also,        03:13:06

     6    but it's also on the web, LexisNexis, wherever you guys

     7    go.

     8          Q.   Do you have any sort of hard copy files related

     9    to customer complaints?

    10          A.   No, sir.                                                 03:13:24

    11          Q.   And do you have any collection of files related

    12    to complaints received through the Better Business

    13    Bureau or any other third parties?

    14          A.   No, sir.

    15          Q.   So I just want to quickly go through a couple            03:13:37

    16    of things.   Besides -- just sort of want to make sure

    17    there's noting we're missing.

    18               Besides what we've already talked about today,

    19    is there any other information that you can provide me

    20    about the approximate volume of emails sent and received            03:14:01

    21    on any of your company's domains in 2015?

    22          A.   No, sir.

    23          Q.   Do you have any information about any documents

    24    that you think might have been responsive to the

    25    requests for documents that we served you that you've               03:14:33




                                                                        206
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 212 of 439 Page ID
                                    #:1636

     1    been unable to produce because they were deleted or

     2    otherwise unavailable?

     3        A.     No, sir.

     4        Q.     Any other information to provide about the

     5    steps that you've taken to ensure that your employees               03:14:55

     6    preserve relevant documents in this matter?

     7        A.     No, sir.

     8        Q.     Any other information that you can provide

     9    about the methods by which your preserved data has been

    10    searched in connection with this matter?                            03:15:18

    11        A.     No, sir.

    12        Q.     Any other information you can provide about the

    13    policies and practices you have regarding deletion of or

    14    purging or letting expire data from your website?

    15        A.     No, sir.                                                 03:15:52

    16               MR. BAUMGARTEN:    Why don't we take one more

    17    quick two-minute break, and I think we're very, very

    18    close to being done.

    19               THE VIDEOGRAPHER:    Off record, 3:16 p.m.

    20               (Recess taken from 3:16 p.m. to 3:21 p.m.)               03:16:07

    21               THE VIDEOGRAPHER:    Returning to record,

    22    3:21 p.m.

    23        Q.     BY MR. BAUMGARTEN:    Just a couple quick

    24    questions about things that I meant to ask about

    25    earlier.                                                            03:22:04




                                                                        207
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 213 of 439 Page ID
                                    #:1637

     1               We were talking about the landlord-submitted

     2    listings, and I think you testified that when there's

     3    a -- once they're up, when there's a major change, it

     4    goes into a box where you or your brother would sign

     5    off.   If it's a minor change, they can just do it.          I         03:22:20

     6    don't think I ever asked.

     7               When they first put it up, does it --

     8        A.     Oh, brand-new ones?    They come right up.      It

     9    means it comes for our approval.       Sorry about that.     The

    10    first time landlord comes in no matter what they type.                 03:22:37

    11    After that, they can do more listings -- let me clarify.

    12               When the landlord puts up one listing, first

    13    time they've signed up, comes to the box.        That same

    14    landlord puts another brand-new listing, comes to the

    15    box for approval.                                                      03:22:58

    16               From there if they do small changes on those

    17    listings, it goes up to the changes.        If they take a

    18    2,000 rental and make it $800, it comes back going this

    19    guy is trying to do something crazy.        And same with the

    20    bad text.                                                              03:23:18

    21               So the housing authority people came to us and

    22    Westside Rentals on a couple of bad words, and we had to

    23    pay a $14,000 fine.     So we have written filters that you

    24    cannot say "perfect for professionals" or "close to a

    25    temple."    We got fined for "close to a temple."       So             03:23:41




                                                                           208
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 214 of 439 Page ID
                                    #:1638

     1    that's why we have put these in place.

     2              MR. BOYLE:    So that lets you and your brother

     3    closely review everything that is uploaded?

     4              THE WITNESS:    Right.

     5              And also if you go to apartmenthunterz.com,               03:23:56

     6    Fox 11 Channel News and the FBI came to us to do a

     7    piece, because the Nigerians were inputting listings

     8    into sites, including ours.      And we have an IP discovery

     9    system.   And they had put listings at a good price.         And

    10    the mother and daughter were Western-Unioning money to              03:24:21

    11    this guy, and he would pretend to be a landlord of the

    12    property.   And he would say, "I'm not there right now,

    13    but send me this money, and I'll leave the keys in the

    14    mailbox."   And these poor Spanish people would send the

    15    money, and two days later they would go there and the               03:24:43

    16    real landlord would have given the keys to somebody

    17    else.

    18              And the FBI had requested us to go on Fox 11

    19    and explain.    So the video is six minutes.       If you go to

    20    our home page, you will see exactly -- oh, you'll see               03:25:01

    21    our admin home page.     It's all there.

    22              So pretty much, yeah.      That's why we wrote all

    23    those filters, and we're filtering.         Even

    24    out-of-the-country IP addresses we filter.

    25        Q.    BY MR. BAUMGARTEN:     So you guys have the               03:25:20




                                                                        209
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 215 of 439 Page ID
                                    #:1639

     1    ability to see what IP addresses are coming to

     2    apartmenthunterz.com?

     3        A.    Yes.    On there, yes.

     4              On the speed post one, we let them just go

     5    through, you know.     The speed post equals posting to             03:25:32

     6    Craigslist.    It's kind of a non-monitored, get-in-quick

     7    system.

     8        Q.    So if I go home today and I just pull up

     9    www.apartmenthunterz.com --

    10        A.    And go to speed post, you're in.                          03:25:46

    11        Q.    Well, I'm not -- I'm not going to post

    12    anything.

    13              If I just go to the website and look around,

    14    can you see the IP address that I came looking from?

    15        A.    No, no, no, no.                                           03:25:56

    16        Q.    So it's only the IPs that are posted?

    17        A.    You're a guest.

    18        Q.    Okay.   Switching topics quickly.

    19              We were talking about, actually, Exhibit 14,

    20    these permission emails.      And you said those go out to,         03:26:08

    21    I guess, sort of smaller landlords and people who you

    22    think they have a listing that they might want to post?

    23        A.    When we find a website, and we constantly look,

    24    and also there is Apartment Owners Association book that

    25    gives you a list of all management companies, and each              03:26:26




                                                                        210
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 216 of 439 Page ID
                                    #:1640

     1    management company has 20 buildings that they manage.

     2              So AAGLA, Greater Apartment Association of

     3    Los Angeles, then we take that keyword and go up to

     4    Florida or to everywhere.      And we find the apartment

     5    associations, and then we find out that that particular

     6    association has a hundred buildings under it.

     7              These are not the REITs.      These are the smaller

     8    20-unit, 80-unit, 60-unit buildings that apartments.com

     9    doesn't like or have, and also the owners don't want to

    10    pay $350 per unit to be on apartments.com.         So we beg         03:27:09

    11    for permission and then try to get their permission to

    12    put the listings.     That's what I meant.

    13        Q.    So some of these -- in terms of how you find

    14    them, I just want to clarify that.

    15        A.    It's a Google search.      We just type "property          03:27:28

    16    management companies residential."

    17        Q.    And who's doing these searches?

    18        A.    Initially, I was.     Now I passed it on.

    19        Q.    To who?

    20        A.    To the team.                                               03:27:45

    21        Q.    The team?    The engineers in Lithuania?

    22        A.    Yes.   It's a simple job.

    23        Q.    Do you have any sense of about how many of

    24    these new potential listings they're finding per month?

    25        A.    I don't, sir.                                              03:28:02




                                                                         211
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 217 of 439 Page ID
                                    #:1641

     1              MR. BOYLE:    It's David's deposition, and I'm

     2    not going to ask questions other than just I wanted to

     3    clarify something on the topic that we were discussing

     4    on the record and then off the record.

     5              Because I think on the record you said earlier            03:28:25

     6    that the company might be open to having a third party

     7    come in and check its photographs.

     8              THE WITNESS:    Then I retracted it.

     9              MR. BOYLE:    Okay.    That's what -- I just wanted

    10    to make sure that the record reflected you're not open              03:28:42

    11    to having a third party come in and check whether

    12    CoStar's photographs are on your system?

    13              THE WITNESS:    Because they're not, and, no, I'm

    14    not open to it.    I retracted that.

    15              MR. BOYLE:    Okay.

    16              THE WITNESS:    Because whatever this other

    17    company CoStar sued agreed to, I am not going to follow

    18    their footsteps.

    19              MR. BOYLE:    Right.   And you also said to me

    20    that even if a court ordered you to do that, you're                 03:29:12

    21    still not going --

    22              THE WITNESS:    Well, I'm not going to disobey a

    23    judge at this moment.

    24              But, you know, again, you don't have us going

    25    into apartments.com, and honestly we have ten times more            03:29:25




                                                                        212
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 218 of 439 Page ID
                                    #:1642

     1    listings than apartments.com.       We don't need these

     2    listings.

     3              So why would we ruin ourselves going in there

     4    and taking listings that we don't even need.         Because

     5    these are not vacancies.      These are communities.      We         03:29:44

     6    drill down to the unit that is vacant.         That's the

     7    difference between us and apartments.com.

     8              Apartments.com sends you to a 400-unit

     9    community and sends you there hoping there's a vacancy,

    10    and there always is with a REIT, you know, either now or             03:30:01

    11    it's coming up in a few days.       We are sending you to

    12    unit 202, floor plan number this.       It's either facing

    13    the pool or the garage.      And we know the vacancy.

    14              So it's -- it's kind of foolish for us to go

    15    looking for data on a website that doesn't have                      03:30:22

    16    up-to-the-minute real vacant data.          That's all.

    17              And in conclusion, that's all.        We didn't go.

    18    We don't get.    We weren't interested.

    19              MR. BOYLE:    Okay.   So I'm not -- obviously, I'm

    20    not going to debate the merits with you.         Our record          03:30:40

    21    reflects that CoStar's photographs and information, a

    22    large number were on your site.

    23              I have nothing further.

    24              MR. BAUMGARTEN:     We have nothing further at

    25    this time.



                                                                         213
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 219 of 439 Page ID
                                    #:1643

     1              MR. BANDLOW:    Nothing further.

     2              Do you want to put a stipulation on the record?

     3              MR. BAUMGARTEN:     Regarding . . .

     4              MR. BANDLOW:    You guys are non-Californians.

     5    It's about the custody of the transcript, and all that              03:31:00

     6    good stuff.

     7              Do you know anything about standard

     8    stipulations for the ends of depositions in California?

     9              MR. BOYLE:    We're going to go with the Federal

    10    Rules.                                                              03:31:09

    11              MR. BANDLOW:    Okay.   We usually put it on the

    12    record here as to where is the original going to be sent

    13    to, who has to maintain custody of it.

    14              MR. BOYLE:    No.

    15              MR. BANDLOW:    You're not going to do any of             03:31:18

    16    that?

    17              MR. BOYLE:    No.

    18              MR. BANDLOW:    Okay.   All right.

    19              THE VIDEOGRAPHER:     The videotaped deposition of

    20    Kevin Shayan is being concluded at 3:31 p.m.                        03:31:28

    21              This concludes tape 4 of 4.       Thank you.

    22              THE REPORTER:    Counsel, will you need a copy

    23    and an ASCII of the deposition?

    24              MR. BANDLOW:    Yeah.   I'll need a copy, yes.

    25              (Proceedings adjourned at 3:31 P.M.)



                                                                        214
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 220 of 439 Page ID
                                    #:1644

     1                         DEPONENT'S DECLARATION

     2
     3
     4
     5               I, KEVIN SHAYAN, declare under penalty of

     6    perjury that I have read the foregoing transcript, and I

     7    have made any corrections, additions, or deletions that

     8    I was desirous of making, and that the foregoing is a

     9    true and correct transcript of my testimony contained

    10    therein.

    11
    12    Executed this ___________ day of ______________, 20____,

    13    at _______________________, _________________________.

    14                (City)                          (State)

    15
    16
    17                             ________________________________
                                         KEVIN SHAYAN
    18
    19
    20
    21
    22
    23
    24
    25



                                                                        215
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 221 of 439 Page ID
                                    #:1645

     1                       REPORTER'S CERTIFICATE

     2
     3         I, Kathleen Mary O'Neill, Certified Shorthand

     4    Reporter No. 5023, RPR, CLR, duly empowered to

     5    administer oaths, do hereby certify:

     6        I am the deposition officer that stenographically

     7    recorded the testimony in the foregoing deposition;

     8        Prior to being examined, the deponent was by me

     9    first duly sworn;

    10        Said deposition is a true, correct, and complete

    11    transcript of said proceedings taken to the best of my

    12    ability;

    13        The dismantling, unsealing, or unbinding of the

    14    original transcript will render the Reporter's

    15    Certificate null and void;

    16        Pursuant to Rule 30(e) of the Federal Rules of Civil

    17    Procedure, it was requested that the deponent shall have

    18    30 days to review the transcript; therefore, any changes

    19    made by the deponent or whether or not the deponent

    20    signed the transcript cannot at this time be set forth.

    21
    22    Dated: October 3, 2016

    23
    24                           ______________________________
                                      KATHLEEN MARY O'NEILL
    25                                  CSR 5023, RPR, CLR



                                                                        216
                                 Abrams, Mah & Kahn
                                               CERTIFIED COPY
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 222 of 439 Page ID
                                    #:1646




                  October 3, 2016
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 223 of 439 Page ID
                                    #:1647




                        EXHIBIT 3
    Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 224 of 439 Page ID
                                        #:1648




DAVID K. BAUMGARTEN
     (202) 434-5929
  dbaumgarten@wc.com




                                                  July 15, 2016

      Via E-mail

      Lincoln D. Bandlow
      Margo J. Arnold
      Fox Rothschild LLP
      1800 Century Park East, Suite 300
      Los Angeles, CA 90067-1506

                Re:    CoStar Realty Information, Inc., et al. v. Apartment Hunters, Inc., et al., No. 8:15-
                       cv-02111-JLS-KES

      Dear Lincoln and Margo,

            I write in response to your June 22, 2016, letter regarding the adequacy of the production
      made by Defendant Apartment Hunters, Inc. (“AHI”) in the above-captioned matter.

              As set forth in more detail below, in more than three months since Plaintiffs CoStar
      Realty Information, Inc. and Apartments, LLC (collectively, “CoStar”) served discovery requests
      on AHI, AHI has produced just seven responsive documents from its files, from a single
      custodian. This deficient production contains neither “valid third party agreements” authorizing
      AHI’s use of CoStar listings and photographs (which AHI has repeatedly promised to produce)
      nor a single e-mail (which you represent not to exist based on a demonstrably untrue assertion).
      Combined with AHI’s past history of failing to produce key documents in litigation, AHI’s
      limited and insufficient production strongly suggests that AHI has failed to preserve documents
      and/or failed to undertake a reasonable search for documents.

               As you know, civil litigation, and the discovery process in particular, works only if there
      is a good faith effort to comply with obligations—and counsel are obligated to ensure their
      clients participate in good faith. Accordingly, CoStar sets forth several questions at the close of
      this letter regarding AHI’s compliance with its discovery obligations, and asks that AHI provide
      a detailed written response to those questions by Friday, July 22, 2016. CoStar also requests
      that you preserve all documents and communications in your or your clients’ possession,
      custody, or control relating to your client’s preservation and production responsibilities, and the
      steps both you and your clients have taken to comply with those obligations. CoStar reserves all
      rights to seek Court intervention and/or sanctions, including without limitation seeking formal
      discovery from counsel concerning its role in AHI’s response to CoStar’s discovery requests.
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 225 of 439 Page ID
                                    #:1649


 July 15, 2016
 Page 2

 I.       Plaintiff’s Requests, AHI’s Reponses, and AHI’s Production to Date

         On March 21, 2016, CoStar propounded thirty-three document requests to AHI (the
 “Requests”). AHI submitted its initial Response and Objections to the Requests on April 20,
 2016. Following a telephonic meet and confer on May 4, 2016, AHI withdrew many of its initial
 objections and agreed to produce documents responsive to all but two of the Requests. See
 Defendant Apartment Hunters, Inc., Supplemental Responses and Objections to Plaintiffs’ First
 Set of [Requests For] Production of Documents (May 19, 2016) (“AHI’s Supplemental
 Responses”).

       On May 27, 2016, AHI produced 121 documents—its first and only production to date.
 The contents of that production are as follows:

      One hundred and seven (107) of these documents were unreadable native files, which also
       lacked basic metadata, including custodian and date information. Upon our inquiry, you
       informally represented to be “seed files” for AHI’s listings. We raised numerous questions
       regarding these files during a second telephonic meet and confer (on June 7, 2016) and in a
       follow-up letter (dated June 13, 2016). On June 22, you informed us that these files were
       created between four and five months after CoStar brought this lawsuit—effectively
       conceding that the files are irrelevant and non-responsive (in addition to being unreadable).

      Of the other fourteen documents produced, six were publically available domain registry
       records (which appear to have been created for the purpose of this litigation by entering
       website names into the website <https:whois.icann.org/en>). And one additional document
       was a duplicate.

         Accordingly, AHI has produced just seven responsive documents from its files, from a
 single custodian. And none of those documents directly concern AHI’s copying of CoStar’s
 content.1

 II.      AHI Has Not Produced Any “Valid Third Party Agreements,” Despite Counsel’s
          Repeated References to These Purportedly Exculpatory Agreements

         Over the last four months, Defendants have repeatedly represented to CoStar—and to the
 Court—that it possesses “valid third party agreements” authorizing AHI to publish CoStar’s
 listings and photographs. See, e.g., Joint Report of the Parties’ Rule 26 Planning Meeting, Part
 1(b) (Defendants’ Statement) (March 18, 2016). And Defendants have repeatedly assured
 CoStar, both informally and through AHI’s discovery responses, that they will produce these
 purported agreements in short order.


 1
   These seven documents consist of: (a) four agreements with AHI’s back-end service providers (Amazon Web
 Services, Google AdWords, and LiveChat); (b) one document pertaining to AHI’s 2014 application to renew its
 (suspended) Prepaid Rental Listing Service license with the California Bureau of Real Estate; and (c) two content-
 sourcing agreements which are unrelated to CoStar.
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 226 of 439 Page ID
                                    #:1650


 July 15, 2016
 Page 3

        Yet, AHI has not produced a single document substantiating its claim that it was
 authorized to publish CoStar’s listings and photographs. As we have explained, the two content-
 sourcing agreements AHI has produced to date have no bearing on this case.2

       We ask that you confirm whether or not AHI possesses any additional content-sourcing
 agreements that it believes authorize it to publish CoStar’s listings and photographs, and if so, to
 produce such documents immediately.3

 III.    AHI Has Not Produced a Single E-mail, and the Recent Purported Explanation for
         the Lack of E-mails is Demonstrably False.

         CoStar’s Requests call for the production of e-mails. See Requests, Definitions 5, 8.
 There is no doubt that internal AHI e-mails, AHI e-mails with third party service providers
 (including content providers), and AHI e-mails with customers are all responsive to numerous of
 CoStar’s Requests. See, e.g., Request Nos. 3, 4, 6, 8, 9, 20. And AHI has agreed to produce
 documents responsive to such requests. See AHI’s Supplemental Responses.4 Thus, during our
 second telephonic meet and confer (on June 7, 2016) and in a follow-up letter (dated June 13,
 2016), we expressed surprise and concern that AHI had not produced a single e-mail.

         During the meet and confer, you represented that you would speak with AHI regarding its
 efforts to locate responsive e-mails. In your most recent letter, you then represented that “there
 are no e-mails responsive to CoStar’s document requests” because AHI “is a three-person
 company that primarily interacts through oral communications.” Arnold Lttr to Baumgarten
 (June 22, 2016) at 2. This facially implausible explanation for AHI’s failure to produce a single
 e-mail is, moreover, refuted by representations made, and documents submitted, by AHI and its
 principals in prior litigation.

        As an initial matter, AHI is not a three-person company—but rather a three-office
 company with, it appears, at least two dozen employees. In his recent (2015) testimony before
 the California Bureau of Real Estate (the “CalBRE”), Kevin Shayan disclosed that in addition to

 2
  ForRent is a CoStar competitor to which CoStar does not provide its listings. The content sources in the
 Move/ListHub license (Exhibit C-1) do not include CoStar or any entity to which CoStar has licensed its content,
 and CoStar had no relationship with Move at the time of the infringement at issue.
 3
   To be clear, CoStar does not believe that any such agreements exist, which would explain AHI’s failure to produce
 them, and underscore AHI's lack of a liability defense in this case.
 4
   CoStar requested documents and communications relating to the source of the CoStar-owned listings and
 photographs published on AHI’s website, permission received to make those publications, and software used to copy
 and publish those listings. Request Nos. 3, 4, 6. CoStar requested documents and communications relating to the
 methods AHI uses to populate its websites with listings and photographs. Request No. 8. CoStar requested
 documents and communications relating to the individuals and entities that AHI has engaged to collect apartment
 listings and photographs. Request No. 9. CoStar requested AHI’s communications with customers relating to
 CoStar. Request No. 20. CoStar requested communications relating to complaints, including from customers,
 regarding AHI’s unauthorized copying of apartment listings and photographs (AHI has objected to producing
 customer complaints). Request No. 27.
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 227 of 439 Page ID
                                    #:1651


 July 15, 2016
 Page 4

 AHI’s Orange County home office (where the Shayan brothers work), AHI has offices in
 Lithuania and Russia. See Ex. A (Hr’g Tr., Case No. H-39404, Feb. 25, 2015) at 222. Kevin
 Shayan further testified that:

        AHI owns and controls Apartment Hunters LT, a subsidiary run in Kaunas, Lithuania by
         Vidmantas Macys, which has “16 or 17 Lithuanian employees,” id. at 246, including “a
         bunch of young men who sit down and program [AHI’s website],” id. at 247.

        AHI has at least one employee in its Russian office, Dennis Portnov. Id. at 223.

        AHI employs “six support ladies” to answer incoming customer calls; Shayan did not
         specific those employees’ location. Id. at 214.

         It strains credulity to believe that any 21st Century technology-driven company with two
 dozen employees in three different offices would conduct its business primarily via oral
 communications. The fact that ten time zones separate Messrs. Shayan and Shayan in Los
 Angeles from AHI’s Lithuanian and Russian offices only magnifies the impracticality, if not
 impossibility, of such an arrangement, particularly given that Kevin Shayan testified that he and
 his brother supervise their overseas employees “on a daily basis.” Ex. A at 225. Indeed, Kevin
 Shayan repeatedly emphasized that AHI is an “internet-based company,” id. at 241-43, further
 underscoring the implausibility that AHI’s employees do not communicate by e-mail. See also
 Ex. B (Proposed Decision, Case No. H-39404, May 27, 2015) at ¶ 24. In sum, the representation
 that AHI’s employees do not use e-mail for internal AHI communications is not credible.

         Moreover, Kevin Shayan’s testimony in the CalBRE matter, along with various
 documents submitted as in the same proceeding, directly establishes that AHI regularly uses e-
 mail to communicate with both customers and the sources of its listings:

    Kevin Shayan authenticated, and AHI entered into evidence, an e-mail chain in which he
     (using the e-mail address kevin@apartmenthunterz.com) and Macys (using the e-mail
     address affiliate@apartmenthunterz.com) corresponded with employees of the real estate
     listing website Trulia regarding entering into a referral agreement. Ex. A at 198-199 & Ex.
     C. This e-mail is directly responsive to Request No. 8, but has not been produced in this
     matter.

    Shayan also testified that each website owned and operated by AHI and/or the Shayans has
     its own e-mail address (for the purpose of receiving customer e-mails). Ex. A at 189.

    Shayan testified that AHI regularly send e-mails to landlords and management companies to
     ask permission to republish their listings and photographs. Id. at 201-202, 216-218. An
     affidavit executed by Macys further explained that AHI uses “a sophisticated automated
     system” to send e-mails to management companies when it collects apartment listings and
     track those companies’ responses to its e-mails. Ex. D at 4-5. Though a sample e-mail
     submitted by AHI did not display an e-mail address, a spreadsheet prepared and submitted by
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 228 of 439 Page ID
                                    #:1652


 July 15, 2016
 Page 5

       AHI purported to show that these e-mails are sent from the address
       landlord@apartmenthunterz.com. Ex. D at 1-2. E-mails with the sources of AHI’s listings
       would be responsive to Request No. 8 (as well as Request Nos. 3 and 4, to the extent the e-
       mails concern CoStar Listings or CoStar Photographs, as those terms are defined in the
       Requests), but none have been produced in this matter. Shayan also testified that AHI
       maintains spreadsheets that log authorizations to publish listings. See Ex. A at 219-220.
       Such spreadsheets similarly would be responsive to Request No. 8 (and potentially Request
       Nos. 3 and 4), but none have been produced in this matter.

      According to Shayan’s testimony, AHI also has an e-mail system integrated into its customer
       support capabilities. Id. at 214 (“The calls are recorded where we can listen to the audio file,
       as well they’re transcribed in a text and into a ticketing system. So we have a ticketing
       system, audio recording system, and then we also have an e-mail system, and we have a
       very accurate tracking system that shows us from the time of customers calling in or making
       a ticket request, to the time that we reply to their request.” (emphasis added)).5 Customers’
       e-mails to AHI are potentially responsive to Request Nos. 20 and 27, but none have been
       produced in this matter.

      Shayan testified further that the employees in AHI’s Lithuanian office “sit down and
       program the website. They data entry, type, validate, and check the listings. They make
       sure the e-mails have gone out. The e-mails have been replied to.” Id. at 247-48 (emphasis
       added). Yet not one such e-mail from AHI’s Lithuanian team relating to listings (Request
       Nos. 2, 3, 6, and 8) or customers (Request Nos. 20 and 27) has been produced in this matter.

         In sum, the foregoing testimony and documents (which are necessarily limited, in that
 they relate to another case) by themselves confirm that (a) AHI conducts its business, both
 internally across its multiple offices and employees, and externally with listing sources and
 customers, via e-mail, and (b) in particular, AHI sends and receives e-mails responsive to many
 of CoStar’s discovery requests. As noted above, AHI has stated that it will produce documents
 responsive to the vast majority of CoStar’s Requests. AHI cannot now avoid producing
 responsive documents by falsely claiming to be a three-person company that communicates
 “primarily” orally.

 IV.      AHI’s History of Failing to Produce Key Documents in Litigation

         AHI’s prior document production shortcomings in connection with the 2015 CalBRE
 proceeding cast further doubt upon the adequacy of its production, and the reliability of its
 representations, in this litigation. In that matter, AHI did not produce the purported e-mail at the
 core of its defense, instead representing that it had been deleted as part of a routine document
 purge. The presiding administrative law judge found Kevin Shayan’s testimony that the e-mail
 5
  Shayan specifically testified that AHI accepts customer requests for payment refunds by e-mail, id. at 232, and
 sends e-mails to customers confirming refunds when processed, id. at 215. See also id. at 253 (testifying regarding
 e-mails relating to refunds). No such refund requests or confirmations have been produced in this matter, nor have
 any audio recordings, nor have any documents from or relating to AHI’s “ticketing system.”
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 229 of 439 Page ID
                                    #:1653


 July 15, 2016
 Page 6

 could not be produced because “such messages had been purged from its system three or four
 months after being sent” was “not convincing,” since Shayan produced other e-mails from the
 same time period in those proceedings. See Ex. B (Proposed Decision, Case No. H-39404, May
 27, 2015) at ¶ 17.

 V.     Counsel Are Required to Ensure Client’s Good Faith Discovery Participation

         As you know, the Federal Rules of Civil Procedure and the Rules of Professional
 Conduct of the State Bar of California require cooperation in the discovery process by both
 litigants and lawyers. Where a party and/or its counsel fail to meet this duty, sanctions are
 warranted.

          As an initial matter, both parties and their lawyers are obligated to take steps to preserve
 documents, including through the issuance of—and monitoring by counsel of compliance with—
 a litigation hold. “[I]t is generally recognized that when a company or organization has a
 document retention policy, it ‘is obligated to suspend’ that policy and ‘implement a litigation
 hold to ensure the preservation of relevant documents’ after the preservation duty has been
 triggered.” Apple Inc. v. Samsung Electronics Co., Ltd., 881 F. Supp. 2d 1132, 1137 (N.D. Cal.
 2012) (adopting preservation requirements set forth in Zubulake v. UBS Warburg LLC, 220
 F.R.D. 212 (S.D.N.Y. 2003)). But “[a] party’s discovery obligations do not end with the
 implementation of a ‘litigation hold’—to the contrary, that’s only the beginning. Counsel must
 oversee compliance with the litigation hold, monitoring the party’s efforts to retain and produce
 the relevant documents.” Zubulake v. UBS Warburg LLC, 229 F.R.D. 422, 432 (S.D.N.Y. 2004);
 see also Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193, at 3-4 n.6 (“[T]he
 duty to [issue a litigation hold] falls on both the party and outside counsel working on the
 matter.”). A party’s failure to monitor its employees’ preservation efforts warrants sanctions.
 Apple, 881 F.Supp.2d at 1150-51 (imposing adverse jury instruction sanction) (imposition of
 adverse jury instruction sanction upheld, with modification, by Apple, Inc. v. Samsung
 Electronics, 888 F.Supp. 976 (N.D. Cal. 2012)).

         Counsel are also required to ensure that a client’s collection of, search for, and production
 of responsive documents are conducted in good faith. Counsel may not simply accept a client’s
 uncorroborated assertions or look the other way when a client’s discovery efforts appear lacking.
 See Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193, at 5. Indeed, a District
 Court in California sanctioned both a party and its attorneys where the attorneys “chose not to
 look in the correct locations for the correct documents, to accept the unsubstantiated assurances
 of an important client that its search was sufficient, to ignore the warning signs that the
 document search and production were inadequate, [and] not to press [the client’s] employees for
 the truth . . .” Qualcomm Inc. v. Broadcom Corp., No. 05-v-1958, 2008 WL 66932, at *13, *18
 (S.D. Cal. Jan. 7, 2008) (imposing monetary sanctions against party and referring the involved
 attorneys to the State Bar of California for investigation); see also Pension Comm. of the Univ. of
 Montreal Pension Plan v. Banc of America Securities, LLC, 685 F. Supp. 2d 456, 465 (S.D.N.Y.
 2010) (cited approvingly by Cal. Bar Comm. on Prof. Resp. & Conduct, Formal Op. 2015-193)
 (finding party’s “conduct was negligent” where “[k]ey players searched their own files without
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 230 of 439 Page ID
                                    #:1654


 July 15, 2016
 Page 7

 supervision from management or counsel, and accordingly issuing both monetary and adverse
 jury instruction sanctions).

 VI.      Questions for AHI

         Based on the issues set forth above, CoStar has significant cause for concern that AHI has
 failed to preserve documents and/or failed to undertake a reasonable search for documents. In
 hopes of assuaging these concerns, CoStar asks that AHI provide detailed written responses to
 the following questions by the close of business on Friday, July 22, 2016:

       1. When, if ever, and to whom, if anyone, did AHI issue a litigation hold in connection with
          this suit?

       2. What steps has AHI taken to ensure that its employees, as well its subsidiaries and agents
          and their employees, implemented the litigation hold? Please specify the role of outside
          counsel, if any, in these steps.

       3. How did AHI determine which individual custodians and/or other sources of documents
          should be collected and reviewed for potentially responsive documents? Please specify
          the role of outside counsel, if any, in this determination.

       4. From which individual custodians and/or other sources of documents has AHI (and its
          counsel) collected documents to be reviewed? For each custodian from whom documents
          were collected, please specify whether the collection was made by AHI principals or
          employees, or by outside counsel.

       5. What sources of documents, if any, has AHI searched electronically (i.e., drives, servers,
          networks, databases) in order to identify documents for collection or production? If any
          electronic searches were conducted, please specify whether they were conducted by AHI
          principals or employees, or by outside counsel.

       6. Please list each individual with whom outside counsel has directly spoken regarding
          AHI’s document preservation, collection, and/or review processes.

       7. How did AHI determine which documents and e-mails were responsive to CoStar’s
          Requests? To what extent did outside counsel rely upon AHI principals or employees to
          determine the responsiveness of particular documents?

       8. Does AHI intend to rely upon any e-mails for its defense at trial in this litigation, as it did
          in its defense before the California Bureau of Real Estate?

       9. When, if ever, did AHI suspend the e-mail “purges” that allegedly resulted in the deletion
          of the key e-mail at issue in the California Bureau of Real Estate proceedings?
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 231 of 439 Page ID
                                    #:1655


 July 15, 2016
 Page 8

    10. Will AHI produce the “valid third party agreements” that it has represented to the Court
        and Costar authorize its copying and display of CoStar’s copyrighted photographs and
        other listing information, and any e-mails regarding such agreements?

          As noted at the outset of this letter, CoStar reserves all rights to seek Court intervention
 and/or sanctions, including without limitation seeking formal discovery from counsel concerning
 its role in AHI’s response to CoStar’s discovery requests, in the event AHI refuses to answer the
 foregoing questions or if its responses establish a failure to meet its duties to participate in
 discovery in good faith.

        We appreciate your prompt attention to this matter.

                                                 Sincerely,



                                                 David K. Baumgarten
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 232 of 439 Page ID
                                    #:1656




                        EXHIBIT A
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 233 of 439 Page ID
                                    #:1657


                        BEFORE THE BUREAU OF REAL ESTATE

                                 STATE OF CALIFORNIA
                 ERIC C. SAWYER, ADMINISTRATIVE LAW JUDGE




           In the Matter of the Accusation of:            )
                                                          )
           APARTMENT HUNTERS, INC. and                    )    No. 2014050485
           STEVEN K. SHAYAN,                              )    2014060980
                                                          )
                             Respondent.                  )
                                                          )

                           RECE~--D....
                       ~mI, nf Rea| EStlmS




                             TRANSCRIPT OF PROCEEDINGS
                              Los Angeles, California
                            Wednesday, February 25, ~015




            Reported by:
            BRITTANY GUTIERREZ
            Hearing Reporter
                                                       920 WEST 17TH STREET
            Job No.:                                   SECOND FLOOR
            4459OAH                                    SANTA ANA, CALIFORNIA

                                                       92706
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 234 of 439 Page ID
                                    #:1658




      1                   BEFORE THE BUREAU OF REAL ESTATE
      2                           STATE OF CALIFORNIA
      3             ERIC C. SAWYER, ADMINISTRATIVE LAW JUDGE
      4

      5
      6   In the Matter of the Accusation of:

      7   APARTMENT HUNTERS, INC. and                          No. 2014050485
          STEVEN K. SHAYAN,                                    2014060980
      8
                         Respondent.
      9

    I0

    II

    12

    13

    14

    15
    16                  TRANSCRIPT OF PROCEEDINGS, taken at
    17           320 West Fourth Street, Suite 630, Los Angeles,

    18           California, commencing at 9:00 a.m.

    19           on Wednesday, February 25, 2015, heard before

    2O           ERIC C. SAWYER, Administrative Law Judge,

    21           reported by BRITTANY GUTIERREZ, Hearing Reporter.

    22
    23

    24

    25



                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 235 of 439 Page ID
                                    #:1659

                                                                           3

       1    APPEARANCES:
       2           For the COMPLAINANT:         STATE OF CALIFORNIA
                                                BUREAU OF REAL ESTATE
       3                                        LISSETE GARCIA, ESQ.
                                                320 West Fourth Street
       4                                        Suite 350
                                                Los Angeles, California
       5                                                          90013

       6
                   For the RESPONDENT:          LAW OFFICES OF
       7                                        JILBERT TAHMAZIAN
                                                JILBERT TAHMAZIAN, ESQ.
       8                                        1518 West Glenoaks Boulevard
                                                Glendale, California
       9                                                       91201
      I0
      II
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25



                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 236 of 439 Page ID
                                    #:1660
                                                                               4


     1                                INDEX

     2   COMPLAINANT’S
         Witnesses:            Direct     Cross     Redirect   Recross
     3
         Yo Wakita               22          42         79          88
     4
         David Huang            107        122         167         175
     5
         RESPONDENT’S
     6   Witness:
     7   Kevin Shayan           187        221

     8
     9
    I0                           EXHIBITS

    II                                              Marked for        Received
         COMPLAINANT’S:                           Identification     In Evidence
    12
         IA    Hearing file for Case Number              13              13
    13         H-39404 LA

    14   IB    Hearing file for Case Number              13
               H-36458 LA
    15
               License history certification             14              14
    16         for Apartment Hunters dated
               May i, 2014
    17
               License certification showing             14              14
    18         no record of license for
               Steven K. Shayan
    19
               Certified copy of records for             16               16
    20         CAL BRE Case Number H-36485 LA
    21         Complaint from Yo Wakita with             17               41
               attachments
    22
               Declaration of David Huang                17              185
    23         dated August 27, 2013

    24         E-mail from Yo Wakita to David            18              106
               Huang
    25




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 237 of 439 Page ID
                                    #:1661




     1                     E X H I B I T S (Continued)
     2                                           Marked for      Received
         COMPLAINANT’S:                        Identification   In Evidence
     3
         8    Apartment Hunters documents                19         19
     4
         9     Declaration regarding recovery            19         21
     5         of investigation costs

     6   I0    Declaration regarding recovery            21         21
               of enforcement costs
     7

     8   RESPONDENT’S:
     9   A     License printout of Apartment            148        264
               Hunters, Inc.
    i0
         B     Apartmentguide.com data feed             195        265
    ii
         C     Document entitled "Los Angles            197        265
    12         Great Locations"
    13   D     eight-page e-mail document               199        266
               from Trulia
    14
         E     Screen shot entitled "Contract           212        266
    15         and Receipt"

    16
    17
    18
    19
    20
    21
    22
    23

    24
    25




                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 238 of 439 Page ID
                                    #:1662

                                                                               187

                                      KEVIN SHAYAN,

         called as a witness, and having been first duly sworn by

         the Hearing Reporter, was examined and testified as follows:
             THE WITNESS :     Yes, I do.
             THE COURT :     Good afternoon.

             THE WITNESS :     Good afternoon, your Honor.         How are you?

             THE COURT :     Good.    For the record please state and spell

         your name.
             THE WITNESS:      Kevin, K-e-v-i-n.         Last name Shayan,

         S-h-a-y-a-n.

             THE COURT :     Okay.    Thank you.      Mr. Tahmazian?

             MR. TAHMAZIAN :     Thank you, your Honor.


                                     DIRECT EXAMINATION

         BY MR. TAHMAZIAN:

             Q      Mr. Shayan, what is your relation to Apartment
         Hunters?
             A      I’ve been there since 1999.            And I’m mostly in

         charge of designing the website, the website structure,
         technical stuff.      As well as some graphic design oversight,

         not personally doing it, but I pretty much design and dream
         it up.

             Q      And what is your relation to Steven Shayan?

             A      I’m his brother.

             Q      You said you’ve been there since 19987




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 239 of 439 Page ID
                                    #:1663

                                                                       188

     1       A     1999.
     2             ’99.    And with no breaks?
     3             No breaks, no vacations.
     4             Were you --
     5       MS. GARCIA:     Your Honor, if I may, the witness has a

         mobile phone, cellphone, and it’s out of view -- my view.
     7   So I can’t tell if he’s referring to it or not.
     8       THE COURT:     Okay.
     9       MR. TAHMAZIAN:      Just like the record to reflect it’s a
    10   covered iPhone, but that’s okay.
    11   BY MR. TAHMAZIAN:
    12       Q     Are you familiar with the procedure that Apartment
    13   Hunters follows to follow with the rules and regulations of
    14   the Department as far as a PRLS license is concerned?
    15       A     Can you ask me again, please?
    16       Q     Sure.    Are you familiar with the procedures and
    17   policies of Apartment Hunters, and how they follow the rules
    18   of the Department with respect to being compliant with the
         PRLS licensees?
    20       A     Yes, sir.
    21       Q     Do you deal with the Department yourself also?
    22       A     I’ve been involved in the previous proceedings.        I
    23   know what the rules are, but Steve is the licensee.
    24       Q     I understand.      Now, I want to direct your attention
    2~   back to May of 2013, April 2013, around that area.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 240 of 439 Page ID
                                    #:1664
                                                                                   .189



                     Approximately how many different contracts did you

        have approved by the Department and uploaded on your

        website?
             A       DRE contracts?

             Q       Yes?

             A       Six.

             Q       Why six contracts?

             A       Because the Department requires you to have one

         contract for each website, or as you called it, "DBA," or as

         we call it, "domain name," or "address."                So we own
         Apartment Hunters, with a "Z" .com.             The For Rent in LA,

         which is a Los Angeles-based domain.             Lease in San Diego,
         which is a San Diego regional domain.              Rent in San

         Francisco, which is a San Francisco-based domain.                   And
         Section Eight, which is a low income government housing
         domain.
                     Each one had to have it’s own contract with it’s
         own phone number.      Each one has his own phone number for
         guests, landlords, and members, each one.                And it’s own

         e-mail address and it’s own contract.
              Q       Okay.   Now, this is something that was required by

         the Department; correct?
              A       Correct, sir.

                 Q    In fact, did you go through a process with the

          Department; them demanding this from you?




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 241 of 439 Page ID
                                    #:1665
                                                                             190

             A       Yes, sir.
                     And when you say domain, what does that mean?

                     URL address, business address.
                     What is that address?       Is that where you conduct

         business?

             A       Yes.

              Q      And you were saying the Department -- in your
         opinion, in your conversation with the Department
         previously, they considered a domain an address of the

    1    business?
    1         A      Yes.

    1         Q      Okay.   Now, going back to 2013 when you had these

    1    domain names, these were -- the contracts themselves were
    1    all the same.       The only difference was the domain address
    1    and the information related to that domain; is that correct?
    1         A      No, sir.    The contracts were slightly different in
    1    price and in refund amount.         So some were at 49, some were
    1    at 59; therefore, their refund commitments were different.
    1                But, yes, basically they were all the same.       I

    2     think only one had a different pricing by $I0.         But they

    2    were all the same except the address, yes.
    2         Q      And did you go through a process to have the
    2     Department approve these contracts?
    2         A      Several processes, and they were kicked back and

          forth several times.




                                 Kennedy Cou~ Repo~ers, lnc.
                                       (800)231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 242 of 439 Page ID
                                    #:1666

                                                                              191

             Q     And then finally approved?

                    Yes.
                   And to your knowledge, does the Department have a
         copy of those contracts on file?
             A      Yes.   We had to put up a security bond, a $i0,000

         bond.    All kinds of papers to get this.

             Q      And to your knowledge, did this contract appear on

         your Apartment Hunters website?
             A      It was always up.      For us to get going we had to

         have it first visible on the website at the time we
         submitted for approval to Sacramento.             So we had to have a
         printed copy.     A copy that opens up on the website matching,
         and then wait for them to stamp it.            So Steve would go
         downtown here to the counter, submit it.               They would stamp

         it, send the copy to Sacramento.
                    At all times during the business we had a contract

         printable -- viewable -- to the consumer with today’s date
         and his signature always, from inception.

              Q     By "his," you mean Steve’s signature?

              A     Yes, sir.

              Q     Now, tell us a little about how your business is

          conducted, in a sense that how do you service your

          customers?
              A     Via the internet.
              Q     Tell me how that happens?




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 243 of 439 Page ID
                                    #:1667
                                                                          192

    1       A      What happens is we’re an apartment rental and

    2    listing service.   We don’t make any money from the landlord.

    3              So what happens is the landlords come and list

    4    their properties with us for free.          It comes from landlords,

    5    smaller landlords, mom and pop, two-unit, ten-unit

     6   landlords, management companies.         We’re authorized by the

     7   MLS to have our MLS data.      As well as real estate investment

     8   trust.    So they come and list the properties with us.

     9             When a tenant comes to the website, they enter

    I0   their search criteria.     For example, two bedroom, two

    ii   bathroom in West Los Angeles for $1,500.

    12       Q      Before you go there, how does a tenant get the

    13   rights to enter the website?

    14       A      They come to the website as a guest.        Initially as

    15   a guest, you don’t have to have anything, they’re just

    16   coming.

    17       Q      Okay.

    18       A      In the guest search they will type the criteria

    19   what they are looking for.       All the listings appear,

    2o   complete description, photos, interior, exterior, virtual

    21   tour, if there is any.      You can see everything.

    22              We have demographics, what’s nearby, ATMs.         Every

    23   possible thing about that particular property, zip code,

    24    down to longitude, latitude, street view, everything.          The

    25    only thing we don’t show is the landlord’s phone number and




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 244 of 439 Page ID
                                    #:1668

                                                                             193

     1   the address.

     2            Once you pay the subscription fee, instantaneously
     3   the address and the phone number of the landlord appears.

     4       Q    What is the usual subscription fee?

     5       A    $49.

     6       Q    For how long of a period?

     7       A    30 days.

     8       Q     Is that the only money you really make?

     9       A    Only money we really make.           And sometimes a lot

    i0   less because we offer coupons or specials.
    Ii       Q    And now, your database you testified comes from

    12   other sources; correct?
    13       A    Yes, it comes directly from landlords, management

    14   companies, as well as other sources.

    15       Q    Now, do you get the information from other

    16   syndicates like Craigslist, Trulia, Zillow, and those kind
    17   of places?

    18       A    Large companies, yes.

    19       Q    How does that workout?

    20       A    What happens is we have a partnership with, for

    21   example, Apartment Guide.       Apartment Guide is a publicly

    22   traded Fortune 500 company.        So what happens on a daily

    23   basis they send us a XML Feed, which I brought a sample.

    24             It’s a raw feed where it contains a ton of data,

   25    right, that comes every 24 hours.           It either comes or we go



                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 245 of 439 Page ID
                                    #:1669

                                                                          194

     1   to pick it up.    So when we say pick it up, it sits in a bin.
     2   So they either leave it on the Apartment Guide server for us

     3   to go pick up, or they drop it off in a bin on our server.
     4             So every night we pick up hundreds or thousands of
     5   fresh listings that Apartment Guide is providing to us that

     6   has been verified by them.       So that’s called the XML Feed.
     7   Once we take that raw feed and throw it inside the database,
     8   it becomes a visible listing where the pictures come, the
     9   raw data converted to bedrooms, bathrooms, pets, all the

    I0   text, and all of that.     Kind of like a excel sheet that’s
    ii   exploding into reality-type text.
    12        Q    When you say partners with Trulia or Zillow, how
    13   does that work?
    14       A     It’s a feed partnership.         So, for example, we have
    15   a contract there stating actually, you know, that Trulia had
    16   asked us to be their data provider.
    17             So what happens with a lot of the smaller or larger
    18   companies is that they don’t.have enough sufficient data in
    19   certain areas or certain regions.          In this case Trulia came

    20   to us and asked us for data for the Los Angeles County
    21   region, San Fernando, Los Angeles, San Diego County region
    22   it’s specified in the contract.         And they ask us for a
    23   two-year run for us to be the data provider, specifically
    24   because of our relationships with a smaller management
    25   companies.




                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 246 of 439 Page ID
                                    #:1670

                                                                                195

     1       MR. TAHMAZIAN:      Let me stop you there.         You testified
     2   earlier about some raw data you received.
     3             Your Honor, if you look in your package, there’s a

     4   package that starts like this.           It should be number six.
     5   Right there.

     6       THE COURT:     This one?
     7       MR. TAHMAZIAN:      Yes.
     8       THE WITNESS:      That’s the raw data, yes, sir.
     9            That’s how it arrives in a chunk.
    i0       MR. TAHMAZIAN:      I mark that as Respondent’s "B"
    ii       THE COURT:     Okay.   On the top of the first page is says,
    12   "Apartmentguide.com data feed."
    13            We’ll mark it for identification as Exhibit "B".
    14             (Respondent’s Exhibit B was marked for
    15       identification by the Court.)
    16       THE COURT:     Okay.   Go ahead.
    17   BY MR. TAHMAZIAN:
    18       Q    Now, you testified that you receive feed; is that
    19   what you are talking about?
    20       A     Yes, sir.
    21       Q     This is information received from who?
    22       A    Apartment Guide in a raw format prior to it being
    23   converted into a visible format.
    24       Q    We’ll talk about that.
    25             You get this because you’re partners with them?




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 247 of 439 Page ID
                                    #:1671

                                                                        196

     1        A    Correct.
     2        MS. GARCIA:     I’m going to object to this line of
     3   questioning.      We’ve been here for a while now today.
     4             Can Counsel try to at least get to the properties

     5   at issue here?      Because he’s asking a lot of general

     6   questions about contracts with other websites and if he can

     7   just focus his questioning to the issues that are here

     8   today, the three or four properties alleged that were

     9   advertised without the authorization, and on those specific

    i0   websites that they were advertised on.

    Ii             There is no mention in the Accusation about

    12   apartmentguide.com.

    13        THE COURT:     All right.     Look, I’m sure we’ll get there,

    14   but I think it has some probative value of explaining what

    15   the business is, and that might help explain how the four

    16   properties became involved in this.

    17        MS. GARCIA:     Okay.

    18        THE COURT:     I’m sure we won’t spend to much time on

    19   this, but go ahead.

    20   BY MR. TAHMAZIAN:

    21        Q    And then you testified that once with you get this

    22   documentation, it transforms into data for your users; is

    23   that correct?

    24        A    Yes.

    25        MR. TAHMAZIAN:     And if I can ask the Court to look at



                                Kennedy Court Reporters, Inc.
                                      (800) 23 ! -2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 248 of 439 Page ID
                                    #:1672

                                                                                197

          the next document, it’s a package, on top it says "Los
         Angeles Great Locations."

                 THE WITNESS:     That’s what it turns out to look like,
          sir.

                 MR. TAHMAZIAN:     Right there.

                 THE COURT:     This one?
                 MR. TAHMAZIAN:     And I’m marking it as Respondent’s "C".
                 THE WITNESS:     That’s what that raw data will look as
         when it’s converted.
                 THE COURT:     Okay.   Give me one moment.        Hold off a

         second.

                      (Respondent’s Exhibit C was marked for
                 identification by the Court.)

                 THE COURT:     Okay.   So "C" this is what’s visible on your
         website?

                 THE WITNESS:     Yes, sir.     This is how it arrives and this
         is what this will get converted to when it gets displayed.
                 MR. TAHMAZIAN:     By this he means Exhibit "B."
                 THE WITNESS:     Exhibit "B" is how it arrives in raw

         format and then finished format it gets displayed as that.
                      So in here there’s a link that says images, if you
         see HTTP, and the image would then be that.
                 THE COURT:     Okay.   So "C" is a sample of what is on the
         Apartment Hunters website?

                 THE WITNESS:     Website.     And sent by this partner.




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 249 of 439 Page ID
                                    #:1673
                                                                          198

               THE COURT:    Okay.   Thank you.

                    Go ahead, Mr. Tahmazian.
         BY MR. TAHMAZIAN:
               Q    You also testified about an invitation by Trulia to

         become the --

               A    Data provider.

               Q    -- data provider.
                    And you were working with Trulia as of when?

               A    I don’t recall the exact date, but we’re working

         with over 15 other websites right now that we provide data

         to.
               Q    Do you pay anything to Trulia to become a partner

         with them?
               A    Yes.

               Q    What do you pay them?

               A    The relationship at that time was -- in one month I

         think it was $5,200.        But we were also -- based on that we
         were also making sales from the relationship.           So they were
         displaying our listings, we were paying for our listings to

         be displayed and also receiving subscription via the traffic
         they were sending.
               Q    I see.     And you indicated about an e-mail
         conversation with them that had you previously back in 2013;

         correct?
               A    Correct.     There’s a five-page back and forth, a




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 250 of 439 Page ID
                                    #:1674

                                                                             -199


          little bit of actual push from them for us to sign.~he

         agreement.     They wanted to move forward faster than we could
         actually sign the contract.           It’s all provided to you.
              MR. TAHMAZIAN:      In your package, your Honor, there is a
         document, 8 pages on the left-hand corner it says Zimbra
          (phonetic).

              THE WITNESS:      That’s the e-mail from Trulia.      "Are you
         guys ready to move forward?"

              MR. TAHMAZIAN:      Next one.      I’m going to mark that as
         Respondent’s "D", your Honor.
              THE COURT:     Okay.    Give me a moment.

                     Okay.   That item is the marked as requested.
                     (Respondent’s Exhibit D was marked for
              identification by the Court.)

         BY MR. TAHMAZIAN:
              Q      Now, tell me within that e-mail, when did you
         receive the proposal initially from Trulia to get
         information fed from them into your website for the proposed
         listings?
              A      It started as early back as --I want to tell you

         February or March.

              Q      Of what year?

                     Of 2013.
                     And from that time you’re receiving feed from

         Trulia; is that correct?




                                 Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 251 of 439 Page ID
                                    #:1675
                                                                            200

     1       A     We were receiving feed from several companies and

     2   giving feeds.

     3       Q     I see.
     4       A     So two sides to all of this.           We’re providing and
     5   receiving.

     6       Q     I understand that, but I’m talking about the
     7   company Trulia.

     8       A     Yes.

     9       Q     From February you started working with them?

    I0       A     Yes.
    ii       Q     Which means at that time you were feeding them with

    12   the listing you had and receiving listings they had?
    13       A     Yes, sir.
    14       Q     Is that correct?
    15       A     Yes.

    16        Q    To your knowledge was there a limitation of what
    17   kind of feedings they would send to you?
    18       A     Well, not for sale.       For rent only.

    19        Q    For rent, I’m sorry.

    2o        A    And not the ones that were duplicate that we

    21   already had.

    22        Q    So what was the limitation about what kind of feed
    23   they would send you?
    24        A    Rental listings that were unique data that we
    25   already did not have, via filter we created, within the




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 252 of 439 Page ID
                                    #:1676

                                                                                201

     1   geographic area of California that we covered, and vice

     2   versa.   We would send them listings that was not multiple
     3   listing services, because they already had that and was not
     4   from the larger management companies because they already
     5   had that.     Yet, from smaller management companies.

     6               There’s a detailed discussion of what they needed

     7   and what we were in need of.
     8       Q       There was also a different method by which you

     9   received listings from various landlords and management
    I0   companies; correct?
    Ii       A       Correct.
    12       Q       How was that’s done?
    13       A       A feed.
    14       Q       Okay.     Procedurally what would you do?      Was there
    15   something automated within your system?
    16       A       Landlords, once you call for a permission to get
    17   permission to list their properties, they would actually
    18   give you a blanket permission, because once you call a
    19   management company and say, "May I get permission to list

    20   your listings?"        And two days later they have another
    21   vacancy and you say, "May I get permission?"             Pretty much
    22   they’re going say, "Look, I told you 48 hours ago.             The
    23   answer is yes.        Stop calling.      Go ahead and get my listing."

    24               So we switched to this system where we take the
    25   listing that we find on their website, or anywhere else, we




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 253 of 439 Page ID
                                    #:1677
                                                                                          202


        1   include it in an e-mail and we go, "Dear landlord, we have

        2   the following listings and we would like to get your
        3   permission to list it.             If it’s okay with you click here for

        4   yes.       If it’s not, click here for no."                  And, you know, "If

        5   you’d like us to update the price or change the price, type

        6   a few sentences," whatever it is.                 And we also let them know
        7   that we multiply the advertising efforts of theirs by
        8   putting it other Trulia, Zillow, Rental Source, Rentix, a

            lot of other websites; however, we don’t benefit.
    1              MS. GARCIA:     Move to strike as nonresponsive.                 I think

    1       the witness (unintelligible).

    1              THE COURT:    I’m sorry?
    1              THE REPORTER:     I’m sorry?

    1              MS. GARCIA:     I’m sorry.         Move to strike as

    1       nonresponsive.       Everything that’s been said about what the

    1       landlords.       I guess the last sentence of the witness’s

    1       statement.
    1              THE COURT:    That they also tell the landlords they’ll
    1       send the info to the other sites, or --
    2              MS. GARCIA:     No.      I’ll withdraw my objection.

    2              THE COURT:    Okay.

    2              MS. GARCIA:     I thought he said something else.

    2              THE COURT:    Okay.       Go ahead.

    2       BY MR. TAHMAZIAN:
    2              Q      Now, when you receive this feed from other sources,




                                         Kennedy Court Reporters, Inc.
                                               (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 254 of 439 Page ID
                                    #:1678

                                                                          203

     1    you obviously know that these are listings that are on
     2    Trulia or any other company that you receive from; correct?
     3        A       Yes.
     4        Q       And when you receive that and put them up on your
     5    website or on Trulia, feed them back with the same listing,

     6    and if a prospective tenant likes that particular unit and
     7    wants to look at it or rent it, and try to contact them

     8    through your website, who would they contact?
     9        A       The actual owner or the realtor of that property.
    i0    In the cases of the -- if I may?
    Ii        Q       Yes.
    12        A       If in the cases of this four listings in question,
    13    they would contact that gentleman right there, Mr. --
    14        Q       The HomeTeam Property Management?
    15        A       Yes, sir.   We don’t have anything to do with it.
    16    Once they pay us our subscription fee, we don’t make a
    17    penny.     We don’t have an intermediate phone number.    It goes
    18i   straight to him.
    19        Q       So, in fact, by the fee that you get from Trulia
    20    and other engines --
    21        A      And/or putting up listings on other engines.
    22                You are actually expanding the audience --
    23                Yes.
    24                -- of HomeTeam Property Management; is that
    25    correct?




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 255 of 439 Page ID
                                    #:1679

                                                                          204

     1        A      By 300 times.
     2        Q      By them contracting through your website, you get
     3   no monetary benefit; is that correct?
     4        A      None whatsoever.
     5        Q      The tenant doesn’t pay you a penny more --
     6        A      No.
     7        Q      -- to get those listings; is that correct?
     8        A      No, sir.   Just the amount of calls to HomeTeam
     9   would quadruple verses sitting vacant.
    i0        Q      In May 2013, how many phone numbers did Apartment
    Ii   Hunters have?
    12       A       Apartment Hunters company?
    13        Q      Yes?
    14       A       At any given time, I want to tell you about 30, 35
    15   phone numbers.
    16        Q      And how many of those phone numbers appeared on the
    17   database of BRE, approximately?
    18       A       On each domain name has to be at least three.
    19        Q      What are those three?
    20       A       Guests, billing and credit card, and landlords.
    21        Q      And had you six domain numbers; correct?
    22       A       Six times at the minimum should be three.    Worse
    23   case scenario should be two, which would be tenant and the
    24   landlord.
    25        Q      So at least minimum of ten numbers listed --




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 256 of 439 Page ID
                                    #:1680

                                                                           2O5

      1       A        12.   Six times two.
     2        MS. GARCIA:       Objection.
     3        MR. TAHMAZIAN:         Let me finish the question.
          BY MR. TAHMAZIAN:

              Q     To your knowledge you have provided to the
          Department with at least more than i0 telephone numbers

          related to the Apartment Hunters; correct?

              A    Yes, sir.

              Q    Those phone numbers were working?
                   And published on the website.

                   And still working today?

                   Yes, sir.
                   And was working back in 2013?
                   And on the contract, on the Department contract.

                   There was a phone number that appeared on the
          worksheet.
              MR. TAHNLAZIAN:        Is that what it’s called, the worksheet?
          I apologize.

              MS. GARCIA:      I don’t know what you are talking about?
              THE COURT:      The Case Analysis.
              MS. GARCIA:      Oh.
              MR. TAHMAZIAN:         The Case Analysis.          810 --
              THE WITNESS:      575, sir.
          BY MR. TAHMAZIAN:

              Q    Yes.      Is that phone number Apartment Hunters’s




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 257 of 439 Page ID
                                    #:1681
                                                                                  206

         phone number?

                A    I just got ahold of all of our program owners, if I

         may?

                Q    Well, no.     Don’t touch anything.
                     Is that phone number Apartment Hunters’s telephone

         number?

                A    No, sir.

                Q    How do you know that?

                A    It goes to an address on Federal Avenue in West Los

         Angeles, which we never had anything to do with that

         location.     We never had an office there.              We never went
         there.     It’s a Google search that brings up this phone
         number.
                     This phone number was never -- it’s disconnected

         first of all.        And we have never had a disconnected phone

         number in our life.        So this phone number was never
         registered to us from 1999 to now.
                MR. TAHM_AZIAN:    If I may ask, your Honor, can he show

         you on his phone when he Googled, how he came up with that
         number, so you can see where that number comes from?

                THE COURT:     All right.     Ms. Garcia, what do you think of

         that?
                MS. GARCIA:     I’m going to object, your Honor.           I don’t

         see what the point of that is.             I don’t have any objection
         to Counsel submitting something on a printed form, showing a




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 258 of 439 Page ID
                                    #:1682

                                                                                207

          Google search for that phone number, but I don’t think it’s

          appropriate to --

              THE WITNESS:     I can send it.

              MS. GARCIA:     -- testimony from a cellphone number that

         we don’t have any copy of for the record.

              THE COURT:     Well, I think the request that he does a

         Google search on his smartphone and that this number that’s

         on the Case Analysis will come up as one of the search

         results.    If I’m understanding --

    1         MR. TAHMAZIAN:     That’s correct.
    ]         THE WITNESS:     Correct.
    ]         MS. GARCIA:     Okay.    That’s fine then.
    1         THE COURT:     All right.      Why don’t you come up,
    1    Ms. Garcia.
    1         MS. GARCIA:     Sure.
    1         THE COURT:     Do you want to watch him do it?
    1         THE WITNESS:     It’s right here.
    1         THE COURT:     Show her -- do the search, show her the
    1    process.

    2         THE WITNESS:     It’s right here.          It says 1507 Federal
    2    Avenue --

    2         MS. GARCIA:    What’s the phone number --
    2         THE WITNESS:     I’m going to show you.           Right here,

    2    575-4098.
    2        MS. GARCIA:     And what’s the website listed on that?



                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 259 of 439 Page ID
                                    #:1683

                                                                                   208


                 THE WITNESS:     Apartmenthunterz.com.            And we were never

          on Federal Avenue ever, never, ever, ever.
              MS. GARCIA:        So when you search that number it shows up
          apartmenthunterz.com?

                 THE WITNESS:     No.     It shows up Federal Avenue.        We were
          never on Federal Avenue.

              THE COURT:        Okay.
              MR. STEVEN SHAYAN:           It says California Apartments.
              THE WITNESS:        It says California Apartments, Federal
          Avenue West L.A.        We were never on Federal Avenue in West
          L.A., and that’s the phone number it shows.

              MS. GARCIA:        Your Honor, when he scrolled down I saw
          Apartment Hunters --
              THE WITNESS:        Yeah.     It does say the domain name.
              THE COURT:        All right.     I see that under the website
          just above the hours.           Apartment Hunters with a "Z" .com.

              THE WITNESS:        Correct.
              THE COURT:        Is that what you wanted me to see?

              MR. TAHM_AZIAN:       Yes, your Honor.

              THE WITNESS:       But that number and address has never been

         ours.

              THE COURT:     Okay.        Thank you.
         BY MR. TAHM_AZIAN:

              Q      And that number was never your number?
             A       Ever, never.




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 260 of 439 Page ID
                                    #:1684
                                                                        209

     1       Q      What was the number that’s listed with the
     2   Department?        The very first number?
     3       A       (310) 276-4663.
     4          Q    And to your knowledge is that number still with the

     5   Department as of today?

     6       A       Always been.

     7               And is it there as of today?

     8               Yes, sir.
     9               Has it ever been disconnected?

    i0               No, sir.
    II               Has that ever been removed from the Department’s
    12   database?

    13          A    No.

    14          Q    Do you recall having a conversation with the
    15   Department about submitting different applications with the
    16   various domain names about three years ago -- four years
    17   ago?
    18          A    Yes.
    19          Q    At that time you were operating out of the
    20   Robertson address; correct?
    21          A    Yes.
    22          Q    And you had prepared the contracts with that single
    23   address; is that correct?
    24          A    Yes.
    25          Q    At one point; is that correct?




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 261 of 439 Page ID
                                    #:1685

                                                                              210

      I       A     Yes.
      2             Do you recall if the Department objected to that?
      3            No.
      4             Do you recall if the Department requested that you
      5   submit a contract for every separate address you’ve got?
      6       A    Every separate domain address.
     7             Well --
     8             Yes.
     9             Yes?
    i0        A    Yes.
    ii        Q    Right.     Do you recall that conversation with the
    12    Department?

    13        A    Yeah.     Unlike the previous testimony, I couldn’t
    14    have one contract with six websites on it.            So had I to
    15    have -- each address had to have it’s own contract, and as a
    16    matter of fact, it’s own phone number.
    17        Q    And, in fact, none of those contracts had the
    18    Robertson address; correct?
    19        A    No.     They had the domain address.
    20        Q    At that time did you have any contracts on file
    21    with the Robert address?
    22        A    The Apartment Hunters.
    23        Q    Now, when you moved from the Robertson address, did
    24    you send some notification to the Department about page?
    25        A    I believe by mail we did.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 262 of 439 Page ID
                                    #:1686
                                                                       211

    1       Q      You believe or you know you did?

    2       A      I know we did.     And I know we did through your

    3   office.

    4       Q      Well, I want to know what you did.

    5              Back in 2013, what did you send to the Department?

            A      That we are moving from that address to the Golden

    7   Lantern address in Dana Point.

            Q      Now, you also -- strike that.

    9              You had a restricted license until March of 2014;

   I0   correct?

   ii       A      Yes, sir.

   12       Q      Now, in March of 2014, did you do anything to try

   13   to remove yourself?

   14       A      Yeah.   We applied for a brand-new unrestricted

   15   license.

             Q     And on that application, did you put your new

   17   address?

   18        A     Yes.

   19        Q     What was the address?

   20        A     The Golden Lantern address.

   21        Q     Now, is that the address that appears on your

   22   contract -- one of your contacts -- on the website at this

   23    time?

   24        A     Yes, sir.

   25        MR. TAHMAZIAN:     I’m going to ask the Court for one more



                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 263 of 439 Page ID
                                    #:1687
                                                                       212

     i   document, your Honor.       If you can mark it has Respondent’s
     2   "E" please.   And I can show you what it is, it’s a screen
     3   shot, one single page right there.
     4        THE COURT:     This one?
     5        THE WITNESS:     That contract, yes.
     6       MR. TAHMAZIAN:      Please.
     7       THE COURT:      Okay.   It says, "Contract and receipt," on
     8   the top of the image depicted in the middle of the screen
     9   shot.
    i0             And I’ll mark it as Exhibit "E".
    II             (Respondent’s Exhibit E was marked for
    12       identification by the Court.)
    13       THE COURT:      Okay.   Go ahead.
    14   BY MR. TAHMAZIAN:
    15       Q     Mr. Shayan, tell me about this exhibit.
    16             First of all, who wrote the red letters on the
    17   bottom?   If you look at the document, the red lettering and
    18   all that, who wrote that at the bottom?
    19       A     This is our program owner.            This is us.
    20       Q     And the screen shot of Apartment Hunters?
    21       A     Was done by us to demonstrate here today that we
    22   had this up on the site.
    23       Q     Have you, yourself, gone online and checked if this
    24   contract is up on your website?
    25       A     Of course.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 264 of 439 Page ID
                                    #:1688
                                                                            213

    1        Q      Have you yourself verified that this contract is in

    2    possession of the Department?

    3        A      Yes, sir.
    4        Q      Now, tell me at the bottom what information you

    5    provided to the Department?

    6        A      That the domain name is listed under the DBA

    7    section.
    8        Q      And the address for Apartment Hunters?

    9        A      Which is right here, yes.           And the license number

   i0    is present on both the member registration page and contract

   ii    page.

   12        Q      What about the address for Apartment Hunters?

   13        A      It’s there, sir.
   14        Q      And when did you provide this particular cont£act

   15    to the Department?

   16        A      Way back when we went to -- first of all, this was
   17    there when we moved from Robertson.

   18        Q      Okay.   I understand.

   19        A      And then one more time when we went to remove the

   20    restriction.
   21        Q      And you have a few more contracts online?

   22               For each address.
    23              Each address.

    24              And you are familiar with this document; correct?

    25       A      Of course.




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 265 of 439 Page ID
                                    #:1689
                                                                             214

     1       Q    And you’ve seen it on the website; is that correct?

    2             It’s there everyday.

     3            What is the -- as far as Apartment Hunters business

     4   is concerned, do you have any walk-in customers?

     5       A    None.
     6       Q    Are your customers I00 percent internet based?

     7       A    Yes, sir.
     8       Q    And how do you communicate with the your customers?

     9       A    We have six support ladies that attempt to do a

   i0    24-hour shift where we chat with the customers.           We have 18
   ii    to 22 incoming lines that people call into.           The calls are

   12    recorded where we can listen to the audio file, as well
   13    they’re transcribed in a text and into a ticketing system.
    14            So we have a ticketing system, audio recording

    15   system, and then we also have an e-mail system, and we have
    16   a very accurate tracking system that shows us from the time
    17   of customers calling in or making a ticket request, to the

    18   time that we reply to their request.           They have an 18.22

    19   second average total response time.

    20            Whether it be a subscription, a refund, a customer
    21   satisfaction, or even helping the customer do something on
    22   the web, 18.22 seconds.
    23       Q    Now, obviously in your business, do you get

    24   customers complaining and wanting refunds?
    25       A     Yes.




                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 266 of 439 Page ID
                                    #:1690

                                                                        215

    1        Q    And how do you handle that?
    2        A    With the ticketing system so it’s documented.        With
    3   the recorded audio of their request, and we push a button.
    4   We refund the money to the same last four digits of the
    5   credit card they use to pay.

    6             However, instantaneously a text goes to their
    7   cellphone that we refund to.         An e-mail goes to the e-mail
    8   address with a transaction ID of their refund, and a robotic
    9   phone call that the robot calls the phone and goes, "This is
   I0   a call to confirm a refund has been made to your credit
   ii   card."   Three ways we reach to the customer outbound to
   12   confirm their refund.
   13       Q     Now, did you look at your -- strike that.
   14             Do you document this data on your website?
   15       A     Hundred percent.
   16             Did you look at your data back in January of this
   17   year?
   18       A     Which data?
   19       Q     The data about your sales and refund?
   20       A     Yes, sir.
   21       Q     And out of your entire sales in 2013, January, how
   22   many percent was your refund, approximately?
   23       A     Out of 2,000 sales we had a 3.47 percent refund,
   24   but that didn’t necessarily mean that is data related.         Some
   25   people are looking for unreasonable price points.        Like if




                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 267 of 439 Page ID
                                    #:1691
                                                                                 216

          1    you are looking for six-bedroom, six-bathroom by the ocean
          2    for $600 you get your money back.
          3        Q    But you refund the customers to keep them happy?
          4        A    Hundred percent because the laws of the Department
          5    of Real Estate says if within five days you don’t find them
          6    exactly what they are looking for, you have to give them
         7     their money back.
         8         Q    Have had you any complaints in the last two years
         9    from any customers that were unable to communicate with your
     i0       company or get a refund?
     Ii           A     Not at all.
     12           Q     The information received from the landlords, as
     13       well as from these companies like Trulia, Zillow, and MLS,
     14       and all that, how do you make sure that they are updated?
     15           A    The feeds that come are every night.           The landlords
     16       that come and list their properties, we have a system that
     17       we know when they last lodged in.           So with the market of Los
     18       Angeles usually with these properties that we have here,
     19       usually they’re gone within 72 hours, right.
    20                 So, for example, a one-bedroom, one-bathroom in
    21        West L.A., it’s not going to sit on the market for more than
    22        one, two, or three days.      So if the landlord doesn’t come to
    23        login check within 72 hours, an e-mail goes out.          That goes,
    24        "Dear Landlord, we show you have not come and logged into
    25        the website.   Click here to extend the life of the vacancy




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 268 of 439 Page ID
                                    #:1692

                                                                                     217

     1   for seven days."
    2                   That will actually allow the vacancy to be
    3    refreshed and stay seven more days or expire.                  If the

    4    landlord doesn’t open that e-mail, or if that e-mail lands

    5    in his junk box, we kill the vacancy automatically.                     That’s

     6   his job to come back.           We deactivate it, we don’t kill it so

    7    he doesn’t have to type it all over again.                  So he just comes
    8    back and reactivates it.
    9           Q       What about Trulia and Zillow?
   I0           A       Those are fresh feeds.         They come every night
   Ii    fresh, fresh.          We pick up the feed or they put it in our
   12    bin.        It’s a server to server discussion.
   13           Q       If you look at the exhibit package, Exhibit 8,
   14    please?
   15           A       Where is it?
   16           Q       The exhibit package right there.            Exhibit Number 8.
   17           A       Okay.
   18           Q       Page one, right there.
   19                   Can you explain to the Court what this page

   2o    depicts?
   21           A       This one says that we would send this listing to a
   22    landlord that owns the website called DMinvestments.com,
   23    that we noticed they have available vacancies.                  We introduce
   24    ourselves and a family of our websites, and exactly what we
   25    do.        And we’d like to refer prospective tenants to them on a




                                    Kennedy Court Reporters, Inc.
                                          (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 269 of 439 Page ID
                                    #:1693
                                                                        218

    1   daily basis to maximize their marketing efforts, as well as

    2   to syndicate the listings to our partner websites.

    3       Q       What’s the purpose of this e-mail?

    4       A       To get their permission to list their vacancies.

    5       Q       This is stuff that you send on a daily basis?

    6       A       On an hourly basis as we located their vacancy.

    7   But mostly daily basis, yes, sir.

    8       Q       Now, would you have sent similar e-mails to a

    9   company called HomeTeam Property Management?

   I0       A       Yes, sir.

   Ii        Q      Now, what did you learn about the Complaint from

   12   HomeTeam?

   13        A      When the DRE sent us the Complaint --

   14        Q      Which was in?

   15        A      I don’t know.

   16        Q      April of last year?

   17        A      Yes.

   18        Q      Is that about right?

   19        A      Yes.

   20        Q      And from reading the Complaint, you do recall that

   21    the Complaint was made back in May of 2013; correct?
   22        A      Correct.

   23        Q      Now, do you maintain this data of contacting the

   24    landlords in your website in that ten months?

   25        A      This far back, no.        But we maintain it for some



                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 270 of 439 Page ID
                                    #:1694
                                                                               219

    1   time, but we purge them eventually.
    2       Q     How often?
    3       A     I think every three or four months after we get the
    4   permission, because the listing is gone.               We get the

    5   permission, we put the listing, then the listing expires and

    6   the permission has to be reset.
    7       Q     Is page one of Exhibit 8 the document you prepared

    8   and gave to me?
    9       A     Yes.
   i0       Q     Go to page two?
   Ii       A     Yes, sir.
   12       Q     Is that something you prepared?
   13       A     Yes, sir.
   14       Q     And why did you prepare this document?

   15       A     Because when you click on this yes, there is a
   16   unique session ID on the server, this is sitting on the

   17   server.   That unique ID is what’s behind that yes or no
   18   button.
   19             Then the second column, that’s column "B"                 So that
   2o   column "A" is the date the e-mail was sent.               Column "B" is
   21   the unique session ID, the cookie as you would call it.                 And
   22   unit "C" is who the e-mail was sent to, and column "D" is
   23   the sender, which is landlord@apartmenthunterz.com, which is
   24   the sender, us.
   25        Q    What is the --




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 271 of 439 Page ID
                                    #:1695
                                                                                 220


   1        A       "E" is the authorization.           They decided to say yes

   2    or no.   Some said no, some said yes.

   3        Q       Okay.   And you are trying to -- with this

   4    spreadsheet or excel, you are trying to show the
    5   communication within HomeTeam and Apartment Hunters back in

    6   May 2013?

    7       A       Yeah.   And several other landlords, not just

    8   HomeTeam.

    9       Q       Okay.   Go to the next page.

   i0       A       Yes, sir.
   II       Q       Is this something you prepared?

   12       A       Yes, sir.
   13       Q       What are you trying to show?

   14       A       First of all the listing status was deactivated in

   15   column "B".
   16       Q       As of when?

   17       A       As of the date this thing -- as of 05-05-2013.               The

   18   listing status was deactivated.              It shows the street, the

   19   city, the state, the zip code, and then it shows that the

   20   listing -- the date it was listed, sir, it shows the date it

   21   was expired and the date it was authorized.
   22               So the date authorized goes back to this other page

   23   that you just -- previous page you mentioned.               And the day

   24   it was expired was the date we expired the listing.                The

   25   05-05 was authorized, 05-07 it was listed.                It took us some




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 272 of 439 Page ID
                                    #:1696
                                                                                 221

        time to make it live.

               Q    Are you familiar with Vidmantas Macys?

               A    Vidmantas Macys is one of our lead IT programmers,

        sir.

               Q    Were you familiar with the Declaration you

        prepared?

               A    Yes, sir.

               Q    Were you involved in preparing this Declaration?

               A    Yes, sir.

   1           Q    Have you read this Declaration before?

   1           A    Yes, sir.

   1           Q    Would you agree with what he says in the

   1    Declaration?

   1           A    I00 percent, yes.

   1           MR. TAHMAZIAN:    No further questions, your Honor.

   1           THE COURT:   All right.       Thank you.          Give me one moment.

   1                Okay.   When you are ready, Ms. Garcia.

   1

   19                              CROSS-EXAMINATION

   20   BY MS. GARCIA:

   21          Q    Looking at Exhibit 8, since you have that in front

   22   of you.

   23          A    Exhibit --

   24          Q    Eight, first page.

   25               Are you claiming that Apartment Hunters sent a



                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 273 of 439 Page ID
                                    #:1697
                                                                            222


    1   similar e-mail to the e-mail address for

    2   leasing@hometeampm.com on May 5th of 2013, and that --

    3   that’s my questions.

    4       A      Yes.

    5       Q      And are you claiming that somehow this e-mail was

    6   purged from your system, and you don’t have proof of that

    7   e-mail; is that correct?

    8       A      I have the session ID.         That the unique session ID

    9   was there and the date that it was sent there.            But I don’t

   i0   keep records going back to 2013.            That’s two years ago.

   ii       Q      For the record, the witness is referring to page

   12   two of Exhibit 8, and he’s reading from the excel

   13   spreadsheet that he claimed he prepared; is that correct?

   14       A      Right.   Correct.

   15       Q      So other than this excel spreadsheet, you don’t

   16   have any proof of that e-mail that was allegedly sent to

   17   Apartment Hunters; isn’t that correct?

   18       A      Other than the session ID, no.

   19       Q      And can you explain to me why this excel

   20   spreadsheet is in a different language other than in

   21   English?

   22        A     Because we have offices overseas.

   23        Q     And where did you prepare this?

   24        A     In our office overseas.          We have offices in

   25   Lithuania and in Russia.



                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 274 of 439 Page ID
                                    #:1698
                                                                       223

    1        Q     And where were you when you prepared this?

    2              In the United States.

     3             And so what language is this excel sheet?

     4             In Russian.
                   Okay.     And can you explain why you would prepare an

     6    excel spreadsheet in the U.S. using the Russian language?

     7        A    This documentation -- we work on Skype and on

     8    screen-sharing systems like half of the United States.

     9~       MS. GARCIA:     Move to strike as nonresponsive.

    I0    BY MS. GARCIA:
    Ii        Q    Why did you prepare this --

    12        THE COURT:     Granted.
    13        MS. GARCIA:     -- excel spreadsheet in Russian?

    14        THE WITNESS:     It was on a screen share.
    15              I didn’t prepare this, my programmers prepared this
    16    with me there.
    17    BY MS. GARCIA:
    18        Q    Okay.     You testified earlier that you prepared

    19    this.   Now who are you claiming prepared this?
    20        A     This is with our programmers with Vidmantas Macys

    21    and Dennis Portnof (phonetic) in our offices overseas.
    22        Q     What office was this excel spreadsheet prepared in?
    23        A     In our Russian office with Dennis Portnof, and
    24    Vidmantas Macys.

    25        Q     Have you ever notified the Bureau of Real Estate




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 275 of 439 Page ID
                                    #:1699
                                                                        224

        that you have offices overseas?

            A       I don’t have to.

            Q       Okay.    Has Apartment Hunters ever notified the
        Bureau of Real Estate that they maintain offices overseas?

            A       These are programing offices, not location offices

        that has anything to the with customers or landlord --

            MS. GARCIA:       Move to strike as nonresponsive.

            THE COURT:       Granted.    I think it’s just yes or no.

            THE WITNESS:       No.

        BY MS. GARCIA:
            Q       Okay.    Now, taking a look at page three of

        Exhibit 8, this also appears to be in a different language.
                    What language is this in?

            A       Page?

                    Three.

                    Same as the other one.

                    Is that Russian?

             A      Yes.     The headings are Russian, the rest is

        English.

             Q      And is it your testimony still that you prepared

         this, or did someone else prepare this?
             A       It was prepared by Dennis and Vidmantas, my

         employees overseas.
                Q   And who supervises these employees overseas?

                A    I do.



                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 276 of 439 Page ID
                                    #:1700

                                                                          225

     1        Q      Are you license by the Bureau in any capacity?

     2        A      No.

     3        Q      Okay.    And does Mr. Steven Shayan supervise those

     4    employees?

     5        A      On a daily basis.

     6        Q      How does he do that?

     7        A      We’re both together there while all of this is

     8    working.     We work 16 hours a day with these gentlemen.

     9        Q      And when were these excel sheets prepared?

    i0~       A      After the Complaint was filed.

    Ii        Q      Okay.     Do you recall exactly when or what month --

    12        A      I don’t.

    13        Q      -- or what year?                                 ~

    14        A      I don’t remember.

    15        Q      Were they prepared this year?

    16        A      No.     They were prepared prior to this year.

    17        Q      So just to sort of help you along, the Accusation

    18    was filed in April of 2014, does that help you?

    19        A      It was done after April of 2014.

    20        Q      Do you know approximately what part of the year?

    21        A      No, ma’am, I don’t.
    22        Q      Okay.     Now, you stated when looking at page three

    23    that these listings were deactivated on May 5th, 2013.          And

    24    then you went on to testify that the properties were listed

    25    as is noted on column "K".



                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 277 of 439 Page ID
                                    #:1701
                                                                        226

     1              Why would you deactivate listings before they were
     2   listed?
     3       A      Which one again?      Say again.
     4       Q      Your testimony earlier as to page three, the four
     5   properties listed there, you stated that the listings were

     6   deactivated on May 5th of 2013.

     7              I’m asking why you would deactivate the listings
     8   prior to them being listed according to this spreadsheet?
     9       A      At the time this report was prepared, the listings
    i0   were deactivated.     This column says authorized, listed, and
   ii    expired.
   12        Q      Okay.   And --
   13        A      Those are three columns are different than the
   14    status.
   15        Q      Now, your testimony is that they were deactivated
   16    at the time of this spreadsheet?
   17        MR. TAHM_AZIAN:    I’m going to object to that question.
   18    He never testified to that, your Honor.
   19        THE COURT:     Sustained.     Why don’t you rephrase?
   20        MS. GARCIA:     Okay.
   21    BY MS. GARCIA:
   22        Q      So when were these properties deactivated?
   23        A      I’m not sure.    It just shows that at the time this
   24    report was printed the status was deactivated.        I could tell
   25    you when they were expired, it says it there in the column,




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 278 of 439 Page ID
                                    #:1702

                                                                             227


       column "F".

           Q       And these excel spreadsheets were prepared by --

           A       Staff.
           Q       -- Russian employees?

           A       They are first of all, the word "Russian employees"

       is disrespect.       They are our staff.         So what country they’re

       from is very disrespectful and racial.

           Q       I wasn’t -- I apologize.
                   Right.     Apologize to them, not me.

                   Where were these employees located?

                   In Russia, correct.
                   So they were prepared by your employees in Russia?

                   Correct.

            Q      Where were they getting -- and this information

        reflects what, the Apartment Hunters listings for these

       properties?

               A    Correct.

               Q    And they claim that these properties were listed or

        authorized by whom on May 5th of 20137

               A    I don’t understand the question.             "They claim," who

        is "they claim"?
               Q    Well, Apartment Hunters.
                    You have the date authorized under column "M" as
        May 5th, 2013; who authorized these?
               A     That’s the day that they were -- this e-mail was




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 279 of 439 Page ID
                                    #:1703
                                                                                   228

     1   clicked on.
     2         Q    So you are claiming that the -- are you referring

     3   to page two?
     4         i    Yes, ma’am.
     5         Q    Okay.    So --

     6         A    Page one actually.         When this e-mail was clicked
     7   on.

     8         Q    Okay.    But that e-mail is to Doug Wetton?

     9              Right.     It’s similar like this.

    i0              Okay.    So you are claiming that --

    ii              We don’t keep the actual graphic e-mail.

    12              Okay.    But you are claiming that HomeTeam
    13   authorized those listings on May 5th, 2013?
    14         A    Correct.
    15              And how did they authorize that?
    16              By clicking on that box.
    17              And where was that e-mail sent?               To what e-mail
    18   address?

    19         A    To HomeTeam Leasing at

    20   hometeampropertymanagement.com (sic).
    21         Q    So you’ve been present while Mr. Yo Wakita

    22   testified earlier today.          And his claim that he searched
    23   through his e-mails at leasing@hometeampm.com, and he spoke
    24   to his brother who is the broker for HomeTeam, and that he
    25   denies ever having authorized Apartment Hunters to use those




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 280 of 439 Page ID
                                    #:1704
                                                                       .229


    1    listings.

    2        A       That’s his testimony.

    3        Q       -- are you saying that’s not true?

    4        A       I’m saying we did send this e-mail out.     We have a

    5    valid unique session ID that we prepared, sent this.

     6       Q       So other than these excel spreadsheets that you’ve

     7   had your employees prepare, does Apartment Hunters have any

     8   written or oral -- any proof of any written or oral

     9   permission to list these properties?

    I0       A       No.

    Ii       Q       Okay.   And how many properties, or how many

    12   listings for properties did Apartment Hunters have in May of
    13   20137
    14       A       At any given time, Apartment Hunters has about 65
    15   to 75,000 active listings.

    16       Q       Okay.   And how do you know -- how are you able to

    17   update within a five-day period whether those 65,000 or so

    18   listings are still vacant and available for rent?

    19       A       We have a staff updater, entry people that do it on

    2O   a daily basis, and a lot are via feeds, and automated data

    21   input via the management companies website themselves.
    22        Q      Do you have any proof of any contact to HomeTeam

    23   Property Management to inquire whether the four listings

    24   that are at issue here today were still available on the

    25   dates that you claim were listed for those properties?




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 281 of 439 Page ID
                                    #:1705
                                                                             230

      1       A     I don’t have that, no.         We just have proof that we

      2   sent and got permission for them, and that they were

      3   activated and expired in a proper date format.
      4       Q    Okay.     Are you aware that PRLS licensees have to

      5   keep copies of any contracts for PRLS services that they use

      6   for a period of three years?
      7       A    Which contracts?
              Q     The PRLS license contract.           PRLS service contract

      9   that they use?

              A    With the customer or with the landlord?
    ii             With the customers.
    12              Sure.
    19              You are aware of that?
                    Right.
    15             And is it your company policy to purge -- is it

          still your testimony that it’s your company policy to purge
    17    information for listings after only three months?

              A     This is PRLS contract with the customer, I have it
    19    goes back as far as you need, which is the contract we enter
    23    into with a tenant to provide them with prepaid rental
    21    listing services, which means the last four digits of credit
    2_~   card.   When they signed up.       When they have came.      How many
          living they look at --

              MS. GARCIA:     Objection.     Move to strike as
    25    nonresponsive.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 282 of 439 Page ID
                                    #:1706
                                                                               231

     1       THE WITNESS:     Yeah, well, I’m responding.

     2       THE COURT:     Granted.
     3       THE WITNESS:     It’s not that.
     4       THE COURT:     Hold on.    I’m going to grant it.

     5             Do you remember what she asked you?
     6       THE WITNESS:     She asked me if I understand that PRLS
     7   license requires you to keep documents for three years.               Not

     8   on the side of landlords.       On the side of tenants I keep

     9   them longer than three years.

    i0       THE COURT:     Go ahead.
    ii   BY MS. GARCIA:
    12       Q     And if there’s a dispute by a prospective tenant
    13   over a property, wouldn’t it make sense to keep copies of
    14   the records related to that listing.            If you have to answer

    15   a request for a refund.
    16       A     We’ve refunded everything going back right away.
    17       MS. GARCIA:     Move to strike as nonresponsive.         That’s
    18   not my question.

    19       THE COURT:     Granted.

    20   BY MS. GARCIA:
    21       Q     How long of a period do you keep records relating
    22   to the authorizations that you receive from property
    23   managers or property owners for your listings?

    24       A     Approximately six months I would say.
    25        Q    Okay.    And how are you able to respond to requests




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 283 of 439 Page ID
                                    #:1707
                                                                        232



     i   for refunds that relate to PRLS services that go beyond the

     2   six months?
     3        A     Our refunds have nothing to do with the properties.
     4   As a policy, we refund anybody who asks for a refund,
     5   period.

     6        Q     What if the request for a refund has to do with a
     7   listing of a property that wasn’t authorized?
     8              How are you able to determine --
     9        A     We haven’t had that.
    I0        Q     Okay.    You are claiming that every listing that
    II   Apartment Hunters has used has been authorized by the
    12   property owner or manager?
    13        A     I’m claiming every refund we’ve had has not been
    14   property related.
    15        Q     And you reviewed every request for a fund?
    16        A     I am the one who issues a refund.
    17        Q     Okay.    And how did you receive those requests for
    18   refunds?
    19        A     By e-mail, by ticketing system, by a recording
    20   telephonic request for a refund, or via credit card company

    21   request.
    22        Q     Have you ever actually received a mailing of a
    23   request for a refund from a customer?
    24        A     Never.
    25        Q     I’m sorry?




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 284 of 439 Page ID
                                    #:1708
                                                                                 233



             A    Never.

             Q    Is that because the addresses listed for Apartment
         Hunters are no longer valid?

             A    No, ma’am, that’s not because.

             Q    Okay.    Are you aware that the refund requirement --

         the refund wording requirements for PRLS listings also
         require that the request for refund be mailed by certified
         mail or by regular mail by the client asking for a refund?

             A     Correct.
             MR. TAHMAZIAN:      Objection.       This is beyond the scope of

         the Accusation, your Honor.
             THE COURT:      How is this relevant?
             MS. GARCIA:      Well, there’s been testimony about their

         procedure for refunding requests for a refund.                 And there’s
         been testimony about his knowledge of the PRLS requirements.
                   I just want to know whether he is aware of the fact

         that in order to request a refund, the customer has to show
         proof of mailing.
             THE COURT:      Okay.    It’s probative.            Let’s not spend too

         much time on it.
             MS. GARCIA:      Okay.

              THE COURT:     Do you remember what she asked?

              THE WITNESS:     Yes, your Honor.

              THE COURT:     Okay.

              THE WITNESS:     But we refund without even waiting for a




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 285 of 439 Page ID
                                    #:1709
                                                                                234

           refund request.
                  MR. TAHMAZIAN:      I think the question --
          BY MS. GARCIA:

                  Q    What are the business addresses that Apartment
          Hunters operates out of?

                 A     What are the current business addresses?

                 Q     Yes.
              A        32565 Golden Lantern, Dana Point, 92629.
                 Q    And is that a business address, or is that a
          residence?

              A       That’s a business address.
                      And how long has Apartment Hunters been at that
          address?

              A       Since -- it’s been approximately three and a ~alf
          years, almost four years.

              Q       So since 20127
              A       I would say so, yeah.           I don’t know the exact date.
         It’s been over three years.

              Q       And are you claiming that you notified the Bureau
         of this change of address?

             A        Yes, ma’am, I did.
                      And where was Apartment Hunters before that?
             A        201 North Robertson Boulevard in Beverly Hills.
             THE COURT :      Okay.     Make sure that you let Ms. Garcia
         finish.




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 286 of 439 Page ID
                                    #:1710
                                                                              235

               THE WITNESS:      I apologize.
               THE COURT:     Okay.    Go ahead.
               MS. GARCIA:      Sorry, your Honor.
          BY MS. GARCIA:
               Q     When did Apartment Hunters vacate that location on

         Robertson?
               A     Approximately three years ago, around the same time
         that the new location was announced.
                     I don’t know the exact vacate and new date to give

         you an exact date.

               Q     So this year is 2015.          Three years ago would have
         been 2012; is that correct?
               A     Correct.

               Q     So it’s fair to say that by August of 2013, t~e

         address at Robertson avenue had been vacated --
               A     Correct.

               Q     -- by Apartment Hunters.
                     And do you have proof of any of the applications or
         notices of change of addresses or new versions of contract
         with the new address for Apartment Hunters that were

         submitted to the Bureau of Real Estate?
                     Do you have any of those with you?
               A     Yes.    With us, yes, we submitted it -- it’s right
         here.     Each website, right now live has it.           They’re here.
         ///



                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 287 of 439 Page ID
                                    #:1711
                                                                        236

     1   BY MS. GARCIA:
     2       Q     For the record the witness is referring to R’s
     3   Exhibit "E"; is that correct?
     4       A     Correct, ma’am.
     5       MR. TAHMAZIAN:        Yes.

     6       THE COURT:     Yes.
     7   BY MS. GARCIA:
     8       Q    Who obtained this screen shot?
     9       A     I did.

    i0       Q    And when did you get the screen shot?

    ii       A     It is three days old.
    12       Q     Okay.    And where did you -- what website did you
    13   pull this screen shot from?
    14       A     It is, I believe, Apartment Hunters.
    15       Q     So this was from Apartment Hunters’s website?
    16       A     Yes, ma’am.
    17       Q     Okay.    So other than the screen shot that you
    18   allegedly took from Apartment Hunters’s website, do you have
    19   any other copies of any contracts or license applications or
    20   change of address notices that were submitted to the Bureau?

    21       A     They were all submitted the Department.
    22             When were they submitted?

    23             When we asked for the restriction to be removed.

    24             When was that?
    25             I don’t recall the date.




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 288 of 439 Page ID
                                    #:1712
                                                                       237

     1       Q      Was it this year?
     2       A      No, ma’am, it was last year.
     3       Q      20147
     4       A      Right.
     5       Q      Okay.    But you claim that you’ve been at the
     6   address at Golden Lantern since 2012; is that correct?
     7       A      That is correct.
     8       Q      Okay.    Now, Apartment Hunters restricted real
     9   estate license was suspended as of May 8th, 2014; isn’t that
    I0   correct?
    ii       A      Yes.
    12       Q      And so why is Apartment Hunters, as of at least
    13   three days ago, according to your testimony, is still having
    14   a website up for PRLS services even though their license has
    15   been suspended?
    16       A      We were not about to cease operations of the
    17   company for a suspension that has not been fought yet.
    18       Q      Okay.    So you’ve continued to engage in PRLS
    19   services, even after you received the order suspending the
    2O   restricted real estate license from the Bureau; is that
    21   correct?
    22       A      Correct.
    23       Q      And you were with the company at the time of the
   24    previous disciplinary action that was filed against
   25    Apartment Hunters back in 2010; isn’t that correct?




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 289 of 439 Page ID
                                    #:1713
                                                                          238

    1       A      Correct.
    2       Q      And you actually testified at the hearing for that

    3   previous action; is that correct?

    4       A      Correct.

    5       Q      So it is fair to say that you were familiar with

    6   the allegation against Apartment Hunters in that previous
    7   action; isn’t that correct?
    8       A      Correct.

    9       Q      And is it fair to say that you were familiar with

        the final decision on that matter that granted the

   ii   restricted license to Apartment Hunters; isn’t that correct?
   12       A      Correct.
   13        Q     Okay.   And isn’t it true that the allegations with

   14   respect to the use of various domain names, as your attorney

   15   has referred to them as, isn’t it true that those
   16   allegations had to do with an unlicensed use of a fictitious

   17   business name?
   18        MR. TAHMAZIAN:    Objection.      Relevance, your Honor.     It’s
   19   got no baring on this Accusation.           The last case was heard

   20    and dealt with, and as a result a restricted license was
   21    issued.   And now we’re talking about a new Accusation.          That

   22    has no relevance in this case, your Honor.

   23        THE COURT:    Overruled.     It’s probative.     The prior

   24    disciplinary history of the licensee is always relevant.
   25              You can answer.




                              Kennedy Court Reporters, Inc.
                                    (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 290 of 439 Page ID
                                    #:1714
                                                                         239

     1        THE WITNESS:    Ask your question again, please.

     2    BY MS. GARCIA:

     3        Q    Well, let me see if I can just clarify the issue

     4    here, because you were asked earlier about the steps that

     5    Apartment Hunters took to address the previous allegations
          by the Bureau of Real Estate.        And Counsel kept referring to

     7    them as domain names and trying to tie them into property
     8    addresses?
     9,            But isn’t it a fact that what the Bureau actually

    i0    alleged against Apartment Hunters for those use of the

    II    website names such as forrentinla.com, or
    12    wetakesection8.com, et cetera, the DBAs that were
    13    subsequently licenses under Apartment Hunters.
    14             Isn’t it true is that the allegations had to do

    15    with an unlicensed use of a fictitious business name, and
    16    not the failure -- or use of other actual physical
    17    addresses?     Do you understand my question?
    18        A    No.     No, I don’t.     I’m sorry.
    19        Q    Why did Apartment Hunters add all of those DBAs

    2o    after the previous disciplinary action?
    21        A    They’re hyper regional, specifically targeted
    22    towards business -- different business models.
    23        Q    Isn’t it true that the Bureau alleged against

    24    Apartment Hunters in the previous action, that Apartment
    25    Hunters was using unlicensed fictitious business names




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 291 of 439 Page ID
                                    #:1715
                                                                           240

     1   including For Rent in L.A. and For Rent in San Francisco?

     2       A      They were all licensed and they all had the PRLS

     3   contract on their website.
     4       Q      And that was after the previous Accusation was

     5   filed against Apartment Hunters; isn’t that correct?

     6       A      I don’t recall that.
     7       Q      Okay.   But the use of a fictitious business name

     8   such a website that isn’t exactly apartmenthunterz.com,

     9   isn’t it required that Apartment Hunters file and obtain

    I0   authority from the Bureau of Real Estate to use that

    ii   fictitious business name?
    12       A      And it did.
    13       Q      Okay.   The use of a website is not the same thing

    14   as a business -- a physical business location; is that
    15   correct?
    16       MR. TAHMAZIAN:       Objection.       Calls for argumentation and
    17   it’s a legal conclusion, your Honor.
    18       THE COURT:     Sustained.

    19   BY MS. GARCIA:
    20       Q      Okay.   Is it your understanding in order to operate

    21   out of any location that’s not the main principle address
    22   that’s listed on Apartment Hunters records with the Bureau,
    23   that Apartment Hunters has to obtain a license or authority
    24   from the bureau to use that additional location?
    25       A      I don’t believe so.          I believe that the location is




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 292 of 439 Page ID
                                    #:1716
                                                                              241

     1   the domain.
     2        MS. GARCIA:    Move to strike as nonresponsive.

     3        THE WITNESS:     Since it’s an internet-based company,

     4    there is no location.     A location is the internet.
     5        THE COURT:     Overruled.     I think he’s trying to answer

     6   your question.
     7   BY MS. GARCIA:
     8        Q    I’m referring to physical office addresses, such as

     9    the address Golden Lantern, or the Robertson address.
    I0             Assuming that you have one physical main office

    Ii    address listed with the Bureau, in order for Apartment

    12    Hunters to operate out of any other address besides that
    13    address; isn’t that correct that Apartment Hunters has to

    14    obtain a bond for that location and get approval from ~he

    15    Bureau to operate out of that location?
    16        MR. TAHMAZIAN:     Objection.      That calls for legal
    17    conclusion.   Vague and ambiguous.          Counsel talks about a
    18    physical address and then a location, which is very
    19    confusing.

    20        THE COURT:     All right.     I’ll overrule it, but you can

    21    just tell us if you have an understanding on that issue one
    22    way or the other what it is.
    23        THE WITNESS:     I mean, if I may, the Department of Real
    24    Estate has given a PRLS license to a website that
    25    Ms. Lissete is mentioning.        That’s a 50-state website, We




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 293 of 439 Page ID
                                    #:1717
                                                                         .242


     1   Take Section 8, and I’m not sure if we’re suppose to have 50
    2    offices.    For that matter, Rent for San France if I’m
     3   suppose to have a location in San Francisco for customers to

     4   come pick up their money or send mail to.

     5              The entire thing is just a completely confusing set

     6   up to shut this operation down.
     7   BY MS. GARCIA:
     8       Q      Do you understand the difference between a website

     9   and a physical office location?

    I0       A      Ms. Garcia, if you are going to disrespect me,
    ii   please go ahead and do it in a different manner.
    12              I fully understand the difference between a website
    13   and a physical location.       We’re in a physical location, not
    14   on the court’s website.      Yes, I do.
    15       Q      Okay.   And how many physical locations is Apartment
    16   Hunters currently operating out of?
    17       A      There is no physical location, it’s an internet
    18   company.
    19       Q      So what’s actually at the location on Golden

    20   Lantern?    What is there?
    21       A      It’s an office, an office address.         It’s a location

    22   address.    It’s an address to receive mail.
    23       Q      Is it a P.O. box?
    24       A      It’s an office address.
    25       Q      How many desks are at that location?




                               Kennedy Court Reporters, Inc.
                                     (800) 23 i -2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 294 of 439 Page ID
                                    #:1718
                                                                                 243

     1        A    There is none.     We don’t need a desk.           We don’t
     2    need an office.    It’s an internet company.

     3        Q    Okay.    So where do you and Mr. Shayan regularly
     4    work out of on a day-to-day basis?
     5        A    Out of a location.
     6        Q    What location?
     7        A    Out of our home office.
     8        Q    And what location is that?           What address is that?
     9        A    I don’t think it’s relevant.
    i0        Q    Okay.
    ii        A    Out of a hotel room.        It doesn’t really have
    12    anything to do with where we work out of.
    13        Q    How is the Bureau suppose to serve any documents

    14    related to Apartment Hunters PRLS license if they don’t have
    15    a valid address as to where --
    16        A    On Golden Lantern there is someone there to receive
    17    service live.
    18        Q    You just stated that there’s no person there and no
    19    desk there.
    20        A    There’s person there to receive service.
    21        Q    Who is there?
    22        A    There is a service to receive live lawsuits.
    23             Is that what you want to ask?               There is a person to

    24    receive service from you.

    25        Q    What is the name of that person?




                               Kennedy Court Reporters, Inc.
                                     (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 295 of 439 Page ID
                                    #:1719
                                                                                 244

     I        A       There’s always -- I don’t know a full first name,

     2    last name, but you are welcome to serve us there.
     3        Q       Who employs that person?
     4        A       The location owner.      I’m not sure, ma’am.
      5       Q       So who owns that location?
      6       A       I’m not sure.    There is someone there between 9:00
     7    to 5:00 standing to sign a certified letter or a sheriff can
      8   come and serve anything there under our name, 9:00 a.m. to

      9   5:00 p.m.
    i0        Q       But you don’t know the name of this person who

    ii    supposedly is there to receive service on behalf of

    12    Apartment Hunters?
    13        A       No.
    14        Q       And you don’t know the name of the owner who

    15    allegedly owns Golden Lantern; is that correct?
    16        A       No.   I know there is a person.            I believe his name
    17    is Mike Lee, as Steve just mentioned.             But it could be Mike

    18    Lee, it could be somebody else.           There is a human being
     19   there 9:00 to 5:00.      Feel free to serve.
    20        Q       Who employs Mike Lee?
    21        A       I have no idea, ma’am.
    22        Q       So how is he authorized to accept service on behalf

     23   of the Apartment Hunters?

     24       A       Well, your process server would come up and go,
     25   "I’d like to serve Steve Shayan and Kevin Shayan of




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 296 of 439 Page ID
                                    #:1720
                                                                       245

     1    Apartment Hunters," and the guy would sign and we would go

     2    and pick up the package.

     3        Q     But Mike Lee is not an employee of the Apartment
     4    Hunters; is that correct?
     5        A     No.
     6              Okay.    And who owns Apartment Hunters?
     7              Steven Shayan.
     8              Anyone else?

     9              No.
    i0              So Steven Shayan owns i00 percent of Apartment
    II   Hunters?
    12        A     Correct.
    13        Q     Is Apartment Hunters a corporation incorporated in

    14   California?
    15        A     You’d have to ask Steve.           Yes, it is.
    16        Q     And does the corporation have any officers?
    17        A     Are you asking me?
    18        Q     Yes?
    19        A     Yes, Steve is the officer.
    20        Q     What’s his title?
    21        A     CEO and President.
    22        Q     He’s President?
    23        A     Right.

    24        Q     How long has he been President?

    25        A     You would have to ask these questions from Steve.



                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 297 of 439 Page ID
                                    #:1721
                                                                              246

      i    I’m not privy to that information.
      2        Q    What’s your title with Apartment Hunters?
      3        A    I’m just running, as I mentioned earlier, the
      4    company’s design and supporting my brother who has some

      5    health issues, with the website’s design, back and listing

      6    quality, and the employees overseas.
      7        Q    And how long have you held that position?
      8        A    Since 1999.
      9        Q    Has your brother been President of Apartment
     i0   Hunters for the last year?
     Ii        A    He’s been from inception.
     12        Q    Do you know why the Declaration that was submitted
     13    to the Bureau from Vidmantas Macys, and if you want to refer
     14    to it, I’m looking at page four of Exhibit 8.
     15             Do you know why Mr. Macys would claim that he’s
     16    President of Apartment Hunters LT?
     17        A    Absolutely.     That’s a Lithuanian corporation we
     18    own, and we pay Lithuanian taxes to the Lithuanian

     19   Government.    So it’s Apartment Hunters LT.           Lithuanian
     20    corporation with 16 or 17 Lithuanian employees that pays
     21   Lithuanian taxes.
     22        Q    Okay.   And has the Bureau of Real Estate -- well,
     23    let me move back.
     24             Is Apartment Hunters LT engaging in PRLS services?
     25        i    No, ma’am.




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 298 of 439 Page ID
                                    #:1722
                                                                                 247

     1         Q   So what is Mr. Macys’s relation to, or involvement
     2    with the PRLS services that are alleged in this Accusation?
     3         A   He’s one of the programmers who was handling data
     4    listings and listing quality on our behalf.
     5         Q   Who’s behalf?
     6         A   On mine and Steve’s behalf that -- he’s being
     7    supervised by Steve, the licensee, and me assisting Steve.
     8         Q   For Apartment Hunters?
     9         A   Correct.
    i0         Q   Using the license that was issued by the California
    ii   Bureau of Real Estate to Apartment Hunters?
    12         A   No, ma’am.     He is a programmer.           So if I’m getting
    13   your question right, next week I have to bring my girlfriend
    14   and my wife in under the license in here to tell you what’s
    15   going on in the bedroom or -- he’s a programmer, that’s all.
    16         Q   I’m trying to understand what Apartment Hunters LT
    17   is.
    18         A   It’s a corporation.
    19         Q   Is that --
    20         A   In Lithuania with a bunch of young men who sit down
    21   and program.
    22         Q   And what do they do?
    23         A   They sit down and program the website.             They data
    24   entry, type, validate, and check the listings.              They make
    25   sure the e-mails have gone out.           The e-mails have been




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 299 of 439 Page ID
                                    #:1723
                                                                               248

     1    replied to.    The customers have been answered to.            And the
     2    photographs are of good quality, watermarked, et cetera.
     3        Q      And for what company are they doing this for?
     4        A      For Apartment Hunters Lithuania corporation.
     5        Q      And these listings are located where?
     6        A      In California.
     7        Q      Is Apartment Hunters Lithuania licensed by the
     8   Bureau of Real Estate in California?
     9        A      Apartment Hunters Lithuania is not a PRLS, it’s
    i0   programmers.        There are not the ones soliciting or entering
    Ii   into a any negotiations with the user, the customer.
    12        Q      So who is?
    13        A      We are.
    14        Q      Meaning?
    15        A      In the United States.
    16        Q      Meaning Apartment Hunters, Inc.?
    17       A       Right.     So the customers are not negotiating with
    18   Vidmantas Macys.
    19        Q      Okay.     So does Apartment Hunters have an office in
    20   Lithuania?
    21       A       I just said that.
    22       MR. TAHMAZIAN:       Apartment Hunters who?          Lithuania or the
    23   one here?
    24   BY MS. GARCIA:
    25       Q       Does Apartment Hunters, Inc. control Apartment




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 300 of 439 Page ID
                                    #:1724
                                                                        249

       1   Hunters LT?
       2       A     Of course.
       3       Q     Okay.    And is there an office for Apartment Hunters
       4   LT in Lithuania?
       5       A     Yes.
       6       Q     Okay.    And has the Bureau been notified of the
       7   address for that office address in Lithuania?
       8       A     Ma’am, I don’t have to notify --

       9       MR. TAHM_AZIAN:       Just yes or no.

      i0       THE WITNESS:      No.
      II   BY MS. GARCIA:
      12       Q     Now, looking at the Complaint for Mr. Wakita in

      13   Exhibit 5, can you please turn to page eight of Exhibit 5.

      14       A     Page.
      15        Q    Eight.

      16       A     Exhibit 5.
      17             I want to take a quick break.
      18             Is that okay to use the restroom?
      19        THE COURT:    Yes.      Let’s go off the record.

      20             (Off the record)
      21        THE COURT:    Back on the record.
      22   BY MS. GARCIA:
      23        Q    Looking the page eight of Exhibit 5.

      24             Exhibit 5, page eight.
      25             It should say CAL BRE page eight.




                                     Kennedy Court Reporters, Inc.
                                           (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 301 of 439 Page ID
                                    #:1725
                                                                            25O

     1        A      Yes, sir -- yes, ma’am.
     2        Q      Did Apartment Hunters ever use a phone number
     3    (310) 982-2536?
     4        A      Yes.
     5        Q      Okay.   And you testified earlier that the listings
     6   that Apartment Hunters used for other property managers,
     7   that they would list the numbers to direct the property
     8   managers directly.
     9               So according to this listing, why would Apartment
    i0   Hunters list their own phone number, and not HomeTeam’s
    II   number?
    12        A      We’re a Prepaid Rental Listing Service, and our
    13   only source of revenue is the subscription.            So what I
    14   stated earlier is that once the customer pays our
    15   subscription fee, we’re out of the system, and they get to
    16   the contract that gentleman direct.
    17               So when you contact that (310) 982-2536, you would
    18   get us, at which point you would become a subscriber, and
    19   then directly contact the property, which would be HomeTeam.
    20   We don’t interfere between the point -- after the point that
    21   the customer pays us, they can contact HomeTeam directly 200
    22   sometimes a day.
    23        Q      Did you get permission from HomeTeam to list this
    24   property?
    25       A       I believe I already said that earlier, yes.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 302 of 439 Page ID
                                    #:1726
                                                                              251

     i        Q     And do you have proof other than the excel
     2   spreadsheets that were prepared by Apartment Hunters
     3   employees?
     4       A      Yes.

     5       MR. TAHMAZIAN:       Objection.       Asked and answered, your

     6   Honor.
     7       THE COURT:      We’ve covered that before, didn’t we?
     8       MS. GARCIA:       Yeah.    I think so.        Sorry.

     9   BY MS. GARCIA:

    I0       Q      This phone number,        (310) 982-2536, is that a

    ii   landline number?       Is that a cellphone number?

    12       A       It’s our company number.

    13       Q      And what address does that number belong to?

    14       A      We have over 30-someodd numbers that are actually

    15   belonging to the company and dedicated to separate,

    16   different websites.       And what address are you thinking
    17   about?     Is it a Pacific Bell phone number with a specific

    18   address?

    19       Q      Correct?

    20       A      It’s not -- their phones are not set up like that.

    21   These are like Cisco Phones, so they’re IP based phones.
    22       Q      Okay.    So is there a physical address as to who
    23   answers the calls that are made to this phone number?
    24       A      Yes.    These calls are answered via intelligent

    25   voice response system, an IVR that automatically recognizes



                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 303 of 439 Page ID
                                    #:1727
                                                                                   252

     1   who you are, and knows that if you are a tenant or a

     2    landlord.     It talks to you, you can talk to it.            You’ll hear
     3   everything you have to have say similar to the same way you
     4    called Chase Bank or Direct TV, and it would read you a

     5    listing.     It would call you back with a listing.            You can

     6   enter your phone number.           It would do everything a human
     7   does and more, including recorded and/or transfer you to

     8   any -- including a payment system if you’d like to pay.
     9        Q       So a physical human person does not answer these
    I0   calls that are made to this number?                It’s an automated
    Ii   machine?
    12        A       It’s not a machine.         It’s an interactive voice
    13   response system.       It’s intelligent interactive voice
    14   response system.       It’s 21st century, very intelligent ~tuff.

    15        Q       Okay.   Who runs the system for Apartment Hunters?
    16        A       It’s two billion dollar company called Ifbyphone,
    17   I-F-B-Y phone.
    18        Q       Where are the offices located for Ifbyphone?
    19        A       They’re in Chicago.
    20        Q       Okay.   And so this is -- is Ifbyphone owned by
    21   Apartment Hunters?
    22        A       No, ma’am.     I wish.
    23        Q       So how does Apartment Hunters control or supervise
    24   what information is going out calling the phone number
    25   listed here on the listing?




                                   Kennedy Court Reporters, Inc.
                                         (800) 23 ! -2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 304 of 439 Page ID
                                    #:1728
                                                                                253

     1        A    It’s all a huge sophisticated server connected into

     2   our back end.      I could demonstrate if we had time,
     3   unfortunately I can’t right now.           But you would call in and

     4    if you are a member of our service what would happen if you
     5    call in, it right away knows you are Lissete Garcia, you are

     6   a member of our service.       At the tone, please tell me what I
     7    can do for you.
     8             If you even say the word "ref" without the word

     9    "und" it says you want a refund, I’ll do it.            Goes there,

    i0   makes a ticket.      Comes in front of one of our six ladies
    ii    that are there.     Shows up as text, they push a button.         A
    12    text goes, an e-mail goes, an automatic callback goes.            If

    13    you are a landlord you can even activate, deactivated
    14    listings if you have the right criteria inside our system.
    15             You can talk to this thing as if it’s human.            It

    16    recognizes every single word you say.            Once is does it, it
    17    gets transcribed with an audio file where we can listen to

    18    what you say.     Again, within an 18-minute highest response
    19    time.
    20        Q    And somebody calling in for a refund to Apartment

    21    Hunters, they are going to get an automated machine, and not
    22    speak to a physical person?
    23        A    They get a refund within 18 minutes, whether they

    24    do one or not --
    25        Q    Move to strike as nonresponsive.




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 305 of 439 Page ID
                                    #:1729
                                                                              254

     1              Do they talk to a person, or do they get a machine?

     2          A   It’s not a machine.         It’s an interactive voice

     3   response that interacts with you back and forth.              So you’d

     4   say, "I’d like a refund."          It says, "Please tell me the last
     5   four digits of your credit card."             You say it, you get your
     6   money back.
     7              It’s better than a person.            It doesn’t argue with

     8   yOU.

     9          Q   And where would clients of Apartment Hunters go to

    i0   if they are not satisfied with the response they get with
    ii   this IVR system?
    12          A   Where would they go to?
    13          Q   Yeah.
    14          A   It would escalate their complaint to a supervlsor

    15   and would make all kinds of red flags and come directly into

    16   a huge box where it would be flashing to me, Steve, and one
    17   of our senior supervisors -- which that box is usually empty
    18   because we have a punishment system for our staff not doing
    19   a good job, but we don’t have that.
    20          Q   And if a client wanted to sue Apartment Hunters in

    21   a small claim suit, where would they serve the small claims

    22   action?
    23          A   Right here.      To this address on the contract.

    24          Q   You are referring to the Golden Lantern address?

    25          A   Correct.   Exactly where you would serve us.




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 306 of 439 Page ID
                                    #:1730
                                                                                     255



    1         Q       And according to as of February 24th -- I’m looking

    2     at R’s Exhibit "A .... the address listed for Apartment

    3     Hunters, according to the Bureau’s website is still

    4     Apartment Hunters, Inc.; is that correct?

    5         MR. TAHMAZIAN:      I’m going to object to that question

    6     based on the fact that what the Bureau has done in the past

    7     year and a half is not before the Court.                You’ve heard

    8     testimony about the fact that they’ve supplied information,

     9    filed the applications with the new address.

   I0                 If the Bureau does not take the proper precaution

    ii    to update their records, that’s not the clients fault their

    12    records still show the old one.

    13                The document shows what it shows, your Honor.

    14        THE COURT:     Overruled.     You can explain that.                -

    15                Do you remember what the question was?

    16    BY MS. GARCIA:
    17            Q    So if a member of the public is looking up

    18    Apartment Hunters, Inc. on the Bureau’s website, they are

    19     going find the invalid address that’s on Robertson

    20     Boulevard; isn’t that correct?

    21            A    Correct.

    22            Q    And you are claiming that if someone tries to serve

    23     a lawsuit on Apartment Hunters, Inc. at the Golden Lantern

    24     address that they would have to serve it on someone who’s

     25    not an employee of Apartment Hunters, a person that you’ve




                                  Kennedy Court Reporters, Inc.
                                        (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 307 of 439 Page ID
                                    #:1731
                                                                                 256

    1    names as Mike Lee; isn’t that correct?
    2        A    Someone is there to accept any kind of lawsuit,

    3    small claims, regular, any kind of suit.

    4        Q    Okay.     When did you start working with Trulia.com?

    5        A    I don’t recall the exact date.                 I believe it’s back

    6    in -- we started the negotiating February, I think of -- the
    7    e-mail is here.     I don’t have the dates right in front of me

    8    right now.

    9        THE COURT:     Do you remember the year?

   i0        THE WITNESS:     Yeah.     February of 2013, sir.

   ii    BY MS. GARCIA:
   12        Q     February of 2013 is when you claim that you started

   13    working with Trulia?

   14        A    The communications started back in that time, ~es.
   15        Q    When did you actually have permission to list

   16    Apartment Hunters listings on Trulia’s website?

   17        A     The negotiations started in February and were on

   18    paper, I want to say in March of 2013, and finalized in that

   19    time.   The exhibits are here.

   20        Q    Are you referring to Exhibit "D"?
   21        A     Yes, ma’am.      It’s "D", yes.
   22        Q    And so I’m looking at the first page of
   23    Exhibit "D", and the top e-mail.

   24              Did Apartment Hunters have a contract in place with

   25    Trulia as of June 5th of 2013?




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 308 of 439 Page ID
                                    #:1732
                                                                                  257

     1           A      It had it before.        This is an older e-mail.      If you

     2   go further down, you’ll see March 29, 2013.                  This is put in

     3   reverse order, ma’am.
     4           Q      Okay.     Now, the --

     5                  March Ii, 2013 if you look.

     6                  What page?
     7                  There’s e-mail dates, ma’am.            March 29, 2013 you’ll

     8    see.       And look here it says right here, I’ll show it to you.

     9   Right there, ma’am, March llth.

    i0           Q      On the bottom left corner there’s the page --

    ii           A      No, no.     On the e-mail from Trulia to us starting
    12   portion of the negotiation, your Honor.
    13           THE COURT:       Second to the last page.
    14           THE WITNESS:       Right here.

    15           THE COURT:       Do you see it, Ms. Garcia?

    16           MS. GARCIA:       Yes.
    17           THE COURT:       Okay.   She’s got it.
    18           THE WITNESS:       Sorry.
    19    BY MS. GARCIA:
    2o           Q      Okay.     That e-mail purports to reflect a question
    21    from a Trulia employee as to how they can work with
    22   Apartment Hunters?
    23           A      That’s when they start the negotiations.
    24           Q      Okay.     So when exactly did Apartment Hunters start
    25    listing properties on Trulia.com is my question?




                                     Kennedy Court Reporters, Inc.
                                           (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 309 of 439 Page ID
                                    #:1733
                                                                                      258


          1              A    I believe it was in April, April or May.       I’m not
          2    sure of the exact date.          I’d have to go look it up.     I’ve
          3   provided every communication or most of them here.
         4            Q      And what year?
         5           A       2013.
         6           Q       And the listings that Apartment Hunters was placing
         7    on Trulia’s website, were those properties owned by Trulia?
         8           A       One more time, please?
         9           Q       The listings that Apartment Hunters posted on
     I0       Trulia’s website, were those properties owned by Trulia?
     ii              A       Your question is confusing.
     12                      Why would I be taking properties that are owned by
     13       Trulia and put it up on Trulia?
     14              Q       So you are claiming that the properties on T}ulia’s
     15       website are owned by Trulia?
     16              A       You just told me that.        I think we’re -- either I’m
     17       confused or we’re all getting tired.
     18                      I would be putting up properties on Trulia that
     19       Trulia doesn’t have.        What you just asked me is:        Did I put
    20        up properties owned by Trulia on Trulia.
    21                       Why would they come to me for properties that they
    22        own?
    23               Q       So Trulia didn’t have authority to give you to list
    24        properties that they do not own; is that correct?
    25               MR. TAHMAZIAN:     That’s a vague questions.       Objection.




                                       Kennedy Court Reporters, Inc.
                                             (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 310 of 439 Page ID
                                    #:1734
                                                                                259

      1   Vague.
      2        THE COURT:     Do you understand what she’s asking?
      3        THE WITNESS:     I fully do.      May I respond?
      4        THE COURT:     Yes.
      5       THE WITNESS:      Where you are going is that and once
      6   Trulia gets permission from the landlord to list the
      7   property on Trulia, they give it to me via a feed, and I
      8   don’t have to call again to get permission from that

      9   landlord.
     I0               We’ve been going through this with your company,
     ii   with your office for 15 years now.
     12       MS. GARCIA:      So --
     13       THE WITNESS:      One, Trulia calls the landlord, gets
     14   permission.     Two, gets that vacancy.          Overnight they tan

     15   transfer that vacancy to us without us having to call again
     16   to get permission.         Same goes with the MLS.      I have a
     17   license to get and display MLS data, which means I don’t
     18   have to call each MLS broker and get permission for that
     19   rental listing, because the MLS gave it to me.             So we can go
     20   again and again for 15 more years.
     21   BY MS. GARCIA:
     22       Q       Okay.   So you are claiming that the four properties
     23   that HomeTeam is complaining about, that you had permission
    24    to list those properties because HomeTeam may have listed
    25    those onto Trulia?




                                 Kennedy Court Reporters, Inc.
                                       (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 311 of 439 Page ID
                                    #:1735
                                                                             260

    1        MR. TAHMAZIAN:     Objection.      Misstates his testimony.       He

    2    testified about the exhibits very clearly and about the

    3    e-mail that he got from HomeTeam.           That wasn’t his

    4    testimony.

    5        THE COURT:     Okay.   He can agree or disagree.          Is what --

    6        THE WITNESS:     It can be both.

    7    BY MS. GARCIA:
    8        Q    So do you actually contact the property manager or

    9    the owner for every single listing that you are pulling from
   i0    Trulia or any other website that you are using to list

   ii    Apartment Hunters information on?
   12        A    No.
   13        Q    You do not contact the property manager?

   14        A    No, because once the data comes from Trulia, ~rulia

   15    has already contacted those properties and then they send it
   16    to us.
   17        Q    Those properties have allowed Trulia to list their

   18    listing or properties.        They have not given --
   19        A    And once Trulia sends it to us, the permission has

   20    already been given over.        That’s a legal thing.     That’s your

    21   fight with them, not mine.
    22       THE COURT:     All right.     You cut off Ms. Garcia there.

    23       THE WITNESS:     Sorry.

    24       THE COURT:     Let her --

    25       THE WITNESS:      I’m very passionate about this permission




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 312 of 439 Page ID
                                    #:1736
                                                                               261

    1   thing.   They’ve been trying to shut down our company for
    2    15 years.
    3        THE COURT:      I see that.        But if you both speak at the
    4    same time and the reporter doesn’t get it, your passion just

    5    kind of evaporates --

    6        THE WITNESS:      Sorry.
    7        THE COURT:      -- and is it doesn’t get on the record,
    8   which is not what you want to do.

    9        THE WITNESS:      No.      I appreciate that, your Honor.

   I0        THE COURT:      Go ahead.
   ii   BY MS. GARCIA:
   12        Q       Do you understand that a PRLS licensee has to
   13   obtain information from the property management or manager
   14    in order to list that property on their listings that ~hey

   15    sell to prospective tenants?
   16        A       I do.
   17        Q       Okay.   And you didn’t obtain -- never mind --
   18    strike that.
   19                Why did Apartment Hunters vacate the office at the
   20   Beverly Hills address?
   21        A       We wanted to be by the ocean in Orange County.
   22        Q       Okay.   Now, looking at your set of exhibits, please
   23    look at Exhibit "B".
   24        A       Yes, ma’am.
   25        Q       Who prepared this document?




                                   Kennedy Court Reporters, Inc.
                                         (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 313 of 439 Page ID
                                    #:1737
                                                                           262

    1       A      I did.

    2              When did you prepare it?

    3              I believe two nights ago -- three nights ago.

    4              Okay.    And looking at Exhibit "C", how did you

    5   obtain these documents?
    6       A      This is a feed that is a sample of how data arrives
    7   from a data feed partner.         And this is a sample of what it
    8   looks like, which I went through all of this, I believe,

    9   earlier.    Comes raw, looks like this when it gets displayed.
   i0        Q     I’m referring to Exhibit "C" specifically?

   ii       A      You go to our website, you do a screen shot, you
   12   print it, it comes like this.
   13        Q     So this is from Apartment Hunters website?
   14       A      Correct, ma’am.      That’s what is says.

   15        Q     And when did you print these documents out?

   16        A     Same time I did these.          Couple of nights ago.
   17        Q     Okay.    And just from my brief review of these

   18   documents, it doesn’t look like the property addresses match

   19   up from the ones --

   20        A     These are samples.        These are just samples for the

   21   Court to understand raw data, transformed data.            They’re not

   22   exactly from these.
   23        Q     They are not the same properties?

   24        A     They’re not.     Just an example.

   25        Q     And how did you get the information for these




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 314 of 439 Page ID
                                    #:1738
                                                                             263

     1    properties on Exhibit’s "B" and "C?
     2        A    How did I get?
     3        Q    Are these properties owned by Apartment Hunters?
     4        A    Ma’am, these came to us.            On top, Apartment Guide,
     5    it’s a partner who sends the listings to us every night.            So
     6    I obtained these properties from a feed partner.
     7        Q    Okay.
     8        A    And these I obtained by printing them on our own
     9   website, which is a direct transformation of raw data to
    i0   regular pages.
    ii        Q    Okay.     And does Apartmentguide.com -- are they the
    12   owners or property managers --
    13        A    Absolutely not.        They are the legal advertiser and
    14   they have been -- they get paid by the property manager to
    15   promote, advertise, and syndicate these listings.
    16        Q    Did Apartment Hunters obtain permission for every
    17   one of these properties from the property owner or property
    18   manager to list them?
    19       A     No.     And we don’t have to.
    20       THE COURT:      All right.     Ms. Garcia, it’s 4:30 I think
    21   we’re going to have to stop at this time.
    22             Let’s have a chat off the record.
    23             Off the record now.
    24             (Discussion off the record)
    25       THE COURT:     My understanding from Ms. Garcia is that she




                                Kennedy Court Reporters, Inc.
                                      (800) 231-2682
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 315 of 439 Page ID
                                    #:1739




                        EXHIBIT B
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 316 of 439 Page ID
                                    #:1740
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 317 of 439 Page ID
                                    #:1741
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 318 of 439 Page ID
                                    #:1742
Case 8:15-cv-02111-JLS-KES
                      ('
                           Document 47-4 Filed 12/02/16 Page 319 of 439 Page ID
                      !             #:1743


  Respondent AHI violated provisions of the Real Estate Law, the Subdivided Lands Law,
- Regulations of the Commissioner or conditions attaching to the restricted license.

           11. According to the terms of the restricted license, Respondent AHI was not
   eligible to apply for the issuance of an unrestricted license or for removal of any of the terms
   or conditions of said restricted license until two years had elapsed from the effective date. It
   was not established that Respondent AHI had submitted such a request at any time.

   Respondents' Use ofInformation from Hometeam Property Management

            12. On June 7, 2013, the Bureau received a compl~t from Mr. Yo Wakita, a
   leasing manager and Co-owner ofHometeamProperty Management (Hometeam).ltometeam
   is a licensed real estate corporation that performs property management services for property
   owners in Southern California, particularly the San Diego area. Hometeam lists available
   rental properties on the Multiple Listing Service (MLS), on Hometeam's own website, and
   on various sy11dicated real estate marketing websites, such as C~gslist, Trulia, and Zillow.

           13. Mr. Wakita submitted his complaint to the Bureau after he discovered that
   Respondents had, without Hometeam's authorization, used copyrighted pictures and
   information about four separate rental properties listed on Hometeam's website; and, without
   written or oral permission, posted said pictures and information about the properties on
   different websites including, but not limited to, Trulia and Zillow. Specifically, Respondents
   took photogn;tphs of the four properties displayed on Hometeam's website, eliminated the
   "Hometeam" watermark inserted on the photographs by cropping and shrinking the borders
   of the photographs~ and placed an "ApartmentHunterZ" watermark on the photographs. The
   photographs and information froin Hometeam's website concerning the four properties, as
   well as AID's website address, were placed on promo~ions for the properties found on the
   other websites.

          14.     Hometeam had an exclusive 'listing With the landlords of the four properties in
   question, which were located in Chula Vista as follows: one on Thompson Ave~ue; one of
   Reisling Terran<;e; and. two on Stanislaus Drive. Respondents listed an incorrect rental
   amount for one of the properties, although the rest of the information was generally the same
   as that on Hometeam' s website for the four properties.

          15. · A person viewing Respondents' advertisements for the four properties on the
  Trulia and Zillow websites would iliitialljibelieve Respolldetitswere atit4oiized to-solicit. -.
  prospective tenants for those properties on behalf of the property owners, managers, or any
  authorized agent. However, as established by the testimony of AHI employee Kevin Shayan,
  the brother of Steven Shayan, somebody viewing these four listings on either another website
  or AHI's would receive access to the property address and landlord contact information only
  when they paid a fee to AID. Once that was done, the prospective tenant would be referred ·
  only to Hometeam, not AID. Respondents only receive compensation on such listings by
  customers who pay Respondents a subscription fee. Respondents do not participate in renting
  out the properties.and_receive-no.compensation when-the properties arelease<L ....: ___ . ----·· . ----


                                                  4
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 320 of 439 Page ID
                                    #:1744
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 321 of 439 Page ID
                                    #:1745
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16( .
                                                           Page 322 of 439 Page ID
                                                                      /"


                     ..    (        #:1746            \ .




   be located at Respondents' physical address. He also testified that personnel at the office in
   Orange County can accept service of process or official Bureau requests, if need be.

   Unlicensed Activity

          26.    Other than unsuccessfully requesting a stay, Respondents have ignored the
   Suspension Order. Kevin Shayan was clear in his testimony that Responde~ts have continued
   to engage in PRLS activity after receiving the Suspension Order on or about May 8, 2014,
   and have continued doing so to the present time. Respondent Shayan was not licensed in any
   capacity by the Bureau during this period.

          27. · Respondents contend, but did not establish, that the Bureau knew at all times
   relevant that they were continuing to engage in PRLS activities after the restricted license
   was suspended and/or expired. If anything, the record created in this case tends to indicate
   the Bureau was not aware of such activity until Kevin Shayan testified as described above
   during the hearing.

           28.      Kevin Shayan testified that Respondents continued to engage in PRLS activity
   after .Alll's.restricted license was suspended because they had not yet had an opportunity to
   challenge the Suspension Order, presumably referring to the hearing. Respondents thereafter
   contended in their opposition to the First Amended Accusation that they continued to engage
   in PRLS activity after the Suspension Order was issued because they "would be cut off at the
   knees ifthey stopped their fifteen yearbusiness and left with no livelihood." (Ex. G, at p. 5.)
   They also intimated that their continued engagement in licensed activity after the restricted
   license was suspended and/or expired was justified because the Bureau has engaged in
   "relentless and ruthless efforts to shut Respondent's business down." (!d.)

         29.    Respondents did not address the fact that AHI's restricted license expired on
   March 12, 2014. They did not explain why the restricted license was not subsequently
   renewed.

   Costs

          30.      The Bureau incurred reasonable costs in the investigation and prosecution of
   this matter in the amount of $2,859.90.                             ·

          31.     The Bureau submitted a copy of the documents evidencing its rusts to
   Respondents before the heariti.g. Respondents' counsel sent to the Bureau legal objections to
   said costs before the hearing. Respondents' objections have been considered and are
   overruled. Those objections did not include that the pleadings involved in this case do not
   contain a prayer for costs.

   Ill

   Ill-

                                                   7
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 323 of 439 Page ID
                                    #:1747
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 324 of 439 Page ID
                                    #:1748
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 325 of 439 Page ID
                                    #:1749
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 326 of 439 Page ID
                                    #:1750
Case 8:15-cv-02111-JLS-KES
                        /.                          •( Page 327 of 439 Page ID
                           Document 47-4 Filed 12/02/16
                       i            #:1751

                       .                                             .   .
           13.     Respondents do not dispute that they engaged in unlicensed activity. They
   only provided excuses for doing so. However, none of their excuses are valid justification for
   breaking the law. As the holder of a restricted license pursuant to section 10156.7,
   subdivision (b), Respondents were subject to an immediate suspension before a hearing
   could be convened. After unsucces8fully seeking a stay of the Suspension Order from the
   Commissioner, Respondents could have sought relief in Superior Court or requested an ·
   expedited hearing date of this matter. They did neither. Instead, they decided to willfully
   violate a legal order from the Commissioner. Moreover, Respondents allowed their restricted
   license to expire and failed to renew it. They have not explained how they -could legally
   operate with an expired license. Whether or not the Bureau knew that Respondents .continued
   to operate after the Suspension Order was issued is beside the point. In any event, it was not
   established that the Bureau Irnew Responden~ were violating tlie Suspension Order before
   the hearing commenced.                                                      ·

   Disposition

           14.     First Amended Accusation. Since cause for discipline has been established in
   this case, a determination must be made on the level of discipline warranted.-Respondents
   received their PRLS license in 2007. Just a few years later, they were subject to serious
   discipline for violating the Real Estate Law, which resulted in. a restricted PRLS license
   being issued· in 2012. Slightly over one year later, Respondents engaged in the deceptive
   advertising of the properties listed by Hometeam. Unbeknownst to the Bureau, Respondents
   had abandoned their designated office of record even before they received their restricted
   PRLS license and failed to aovise the Commissioner of their new location. Respondents
   essentially ignored the Commissioner's Suspension Order, allowed their restricted PRLS
   license to expire, and thereafter engaged in unlicensed activity. Respondents have been
   unapologetic for any of this misconduct. Instead, Respondents present a picture of a licensee
   with little regard for the Commissioner and no desire to comply with the rules and ·
   regulations established by the Commissioner. Respondents have presented no evidence
   indicating such misoonduct will not occur again soon. Under these circumstances, an order
   revoking the restricted PRLS license is w~rranted for the protection of the public. (Factual
   Findings 1-29; Legal Conclusions 1-13.)

           15. ·Suspension Order. The Suspension Ordet was premised only on the allegations
   concerning Respondents' use of the information taken from the Hometeam website. Since
   cause for discipline based on those allegations was established, there is cause to sus~ the
   Suspension Order. Since Respondents' restricted PRLS license Wiil be revoke~'no fuither
   action on the Suspension Order is necessary. (Factual Findings 1-20; Legal Conclusions 1-4.)

   Costs

            16.    A Section 10106 authorizes the Commissioner to request an order in
    resolution of any disciplinary proceeding directing a licensee found to have committed a
    violation of the Real Estate Law to pay the reasonable costs of the investigation and
  __enforcement.ofthe case. In an action against a licensed corporate entity, a costs-order· can be···· · . · · ·


                                                    12
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 328 of 439 Page ID
                                    #:1752
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 329 of 439 Page ID
                                    #:1753




                        EXHIBIT C
Zimbra                                                                    http://mail.apartmenthunterz.com/zimbra!h!printmessage?id=712513 &t...
          Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 330 of 439 Page ID
                                              #:1754

         Zimbra                                                                             info@apartmenthunterz.com


          RE: Trulia Feed



            From -" Devu Gandhi <dgandhi@trulia.com>                                          Wed, Jun 05, 2013 04:54 AM
          Subject : RE: Trulia Feed                                                                      .# important # red
                To : ApartmentHunterZ.com Affiliate Partner                                                    .~:~’ 1 attachment
                     <affiliate@apartmenthunterz.com>, Kevin Shayan
                     (kevin@apartmenthunterz.com)
                     < kevin @a partmenth u nterz.com >
                Cc : Pierre Calzadilla <pierre@trulia.com>

            Hi Kevin,
            Have you had a chance to review the proposal I sent over last week? We’re ready to turn your feed on and
            begin sending you referrals, but I wanted to get your feedback on some of the linking ideas I included. Can
            we hop on a quick call to discuss tomorrow?
            Thanks,
            Devu


            From: Devu Gandhi
            Sent: Thursday, May 30, 2013 4:47 PM
            TO; ’ApartmentHunterZ.com Affiliate Partner’
            C¢::-" Kevin Shayan (kevin@apartmenthunterz.com); Pierre Calzadilla
            Subject-" RE: Trulia Feed


            Hi Vidmantas,
            I’ve put together a few slides to reflect the conversations both Pierre and I have had with Kevin, plus a few
            additional ideas we discussed the last time we spoke. To summarize:
                      We’ll display your listings for LA and SD
                      You’ll pay us $0.20 per user referral, which will come from a PDP "contact" action
                      You can respond to those referrals, and offer a $10 discount off a subscription to Trulia’s users
                o     We can hide the exact address in the listings information that we show consumers


            I also included a few slides of integration ideas for you to consider:
                -     Providing access to Trulia’s local information
                -     Integrating some our widgets onto your pages


            Finally, Pierre mentioned that he had spoken to Kevin about including a few complete listings in front of the
            subscription wall. Is this still an option and how would we accomplish this?


            As for next steps -
                1.    We finalize the pieces of the relationship, i.e. listings, links, widgets, etc.
                2.    I’ll send over a draft agreement that reflects the deal
                3.    We’ll simultaneously begin working to integrate your feed into our site




                                                                                                                               2015-02-24 14:22
1 of 9
Zimbra                                                             http://mail.apartmenthunterz.com]zimbraih/printmessage?id=712513 &t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 331 of 439 Page ID
                                             #:1755


          We’re in high season, so we’re excited about getting this done quickly!
          Let me know if you have any quest-ions; I’d be happy to jump on a call tomorrow or next.week.
          Thanks,
          Devu




          From: ApartmentHunterZ.com Affiliate Partner [mailto:affiliate@apartmenthunterz.com]
          Sellt~ Wednesday, May 22, 2013 1:49 AM
          TOl Devu Gandhi
          Subjectl Re: Trulia Feed


          Hello,

          My name is Vidmantas, i am Senior Affiliate Manager at ApartmentHunterZ.com my goal is
          to work with you to expedite our partnership.

          Per your conversation with Kevin, Kevin had promised to send you our last email to Pierre
          which mentions our affiliate offer, I attach the original email bellow.




          Please let me know if you have more questions and when we can start sending our data to
          your website.

          Thank you


          Vidmantas Ma
          Senior Affiliate Manager

          www.ApartmentHunterZ.com/Affiliate
          Your Affiliate Partner
          310-982-2536 / affiliate@apartmenthunterz.com

          /MTiliate Links:

          About Affiliate ProQram
          Siqn Up (’become Partner)

          Siqn In (existinq account)


          ...... Original Message ........
          Subject: Fwd: Trulia Feed
          From: Kevin Shayan <kevin@apartmenthunterz.com>
          To: Pierre Calzadilla <pierre@trulia.com>
          CC:




2 of 9                                                                                                                   2015-02-24 14:22
Zimbra                                                        http://mail.apartmenthunterz.corn/zimbra/h/printmessage?id=712513&t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 332 of 439 Page ID
                                             #:1756

                                                   Kevin Shayan
                                                       President


                           Phone: 949-248-0055,   I~lobile: 310-994-9595, Fax: 949-248-0056

                                      Email:   Kevin@ApartmentH unterZ.com

                                          www.Apa rtm entH u nterZ, com


          Hi Pierre,

          I tried to answering your questions as short as possible.
           Expected listing volume in LA County and SD:
          Our Expected listing volume in Los Angeles County and San Diego county are as follows
          LA County - over 10k, SD around 8k

          This number could vary depending on the season, but I can assure you that we have
          the largest most up to date volume listings for all of California.

          Please see excel sheet attached for our total coverage. It’s broken by county and zip code.

          I had also suggested since we are including a ONE TIME feed with address & phone
          numbers that you have your team do a check to see that we do have unique data in other
          areas should you choose to include them.
           Conversion rate from past experience?
          Conversion rate changes from 0.3% to 1.5% at hot season. ( Slow times are Oct, Nov, Dec
          ) during slow times because of the Holidays not too many relocate.
          And also it depends on traffic source. Web search tend to have lowest rate, while relevant
          websites like Trulia - highest.
           What would rev share look like?
          In general we pay $0.15-0.2 per referral, and $5-10 per sale, it depends on the volume.

          As far as I understand in terms of referrals the main thing for Trulia is the email inquiry
          form,
          because I see link to the site email inquiry is at the very bottom of details page and not
          very accessible.

          For email inquiries we pay $0.2. We used to pay more but it didn’t work very well for us.
          There is a big chance to loose a customer over a long email conversation while converting
          from click is sometimes a matter of minutes.
          But it’s all negotiable, so I’m sure we can work this out.

          You had indicated that you were not particularly interested in a per subscription revenue
          share.
          So in this case we can discount for all Trulia visitors and have special coupon with a
          $10.00 discount.




3 of 9                                                                                                             2015-02-24 14:22
Zimbra                                                            http://mail.apartmenthunterz.com/zimbra/h/printmessage?id=712513 &t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 333 of 439 Page ID
                                             #:1757



          feed urls are:

          http://www.apartmenthunterz.com/bulkupload/trulia/ah feed la sd.xml - LA & SD

          http://www.apartmenthunterz.com/bulkupload/trulia/ah feed full.xml-

          I have also attached data for our National Government housing Section 8 data.
          Please comment. The site is www.wetakesection8.com

          http://www.apartmenthunterz.com/bulkupload/trulia/s8 feed.xml


          If there is anything else you need let me know I will make it happen.

          Kevin




                                                      Kevin Shayan
                                                           President


                             Phone: 949-248-0055,    lUlobile: 310-994-9595, Fax: 949-248-0056

                                          Email:   Kevin@ApartmentHunterZ.com

                                               www.ApartmentHunterZ.com



          From: "Pierre Calzadilla" <pierre@trulia.com>
          To-" "Kevin Shayan" <kevin@apartmenthunterz.com>
          Sent-" Friday, March 29, 2013 10:31:42 PM
          Subject: Re: Trulia Feed

          Fantastic Kevin, looking forward to it.

          Best,
          Pierre A. Calzadilla
          Trulia.corn - 116 New Montgomery St, Suite 300
          San Francisco, CA 94105
          (415) 400-7260


          Twitter: https://twitter.com/NYPierre
          Linkedln: http ://www.linkedin.com/in/pierrecalzadilla
          Trulia: http://www.trulia.com/profile/NYPierre/
          Check out Trulia Rentals and our Mobile Tools.




4 of 9                                                                                                                 2015-02-24 14:22
Zimbra                                                                 http://mail.apartmenthunterz.com/zimbraJh/printmessage?id=712513 &t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 334 of 439 Page ID
                                             #:1758




                    real estate search

          About Tmlia, Inc.
          Trulia {NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on properties, places and
          real estate   professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
          else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
          community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
          buyers and sellers each month via our hyper local advertising services, social recommendations and
          top-rated mobile real estate apps. Trulia       is headquartered in downtown San Francisco. Trulia is a registered
          trademark of Trulia, Inc.



          From: Kevin Shayan      <kevin@apartmenthunterz.com>
          Reply-To:       Kevin   Shayan <kevin@apartmenthunterz.com>
          Date: Friday, March 29, 2013 1:30 AM
          TO-" Pierre Calzadilla   <pierre@trulia.com>
          Subject-" Re: Trulia Feed


          Pierre,

          I am working with my team to actually not only send you the data regarding traffic &
          conversions but to also give you the number of smaller properties per zip code etc.
          Eventually we can even prepare a full feed & send it to you including full address & phone
          number, this way you guys can run a quick query to see how many unique listings per
          area we can provide & you can choose areas based on your needs.

          I will put together a couple of quick scenarios & send you an email by next Tuesday.

          We can make this happen for sure.

          Thanks
          Kevin

                                                          Kevin Shayan
                                                                President


                                  Phone: 949-248-0055,   Iqobile:   310-994-9595,   Fax:   949-248-0056


                                              Email:   Kevin@ApartmentHunterZ.com

                                                  www.ApartmentHunterZ.com



          From: "Pierre Calzadilla" <pierre@trulia.com>




5 of 9                                                                                                                         2015-02-24 14:22
Zimbra                                                                http://mail.apartmenthunterz.corn/zimbra/h/printmessage?id=712513&t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 335 of 439 Page ID
                                             #:1759

          To: "Kevin Shayan" <kevin@apartmenthunterz.com>
          ,Sent: Thursday, March 28, 2013 3:52:47 PM
          Subje~: Re: Trulia Feed

          Kevin,

          A few questions for clarity:

              ¯ Expected listing volume in LA County and SD:
              ¯ Conversion rate from past experience?
              ¯ What would rev share look like?

          Best,
          Pierre A. Calzadilla
          Trulia.com - 116 New Montgomery St, Suite 300
          San Francisco, CA 94105
          (415) 400-7260


          Twitter: https : [ [twitter.com/NYPierre
          Linkedln: http://www.linkedin.com/in/pierrecalzadilla
          Trulia: http://www.trulia.com/profile/NYPierrel
          Check out Trulia Rentals and our Mobile Tools.




                     trul a
                     real estate search

          About Trulia, Inc.
          Trulia   (NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on   properties, places and
          real estate professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
          else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
          community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
          buyers and sellers each month via our hyper local advertising services, social recommendations and
          top-rated mobile real estate apps. Trulia      is headquartered in downtown San Francisco. Trulia is a registered
          trademark of Trulia, Inc.



          From: Kevin Shayan      <kevin@apartmenthunterz.com>
          Rel~l~/-To-"    Kevin   Shayan <kevin@apartmenthunterz.com>
          Date; Monday, March 25, 2013 3:06 AM
          TO; Pierre Calzadilla    <pierre@trulia.com>
          Stlbje~’~:-" Re: Trulia Feed


          Hi Pierre,

          Thank you for the call. I have discussed the feed & partnership with both my partner as




6 of 9                                                                                                                        2015-02-24 14:22
Zimbra                                                         http://mail.apartmenthunterz.com/zimbra!h/printmessage?id=712 513 &t...
          Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 336 of 439 Page ID
                                              #:1760

           well as my senior developers. We are excited to move forward, & put everything needed in
           motion rather fast.

           After our call it is clear that you are mainly interested in all of Los Angeles County & that
           we should remove the larger communities. You also showed interest in San Diego both of
           which we can drill down & provide smaller private management company data as well as
           individual landlords.

           We will provide this data as frequently as daily & no less than 3 times a week as the
           listings do change much faster than the bigger communities.

           I wanted to ask you to outline in detail how you see the partnership working in terms of
           revenue on both sides. As you are aware our only source of revenue is the subscription
           fee. For every guest as well as every member we invest a lot of money in 24 hour live
           customer support as well online chat, text messages & listings via email.

           We did have a long term partnership with Yahoo real estate, were we did provide the
           visitor with one or 2 listings displaying the full address & phone number.

           You had indicated that you were not particularly interested in a pay per subscription
           revenue share. In this case we can even discount our subscription by for example $10.00
           dollars. This way all memberships via your site are offered at a discount etc.

           Please email me a few options & we can move forward from there. I can get this set up in
           less than a week once we can agree on the terms you have in mind. If you need a member
           access to the site please let me know.

           I look forward to your response.


           Kevin
           Kevin@apartmenthunterz.com




                                                    Kevin Shayan
                                                         President


                             Phone: 949-248-0055,   I~lobile: 310-994-9595, Fax: 949-248-0056

                                        Email:   Kevin@ApartmentHunterZ.com

                                            www.ApartmentHunterZ.com




                                                                                                                      2015-02-24 14:22
 7 of 9
Zimbra                                                               http://mail.apartmenthunterz.com/zimbra!h/printmessage?id=7 12513&t...
          Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 337 of 439 Page ID
                                              #:1761


           From: "Pierre Calzadilla" <pierre@. trulia.com>
           To: development@apartmenthunterz.com
           Sent: Monday, March 11, 2013 3:31:34 PM
           Subject-" Trulia Feed


           Good afternoon,

           Someone on your team submitted a feed to Trulia on approximately 2/1/2013. I would like
           to connect with your business development, or leadership, to discuss how we can work
           together.

           Best,

           Pierre A. Calzadilla
           Trulia.com - 116 New Montgomery St, Suite 300
           San Francisco, CA 94105
           (415) 400-7260


           Twitter: https: [/twitter.com/NYPierre
           Linkedln:  http://www.linkedin.com/in/pierrecalzadilla
           Trulia: http://www.trulia.com/profile/NYPierre/
           Check out Trulia Rentals and our Mobile Tools.




                      trul a
                       real estate search

           About Trulia, Inc.
           Trulia (NYSE: TRLA) gives home buyers, sellers, owners and renters the inside scoop on properties, places and
           real estate professionals. Trulia has unique info on the areas people want to live that can’t be found anywhere
           else: users can learn about agents, neighborhoods, schools, crime, commute times and even ask the local
           community questions. Real estate professionals use Trulia to connect with millions of transaction-ready
           buyers and sellers each month via our hyper local advertising services, social recommendations and
           top-rated mobile real estate apps. Trulia     is headquartered in downtown San Francisco. Trulia is a registered
           trademark of Trulia, Inc.




                                                                                                                              2015-02-24 14:22
 8 of 9
Zimbra                                           http://mail.apartmenthunterz.com/zimbra/h/printmessage?id=712513&t...
         Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 338 of 439 Page ID
                                             #:1762




             trul a
             real estate search
                                  23 KB




9 of 9                                                                                                2015-02-24 14:22
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 339 of 439 Page ID
                                    #:1763




                        EXHIBIT D
           Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 340 of 439 Page ID
                                               #:1764




                    rtmentHunterz


<.--~ ~,.~: ........ ~,.~=.....       ~           Dont let rentals sit vacant
:~ ~’                             ,
 ,,~"              ~ .....                                          in less than 3 days~



R~en~ ~ no~ced by visi~ng your website h~:!!~.d~nvestmen~.com/that you
have a~b~ va~ncies.

Apartmenthunterz.com & it’s family of websit6 is oile of the largest rental lisUng
services in California with over 70,000 Estings of apartments, houses and condos for
rent. We have S,O00+ registered tenants and 4~,000+ prospective tenants visiting daily.
Landlords Can post their listings 100% free of charge.

we would like to refer prospec~ve tenants to you on a davy basis, and maximize your
markel~ng efforts as well as synd~caUng and advertising your properties on our partner


If you wish us to list all vacancies available on your website
http://www.dwinvestment~.comi p|ese dick this huron




 By diddng I:!lis button you grard: Apartmen~ Hunters lnc and its affiliates websites permission to list
          your vacar~ies on ApaCcment Hur~ers web~ites, includ~g a~,ailable vacandes on
 www.dwinvesl~e~s.com0 syndicate and adv~ise I1~ose o~ Apartment Hu~te~s partner websites.


Our partner network, Ust with us and we will advertise your listings on 30+ of our
partner websites.



                                                                  Walk Score"




How we obtained your contact Information? We have built relationships with
property owners and mangers as wetl as mu!~l:de lisbng services since 1999, and have
30,000+ managemen~ companies and p~iva~e landlords registered with us. There is a
possit:~t7 that a member of your management co~npany or a previous manager has
signed up as landlord on one of our websites and granted us permission to ~ your
ava~abte vacanoes. Please contact our support service to obtain your Iogin or register a
new landlord accoun~ ~ch us.

Don’t wt~h to l~t? Please click th~ lll]k to unsubscribe. You will not get emalis from us
regarding your ~ngs in the future.


                          The Apartment Hunters Network
     Powerful apartment search website~, innovative search tc~s, unmatched sexvice:
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 341 of 439 Page ID
                                    #:1765




                                                                                  i
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 342 of 439 Page ID
                                    #:1766
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 343 of 439 Page ID
                                    #:1767




 1                            DECLARATION OF VIDMANTAS MACYS

 2
      I, Vidmantas Macys, declare as follows:
 3
             1.     I am over the age of 18 and I am employed by Apartment Hunters, Inc. I have
 4
                    personal knowledge of the facts set forth herein. If called upon as a witness, I
 5

 6                  could and would competently testify as to these facts.

 7           2.     I am an employee of Apa~unent Hunters, Inc. Specifically, I am the President for

 8
                    UAB "Apartment Hunters LT" based in Lithuania.
 9
             3.     I am knowledgeable about the process Apartment Hunters, Inc. utilizes in
10
                    collecting information for management companies, such as Hometeam Property
11

12                  Management. As part of its business, Apartment Hunters, Inc. collects contact

13                  information of management companies from publicly available sources. Then,
 14
                    Apartment Hunters, Inc. has a sophisticated automated system that sends
 15
                     automatically generated emails that ask the recipients whether or not they wish for
 16
                     Apartment Hunters, Inc or its partner websites to list the recipients’ available
 17

 18                  vacancies. Furthermore, Apartment Hunters, Inc. has a separate system which

 19                  maintains the registering of the "clicks" which shows whether the recipients agree

20
                     or disagree to list their vacancies in both a server log and a database record. The
21
                     server log reveals information regarding the "clicks" in more depth as it tracks
 22
                     very specific data, including, but not limited to, second timestamp and IP address.
 23

 24                  These server logs are maintained for five to six months.

 25          4.      I have reviewed Apartment Hunters, Inc.’s database record in connection to the

 26
                     following four properties: 1660 Thompson Ave., Chula Vista, CA; 524 Reisling
 27
                     Terrace, Chula Vista, CA; 1448 Stanislaus Dr., Chula Vista, CA; and 1437
 28
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 344 of 439 Page ID
                                    #:1768




 1                  Stanislaus Dr., Chula Vista, CA. Based on Apartment Hunters, Inc.’s database

 2
                    record ilaat I personally reviewed, there were automated emails sent to Hometeam
 3
                    Property Management, and an agent, employee, or other member of their
 4
                    management team agreed to permit Apartment Hunters, Inc. to list their vacancies
 5

 6                  by agreeing to the option provided in said email.

 7           I declare under penalty of perjury under the laws of the State of California that the

 8    foregoing is true and correct. Executed on this 28~day of May, 2014 in Kaunas, Lithuania.

 9

10

11
                                                                   Vidmantas Macys,
12
                                                                   Declarant
13

14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 345 of 439 Page ID
                                    #:1769




                        EXHIBIT 4
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 346 of 439 Page ID
                                    #:1770


 1 Lincoln D. Bandlow (SBN 170449)
   lbandlow@foxrothschild.com
 2 Margo J. Arnold (SBN 27288)
   marnold@foxrothschild.com
 3 FOX ROTHSCHILD LLP
   1800 Century Park East, Suite 300
 4 Los Angeles, CA 90067-1506
   Telephone: 310.598.4150
 5 Facsimile: 310.556.9828
 6 Attorneys for Defendants
   Apartment Hunters, Inc.,
 7 Kevin Shayan, and
   Steven Shayan
 8
 9                            UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11 COSTAR REALTY INFORMATION,                  Case No.: 8:15-cv-02111- JLS-KES
12 INC., and APARTMENTS, LLC
                                               HON. JOSEPHINE L. STATON
13
                Plaintiffs,
14
          vs.                                  DEFENDANT APARTMENT
15
                                               HUNTERS, INC.’S OBJECTIONS
16 APARTMENT HUNTERS, INC.,                    AND RESPONSES TO
   KEVIN SHAYAN, and STEVEN                    PLAINTIFFS’ FIRST SET OF
17
   SHAYAN                                      INTERROGATORIES
18
           Defendants.
19
20
21
22
23
24
25
26
27
28

     DEFENDANT APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 347 of 439 Page ID
                                    #:1771


 1 PROPOUNDING PARTY:               Plaintiffs CoStar Realty Information, Inc. and
 2                                  Apartments, LLC
 3 RESPONDING PARTY:                Defendant Apartment Hunters, Inc.
 4 SET NO:                          ONE (1)
 5         Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant
 6 Apartment Hunters, Inc. (“AHI”) hereby objects and responds to Plaintiffs CoStar
 7 Realty Information, Inc. and Apartments, LLC’s, (collectively as “Plaintiffs”) First Set
 8 of Interrogatories as follows:
 9                               GENERAL OBJECTIONS
10         The following general objections to Plaintiffs’ Interrogatories are incorporated
11 into each and every response to each individual Interrogatory as though fully set forth
12 therein:
13         1.    AHI objects to the Interrogatories to the extent that they seek to impose
14 obligations on it greater than or more extensive than those required by the Federal
15 Rules of Civil Procedure.
16         2.    AHI objects to the Interrogatories to the extent that they seek information
17 equally or more available to, or already in the possession, custody or control of
18 Plaintiffs.
19         3.    Discovery is continuing in this action, and AHI has not completed its
20 factual investigation. These responses are made in good faith and after diligent
21 inquiry into the facts and information now known to AHI. However, information that
22 may be responsive to the Interrogatory may not have been discovered. Accordingly,
23 without asserting an obligation to do so, and without waiving the objections asserted
24 herein, AHI reserves the right to amend/supplement its responses as and when
25 additional information and/or documents are discovered. Additionally, because AHI’s
26 responses are based upon information which it has identified to date, it does not
27 preclude AHI from relying on facts or documents discovered or generated pursuant to
28 subsequent investigation and discovery.
                                              2
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 348 of 439 Page ID
                                    #:1772


 1         4.     In providing responses and objections to the Interrogatories, AHI
 2 expressly reserves all of its objections to the use of the responses herein, including but
 3 not limited to, objections as to the competency, relevance, materiality, and
 4 admissibility thereof.
 5                     SPECIFIC OBJECTIONS AND RESPONSES
 6 INTERROGATORY NO. 1:
 7         Identify the source from and/or means by which You obtained each CoStar
 8 Photograph and each CoStar Listing, including, but not limited to, the names of any
 9 websites involved; the names, roles and contact information of any other Person
10 involved; the method, including software or other technical means, used to capture the
11 photograph or listing; and the title of any contract relating to such conduct.
12 RESPONSE TO INTERROGATORY NO. 1:
13         AHI objects to this interrogatory as burdensome and harassing because of its
14 compound nature. AHI further objects to this interrogatory because it is presently
15 pursuing its investigation of the facts and law relating to this case, and has not
16 completed its discovery or preparation for trial. Therefore, this response is being
17 provided without prejudice to AHI’s right to add, modify or otherwise change or
18 amend these responses and is subject to AHI’s right to produce evidence of any
19 subsequently-discovered fact or document.
20         Notwithstanding the foregoing objections, AHI has not yet been able to locate
21 the photographs identified on CoStar’s Exhibit A within its stored website data and,
22 without such information, it is unable to identify the source and/or means, if any, upon
23 which those photographs were obtained.
24 INTERROGATORY NO. 2:
25         Identify each third party, including without limitation internet services
26 providers (ISPs), hosting services, and server providers, you have utilized to obtain
27 listings, photographs, and information for Your websites and database(s).
28 RESPONSE TO INTERROGATORY NO. 2:
                                              3
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 349 of 439 Page ID
                                    #:1773


 1         AHI objects to this interrogatory as burdensome and harassing because of its
 2 scope. AHI obtains listings, photographs, and information from thousands of
 3 landlords, management companies, and third party property owners, employees, or
 4 agents and up to 100 of partner feeds, including but not limited to:
 5         - RentPath (Apartmentguide.com, Rentals.com, MyNewPlace.com);
 6         - Dominion Enterprises (ForRent.com, Homes.com);
 7         - ListHub (Move.com, Nationwide MLS data);
 8         - On-site.com;
 9         - Rentalutions.com;
10         - ShowMojo.com; and
11         - IT49.com.
12 INTERROGATORY NO. 3:
13         For each CoStar Photograph and each CoStar Listing, identify any Person who
14 You assert gave permission to You to copy such photograph or listing, and the form of
15 the permission.
16 RESPONSE TO INTERROGATORY NO. 3:
17         AHI objects to this interrogatory because it is burdensome and harassing
18 because of its compound nature. AHI further objects to this interrogatory because it is
19 presently pursuing its investigation of the facts and law relating to this case, and has
20 not completed its discovery or preparation for trial. Therefore, this response is being
21 provided without prejudice to AHI’s right to add, modify or otherwise change or
22 amend these responses and is subject to AHI’s right to produce evidence of any
23 subsequently-discovered fact or document.
24         Notwithstanding the foregoing objections, AHI has not been able to locate any
25 CoStar Photographs or Listings within its website data. Without such information, it
26 is unable to identify the Persons who gave it permission to copy and display such
27 Photographs and Listings.
28 INTERROGATORY NO. 4:
                                              4
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 350 of 439 Page ID
                                    #:1774


 1         Identify each Person to whom or which You have sold, licensed, or provided
 2 real estate information or listings for commercial use. For the avoidance of doubt, this
 3 Interrogatory does not call for the identification of individual customers who
 4 purchased monthly “memberships” to your website in order to view listings for their
 5 own personal, non-commercial use.
 6 RESPONSE TO INTERROGATORY NO. 4:
 7         AHI does not sell, license, or provide real estate information or listings for
 8 commercial use.
 9 INTERROGATORY NO. 5:
10         Identify all instances in which You (which, for the avoidance of doubt, is
11 defined to include agents and employees) have accessed any database or website
12 (including without limitation www.apartments.com, www.apartmenthomeliving.com,
13 and www.apartmentfinder.com) made available or hosts by CoStar or any of its
14 affiliates, including, but not limited to, the date of that access, and any efforts taken
15 (including but not limited to using rotating IP addresses) to try to ensure that CoStar
16 and/or its affiliates did not discover that You (which, for the avoidance of doubt, is
17 defined to include agents and employees) were accessing such database or website.
18 RESPONSE TO INTERROGATORY NO. 5:
19         No such instances have occurred.
20 INTERROGATORY NO. 6:
21         Identify each individual IP address You (which, for the avoidance of doubt, is
22 defined to include agents and employees) used to access, view, or otherwise use
23 www.apartments.com, www.apartmenthomeliving.com, and
24 www.apartmentfinder.com.
25 RESPONSE TO INTERROGATORY NO. 6:
26         No such IP addresses exist.
27 INTERROGATORY NO. 7:
28
                                              5
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 351 of 439 Page ID
                                    #:1775


 1         Identify the servers on which the photographs displayed on Your websites are
 2 stored, and any Person who own and/or license use of such servers to You.
 3 RESPONSE TO INTERROGATORY NO. 7:
 4         AHI objects to this interrogatory because it seeks information that is not related
 5 to a matter that is relevant to any party’s claim or defense and proportional to the
 6 needs of the case.
 7         Notwithstanding the foregoing objection, the photographs displayed on AHI’s
 8 websites are stored on Amazon Cloud Drive which is licensed to AHI by Amazon.
 9 INTERROGATORY NO. 8:
10         Describe any relationship between You (which, for the avoidance of doubt, is
11 defined to include any affiliates or subsidiaries, whether domestic or foreign) and
12 Delta Centric, LLC, Host1Plus, and/or Digital Energy Technologies (an/or with their
13 respective affiliates), including without limitation identifying the names and dates of
14 any contracts for services with such entities.
15 RESPONSE TO INTERROGATORY NO. 8:
16         No such relationships exist.
17 INTERROGATORY NO. 9:
18         Describe the methods You use to verify the availability of apartment listings
19 displayed on Your websites, including the frequency with which You use those
20 methods and the basis for statements on Your websites (appearing, for instance, on
21 search result pages) that specific listings were “Updated,” “Modified,” “Posted,”
22 “Refreshed,” “Vacant,” or “Price Reduced” at a specific date and time.
23 RESPONSE TO INTERROGATORY NO. 9:
24         AHI objects to this interrogatory because it seeks information that is not related
25 to a matter that is relevant to any party’s claim or defense and proportional to the
26 needs of the case. AHI further objects to this interrogatory as burdensome and
27 harassing because it previously stipulated that rental listings are time-sensitive and
28 discovery into this subject is no longer necessary.
                                              6
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 352 of 439 Page ID
                                    #:1776


 1 INTERROGATORY NO. 10:
 2         Describe the methods You use to process the photographs and listing
 3 information You acquire or post on Your websites, including without limitation any
 4 processes for editing, altering, or cropping of photographs or for editing, altering,
 5 reorganizing, or rewriting listing information.
 6 RESPONSE TO INTERROGATORY NO. 10:
 7         AHI does not modify feeder information. Information received by third parties,
 8 including management companies, landlords, and third-party feeders, is reviewed for
 9 inappropriate or unwanted content and then is published as initially provided on the
10 websites.
11 INTERROGATORY NO. 11:
12         Identify every instance in which You (which, for the avoidance of doubt, is
13 defined to include agents and employees) have had any involvement (for example,
14 without limitation, as a plaintiff, employee of a plaintiff, defendant, employee of a
15 defendant, third party, employee of a third party, consultant, or actual or potential
16 witness) in any claim, dispute or proceeding involving copyright or other intellectual
17 property issues, or involving apartment listings or photographs, including without
18 limitation any claims or disputes that were resolved without litigation.
19 RESPONSE TO INTERROGATORY NO. 11:
20         AHI objects to this interrogatory because it is burdensome and harassing as to
21 its scope. AHI objects to this interrogatory because it is compound. AHI further
22 objects to this interrogatory because it seeks information that is not related to a matter
23 that is relevant to any party’s claim or defense and proportional to the needs of the
24 case.
25         Notwithstanding the foregoing objections, AHI states that in 2014 the
26 California Bureau of Real Estate filed a complaint against it for allegedly using
27 pictures and information about certain rental properties without permission. The
28 Bureau Commissioner found AHI liable for such conduct on July 1, 2015. AHI,
                                              7
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 353 of 439 Page ID
                                    #:1777


 1 however, is in the process of appealing that decision.
 2 INTERROGATORY NO. 12:
 3         Identify every action You have taken to protect intellectual property owned or
 4 claimed by You, including, without limitation, using copyright or trademark notices,
 5 symbols or other indicators of intellectual property status; using terms of use, terms of
 6 access, terms of service, or licenses; filing for copyright, trademark or patent
 7 protection; engaging in litigation involving copyrights, trademarks or patents; and
 8 engaging in non-litigation communications relating to copyright, trademarks or
 9 patents.
10 RESPONSE TO INTERROGATORY NO. 12:
11         AHI objects to this interrogatory because it is burdensome and harassing as to
12 its scope. AHI objects to this interrogatory because it is compound. AHI further
13 objects to this interrogatory because it is presently pursuing its investigation of the
14 facts and law relating to this case, and has not completed its discovery or preparation
15 for trial. Therefore, this response is being provided without prejudice to AHI’S right
16 to add, modify or otherwise change or amend these responses and is subject to AHI’S
17 right to produce evidence of any subsequently-discovered fact or document.
18         Notwithstanding the foregoing objections, AHI states that it has taken action to
19 protect its intellectual property through the use of (i) a Terms and Conditions
20 agreement that anyone accessing their websites agrees to be bound to by accessing the
21 website and (ii) copyright notices on each of their webpages.
22 INTERROGATORY NO. 13:
23         Identify all Persons You believe to have discoverable information concerning
24 this action and identify the subject matter of that knowledge.
25 RESPONSE TO INTERROGATORY NO. 13:
26         AHI objects to this interrogatory because it is burdensome and duplicative
27 given that it seeks the same information provided in Defendants’ Initial Disclosures.
28 AHI objects to this interrogatory because it is compound. AHI further objects to this
                                              8
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 354 of 439 Page ID
                                    #:1778


 1 interrogatory because it is presently pursuing its investigation of the facts and law
 2 relating to this case, and has not completed its discovery or preparation for trial.
 3 Therefore, this response is being provided without prejudice to AHI’s right to add,
 4 modify or otherwise change or amend these responses and is subject to AHI’s right to
 5 produce evidence of any subsequently-discovered fact or document.
 6         Notwithstanding the foregoing objections, the persons AHI currently believes
 7 have discoverable information concerning this action are as follows:
 8
                      Person                            Subject Matter of Knowledge
 9
     Kevin Shayan, employee, Apartment            Apartment Hunters, Inc.’s policies,
10
     Hunters, Inc. Mr. Shayan can be              procedures, and activities; and
11
     contacted through his counsel, Lincoln D.    Mr. Shayan’s personal conduct.
12
     Bandlow, at Fox Rothschild LLP, 1800
13
     Century Park East, Suite 300 Los
14
     Angeles, CA 90067.
15
     Steven Shayan, Chief Executive Officer,      Apartment Hunters, Inc.’s policies,
16
     Apartment Hunters, Inc. Mr. Shayan can       procedures, and activities; and
17
     be contacted through his counsel, Lincoln    Mr. Shayan’s personal conduct.
18
     D. Bandlow, at Fox Rothschild LLP,
19
     1800 Century Park East, Suite 300 Los
20
     Angeles, CA 90067.
21
     Vidmantas Mačys, Manager of UAB              Apartment Hunters, Inc.’s systems and
22
     Apartment Hunters LT, Savanorių pr.          operations.
23
     349, LT-51480 Kaunas
24
25
     Denis Portnov, employee, Apartment           Apartment Hunters, Inc.’s systems and
26
     Hunters, Inc. Mr. Portnov can be             operations.
27
     contacted through Lincoln D. Bandlow, at
28
                                              9
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 355 of 439 Page ID
                                    #:1779


 1
     Fox Rothschild LLP, 1800 Century Park
 2
     East, Suite 300 Los Angeles, CA 90067.
 3
     The corporate designee(s) of CoStar.          Plaintiffs believe the designee(s) will
 4
     CoStar’s designee(s) may be contacted         have knowledge of CoStar’s policies,
 5
     through CoStar’s counsel, Kelly L.            procedures, and activities, including
 6
     Perigoe, Caldwell, Leslie & Proctor, PC,      copyright procedures, agreements for
 7
     725 South Figueroa Street, 31st Floor,        sharing of data and information provided
 8
     Los Angeles, California 90017-5525,           by CoStar to third-party licensees,
 9
     213-629-9040, perigee@caldwell-               CoStar’s copyright infringement protocol,
10
     leslie.com                                    and what information and photographs
11
                                                   Defendants’ allegedly have copied.
12
     The corporate designee(s) of Apartments.      Plaintiffs believe the designee(s) will
13
     Apartments’ designee(s) may be                have knowledge of CoStar’s policies,
14
     contacted through Apartments’ counsel,        procedures, and activities, including
15
     Kelly L. Perigoe, Caldwell, Leslie &          copyright procedures, agreements for
16
     Proctor, PC, 725 South Figueroa Street,       sharing of data and information provided
17
     31st Floor, Los Angeles, California           by CoStar to third-party licensees,
18
     90017-5525, 213-629-9040,                     CoStar’s copyright infringement protocol,
19
     perigee@caldwell-leslie.com                   and what information and photographs
20
                                                   Defendants’ allegedly have copied.
21
22
23 Dated: July 28, 2016                        FOX ROTHSCHILD LLP
24
25                                        By
                                               Lincoln D. Bandlow
26                                             Margo J. Arnold
                                               Attorneys for Defendants
27                                             Apartment Hunters, Inc.,
                                               Kevin Shayan, and
28                                             Steven Shayan
                                              10
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 356 of 439 Page ID
                                    #:1780
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 357 of 439 Page ID
                                    #:1781


 1                                   PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
         At the time of service, I was over 18 years of age and not a party to this action.
 4 I am employed in the County of Los Angeles, State of California. My business
 5 address is 1800 Century Park East, Suite 300, Los Angeles, CA 90067-1506.
 6        On July 28, 2016, I served the following document(s) described as
 7 DEFENDANT APARTMENT HUNTERS, INC.’S OBJECTIONS AND
   RESPONSES TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES on the
 8 interested parties in this action as follows:
 9
                                SEE ATTACHED SERVICE LIST
10
11 
     BY MAIL: I enclosed the document(s) in a sealed envelope or package
     addressed to the persons at the addresses listed in the Service List and
12   placed the envelope for collection and mailing, following our ordinary
13   business practices. I am readily familiar with Fox Rothschild LLP practice
     for collecting and processing correspondence for mailing. On the same day
14   that the correspondence is placed for collection and mailing, it is deposited
15   in the ordinary course of business with the United States Postal Service, in
     a sealed envelope with postage fully prepaid.
16
17  BY OVERNIGHT MAIL (FEDEX): I enclosed said document(s) in an
     envelope or package provided by FedEx and addressed to the persons at the
18   addresses listed in the Service List. I placed the envelope or package for
19   collection and overnight delivery at an office or a regularly utilized drop
     box of FedEx or delivered such document(s) to a courier or driver
20   authorized by FedEx to receive documents.
21
      BY PERSONAL SERVICE: I personally delivered the document(s) to
22       the person being at the addresses listed in the Service List. (1) For a party
23       represented by an attorney, delivery was made to the attorney or at the
         attorney's office by leaving the documents in an envelope or package
24       clearly labeled to identify the attorney being served with a receptionist or
25       an individual in charge of the office. (2) For a party, delivery was made to
         the party or by leaving the documents at the party's residence with some
26       person not less than 18 years of age between the hours of eight in the
27       morning and six in the evening.

28
                                              11
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 358 of 439 Page ID
                                    #:1782


 1  BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court
 2      order or an agreement of the parties to accept service by e-mail or
        electronic transmission, I caused the document(s) to be sent from e-mail
 3      address marnold@foxrothschild.com to the persons at the e-mail addresses
 4      listed in the Service List. I did not receive, within a reasonable time after
        the transmission, any electronic message or other indication that the
 5      transmission was unsuccessful.
 6
          I declare under penalty of perjury under the laws of the State of California that
 7 the foregoing is true and correct.
 8
          Executed this 28th day of July, 2016 at Los Angeles, California.
 9
10
11                                        Cindy Liu
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              12
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 359 of 439 Page ID
                                    #:1783


 1                                      SERVICE LIST

 2
 3 Nicholas J. Boyle
   David K. Baumgarten
 4 Eric J. Hamilton
 5 Williams and Connolly LLP
   725 Twelfth Street NW
 6 Washington, DC 20005-5901
 7 202-434-5000
   Fax: 202-434-5029
 8 Email: nboyle@wc.com
 9 Email: dbaumgarten@wc.com
   Email: ehamilton@wc.com
10
11 Kelly L. Perigoe
   Caldwell Leslie and Proctor PC
12 725 South Figueroa Street 31st Floor
13 Los Angeles, CA 90017-5524
   213-629-9022
14 Fax: 213-629-9022
15 Email: perigoe@caldwell-leslie.com
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              13
     DEFENDANTS APARTMENT HUNTERS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST SET
                                    OF INTERROGATORIES
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 360 of 439 Page ID
                                    #:1784




                        EXHIBIT 5
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 361 of 439 Page ID
                                    #:1785
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 362 of 439 Page ID
                                    #:1786
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 363 of 439 Page ID
                                    #:1787
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 364 of 439 Page ID
                                    #:1788
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 365 of 439 Page ID
                                    #:1789
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 366 of 439 Page ID
                                    #:1790
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 367 of 439 Page ID
                                    #:1791
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 368 of 439 Page ID
                                    #:1792
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 369 of 439 Page ID
                                    #:1793
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 370 of 439 Page ID
                                    #:1794




                        EXHIBIT 6
Case 8:15-cv-02111-JLS-KES
      Case 8:15-cv-02111 Document
                           Document
                                  1 Filed
                                    47-4 12/18/15
                                          Filed 12/02/16
                                                    Page 1Page
                                                           of 38371
                                                                  Page
                                                                    of 439
                                                                        ID #:1
                                                                             Page ID
                                    #:1795


 1
     CALDWELL LESLIE & PROCTOR, PC
 2   Kelly L. Perigoe (Cal. Bar No. 268872)
     725 South Figueroa Street, 31st Floor
 3
     Los Angeles, CA 90017-5525
 4   Telephone: (213) 629-9040
     Facsimile: (213) 629-9022
 5
     perigoe@caldwell-leslie.com
 6
     WILLIAMS & CONNOLLY LLP
 7
     Nicholas J. Boyle (pro hac vice application forthcoming)
 8   David K. Baumgarten (pro hac vice application forthcoming)
     Eric J. Hamilton (Cal. Bar No. 296283; C.D. Cal. admission pending)
 9
     725 Twelfth Street, N.W.
10   Washington, DC 20005
     Telephone: (202) 434-5000
11
     Facsimile: (202) 434-5029
12   nboyle@wc.com
     dbaumgarten@wc.com
13
     ehamilton@wc.com
14
     Attorneys for Plaintiffs CoStar Realty
15
     Information, Inc., and Apartments, LLC
16

17
                      IN THE UNITED STATES DISTRICT COURT
18                      CENTRAL DISTRICT OF CALIFORNIA
19                             SOUTHERN DIVISION

20

21 COSTAR REALTY INFORMATION,                 Case No. 15-cv-02111
   INC., and APARTMENTS, LLC,
22              Plaintiffs,                   COMPLAINT
23
                vs.                           DEMAND FOR JURY TRIAL
24

25 APARTMENT HUNTERS, INC.,
   KEVIN SHAYAN, and STEVEN
26 SHAYAN,

27           Defendants.
28
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 2Page
                                                                of 38372
                                                                       Page
                                                                         of 439
                                                                             ID #:2
                                                                                  Page ID
                                         #:1796



 1           Plaintiffs CoStar Realty Information, Inc. and Apartments, LLC
 2    (collectively, “CoStar”), by and through its undersigned counsel, brings this
 3    Complaint against Apartment Hunters, Inc. (“Apartment Hunters”) and its co-
 4    owners, Kevin Shayan and Steven Shayan (collectively, “the Shayans,” and
 5    together with Apartment Hunters, “Defendants”), and alleges as follows:
 6                             PRELIMINARY STATEMENT
 7           1.    CoStar brings this suit to redress Defendants’ flagrant and widespread
 8    copyright infringement and misappropriation of information. Defendants’ business
 9    is based, in significant part, on the willful and systematic theft of CoStar’s
10    intellectual property. Without permission, Defendants have displayed hundreds, if
11    not thousands, of CoStar’s real estate listings on their websites, including CoStar-
12    copyrighted photographs and CoStar-collected and -verified information.
13    Defendants have infringed CoStar’s photographs and misappropriated its time
14    sensitive real estate listing information, and thereby are unfairly competing with
15    CoStar’s Apartments.com website.
16           2.    Defendants repeatedly have been sanctioned for violating the
17    California Real Estate Law, including most recently for displaying, without
18    authorization, third party real estate listings and copyrighted real estate
19    photographs that Defendants had doctored to try to hide their misconduct.
20    Undeterred, Defendants’ massive piracy scheme continues apace, and now targets
21    CoStar’s intellectual property.
22           3.    In order to protect its business, redress past harm, and deter further
23    unlawful conduct, CoStar is entitled to, among other remedies, millions of dollars
24    in damages and a permanent injunction for copyright infringement,
25    misappropriation, and unfair competition.
26    I.     COSTAR’S BUSINESS
27           4.    Over the past three decades, through enormous effort and expense,
28
                                                 1
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 3Page
                                                                of 38373
                                                                       Page
                                                                         of 439
                                                                             ID #:3
                                                                                  Page ID
                                         #:1797



 1    CoStar and its affiliates have developed an unparalleled database of commercial
 2    and multi-family residential real estate information, which includes millions of
 3    professionally-shot, copyrighted photographs. This database is the engine that
 4    drives CoStar’s business, attracting paying subscribers and licensees to its various
 5    informational products, analytical tools, and online marketplaces.
 6           5.    In April 2014, CoStar Group, Inc., the parent company of CoStar
 7    Realty Information, Inc., acquired Apartments, LLC, the operator of
 8    Apartments.com. Apartments.com is a leading national online apartment rental
 9    resource and database used by renters, property managers and owners. In the
10    ensuing ten months, CoStar integrated its commercial real estate database with
11    Apartments.com’s marketing platform, and assigned more than one thousand
12    researchers to verify existing information on multifamily properties, collect new
13    information, and take photographs of the exterior, common areas, individual units,
14    amenities and surrounding neighborhoods of these properties.
15           6.    Simultaneously, CoStar revolutionized the way people can search for
16    apartments by showing real time availabilities across both paid listings and unpaid
17    listings (i.e., apartments available for rent that were identified independently by
18    CoStar researchers), offering innovative map-based searching and plan commute
19    tools, and displaying rich original content on local culture and neighborhood
20    features.
21           7.    Based on these efforts, CoStar re-launched Apartments.com in
22    February 2015, providing users access to an unmatched range of verified
23    multifamily real estate listings and information, including, for the first time, the
24    photographs taken by CoStar researchers and drawn from CoStar’s newly
25    integrated backend system.
26           8.    CoStar’s copyrighted photographs, as well as the other listing
27    information and materials in its databases, are central to CoStar’s and its affiliates’
28
                                                 2
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 4Page
                                                                of 38374
                                                                       Page
                                                                         of 439
                                                                             ID #:4
                                                                                  Page ID
                                         #:1798



 1    business, and are a crucial driver of the subscription and license fees and
 2    advertising sales that constitute CoStar’s primary revenue streams. For this reason,
 3    CoStar protects its intellectual property by, among other things, regularly
 4    registering its photographs with the United States Copyright Office.
 5           9.    Since re-launching Apartments.com, CoStar has continued to publish
 6    real-time apartment data and availability information, making updates to about
 7    75,000 listings every day. Keeping listing information constantly updated is
 8    expensive, but differentiates Apartments.com and adds significant value to
 9    consumers, who typically are focused on viewing information about apartments
10    that are actually available to rent.
11    II.    DEFENDANT’S INFRINGEMENT AND MISAPPROPRIATION
12           10.   Defendants’ business, upon information and belief, is based in
13    significant part on unlawfully exploiting CoStar’s intellectual property.
14           11.   Upon information and belief, Defendants operate a network of at least
15    eleven domain names and websites, which are similarly structured: each allows
16    users to view apartment listings for a number of markets, predominantly in
17    California. The majority of Defendants’ websites appear to require a user to pay a
18    monthly membership fee (of $49) to access the listings contained therein.
19           12.   Upon information and belief, Defendants procure a substantial portion
20    of the listings displayed on their network of websites, including the listing
21    information and photographs within them, by copying content from other internet
22    listing sites without authorization—including from Apartments.com.
23           13.   Indeed, Defendants’ network of websites prominently display a
24    substantial number of CoStar’s listings, including the copyrighted photographs
25    contained therein, of multifamily properties located in multiple California markets.
26    CoStar-copyrighted photographs and real-time listing information have been
27    displayed without authorization on at least nine different sites owned or operated
28
                                                3
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 5Page
                                                                of 38375
                                                                       Page
                                                                         of 439
                                                                             ID #:5
                                                                                  Page ID
                                         #:1799



 1    by Defendants: (a) ApartmentHunterz.com; (b) 4rentinla.com; (c)
 2    4rentinnewyork.com; (d) wetakesection8.com; (e) ifindrentals.com; (f)
 3    featuredrentals.com; (g) leaseinsandiego.com; (h) rentinsanfrancisco.com; and (i)
 4    ineed2move.com.1
 5           14.   Although the full scope of Defendants’ infringement and
 6    misappropriation is impossible to determine without discovery, Defendants appear
 7    to have copied and displayed on their network of websites dozens, if not hundreds,
 8    of CoStar’s listings, including the CoStar-verified information and the hundreds, if
 9    not thousands, of CoStar-copyrighted photographs contained within those listings.
10    Even without access to Defendants’ internal documents, CoStar has discovered
11    more than one hundred of its copyrighted photographs on ApartmentHunterz.com
12    alone, suggesting that discovery will reveal scores of additional instances of past or
13    ongoing infringement and misappropriation just on that website. And discovery
14    into the other websites owned or operated by Defendants—eight of which have
15    already been discovered to be displaying CoStar copyrighted photographs— will
16    only further multiply the documented scope of their infringement of photographs
17    and misappropriation of time-sensitive listing information.
18           15.   CoStar has not granted Defendants any rights over any of its
19    copyrighted photographs or its time-sensitive listing information. Defendants have
20    taken, copied, published, distributed, and publicly displayed CoStar’s photographs
21    and real-time listing information without authorization to further their business and
22    generate profits for themselves.
23           16.   Defendants have made commercial, competitive use of
24    Apartments.com, including unauthorized copying of the CoStar-verified, time-
25    sensitive listing information, to further their business and generate profits for
26

27    1
    As of December 17, 2015, one of these websites appears to have been taken
28 offline, and two others now appear to redirect visitors to ApartmentHunterz.com.
                                                 4
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 6Page
                                                                of 38376
                                                                       Page
                                                                         of 439
                                                                             ID #:6
                                                                                  Page ID
                                         #:1800



 1    themselves.
 2           17.     Recognizing the unlawful nature of their scheme, Defendants have
 3    taken numerous steps to attempt to conceal their actions, including cropping and
 4    otherwise altering the photographs posted on their websites to remove the CoStar
 5    logo. Further, Defendants appear to be rotating the IP addresses from which they
 6    systematically copy CoStar’s photographs and time-sensitive listing information, in
 7    order to circumvent CoStar’s abuse detection software.
 8           18.     Accordingly, Defendants intentionally—and on a systematic basis—
 9    have infringed CoStar’s copyrights, in violation of federal law, and
10    misappropriated time-sensitive information from Apartments.com. Apartment
11    Hunters acts through the Shayans, who are instrumental in Apartment Hunters’
12    unlawful activities and themselves have infringed CoStar’s copyrights and
13    misappropriated Apartments.com’s information. Moreover, as co-owners and
14    senior executives of Apartment Hunters, the Shayans have caused, contributed to,
15    and/or induced Apartment Hunters’ infringement, misappropriation, and unfair
16    competition.
17           19.     Defendants’ conduct is knowing, willful, and volitional, and forms
18    part of a pattern of repeated disregard for the law and intellectual property owners.
19    Over the last decade, Defendants have been sanctioned on three separate occasions
20    by the California Bureau of Real Estate for violations of the California Real Estate
21    Law (Cal. Bus. & Prof. Code §§ 10000 et seq.), including for conduct
22    substantively identical to the activities at issue here. Despite these repeated
23    sanctions, and the loss of Apartment Hunters’ license to operate, Defendants
24    brazenly continue to engage in the same sorts of unlawful conduct.
25           20.     Defendants’ unlawful actions have harmed CoStar in ways that cannot
26    be measured fully and cannot be remedied fully by monetary damages. CoStar
27    brings this lawsuit to obtain damages and compensation for Defendants’ conduct
28
                                                 5
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 7Page
                                                                of 38377
                                                                       Page
                                                                         of 439
                                                                             ID #:7
                                                                                  Page ID
                                         #:1801



 1    and an injunction preventing further irreparable harm.
 2                                     THE PARTIES
 3           21.   Plaintiff CoStar Realty Information, Inc. is a corporation organized
 4    and existing under the laws of the State of Delaware with corporate offices located
 5    at 1331 L Street, N.W., Washington, DC 20005.
 6           22.   Plaintiff Apartments, LLC, which directly operates Apartments.com,
 7    is a corporation organized and existing under the laws of Illinois with corporate
 8    offices located at 222 West Adams, 15th Floor, Chicago, IL 60606.
 9           23.   Defendant Apartment Hunters, upon information and belief, is a
10    corporation organized and existing under the laws of California (entity number
11    C2551818) with its principal place of business located in Dana Point, California.
12    Apartment Hunters’ exact business address is uncertain; the California Secretary of
13    State’s database lists an address of “Suite 148, Dana Point, California 92629.” The
14    address for its agent for service of process is 33592 Moon Ring Court, Dana Point,
15    California 92629.
16           24.   Defendant Steven Shayan, upon information and belief, is the
17    President or Co-President and owner or co-owner of Apartment Hunters. Upon
18    information and belief, Steven Shayan is domiciled in Orange County, California,
19    and uses the address of and/or resides at 32565 Golden Lantern Street, Dana Point,
20    California 92629-3261. Upon information and belief, Steven Shayan personally
21    participated in, directed, and benefitted from Apartment Hunters’ infringement.
22           25.   Defendant Kevin Shayan, upon information and belief, is the
23    President or Co-President and owner or co-owner of Apartment Hunters. Upon
24    information and belief, Kevin Shayan is domiciled in Los Angeles County,
25    California, with a last known address of 201 North Robertson Boulevard, Suite
26    202, Beverly Hills, California 90211. Upon information and belief, Kevin Shayan
27    personally participated in, directed, and benefitted from Apartment Hunters’
28
                                               6
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 8Page
                                                                of 38378
                                                                       Page
                                                                         of 439
                                                                             ID #:8
                                                                                  Page ID
                                         #:1802



 1    infringement.
 2           26.   Upon information and belief, the following domain names are owned
 3    by, controlled by, and/or registered to Apartment Hunters, Steven Shayan, and/or
 4    Kevin Shayan: (a) ApartmentHunterz.com; (b) 4rentinla.com; (c)
 5    4rentinnewyork.com; (d) wetakesection8.com; (e) ifindrentals.com; (f)
 6    featuredrentals.com; (g) leaseinsandiego.com; (h) rentinsanfrancisco.com; (i)
 7    w6.lt; (j) listmyrentals.com; and (k) ineed2move.com.2
 8           27.   Upon information and belief, at all times relevant hereto, Defendants
 9    acted under common ownership and control and/or served as the agents of one
10    another.
11                             JURISDICTION AND VENUE
12           28.   This action arises under the Copyright Act, 17 U.S.C. § 101 et seq.
13    The Court has federal question jurisdiction over claims arising under that statute
14    pursuant to 28 U.S.C. §§ 1331 and 1338(a). The Court has supplemental
15    jurisdiction over claims arising under state law pursuant to 28 U.S.C. § 1367
16    because these claims are so related to the federal-law claims that they form part of
17    the same case or controversy.
18           29.   The Court has personal jurisdiction over Apartment Hunters because,
19    among other reasons, Apartment Hunters’ principal place of business is in Orange
20    County, California.
21           30.   The Court has personal jurisdiction over the Shayans because, among
22    other reasons, they reside in California and have done, and are doing, business in
23    California, including the conduct alleged here.
24           31.   Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and
25    1400(a) because Defendants reside in this judicial district and a substantial part of
26    2
     The website ineed2move.com appears to have been recently taken offline. As of
27 December 17, 2015, several of the other websites appear to function solely as
28 landing pages that immediately redirect visitors to ApartmentHunterz.com.
                                                7
     Case 8:15-cv-02111-JLS-KES
           Case 8:15-cv-02111 Document
                                Document
                                       1 Filed
                                         47-4 12/18/15
                                               Filed 12/02/16
                                                         Page 9Page
                                                                of 38379
                                                                       Page
                                                                         of 439
                                                                             ID #:9
                                                                                  Page ID
                                         #:1803



 1    the events or omissions giving rise to CoStar’s claims occurred in this judicial
 2    district.
 3                               FACTUAL ALLEGATIONS
 4    I.     COSTAR AND ITS BUSINESS
 5           32.   CoStar, along with its affiliates, is a leading provider of commercial
 6    real estate information, analytics, and online marketplaces, with three decades of
 7    experience in collecting and curating real estate information.
 8           33.   Like many technology companies, CoStar’s business began in its
 9    founder’s basement with a simple idea: empower commercial real estate brokers
10    with researched, unbiased commercial property information. Since its founding,
11    and thanks to investment in excess of one billion dollars, and the efforts of more
12    than 2,900 employees, CoStar and its affiliates have become a leading provider of
13    commercial and multi-family rental real estate information.
14           34.   All of CoStar’s and its affiliates’ products revolve around one asset:
15    the company’s database of real estate information, which includes verified
16    information about apartment communities and apartment availability in real time,
17    integrated with millions of copyrighted photographs. The database is part of a
18    suite of online services that include resources and tools for property owners,
19    managers, and potential renters. CoStar and its affiliates generate and update the
20    database’s content at a cost of over $70 million each year.
21           35.   CoStar’s research team has more than 1,200 trained professionals who
22    each year make millions of changes to the database, canvass more than half a
23    million properties nationwide, and take more than one million new photographs.
24           36.   CoStar and its affiliates have offered subscription services to, among
25    others, the commercial real estate market and multifamily property managers and
26    owners for over a decade. The resulting fees, which vary according to the scope of
27    access and analytical detail, products, and services a user seeks, generate a
28
                                                8
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 10Page
                                                               of 38380
                                                                      Page
                                                                        of 439
                                                                            ID #:10
                                                                                 Page ID
                                        #:1804



 1    significant portion of CoStar’s and its affiliates’ revenue. CoStar also profits via
 2    advertising sales to residential rental property managers and owners, who pay fees
 3    to obtain enhanced visibility for their listings. CoStar uses these revenue streams
 4    to cover the millions of dollars it and its affiliates spend every year to take
 5    professional photographs of real estate and generate and verify the listing
 6    information in its database.
 7          37.    Constant innovation drives the success of CoStar and its affiliates.
 8    Last year, Forbes magazine recognized the CoStar Group, Inc. as one of the
 9    world’s most innovative growth companies.
10          38.    In April 2014, a CoStar affiliate acquired Apartments.com (the
11    “Acquisition”), a leading national online apartment rental resource used by renters,
12    property managers, and owners.
13          39.    Prior to CoStar’s acquisition, Apartments.com and its affiliates
14    developed an extensive nationwide, online platform for listings of both single- and
15    multi-family rental properties. All listings were paid advertisements, integrating
16    information and photographs submitted by paying subscribers—property managers
17    and owners—who also received access to cutting-edge marketing tools,
18    capabilities, and analytics as part of their subscriptions. Renters and prospective
19    renters could search the Apartments.com platform for free. The subscription fees
20    paid by property owners and managers generated a significant portion of
21    Apartments.com’s revenue.
22          40.    At the time of the Acquisition, CoStar’s commercial real estate
23    database already contained detailed verified information on (and, in the majority of
24    instances, photographs of) hundreds of thousands of multi-family properties—i.e.,
25    apartment buildings.
26          41.    Following the Acquisition, CoStar invested significant financial and
27    technological resources to upgrade Apartments.com’s technology and integrate the
28
                                                 9
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 11Page
                                                               of 38381
                                                                      Page
                                                                        of 439
                                                                            ID #:11
                                                                                 Page ID
                                        #:1805



 1    Apartments.com platform with its existing real estate information, paving the way
 2    for CoStar to re-launch an entirely overhauled Apartments.com website in
 3    February 2015. Apartments.com now integrates CoStar’s independently
 4    researched and verified multifamily property content, including copyrighted
 5    photographs, with a redesigned consumer website aimed at providing renters and
 6    prospective renters the best search experience possible. As a result, following the
 7    re-launch of Apartments.com, the detailed property information and photographs
 8    that CoStar had developed and taken over many years are now available to renters
 9    who search the Apartments.com website.
10          42.    Additionally, between the time CoStar acquired and re-launched
11    Apartments.com, more than one thousand CoStar researchers participated in
12    researching, visiting, photographing, and otherwise collecting and verifying
13    information about more than 400,000 multifamily rental properties—almost
14    certainly the largest research effort ever directed at the apartment industry in the
15    United States. The results of this research, including the copyrighted photographs
16    taken by hundreds of CoStar professional photographers, are proprietary to CoStar
17    and not available through any other apartment rental website.
18          43.    Including these recent technological and research investments, CoStar
19    has now invested approximately $1 billion developing its multifamily rental-
20    related products. As a result of CoStar’s investments and efforts, it now provides
21    up-to-date, time-sensitive information and analytics about more than 470,000
22    multifamily rental properties in 368 markets across the country.
23          44.    The scope of Apartment.com’s verified information, including the
24    professional photographs taken by CoStar researchers and drawn from CoStar’s
25    newly integrated database, distinguishes Apartments.com from its competitors.
26          45.    Apartments.com is also distinguished from its competitors by the real-
27    time nature of its listings, which rely on CoStar’s unmatched dataset of more than
28
                                                10
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 12Page
                                                               of 38382
                                                                      Page
                                                                        of 439
                                                                            ID #:12
                                                                                 Page ID
                                        #:1806



 1    60 million rent observations. CoStar constantly adds to and updates that dataset
 2    with information from three distinct sources: listings posted on the
 3    Apartments.com leading network of sites; data collected from public sources; and
 4    real-time data actively collected by CoStar’s research team, which makes
 5    announced and unannounced calls to more than 75,000 apartment communities
 6    each month.
 7            46.   Apartments.com advertises the accuracy of its time-sensitive listings
 8    as a selling point for its users—both potential tenants who search the site for free
 9    and property owners and managers who pay to advertise. For instance, the
10    Apartments.com advertisers’ home page prominently proclaims the advantage of
11    “Real Time Intelligence” provided by the integration of Apartments.com directly
12    with property management companies’ rental inventory systems. See
13    <http://www.Advertise.Apartments.com> (last accessed Dec. 15, 2015).
14    Apartments.com’s popular television advertising campaign featuring Jeff
15    Goldblum also touts the site’s unmatched inventory of units that are available for
16    rent.
17            47.   Based on the unmatched scope of its verified information, including
18    its professional photographs, and the real-time accuracy of its time-sensitive listing
19    data, Apartments.com has built and maintained an enormous user base of potential
20    tenants. That large user base of potential tenants in turn attracts property managers
21    and owners to purchase advertising packages from Apartments.com to enhance the
22    visibility for their listings among the potential tenants searching the website,
23    generating the fees that constitute a significant portion of the company’s revenue.
24    Without the fees earned from Apartments.com’s web traffic, CoStar could not and
25    would not bring its verified, time-sensitive information to the market.
26    II.     COSTAR’S INTELLECTUAL PROPERTY
27            48.   CoStar’s intellectual property is at the root of the CoStar database and
28
                                                11
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 13Page
                                                               of 38383
                                                                      Page
                                                                        of 439
                                                                            ID #:13
                                                                                 Page ID
                                        #:1807



 1    therefore is central to its business. A key element of CoStar’s intellectual property
 2    is its repository of photographs of commercial and multifamily real estate. CoStar
 3    owns those photographs and registers them with the United States Copyright
 4    Office.
 5           49.    CoStar and its affiliates—including Apartments.com—take other
 6    steps to protect CoStar’s property, including its time-sensitive listing information.
 7           50.    At all relevant times, both the Apartments.com home page and each
 8    Apartments.com listing from which Defendants copied CoStar owned photographs
 9    and CoStar-collected and -verified information contained a hyperlink to
10    Apartments.com’s terms of service (the “Terms of Service”), which govern use of
11    Apartments.com. See <http://corporate.apartments.com/disclaimers/terms-of-
12    service/>.
13           51.    The Terms of Service warn users that by using Apartments.com, they
14    “represent and warrant that You are not a competitor of Apartments.com or any of
15    its affiliates.” See id.
16           52.    The Terms of Service further advise all users that:
17                  All information and content available on this Site
18                  (collectively, ‘Materials’) is protected by copyright and
19                  other intellectual property laws. The Materials are
20                  owned by Apartments.com and its affiliates, and/or their
21                  respective licensors and suppliers (collectively,
22                  ‘Licensors’). The Materials are intended for personal and
23                  noncommercial use only. You may not copy, reproduce,
24                  sell, license, publish, distribute, modify, display, perform,
25                  repost or otherwise use any portion of the Materials in
26                  any other way or for any other purpose without the prior
27                  written consent of Apartments.com.
28
                                                 12
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 14Page
                                                               of 38384
                                                                      Page
                                                                        of 439
                                                                            ID #:14
                                                                                 Page ID
                                        #:1808



 1    See id. (emphasis added).
 2           53.    The Terms of Service further prohibit the use of “any robot, spider or
 3    other automatic device, or a manual process, to . . . copy web pages or the
 4    Materials contained in the Site or for any other unauthorized purpose.” See id.
 5    III.   DEFENDANTS’ UNLAWFUL BUSINESS MODEL
 6           54.    Upon information and belief, Defendants’ business plan is built, in
 7    significant part, on infringing and misappropriating CoStar’s proprietary content.
 8           55.    Upon information and belief, Defendants’ unlawful scheme operates
 9    as follows:
10           56.    Defendants obtain pre-existing apartment rental real estate
11    information, including CoStar-copyrighted photographs and time-sensitive CoStar
12    listings to which they have no rights, and copy the content they wish to duplicate
13    onto computer servers that they own or that are provided to them.
14           57.    Defendants then republish and publicly display that content—
15    including, without authorization, CoStar’s copyright-protected photographs and
16    CoStar-verified listing information—on the network of websites they own and/or
17    control, including without limitation ApartmentHunterz.com.
18           58.    On information and belief, Defendants employ an automated copying
19    or scraping process to enable a high volume of copying. In a three-week period
20    through November 2015, for instance, IP addresses believed to be controlled by
21    Defendants were responsible for more than 160,000 hits on Apartments.com,
22    predominantly in irregular bursts (i.e., thousands of hits only seconds apart from
23    one and other). Such a staggering quantity of site visits, particularly in the
24    observed pattern, is possible only with the use of automated tools. Defendants
25    appear to periodically update the information and photographs copied without
26    CoStar’s permission, apparently in high volume batches, further indicating the use
27    of an automated copying or scraping process.
28
                                                13
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 15Page
                                                               of 38385
                                                                      Page
                                                                        of 439
                                                                            ID #:15
                                                                                 Page ID
                                        #:1809



 1          59.    On information and belief, Defendants intentionally sought to conceal
 2    their automated copying or scraping process, employing more than 500 different IP
 3    addresses to access Apartments.com. Such rotation of IP addresses is a known
 4    tactic used by copyright pirates to attempt to circumvent a website’s anti-abuse
 5    monitoring software.
 6          60.    In many, if not all, instances, Defendants modify CoStar’s copyright-
 7    protected photographs before posting them on their network of websites, in hopes
 8    of disguising Defendants’ unlawful use. For instance, the original version of a
 9    CoStar photograph displayed on Apartments.com will include CoStar’s logo in the
10    bottom right corner. CoStar’s investigation has found that in every instance in
11    which a CoStar photograph is displayed on ApartmentHunterz.com, the original
12    CoStar photograph has been cropped or otherwise modified so that CoStar’s logo
13    no longer is visible.
14          61.    The consequent mass infringement of CoStar’s copyrighted
15    photographs and misappropriation of the associated time-sensitive verified listing
16    information enables Defendants to exploit the property and work of others, and
17    thereby allows Defendants to provide listings in numerous markets throughout
18    California and beyond with minimum investment.
19          62.    Defendants use the information they have obtained through mass
20    infringement, including CoStar copyright-protected photographs and CoStar-
21    verified listing information, to create listings on their network of websites that
22    (falsely) suggest they are authorized to solicit prospective tenants for those
23    properties on behalf of the property owners, managers, or other authorized agents.
24          63.    In most cases, the copied listings posted on Defendants’ network of
25    websites include both the CoStar copyright-protected photographs and all the
26    CoStar-verified time-sensitive information available on Apartments.com, e.g.,
27    availability, pricing, apartment size, apartment features, and building amenities.
28
                                                14
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 16Page
                                                               of 38386
                                                                      Page
                                                                        of 439
                                                                            ID #:16
                                                                                 Page ID
                                        #:1810



 1          64.    Defendants’ users (potential renters) may search the listings provided
 2    by Defendants’ network of websites, including the listings created with
 3    information and photographs wrongfully obtained from CoStar. While these basic
 4    searches are free, the majority of Defendants’ websites charge their users a
 5    subscription fee (generally set at $49 per month) to access the property address and
 6    contact information (which includes information impermissibly copied from
 7    CoStar).
 8          65.    Recognizing the time-sensitive value of apartment listings, the
 9    websites controlled and/or owned by Defendants make various claims regarding
10    the accuracy and timeliness of their listings. These statements are made with the
11    intent to induce potential renters to use Defendants’ network of websites instead of
12    using other websites that provide residential real estate rental listings, including
13    Apartments.com.
14          66.    By way of example, ApartmentHunterz.com claims that “our unique,
15    date-sensitive, rental software updates the listings on a daily basis, so that the data
16    you receive from us is the most accurate and up-to-date information available on
17    the Web today.” See <http://www.apartmenthunterz.com/company> (last accessed
18    Dec. 17, 2015) (emphases added). The website further “guarantee[s]” that its
19    “listings are the most complete and come from [sic] most reliable and reputable
20    sources in the Areas [they] cover.” See
21    <http://www.apartmenthunterz.com/help/kbase/tenant/271/4821> (last accessed
22    Dec. 17, 2015).
23          67.    By way of example, 4rentinla.com claims that members receive
24    access to “97,000+ hourly-updated rental listings” and “Real-Time vacancies just
25    entered in real time.” See <http://www.4rentinla.com/> (last accessed Dec. 17,
26    2015) (emphases added).
27          68.    By way of example, featuredrentals.com claims that “[w]e update our
28
                                                15
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 17Page
                                                               of 38387
                                                                      Page
                                                                        of 439
                                                                            ID #:17
                                                                                 Page ID
                                        #:1811



 1    databases constantly so you are always guaranteed of the most up-to-date listings
 2    for the area.” See <http://www.featuredrentals.com/company> (last accessed Dec.
 3    17, 2015) (emphases added).
 4          69.    In this way, Defendants use listings copied from CoStar without its
 5    authorization, including CoStar-copyrighted photographs and CoStar-verified time-
 6    sensitive listing information, to induce its users to pay subscription fees—fees that,
 7    upon information and belief, provide Defendants’ only significant revenue stream.
 8          70.    In short, upon information and belief, Defendants’ business model is
 9    built upon systematically copying and appropriating without permission, and then
10    regurgitating, other people’s data, including CoStar-copyrighted photographs and
11    CoStar-verified time-sensitive listing information, to induce users of their network
12    of websites to pay monthly subscription fees.
13          71.    Defendants’ pattern of cropping of CoStar photographs so that
14    CoStar’s logo no longer is visible underscores the intentional and willful nature of
15    their copyright infringement and demonstrates that Defendants understand their
16    actions are unlawful.
17          72.    Upon information and belief, Defendants’ parasitic business model
18    reflects the fact that adopting a lawful approach—taking and developing their own
19    database of millions of photographs and real-time listing information—would be
20    both cost- and time-prohibitive. Upon information and belief, Defendants have
21    few employees, if any. Working with such limited manpower, the Shayans could
22    not possibly develop the broad informational and photographic database that
23    CoStar and its affiliates have developed and update in real-time based on the labor
24    of thousands of employees and contractors.
25          73.    Upon information and belief, Apartment Hunters’ unlawful scheme is
26    the product of the Shayans’ actions. The Shayans are the owners and/or senior
27    executives of Apartment Hunters, and Apartment Hunters acts through the
28
                                                16
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 18Page
                                                               of 38388
                                                                      Page
                                                                        of 439
                                                                            ID #:18
                                                                                 Page ID
                                        #:1812



 1    Shayans, who engage in the conduct described herein.
 2          74.    Upon information and belief, in addition to infringing CoStar’s
 3    copyrights and misappropriating CoStar’s verified information themselves, the
 4    Shayans personally directed, participated in, exercised control over, and benefited
 5    from the specific misconduct detailed below, and therefore have caused,
 6    contributed to, and/or induced Apartment Hunters’ infringement, misappropriation,
 7    and unfair competition. This includes, but is not limited to, adopting and pursuing
 8    a business plan dependent upon massive copyright infringement, misappropriation
 9    of time-sensitive listing information, and unfair competition.
10    IV.   EXAMPLES OF DEFENDANTS’ INTENTIONAL INFRINGEMENT
11    OF COSTAR’S COPYRIGHTED CONTENT AND MISAPPROPRIATION
12    OF COSTAR’S VERIFIED LISTING INFORMATION
13          75.    Although the full breadth of Defendants’ operation and consequent
14    copyright infringement and misappropriation cannot be known until discovery is
15    completed, CoStar is aware of numerous instances of Defendants unlawfully
16    copying, republishing, distributing, publicly displaying, and appropriating CoStar’s
17    intellectual property without CoStar’s permission.
18          76.    Indeed, Defendants’ network of websites is replete with CoStar-
19    copyrighted content and CoStar-verified time-sensitive listing information. A
20    sample of listings displaying CoStar-verified information and 93 total instances of
21    infringement of CoStar-owned photographs found just on ApartmentHunterz.com
22    over a one week period is attached as Exhibit A.
23          77.    At the time ApartmentHunterz.com displayed each of those listings,
24    CoStar had recently verified the apartments’ time-sensitive rental availability.
25          78.    CoStar owns the exclusive rights in each of the infringed photographs
26    detailed in Exhibit A. Prior to the filing of this suit, CoStar has validly registered,
27    or has submitted a valid application for registration for, each of the photographs
28
                                                 17
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 19Page
                                                               of 38389
                                                                      Page
                                                                        of 439
                                                                            ID #:19
                                                                                 Page ID
                                        #:1813



 1    detailed in Exhibit A with the United States Copyright Office.
 2          79.    Defendants copied, republished, distributed, publicly displayed, and
 3    appropriated on ApartmentHunterz.com without authorization each of the CoStar-
 4    verified listings and copyrighted photographs detailed in Exhibit A.
 5          80.    Upon information and belief, Defendants’ unlawful copying,
 6    republishing, distributing, public display, and appropriation of the CoStar-verified
 7    listings and CoStar photographs began in the months following CoStar’s
 8    previously described “re-launch” of Apartments.com.
 9          81.    On information and belief, a valid registration was obtained or a valid
10    registration application was submitted by CoStar for each photograph detailed in
11    Exhibit A prior to Defendants’ first infringement of the photograph.
12          82.    By themselves, the examples of Defendants’ infringement
13    summarized in Exhibit A establish the breadth of Defendants’ intentional
14    unlawfulness and render Defendants liable for millions of dollars in damages. But
15    the true scope of Defendants’ infringement almost certainly is much broader. The
16    examples in Exhibit A only are a snapshot of Defendants’ infringement, taken from
17    one of Defendants’ network of websites over a limited time period, suggesting they
18    are a mere fraction of Defendants’ actual infringement, both on
19    ApartmentHunterz.com and the other websites owned or operated by Defendants.
20          83.    The sample of Defendants’ misappropriation and infringement
21    contained in Exhibit A evidences Defendants’ systematic efforts to exploit
22    CoStar’s intellectual property. For instance, as of November 13, 2015, the
23    webpage located at <http://www.apartmenthunterz.com/details/149690006>
24    displayed a listing for an apartment at Victoria Village, 6601 Victoria Avenue,
25    Highland, CA 92346 that relied on an Apartments.com listing (and on CoStar’s
26    confirmation that the apartment was available for rent). The “Overview” tab of
27    that webpage displayed CoStar-verified information; the “Photos and Tours” tab of
28
                                               18
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 20Page
                                                               of 38390
                                                                      Page
                                                                        of 439
                                                                            ID #:20
                                                                                 Page ID
                                        #:1814



 1    that webpage displays both thumbnail and full-size versions of five Co-Star
 2    copyrighted photographs, including the below example:
 3                                                 “Photos & Tours” tab, displaying two
      “Overview” tab of listing:                   versions of one of the CoStar photographs:
 4

 5

 6

 7

 8

 9
                                                          Thumbnail
10

11

12

13

14

15

16

17                                                                                    Full-size

18

19

20

21

22

23

24

25

26

27
28
                                              19
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 21Page
                                                               of 38391
                                                                      Page
                                                                        of 439
                                                                            ID #:21
                                                                                 Page ID
                                        #:1815



 1          84.    Upon information and belief, Defendants know they are not
 2    authorized to copy, republish, display, or distribute CoStar’s photographs or time-
 3    sensitive listing information on or via their network of websites.
 4          85.    Defendants’ infringement is willful, intentional, volitional, and of a
 5    purposeful nature. Defendants’ actions demonstrate their willful disregard for
 6    CoStar’s intellectual property. For example, as discussed above, Defendants have
 7    attempted to disguise their systematic high-volume copying of CoStar’s
 8    photographs and information by rotating through more than 500 IP addresses.
 9          86.    Similarly, Defendants have taken steps to disguise the extent of their
10    copyright infringement by systematically modifying CoStar’s copyright-protected
11    photographs before posting them on ApartmentHunterz.com, including by
12    cropping the CoStar photographs so that CoStar’s logo no longer is visible.
13          87.    For example, as of October 27, 2015, the webpage available at the
14    URL <http://www.apartmenthunterz.com/details/148849470> displayed a listing
15    for an apartment at Glenwood Apartments,
16    18325 Vanowen Street, Reseda, CA 91335
17    that included CoStar-verified information
18    and cropped versions of two CoStar-
19    copyrighted photographs. At right is a
20    screen-capture of the webpage, and below
21    is a comparison of (a) a higher-resolution
22    version of one of the cropped photos—
23    with part of the building cut off by the
24    presumably-automated cropping effort—
25    taken from Defendants’ website, and (b)
26    the original copyrighted photo, bearing the
27    CoStar logo, taken from Apartments.com:
28
                                                 20
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 22Page
                                                               of 38392
                                                                      Page
                                                                        of 439
                                                                            ID #:22
                                                                                 Page ID
                                        #:1816



 1    The severely cropped photograph displayed on ApartmentHunterz.com:
 2

 3

 4

 5

 6

 7

 8

 9

10    The original Co-Star copyrighted-photograph, watermarked with the CoStar logo:
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25          88.    In many instances, Defendants apparently not only have cropped the
26    CoStar photographs displayed on ApartmentHunterz.com so that CoStar’s logo is
27    no longer visible, but also have taken a further step to disguise their cropping—
28
                                               21
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 23Page
                                                               of 38393
                                                                      Page
                                                                        of 439
                                                                            ID #:23
                                                                                 Page ID
                                        #:1817



 1    adding a semi-transparent text banner, reading “For rent in [City],” at the bottom of
 2    the photograph. In each case, the banner—though created to look as if merely
 3    superimposed over the bottom of the photograph—is actually an addition to the
 4    bottom of the photograph. These banner additions appear intended to distract
 5    viewers from the fact that the dimensions of the cropped photographs would
 6    otherwise look unnatural.
 7          89.    For example, as of October 27, 2015, the webpage available at the
 8    URL <http://www.apartmenthunterz.com/details/147678002> displayed a listing
 9    for an apartment at 835 W Avenue L, Lancaster, CA 93534 that included CoStar-
10    verified information and two CoStar-copyrighted photographs that had been
11    cropped, then further altered by the addition of a “For rent in Lancaster, CA”
12    banner. Below are two comparisons of (a) the original CoStar-copyrighted
13    photograph, bearing the CoStar logo, taken from Apartments.com, and (b) a screen
14    capture from the ApartmentHunterz.com URL that displayed an altered photo:
15    CoStar Photograph                             ApartmentHunterz Capture
16

17

18

19

20

21

22

23

24

25

26

27
28
                                               22
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 24Page
                                                               of 38394
                                                                      Page
                                                                        of 439
                                                                            ID #:24
                                                                                 Page ID
                                        #:1818



 1    CoStar Photograph                              ApartmentHunterz Capture
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          90.    By taking and publishing CoStar’s content, including CoStar-
16    copyrighted photographs and CoStar-verified listing information, without
17    permission, Defendants’ enterprise strikes at the heart of intellectual property law,
18    and seeks to reap what they have not sown.
19    V.    DEFENDANTS’ HISTORY OF UNLAWFUL OPERATIONS AND
20    DISREGARD FOR INTELLECTUAL PROPERTY RIGHTS FURTHER
21    CONFIRMS DEFENDANTS’ WILLFUL AND VOLITIONAL CONDUCT
22          91.    Defendants’ pattern of unlawful operations and theft of intellectual
23    property over more than a decade—for which they have been sanctioned on at least
24    three separate occasions by the California Bureau of Real Estate (the “Bureau” or
25    the “Department”)3—underscores that Defendants’ conduct is willful and
26    3
    Prior to July 1, 2013, the California Bureau of Real Estate was known as the
27 California Department of Real Estate. For ease of reference, it is referred to as the
28 Bureau herein, except in citations to administrative orders issued when it was still
                                                23
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 25Page
                                                               of 38395
                                                                      Page
                                                                        of 439
                                                                            ID #:25
                                                                                 Page ID
                                        #:1819



 1    volitional, and that the Shayans know their conduct is unlawful. Defendants have
 2    flagrantly and repeatedly violated numerous provisions of the California Real
 3    Estate Law, including by displaying listing information and photographs obtained
 4    from third party real estate websites without authorization.
 5          92.     Indeed, in testimony in hearings before the Bureau arising from their
 6    unlawful conduct, the Shayans admitted to employing the same basic modus
 7    operandi they now employ in infringing upon CoStar’s copyrighted content and
 8    misappropriating its time-sensitive listing information—i.e., copying listing
 9    information, including copyrighted photographs, without permission from
10    legitimate residential rental listing websites and passing that information off as
11    their own in order to induce potential renters to pay subscription fees to
12    Defendants.
13          93.     Defendants’ past conduct, including their litigation and regulatory
14    history, is relevant to the issues of willfulness, damages and injunctive relief.
15    Defendants’ repeated prior disregard for intellectual property rights supports a
16    finding of willfulness in this action, and Defendants’ recidivism is relevant to the
17    determination of damages aimed at deterring future infringement and contractual
18    breaches, and to the issuance of injunctive relief to address the prospect of future
19    misconduct.
20          94.     The Shayans’ experience in Apartment Hunters’ past legal and
21    regulatory issues, as both testifying witnesses and as the registered agent for
22    Apartment Hunters, similarly is relevant both to their knowledge of what conduct
23    is unlawful and to establishing contributory infringement.
24          A.      The Shayans’ Unlicensed Operation of a PrePaid Rental Listing
25                  Service
26          95.     The Bureau, a division of the Department of Consumer Affairs, and
27
28    known as the Department.
                                                24
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 26Page
                                                               of 38396
                                                                      Page
                                                                        of 439
                                                                            ID #:26
                                                                                 Page ID
                                        #:1820



 1    its chief officer, the Real Estate Commissioner (the “Commissioner”), is
 2    responsible for enforcing the California Real Estate Law, Cal. Bus. & Prof. Code
 3    §§ 10000 et seq. (the “Code” or the “Real Estate Law”).
 4          96.    In California, individuals and companies must be licensed by the
 5    Bureau to operate a “Prepaid Rental Listing Service” (“PRLS”)—the “business of
 6    supplying prospective tenants with listings of residential real properties for
 7    tenancy, by publication or otherwise, pursuant to an arrangement under which the
 8    prospective tenants are required to pay an advance or contemporaneous fee (1)
 9    specifically to obtain listings or (2) to purchase any other product or service in
10    order to obtain listings, but which does not otherwise involve the negotiation of
11    rentals by the person conducting the service.” Cal. Bus. & Prof. Code §§ 10167(a),
12    10167.2.
13          97.    According to public records, the Shayans have operated a PRLS in
14    California since at least 2001, under names including “Apartment Hunters,” “4
15    Rent in LA,” “4 Rent in San Francisco” and through websites including
16    www.ApartmentHunterz.com, www.4rentinla.com, and
17    www.rentinsanfrancisco.com. According to public records, neither of the Shayans
18    have ever been licensed by the Bureau in any individual capacity.
19          98.    In October 2005, the Commissioner issued a Desist and Refrain Order
20    to Steven Shayan, finding that he had operated a PRLS without a license in
21    violation of Code § 10167.2 since at least 2001 under multiple business names, and
22    ordering him to desist and refrain from engaging in business as a PRLS,
23    individually or under any fictitious name, unless and until properly licensed under
24    the Code. See Order to Desist and Refrain, Case No. H-32271 LA (Cal. Dept. of
25    Real Est. Oct. 18, 2005) (attached hereto as Exhibit B).
26

27
28
                                                25
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 27Page
                                                               of 38397
                                                                      Page
                                                                        of 439
                                                                            ID #:27
                                                                                 Page ID
                                        #:1821



 1          B.     The Shayans’ Continued Unlicensed Operation of a PrePaid
 2                 Rental Listing Service, and Admitted Posting of Third Parties’
 3                 Real Estate Listings as Their Own
 4          99.    The Bureau’s Desist and Refrain Order evidently had little effect on
 5    the Shayans, as their unlawful activity continued unabated.
 6          100. Although Steven Shayan received the Desist and Refrain Order,
 7    Apartment Hunters continued to solicit members and operate as a PRLS business
 8    under its own name (AHI), as well as under the unlicensed fictitious business
 9    names “4RentlnLA” and “RentlnSanFrancisco.” See Decision After Rejection,
10    Case No. H-36458, at *5 (Cal. Dept. of Real Estate Sept. 29, 2011) (attached
11    hereto as Exhibit C).
12          101. Apartment Hunters eventually was licensed by the Bureau as a PRLS
13    on May 11, 2007, but was not licensed to conduct PRLS business under any other
14    fictitious names. Id. at *6. Nonetheless, Defendants continued to operate as a
15    PRLS under unlicensed fictitious business names, id., including making
16    misleading, deceptive, and/or false representations that websites and/or businesses
17    operating in those fictitious names were licensed by the Bureau, id. at *9–10.
18          102. During this time, the Bureau received a number of complaints
19    regarding Defendants’ activities and websites operated by Defendants. For
20    instance, in 2008, the Bureau received a written complaint from an agent working
21    for Coldwell Banker, a leading real estate broker, that Defendants’ website
22    included a listing for a property indicating it was available for rent, despite the
23    property in fact not having been available for rent—and despite Defendants never
24    having been authorized by the owner or property manager to list the property as
25    available for rent. See id. at *7–8.
26          103. This complaint was revealed to be the tip of the iceberg. A Bureau
27    investigator thereafter determined in 2009 that websites operated by Defendants
28
                                                 26
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 28Page
                                                               of 38398
                                                                      Page
                                                                        of 439
                                                                            ID #:28
                                                                                 Page ID
                                        #:1822



 1    were the subject of roughly three dozen Better Business Bureau complaints in the
 2    prior three years, all relating to their PRLS listing services. See id. at *8–9.
 3          104. Testifying during a hearing before the Bureau’s administrative law
 4    judge, the Shayans admitted that Defendants’ “agents and employees gleaned
 5    rental listings from other rental service listings, such as Craigslist and the national
 6    MLS and posted those listings as their own for a fee.” Id. at *10 (emphases
 7    added).
 8          105. In a Decision issued in September 2011, the Commissioner concluded
 9    that Defendants unlawfully (a) engaged in PRLS business under unregistered
10    fictitious names, including doing so after receipt of the 2005 Desist and Refrain
11    Order, violating Code §§ 10167.2(a), and 10167.3(a); (b) utilized PRLS contracts
12    not approved (and in fact previously rejected) by the Bureau, violating Code
13    § 10167.9; (c) failed to timely confirm the availability of listings, violating Code
14    § 10167.11; and (d) failed to provide timely refunds, violating Code
15    § 10167.10(b)(2). Id. at *11–12.
16          106. Accordingly, pursuant to Code § 10167.12(a)(1), the Commissioner
17    revoked Apartment Hunters’ license to operate a PRLS. Id. at *15. After a motion
18    for reconsideration by Apartment Hunters, the penalty was reduced, and it was
19    granted the right to apply for a “restricted PRLS license” pursuant to Code
20    § 10156.5.
21          C.     Defendants’ Unauthorized Posting of Copyrighted—and
22                 Defendant-Doctored—Real Estate Photographs and Listings
23          107. Defendants remained unaffected by the Board’s sanction. On April
24    11, 2014, the Deputy Commissioner filed a new claim charging Apartment Hunters
25    with violating Code § 10167.11(b) by providing false, misleading, or deceptive
26    advertisements to prospective tenants. Pursuant to Code § 10156.7, Apartment
27    Hunters’ restricted PRLS license was suspended, effective May 8, 2014 (the
28
                                                27
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 29Page
                                                               of 38399
                                                                      Page
                                                                        of 439
                                                                            ID #:29
                                                                                 Page ID
                                        #:1823



 1    “Suspension Order”).
 2          108. The new April 2014 claim was the result of a complaint received by
 3    the Bureau from the co-owner of Hometeam Property Management, who
 4    discovered that Defendants had “without Hometeam’s authorization, used
 5    copyrighted pictures and information about four separate rental properties listed
 6    on Hometeam’s website; and, without written or oral permission, posted said
 7    pictures and information about the properties on different websites including, but
 8    not limited to, Trulia and Zillow. Specifically, Respondents copied photographs of
 9    the four properties displayed on Hometeam’s website, eliminated the ‘Hometeam’
10    watermark inserted on the photographs by cropping and shrinking the borders of
11    the photographs, and placed an ‘ApartmentHunterZ’ watermark on the
12    photographs. The photographs and information from Hometeam’s website
13    concerning the four properties, as well as [Apartment Hunters’] website address,
14    were placed on promotions for the properties found on the other websites.”
15    Proposed Decision, Case No. H-39404 LA, *4 (Cal. Bur. of Real Estate May 27,
16    2015) (the “Proposed Decision”) (emphases added) (attached hereto as Exhibit D).
17          109. In short, Defendants were accused of misconduct that mirrors many of
18    the unlawful actions at issue in this case: copying copyrighted photographs without
19    permission, taking steps to disguise the infringement by doctoring the photographs
20    to replace the watermark, misappropriating the related listing information, and,
21    without authorization, presenting the photographs and related listing information
22    on Defendants’ website in competition with the owners and originators of that
23    content.
24          110. The Administrative Law Judge presiding over the ensuing hearing
25    found Kevin Shayan’s testimony that he had obtained consent to list the four
26    properties “not convincing,” and Shayan admitted that he made no effort to obtain
27    consent from the properties’ owners to promote them on other websites. Id. at *5
28
                                               28
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 30Page
                                                               of 38400
                                                                      Page
                                                                        of 439
                                                                            ID #:30
                                                                                 Page ID
                                        #:1824



 1    (emphasis added).
 2          111. Kevin Shayan also admitted in his testimony that an Apartment
 3    Hunters’ user would receive access to the property address and contact information
 4    for these properties only after paying a monthly subscription fee to Apartment
 5    Hunters, id. at *4—in other words, admitting that the impermissibly copied listings
 6    at issue were used to induce users to pay fees to Apartment Hunters.
 7          112. The Judge concluded that, by the forgoing conduct, Apartment
 8    Hunters violated Code § 1067.11(b)(2) by promoting and advertising four
 9    properties in a false, misleading or deceptive way, and violated Code
10    § 1067.11(b)(4) by not obtaining permission to list the properties by their owner,
11    manager or authorized agent. See Proposed Decision at *8.4
12          113. The Judge also concluded that Apartment Hunters had “ignored” the
13    May 2014 Suspension Order, noting that Kevin Shayan admitted that Apartment
14    Hunters was continuing to engage in PRLS activity through the present. Id. at *7.
15    The Judge thus found that Apartment Hunters had willfully and deliberately
16    violated Code §§ 10167.2 and 10130, noting that “Respondents do not dispute that
17    they engaged in unlicensed activity. They only provided excuses for doing so.
18    However, none of their excuses are valid justification for breaking the law.” Id. at
19    *12 (emphasis added).
20          114. Based on the forgoing, the Judge concluded there was cause to sustain
21    the Suspension Order, a conclusion the Commissioner ultimately adopted (along
22    with the Judge’s entire proposed order). See Decision, Case No. H-39404 LA (Cal.
23    Bur. of Real Estate July 1, 2015) (attached hereto as Exhibit E).
24    4
     The Bureau’s investigation also revealed that Defendants failed to notify the
25 Bureau after abandoning their registered offices; the Judge found Kevin Shayan’s
26 testimony on this topic to be “self-serving, uncorroborated and for those reasons
   not persuasive.” Proposed Decision at *6. Apartment Hunters’ conduct in
27 abandoning its office was found to have violated, among other provisions, Code
28 § 10167.5. Id. at *9.
                                               29
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 31Page
                                                               of 38401
                                                                      Page
                                                                        of 439
                                                                            ID #:31
                                                                                 Page ID
                                        #:1825



 1          115. In justifying his decision, the Judge wrote: “Respondents have been
 2    unapologetic for any of this misconduct. Instead, Respondents present a picture of
 3    a licensee with little regard for the Commissioner and no desire to comply with the
 4    rules and regulations established by the Commissioner. Respondents have
 5    presented no evidence indicating such misconduct will not occur again soon.”
 6    Proposed Decision at *12 (emphasis added).
 7                                        * * * * *
 8          116. Sadly, the Judge’s warning has proved prophetic: Defendants have
 9    continued to operate outside the law, and now wrongly seek to profit from the
10    CoStar-verified time-sensitive listing information and copyrighted photographs
11    that CoStar has obtained at great expense.
12          117. CoStar brings this action to vindicate its rights under federal and state
13    law and stop Defendants’ willful infringement of CoStar’s copyrights, the
14    misappropriation of CoStar’s listing information, and Defendants’ consequent
15    engagement in unfair competition.
16                                  CAUSES OF ACTION
17        COUNT ONE: Direct Copyright Infringement Against All Defendants
18          118. CoStar repeats and realleges each and every allegation set forth above,
19    and incorporates them herein by reference.
20          119. Each of CoStar’s photographs constitutes an original work of
21    authorship and copyrightable subject matter under the laws of the United States.
22          120. CoStar owns or has exclusive rights to all rights, title, and interest in
23    and to the photographs.
24          121. Defendants had and have access to CoStar photographs through the
25    internet or other means.
26          122. Defendants have copied, reproduced, republished, distributed to the
27    public, and/or displayed publicly CoStar-copyrighted photographs—including
28
                                               30
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 32Page
                                                               of 38402
                                                                      Page
                                                                        of 439
                                                                            ID #:32
                                                                                 Page ID
                                        #:1826



 1    without limitation those copyrighted works identified in Exhibit A hereto—without
 2    the consent or authority of CoStar, thereby infringing CoStar’s copyrights.
 3          123. CoStar owns the exclusive rights in each of the photographs detailed
 4    in Exhibit A. Prior to the filing of this suit, CoStar has validly registered, or has
 5    submitted a complete application for registration for, each of the photographs
 6    detailed in Exhibit A with the United States Copyright Office. Defendants copied,
 7    republished, distributed, and publicly displayed on ApartmentHunterz.com without
 8    authorization each of the copyrighted photographs detailed in Exhibit A.
 9          124. Upon information and belief, Defendants’ unlawful copying,
10    republishing, distributing, and public displaying of the CoStar photographs began
11    in the months following the previously described “re-launch” of Apartments.com.
12    On information and belief, a valid registration was obtained or a valid registration
13    application was submitted by CoStar for each photograph detailed in Exhibit A
14    prior to Defendants’ first infringement of the photograph.
15          125. Defendants’ copies, reproductions, republications, distributions, and
16    displays are identical and/or substantially similar to CoStar’s photographs.
17          126. Apartment Hunters is directly liable for these acts of infringement in
18    violation of 17 U.S.C. §§ 106 and 501.
19          127. The Shayans are jointly and severally liable for each act of Apartment
20    Hunters’ direct infringement because, upon information and belief, they personally
21    directed and participated in and benefited from Apartment Hunters’ infringing
22    conduct as alleged above.
23          128. The infringement of CoStar’s rights in each of its copyrighted
24    photographs constitutes a separate and distinct act of infringement.
25          129. Defendants’ acts of infringement have been willful, intentional,
26    purposeful, and in disregard of CoStar’s rights under the Copyright Act.
27    Defendants knew their acts were infringing and intentionally or recklessly
28
                                                 31
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 33Page
                                                               of 38403
                                                                      Page
                                                                        of 439
                                                                            ID #:33
                                                                                 Page ID
                                        #:1827



 1    disregarded the law by their conduct.
 2          130. CoStar did not authorize Defendants’ acts.
 3          131. CoStar believes that additional instances of Defendants’ infringement
 4    of its copyrighted photographs, both on ApartmentHunterz.com and other websites
 5    and domains owned or operated by Defendants, will be revealed during the
 6    discovery process.
 7          132. As a result of Defendants’ willful copyright infringement, CoStar has
 8    been and will continue to be damaged as a direct and proximate result of the
 9    infringing acts set forth above, and Defendants have been unjustly enriched by
10    their unlawful infringement of CoStar’s copyrighted photographs in an amount to
11    be proven at trial.
12          133. Defendants’ conduct also has caused irreparable and incalculable
13    harm and injuries to CoStar and is ongoing. Unless enjoined, Defendants’ conduct
14    will cause further irreparable and incalculable injury, for which CoStar has no
15    adequate remedy at law.
16      COUNT TWO: Contributory Copyright Infringement Against the Shayans
17          134. CoStar repeats and realleges each and every allegation set forth above,
18    and incorporates them herein by reference.
19          135. Apartment Hunters has directly infringed CoStar’s works to which
20    CoStar owns exclusive rights under copyright—including without limitation those
21    copyrighted works identified in Exhibit A hereto—by copying, reproducing,
22    republishing, distributing to the public, and/or displaying publicly CoStar-
23    copyrighted photographs owned by CoStar, without authorization from CoStar, or
24    right under law, in violation of the Copyright Act. The Shayans are liable as
25    secondary infringers under the Copyright Act for each act of direct infringement of
26    CoStar’s works by Apartment Hunters.
27          136. The Shayans are liable under the Copyright Act for the infringing acts
28
                                               32
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 34Page
                                                               of 38404
                                                                      Page
                                                                        of 439
                                                                            ID #:34
                                                                                 Page ID
                                        #:1828



 1    of Apartment Hunters as contributory copyright infringers. The Shayans had
 2    actual and constructive knowledge of Apartment Hunters’ infringement of
 3    CoStar’s copyrighted works. Despite having that knowledge, the Shayans
 4    continued to cause, contribute materially to, and/or induce that infringement as set
 5    forth above. Without the active and material contributions from the Shayans, the
 6    infringement CoStar details above could not have taken place. The Shayans
 7    therefore are contributorily liable for Apartment Hunters’ direct infringement of
 8    CoStar’s copyrighted works in violation of the Copyright Act.
 9          137. The Shayans likewise are liable for the acts of infringement identified
10    above for acting in concert with Apartment Hunters to operate Apartment Hunters’
11    network of websites and for personally directing, participating in, and benefiting
12    from Apartment Hunters’ infringing conduct as alleged herein.
13          138. The Shayans’ acts of contribution to copyright infringement have
14    been willful, intentional, purposeful, and in disregard of CoStar’s rights under the
15    Copyright Act. The Shayans knew that their acts were infringing and intentionally
16    or recklessly disregarded the law by their conduct.
17          139. CoStar did not authorize the Shayans’ acts.
18          140. CoStar believes that additional instances of Defendants’ infringement
19    of its copyrighted photographs will be revealed during the discovery process.
20          141. As a result of the Shayans’ willful contribution to copyright
21    infringement, CoStar has been and will continue to be damaged as a direct and
22    proximate result of the infringing acts set forth above, and the Shayans have been
23    unjustly enriched by their unlawful infringement of CoStar’s copyrighted materials
24    in an amount to be proven at trial.
25          142. The Shayans’ conduct also has caused irreparable and incalculable
26    harm and injuries to CoStar and is ongoing. Unless enjoined, the Shayans’ conduct
27    will cause further irreparable and incalculable injury, for which CoStar has no
28
                                               33
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 35Page
                                                               of 38405
                                                                      Page
                                                                        of 439
                                                                            ID #:35
                                                                                 Page ID
                                        #:1829



 1    adequate remedy at law.
 2              COUNT THREE: Misappropriation Against All Defendants
 3          143. CoStar repeats and realleges each and every allegation set forth above,
 4    and incorporates them herein by reference.
 5          144. CoStar has invested substantial time, labor, skill, and financial
 6    resources into the creation and maintenance of Apartments.com, its computer
 7    systems and servers, including system and server capacity, as well as the content
 8    on the Apartments.com website.
 9          145. The CoStar-verified listings displayed on the Apartments.com website
10    are time-sensitive. The Apartments.com content is updated in real time, an
11    indispensible feature of the website that attracts users to the website and
12    contributes to its value.
13          146. Without authorization, Defendants wrongfully access and appropriate
14    the Apartments.com website, computer systems and servers, and its content
15    without having to make the substantial investment in time, labor, skill, and
16    financial resources made by CoStar. Defendants are in direct competition with
17    CoStar and have made CoStar’s content available to their customers and other third
18    parties. As such, Defendants’ use of CoStar’s computer systems and servers,
19    including system and server capacity, as well as CoStar’s content constitutes free-
20    riding on CoStar’s substantial investment of time, effort, and expense. Defendants
21    are reaping where they have not sown.
22          147. As a result of this misappropriation, Defendants wrongfully compete
23    and/or enable others to compete, with CoStar, and CoStar has been forced to
24    expend additional time and resources, including but not limited to, investigating
25    Defendants’ activities and attempting to prevent such misappropriation by
26    technological means.
27          148. CoStar has been and will continue to be damaged as a result of
28
                                                34
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 36Page
                                                               of 38406
                                                                      Page
                                                                        of 439
                                                                            ID #:36
                                                                                 Page ID
                                        #:1830



 1    Defendants’ misappropriation of CoStar’s valuable information and property. If
 2    permitted to continue, the ability of Defendants and other parties to free-ride on
 3    CoStar’s substantial investment would so reduce its incentive to produce products
 4    or services such as Apartments.com that the existence or quality of these products
 5    or services would be substantially threatened.
 6          149. CoStar has suffered and will continue to suffer irreparable injury, and
 7    its remedy at law is not itself adequate to compensate it for injuries inflicted by
 8    Defendants.
 9        COUNT FOUR: California Unfair Competition Against All Defendants
10          150. CoStar repeats and realleges each and every allegation set forth above,
11    and incorporates them herein by reference.
12          151. By the acts described herein, Defendants have engaged in unlawful
13    business practices by misappropriating CoStar’s property, as set forth in Count
14    Three. These unlawful business practices have injured and will continue to injure
15    CoStar in its business and property, in violation of California Business and
16    Professions Code § 17200, et seq.
17          152. Defendants’ acts alleged herein have caused monetary damages to
18    CoStar in an amount to be proven at trial, and have caused, and will continue to
19    cause, irreparable injury to CoStar, unless and until Defendants are permanently
20    enjoined.
21          153. As a direct and proximate result of Defendants’ conduct alleged
22    herein, Defendants have been unjustly enriched and should be ordered to disgorge
23    any and all profits earned as a result of such unlawful conduct.
24                                  PRAYER FOR RELIEF
25          WHEREFORE, CoStar prays for judgment against all Defendants as
26    follows:
27
28
                                                35
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 37Page
                                                               of 38407
                                                                      Page
                                                                        of 439
                                                                            ID #:37
                                                                                 Page ID
                                        #:1831



 1          A.     For an order pursuant to 17 U.S.C. § 502 permanently enjoining and
 2 restraining Defendants and their officers, agents, servants, and employees and all

 3 those in active concert or participation with them from directly committing, aiding,

 4 encouraging, enabling, inducing, causing, materially contributing to, or otherwise

 5 facilitating the infringements of CoStar’s exclusive rights under the Copyright Act,

 6 or from authorizing any other person to do the same;

 7          B.     For an award pursuant to 17 U.S.C. § 504 of CoStar’s actual damages
 8 and Defendants’ profits or, alternatively at CoStar’s election, for statutory damages

 9 for Defendants’ infringement and willful infringement—including without

10 limitation for the instances of infringement identified in Exhibit A, and other

11 instances of infringement uncovered during discovery—in the maximum amount

12 allowable by law;

13          C.     For a finding that Defendants have willfully infringed CoStar’s
14 federally registered copyrights;

15          D.     For an award of damages from Defendants’ misappropriation of
16 CoStar data and information;

17          E.     For an order permanently enjoining and restraining Defendants and
18 their officers, agents, servants, and employees and all those in active concert or

19 participation with them from directly committing, aiding, encouraging, enabling,

20 inducing, causing, materially contributing to, or otherwise facilitating the

21 misappropriation of CoStar data and information;

22          F.     For an order granting restitution and disgorgement of Defendants’
23 wrongful gains from their unfair competition;

24          G.     For an order permanently enjoining and restraining Defendants and
25 their officers, agents, servants, and employees and all those in active concert or

26 participation with them from directly committing, aiding, encouraging, enabling,

27
28
                                              36
     CaseCase
         8:15-cv-02111-JLS-KES
              8:15-cv-02111 Document
                               Document
                                     1 Filed
                                        47-412/18/15
                                              Filed 12/02/16
                                                       Page 38Page
                                                               of 38408
                                                                      Page
                                                                        of 439
                                                                            ID #:38
                                                                                 Page ID
                                        #:1832



 1 inducing, causing, materially contributing to, or otherwise facilitating Defendants’

 2 unfair competition;

 3           H.    For an award of CoStar’s costs, including its reasonable attorneys’
 4 fees;

 5           I.    For pre-judgment and post-judgment interest according to law;
 6           J.    For such further and additional relief as the Court may deem just and
 7 proper.

 8                            DEMAND FOR A JURY TRIAL
 9                 CoStar demands a trial by jury on all issues properly tried to a jury.
10

11                                           Respectfully submitted,
12

13    Dated: December 18, 2015               CALDWELL LESLIE & PROCTOR, PC
                                                    /s/ Kelly L. Perigoe
14
                                             Kelly L. Perigoe (Cal. Bar No. 268872)
15                                           725 South Figueroa Street, 31st Floor
                                             Los Angeles, CA 90017-5525
16
                                             Telephone: (213) 629-9040
17                                           Facsimile: (213) 629-9022
                                             perigoe@caldwell-leslie.com
18

19                                           WILLIAMS & CONNOLLY LLP
                                             Nicholas J. Boyle (pro hac vice application
20
                                                    forthcoming)
21                                           David K. Baumgarten (pro hac vice
22
                                                    application forthcoming)
                                             Eric J. Hamilton (Cal. Bar No. 296283; C.D.
23                                                  Cal. admission pending)
24
                                             725 Twelfth Street, N.W.
                                             Washington, DC 20005
25                                           (202) 434-5000 (phone)
26
                                             (202) 434-5029 (facsimile)
                                             Attorneys for CoStar Realty
27                                           Information, Inc., and Apartments, LLC
28
                                               37
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 409 of 439 Page ID
                                    #:1833




                        EXHIBIT 7
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 410 of 439 Page ID
                                    #:1834
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 411 of 439 Page ID
                                    #:1835
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 412 of 439 Page ID
                                    #:1836
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 413 of 439 Page ID
                                    #:1837
12/18/2015Case                             Terms of Service | Apartments.com Corporate
                   8:15-cv-02111-JLS-KES Document     47-4 Filed 12/02/16 Page 414 of 439 Page ID
                                                      #:1838
   
  About Us      Management        Careers     Corporate Responsibility    Press Room       Disclaimers     Contact Us


                    Home › Disclaimers › Terms of Service



                    Terms of Service
                    Introduction and Agreement
                    These Terms of Service apply to the services offered by Apartments, LLC (“Apartments.com”) in connection
                    with the Apartments.com and AparmentHomeLiving.com websites and related mobile applications, as well as
                    any publicly available versions that may be offered through a distribution partner (collectively the “Site”). You
                    may have arrived at a version of the Site from a distribution partner’s website, in which case, that partner will
                    be identified at the top of this page. Any individual who visits, views, accesses or uses any version of the Site,
                    including through a bot or other automated means, (“You” or “User”) is bound by these Terms of Service. By
                    using the Site, You represent and warrant that You are at least eighteen (18) years of age and You hereby
                    agree to be bound by all of the following provisions of these Terms of Service, which form a legally binding
                    contract between You and Apartments.com.  You further represent and warrant that You are not a competitor
                    of Apartments.com or any of its affiliates.  If You do not agree to these Terms of Service, You are
                    prohibited from accessing the Site and must immediately discontinue use.


                    By accessing the Site, You consent to the collection and use of certain information, as specified in the Privacy
                    Statement.


                    Apartments.com is an Advertising and Information Service
                    The Site is an online advertising and information service for apartment hunters, dwellers, landlords, and
                    property managers. Apartments.com does not broker, lease, or sublease apartments directly and is not a
                    party to any transaction between landlords (including, as applicable, property management companies and/or
                    property managers) and renters. As a result, Apartments.com does not (a) guarantee or ensure any
                    apartment or any transaction between a renter and landlord, (b) collect or process payment or execute any
                    lease or sublease documentation on behalf of renters or landlords, or (c) broker, lease, or sublease or offer
                    to broker, lease or sublease, or own any apartments. You are strongly encouraged to personally inspect any
                    apartment advertised for rent prior to: signing any lease documentation; providing personal information such
                    as a social security number on a lease application; or wiring or otherwise sending money for any deposit, rent
                    payment or application fee.  By using the Site, you acknowledge that published rents and availabilities are
                    subject to change at the sole discretion of the property owner or manager at any time and without further
                    notice.


                    Site Materials
                    All information and content available on this Site (collectively, “Materials”) is protected by copyright and other
                    intellectual property laws. The Materials are owned by Apartments.com and its affiliates, and/or their
                    respective licensors and suppliers (collectively, “Licensors”). The Materials are intended for personal and
                    noncommercial use only. You may not copy, reproduce, sell, license, publish, distribute, modify, display,
                    perform, re­post or otherwise use any portion of the Materials in any other way or for any other purpose
                    without the prior written consent of Apartments.com.  Requests regarding use of the Materials for any
                    purpose other than personal, noncommercial use should be directed to CoStar Realty Information, Inc., 1331
                    L Street, NW, Washington, DC 20005, attn.: General Counsel.


                    Third­Party Sites
                    During the course of Your visit to the Site, You may be taken to third­party websites to fulfill certain site
                    features and functionality (e.g., if You choose to view community information or check availability of a certain
                    apartment unit). You agree that when visiting third­party websites (e.g., websites not

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                            1/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document         Terms of Service | Apartments.com Corporate
                                                                     47-4 Filed 12/02/16 Page 415 of 439 Page ID
                                                                     #:1839
                    containing “Apartments.com” in the URL) You are subject to the privacy policy and terms of service, if any, of
                    that third­party website, which may differ from those of Apartments.com. By selecting links to such third­party
                    websites, You agree that You will be leaving the Site and that Apartments.com and its affiliates have no
                    responsibility or liability whatsoever in connection with Your use or Your exchange of any information with
                    such third­party websites. Apartments.com and its affiliates do not endorse, sponsor or guarantee these
                    linked websites and are not responsible in any way for any advice, content, information, practices, products
                    or services related to or made available through such linked websites.


                    Copyrights and Copyright Agents
                    It is the policy of Apartments.com to respond to claims of intellectual property infringement. Apartments.com
                    will promptly process and investigate notices of alleged infringement and take appropriate actions under the
                    Digital Millennium Copyright Act, Title 17, United States Code, Section 512(c)(2) (“DMCA”) and other
                    applicable intellectual property laws. Pursuant to the DMCA, notifications of claimed copyright infringement
                    should be sent to a Service Provider’s Designated Agent. Notification must be submitted to the following
                    Designated Agent for this Site:


                    CoStar Realty Information, Inc. 
                    Attn: General Counsel 
                    1331 L Street, NW 
                    Washington, DC 20005 
                    Phone: (202) 346­6500 
                    Fax: (202) 346­6370 
                    copyright@costar.com


                    To be effective, the notification must be a written communication that includes the following:


                      1.  A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive
                         right that is allegedly infringed;

                      2.  Identification of the copyrighted work claimed to have been infringed, or, if multiple copyrighted works
                         at a single online site are covered by a single notification, a representative list of such works at that
                         site;

                      3.  Identification of the material that is claimed to be infringing or to be the subject of infringing activity
                         and that is to be removed or access to which is to be disabled, and information reasonably sufficient
                         to permit the service provider to locate the material;

                      4.  Information reasonably sufficient to permit the service provider to contact the complaining party, such
                          as an address, telephone number and, if available, an electronic mail address at which the
                         complaining party may be contacted;

                      5.  A statement that the complaining party has a good­faith belief that use of the material in the manner
                         complained of is not authorized by the copyright owner, its agent or the law; and

                      6.  A statement that the information in the notification is accurate and, under penalty of perjury, that the
                          complaining party is authorized to act on behalf of the owner of an exclusive right that is allegedly
                         infringed.


                    Trademarks
                    You acknowledge that the Materials includes certain trademarks, service marks, and other indicia of source
                    (together “Marks”) that are owned by Apartments.com, its affiliates, Licensors and others. You agree not to
                    copy, use, infringe or dilute the Marks.  You further agree that You will not alter or remove any Mark, copyright
                    notice or other notice from the Materials or any copy thereof. The “Apartments.com” name and logo are
                    trademarks of Apartments.com. Other product and company names herein may be trademarks of their
                    respective owners.


                    Software
                    All software contained in this Site (“Software”), is owned by Apartments.com, its affiliates and/or Licensors
                    and is protected by copyright and other intellectual property laws, as well as international treaty provisions.

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                           2/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document          Terms of Service | Apartments.com Corporate
                                                                       47-4 Filed 12/02/16 Page 416 of 439 Page ID
                                                                       #:1840
                    Any unauthorized access to, reproduction, redistribution, publication, display or other use of the Software is
                    expressly prohibited by law and may result in severe civil and/or criminal penalties. Violators will be
                    prosecuted to the maximum extent possible. Use of the MapPoint/Virtual Earth Service is also governed by
                    the Microsoft Terms of Use and Privacy Statement located at http://go.microsoft.com/fwlink/?
                    LinkId=21969 andhttp://go.microsoft.com/fwlink/?LinkId=21970.


                    Linking
                    If You operate a website and wish to link to the Site, You must link to the Site’s home page
                    (www.apartments.com/) and/or You may also link to other pages found on the Site given that no manipulation
                    to the canonical URL has occurred specifically, but not limited to, the addition or removal of any unique
                    values, parameters or subfolders needed to render a page on the Site. Apartments.com reserves the right to
                    disavow, reject or terminate any links to the Materials or the Site.


                    User Content
                    By submitting listings, ads, photos, descriptions, data, or other content or materials (“Content”) to the Site,
                    You hereby grant to Apartments.com, its affiliates, and its parent and related companies a royalty­free,
                    perpetual, irrevocable, nonexclusive, fully transferable, fully sublicenseable right and license to copy, modify,
                    display, distribute, perform, create derivative works from, store, and otherwise use and exploit all such
                    Content in any form, media, software or technology of any kind now existing or developed in the future. You
                    further grant to Apartments.com, its affiliates, and its parent and related companies, a royalty­free right and
                    license to use Your name, image and likeness in connection with the reproduction or distribution of the
                    Content.


                    This Site may offer opportunities for Users 18 years of age and older to submit Content that express their
                    opinions and share their ideas, for example in a consumer blogging format (“Opinion Content”). 
                    Apartments.com and its affiliates do not endorse the accuracy or reliability of any Opinion Content.  If You
                    decide to submit Opinion Content, please use Your best judgment and be respectful of other individuals. By
                    posting or submitting Opinion Content, You agree to abide by these Terms of Service. You may not use the
                    Site to engage in any Prohibited Activities (as defined below). Uploading copyrighted or other proprietary
                    material of any kind on the Site without the express permission of the owner of that material is prohibited and
                    may result in civil and/or criminal liability.


                    Apartments.com’s Rights
                    Given the nature of the Site and the volume of messages and postings, except as otherwise provided in these
                    Terms of Service or other applicable terms, Apartments.com cannot and does not monitor all of the Content
                    posted or transmitted by You and other third­party information providers. Apartments.com reserves the right,
                    in its sole discretion, to monitor, refuse to publish, remove, delete, move or edit any Content without notice, at
                    any time for any reason. By using the Site, You expressly agree that Apartments.com (a) will not be liable for
                    any claims, actions or judgments arising out of or related to any Content and (b) may monitor, refuse to
                    publish, remove, delete, move or edit any Content without notice at any time for any reason, without liability
                    and without providing a refund. You further expressly agree that You are solely responsible for any and all
                    Content You submit to the Site.


                    Unsolicited Content
                    Apartments.com does not accept unsolicited content or ideas for use or publication in its programming or in
                    other digital, electronic or print media except in connection with the Forums, chat rooms and bulletin boards
                    on the Site. Apartments.com and its affiliates shall not be responsible for the similarity of any of its content or
                    programming in any media to Content or ideas transmitted to the Site.


                    Representations/Indemnity
                    You hereby represent and warrant that (a) You have all necessary authority, rights and permissions to submit
                    the Content to the Site, (b) the Content does not and will not infringe or misappropriate any copyright,
                    trademark, trade secret, patent or other intellectual property right of any third party, including any rights of

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                             3/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document             Terms of Service | Apartments.com Corporate
                                                                         47-4 Filed 12/02/16 Page 417 of 439 Page ID
                                                                         #:1841
                    privacy or publicity, (c) the Content and Your use of the Site does not and will not violate any applicable
                    federal, state, or local law or regulation including, but not limited to, any fair housing laws or regulations or
                    applicable real estate licensure or brokerage regulations, or cause injury to any person, and (d) the Content
                    is truthful and accurate. You agree to release, defend, indemnify and hold Apartments.com, its affiliates,
                    Licensors, and their respective officers, directors, employees, agents and contractors harmless from and
                    against any and all claims, costs, demands or expenses, including attorneys’ fees, arising from (i) any
                    distribution, publication, refusal to publish, removal, deletion, movement, editing or other use of the Content
                    You provide, (ii) Your use of the Site or any reliance on the Materials, (iii) Your breach of these Terms of
                    Service or (iv) any actual, prospective or terminated sale, lease or other transaction between You and a third
                    party.


                    Prohibited Activities
                    You shall not:


                        submit Content that is patently offensive to the online community, such as content that promotes
                        racism, bigotry, hatred or physical harm of any kind against any group or individual;

                        engage in activity or submit Content that could be harmful to minors;

                        engage in activity or submit Content that harasses or advocates harassment of another person;

                        engage in activity that involves the transmission of “junk mail” or unsolicited mass mailing or “spam” to
                        others;

                        engage in activity, submit Content, or promote information, that is fraudulent, false or misleading or
                        promotes illegal activities or conduct that is abusive, threatening, obscene, defamatory or libelous;

                        submit Content that contains restricted or password­only access pages, or hidden pages or images;

                        submit Content that displays pornographic or sexually explicit material of any kind;

                        submit Content that provides instructional information about illegal activities such as making or buying
                        illegal weapons, violating someone’s privacy, or providing or creating computer viruses;

                        engage in activities or submit Content that solicit passwords or personally identifiable information for
                        unlawful purposes from others;

                        engage in commercial activities and/or sales without our prior written consent, such as contests,
                        sweepstakes, barter, advertising and pyramid schemes;

                        use the Site’s lead forms and/or toll­free numbers to advertise or promote products and services to
                        Apartments.com advertisers or to solicit Apartments.com advertisers in any manner;

                        use any robot, spider or other automatic device, or a manual process, to access, monitor or copy web
                        pages or the Materials contained in the Site or for any other unauthorized purpose;

                        use any device, software or routine to interfere or attempt to interfere with the proper working of the
                        Site;

                        decompile, reverse engineer, disassemble or otherwise attempt to obtain the source code for the
                        Software; or

                        take any action that imposes an unreasonable or disproportionately large load on Apartments.com’s
                        hardware and software infrastructure.


                    Compliance with Fair Housing Laws
                    All Content is subject to federal fair housing laws, which make it illegal to indicate in any advertisement any
                    preference, limitation, or discrimination because of race, color, religion, sex, physical or mental disability,
                    and/or familial status. Your state jurisdiction may also prohibit any preferences based on sexual orientation,
                    marital status, ancestry, source of income, or other criteria. If You have any question about the fair housing
                    laws and housing discrimination in general, please call Your local fair housing agency or the U.S. Department
                    of Housing and Urban Development. For a list of all fair housing groups, go to the Housing Rights Center’s
                    website at www.hud.gov.


                    Add a Listing Terms of Service
http://corporate.apartments.com/disclaimers/terms­of­service/                                                                           4/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document             Terms of Service | Apartments.com Corporate
                                                                          47-4 Filed 12/02/16 Page 418 of 439 Page ID
                                                                         #:1842
                    By listing an eligible property through the Site’s “Add a Listing” service (the “Listing Service”), you
                    acknowledge and agree to the Add a Listing Terms of Service, which are available
                    http://corporate.apartments.com/ad­manager­terms­of­service :


                    Warranty Disclaimer
                    YOU EXPRESSLY AGREE THAT USE OF THE SITE AND RELIANCE ON ITS CONTENT IS AT YOUR OWN
                    RISK. APARTMENTS.COM, ITS AFFILIATES AND THEIR RESPECTIVE THIRD­PARTY LICENSORS DO NOT
                    MAKE ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND REGARDING THE SITE, THE SOFTWARE,
                    THE CONTENT, THE MATERIALS, THE LISTING SERVICE OR THE RESULTS THAT MAY BE OBTAINED
                    FROM USE OF ANY OF THE FOREGOING. THE SITE, THE SOFTWARE, THE CONTENT, THE MATERIALS
                    AND THE LISTING SERVICE ARE PROVIDED ON AN “AS IS, AS AVAILABLE” BASIS, AND
                    APARTMENTS.COM, ITS AFFILIATES, AND THEIR RESPECTIVE THIRD­PARTY LICENSORS SPECIFICALLY
                    DISCLAIM ANY AND ALL EXPRESS OR IMPLIED WARRANTIES INCLUDING, WITHOUT LIMITATION, THE
                    WARRANTIES OF FITNESS FOR A PARTICULAR PURPOSE, WARRANTIES OF MERCHANTABILITY AND
                    WARRANTIES OF NONINFRINGEMENT. APARTMENTS.COM AND ITS AFFILIATES MAKE NO
                    REPRESENTATIONS OR WARRANTIES, EXPRESSED OR IMPLIED, TO ANY ACTUAL OR PROSPECTIVE
                    RENTER OF ANY APARTMENT AS TO THE EXISTENCE, OWNERSHIP OR CONDITION OF THE
                    APARTMENT; AS TO THE ADVERTISED AVAILBILITIES, RENT, LEASE TERMS, SECURITY DEPOSIT, OR
                    APPLICATION FEES, IF ANY; OR AS TO THE ACCURACY OR COMPLETENESS OF ANY INFORMATION
                    ABOUT AN APARTMENT APPEARING ON THE SITE. APARTMENTS.COM DOES NOT  WARRANT THE
                    ACCURACY OR COMPLETENESS OF SUCH INFORMATION. APARTMENTS.COM RESERVES THE RIGHT,
                    IN ITS SOLE DISCRETION, TO CORRECT ANY ERROR OR OMISSION ON THE SITE OR IN THE CONTENT.
                    ALL APARTMENTS ARE SUBJECT TO PRIOR LEASE. ANY AND ALL CONCERNS, DIFFERENCES OR
                    DISCREPANCIES REGARDING AN APARTMENT MUST BE ADDRESSED WITH THE LANDLORD AND/OR
                    PROPERTY MANAGEMENT COMPANY PRIOR TO LEASING OF THE APARTMENT. APARTMENTS.COM
                    DOES NOT MAKE AND EXPRESSLY DISCLAIMS ANY REPRESENTATIONS, WARRANTIES OR
                    GUARANTEES TO YOU REGARDING THE LISTING SERVICE INCLUDING, WITHOUT LIMITATION, ANY
                    REPRESENTATIONS, WARRANTIES OR GUARANTEES THAT YOU WILL LEASE YOUR APARTMENT,
                    OBTAIN AN ACCEPTABLE RENT FOR YOUR APARTMENT, ONLY RECEIVE LEGITIMATE INQUIRIES OR
                    SOLICITATIONS FROM QUALIFIED RENTERS, OR RECEIVE ANY INQUIRIES REGARDING YOUR
                    APARTMENT FOR RENT. FOR PURPOSES OF THIS WARRANTY DISCLAIMER, “THIRD­PARTY LICENSOR”
                    DOES NOT INCLUDE YOU. Some states do not allow the disclaimer of implied warranties, so the foregoing
                    disclaimer may not apply to You.


                    Limitation of Liability
                    APARTMENTS.COM, ITS AFFILIATES, AND THEIR RESPECTIVE OWNERS, EMPLOYEES, AGENTS,
                    CONTRACTORS AND THIRD­PARTY LICENSORS SHALL IN NO EVENT BE LIABLE FOR ANY DAMAGES OR
                    LOSSES INCLUDING, WITHOUT LIMITATION, DIRECT, INDIRECT, CONSEQUENTIAL, SPECIAL,
                    INCIDENTAL OR PUNITIVE DAMAGES, RESULTING FROM OR CAUSED BY THE SITE, THE SOFTWARE,
                    CONTENT, THE MATERIALS, THE LISTING SERVICE, THESE TERMS OF SERVICE OR OTHERWISE (THE
                    “SERVICE”), INCLUDING, WITHOUT LIMITATION, DAMAGES RESULTING FROM NEGLIGENCE. IN NO
                    EVENT WILL THE AGGREGATE MAXIMUM LIABILITY OF APARTMENTS.COM, ITS AFFILIATES, AND THEIR
                    RESPECTIVE OWNERS, EMPLOYEES, AGENTS, CONTRACTORS AND THIRD­PARTY LICENSORS FOR
                    ANY CLAIM ARISING OUT OF OR IN CONNECTION WITH YOUR USE OF THE SERVICE EXCEED THE
                    TOTAL AMOUNT OF FEES ACTUALLY PAID BY YOU TO APARTMENTS.COM. THE NEGATION OF
                    DAMAGES SET FORTH ABOVE IS A FUNDAMENTAL ELEMENT OF THE BASIS OF THE BARGAIN
                    BETWEEN APARTMENTS.COM AND YOU.  THE SERVICE WOULD NOT BE PROVIDED TO YOU WITHOUT
                    SUCH LIMITATIONS.  NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU
                    FROM APARTMENTS.COM CREATES ANY WARRANTY, REPRESENTATION AND/OR GUARANTEE NOT
                    EXPRESSLY STATED IN THIS AGREEMENT.   FOR PURPOSES OF THIS LIMITATION OF LIABILITY,
                    “THIRD­PARTY LICENSOR” DOES NOT INCLUDE YOU. Some states do not allow the exclusion or limitation
                    of incidental or consequential damages of implied warranties, so the above exclusion or limitation may not
                    apply to You.


                    Termination of Service
http://corporate.apartments.com/disclaimers/terms­of­service/                                                                    5/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document         Terms of Service | Apartments.com Corporate
                                                                     47-4 Filed 12/02/16 Page 419 of 439 Page ID
                                                                     #:1843
                    You understand and agree that in Apartments.coms sole discretion, and without prior notice, Your access to
                    this Site may be terminated or suspended, and Apartments.com may exercise any other remedy available
                    and remove any Content, if it believes that Your use of the Site and/or any Content You provide (a) violate (i)
                    these Terms of Service, (ii) the rights of Apartments.com, its affiliates, a Licensor, or another User, or (iii) any
                    law or regulation, or are otherwise objectionable or inappropriate or (b) constitute fraudulent activity of any
                    nature. You agree that monetary damages may not provide a sufficient remedy to Apartments.com for
                    violations of these Terms of Service, and You consent to injunctive or other equitable relief for such violations
                    without the requirement that Apartments.com post a bond. Apartments.com is not required to provide any
                    refund to You if Your use is terminated as a result of Apartments.com determination, in its sole discretion, that
                    You have violated these Terms of Service.


                    Miscellaneous
                    These Terms of Service may be changed at any time and You will be notified of any such changes by an
                    updated posting of the new Terms of Service on this page of the Site. Your continued use of the Site after the
                    posting of any amended Terms of Service shall constitute Your agreement to be bound by any such changes.
                    Apartments.com may modify, suspend, discontinue or restrict the use of any portion of the Site without notice
                    or liability. These Terms of Service will be governed by and construed in accordance with the laws of the State
                    of Illinois without regard to its conflicts of law provisions. You hereby agree that any cause of action You may
                    have with respect to the Site must be exclusively filed in the federal or state courts located in Cook County,
                    Illinois, within one (1) year after the cause of action arises or the cause is barred. You hereby consent to
                    personal jurisdiction in the federal and state courts in Cook County, Illinois, and waive any objection based on
                    forum non conveniens. As a condition of using this Site, You agree that all causes of action arising out of or
                    connected with this Site shall be resolved individually, without resort to any form of class action. If for any
                    reason a court of competent jurisdiction finds any provision of these Terms of Service, or portion thereof, to
                    be unenforceable, that provision of these Terms of Service will be enforced to the maximum extent
                    permissible so as to affect the intent of the parties, and the remainder of these Terms of Service will continue
                    in full force and effect. Failure by Apartments.com to enforce any provision of this Terms of Service will not be
                    deemed a waiver of future enforcement of that or any other provision of these Terms of Service. These Terms
                    of Service and any other terms and conditions or policies applying to Your use of the Site, constitute the
                    entire agreement between the parties regarding the subject matter hereof. Nothing contained herein shall be
                    construed as creating a partnership, joint venture or agency relationship or granting a franchise between the
                    parties. Notwithstanding anything to the contrary herein, if you and Apartments.com have entered into a
                    separate written Apartments.com advertising contract, the terms and conditions of such contract shall control
                    with respect to any term that is inconsistent with these Terms of Service.  IF YOU DO NOT AGREE TO THE
                    TERMS STATED ABOVE OR TO ANY CHANGES TO THESE TERMS OF SERVICE, PLEASE EXIT THE
                    SERVICE IMMEDIATELY.


                    ©2015 Apartments, LLC, 1331 L Street, NW, Washington, DC 20005. 
                    Last updated: March 30, 2015




   Advertisers                                                                                                                             b
   The Marketplace                                                                                                                         b
   Neighborhoods                                                                                                                           b
   Top Cities                                                                                                                              b
   About Us                                                                                                                                b



http://corporate.apartments.com/disclaimers/terms­of­service/                                                                                  6/7
12/18/2015Case                             Terms of Service | Apartments.com Corporate
                   8:15-cv-02111-JLS-KES Document     47-4 Filed 12/02/16 Page 420 of 439 Page ID
                                                      #:1844
                                             © 2015 CoStar    Group, Inc.


                                                                  
                                                                 Equal Housing Opportunity




http://corporate.apartments.com/disclaimers/terms­of­service/                                       7/7
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 421 of 439 Page ID
                                    #:1845




                        EXHIBIT 8
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 422 of 439 Page ID
                                    #:1846
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 423 of 439 Page ID
                                    #:1847
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 424 of 439 Page ID
                                    #:1848
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 425 of 439 Page ID
                                    #:1849
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 426 of 439 Page ID
                                    #:1850
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 427 of 439 Page ID
                                    #:1851
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 428 of 439 Page ID
                                    #:1852
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 429 of 439 Page ID
                                    #:1853
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 430 of 439 Page ID
                                    #:1854
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 431 of 439 Page ID
                                    #:1855
Case 8:15-cv-02111-JLS-KES Document 47-4 Filed 12/02/16 Page 432 of 439 Page ID
                                    #:1856
12/18/2015Case                             Terms of Service | Apartments.com Corporate
                   8:15-cv-02111-JLS-KES Document     47-4 Filed 12/02/16 Page 433 of 439 Page ID
                                                      #:1857
   
  About Us      Management        Careers     Corporate Responsibility    Press Room       Disclaimers     Contact Us


                    Home › Disclaimers › Terms of Service



                    Terms of Service
                    Introduction and Agreement
                    These Terms of Service apply to the services offered by Apartments, LLC (“Apartments.com”) in connection
                    with the Apartments.com and AparmentHomeLiving.com websites and related mobile applications, as well as
                    any publicly available versions that may be offered through a distribution partner (collectively the “Site”). You
                    may have arrived at a version of the Site from a distribution partner’s website, in which case, that partner will
                    be identified at the top of this page. Any individual who visits, views, accesses or uses any version of the Site,
                    including through a bot or other automated means, (“You” or “User”) is bound by these Terms of Service. By
                    using the Site, You represent and warrant that You are at least eighteen (18) years of age and You hereby
                    agree to be bound by all of the following provisions of these Terms of Service, which form a legally binding
                    contract between You and Apartments.com.  You further represent and warrant that You are not a competitor
                    of Apartments.com or any of its affiliates.  If You do not agree to these Terms of Service, You are
                    prohibited from accessing the Site and must immediately discontinue use.


                    By accessing the Site, You consent to the collection and use of certain information, as specified in the Privacy
                    Statement.


                    Apartments.com is an Advertising and Information Service
                    The Site is an online advertising and information service for apartment hunters, dwellers, landlords, and
                    property managers. Apartments.com does not broker, lease, or sublease apartments directly and is not a
                    party to any transaction between landlords (including, as applicable, property management companies and/or
                    property managers) and renters. As a result, Apartments.com does not (a) guarantee or ensure any
                    apartment or any transaction between a renter and landlord, (b) collect or process payment or execute any
                    lease or sublease documentation on behalf of renters or landlords, or (c) broker, lease, or sublease or offer
                    to broker, lease or sublease, or own any apartments. You are strongly encouraged to personally inspect any
                    apartment advertised for rent prior to: signing any lease documentation; providing personal information such
                    as a social security number on a lease application; or wiring or otherwise sending money for any deposit, rent
                    payment or application fee.  By using the Site, you acknowledge that published rents and availabilities are
                    subject to change at the sole discretion of the property owner or manager at any time and without further
                    notice.


                    Site Materials
                    All information and content available on this Site (collectively, “Materials”) is protected by copyright and other
                    intellectual property laws. The Materials are owned by Apartments.com and its affiliates, and/or their
                    respective licensors and suppliers (collectively, “Licensors”). The Materials are intended for personal and
                    noncommercial use only. You may not copy, reproduce, sell, license, publish, distribute, modify, display,
                    perform, re­post or otherwise use any portion of the Materials in any other way or for any other purpose
                    without the prior written consent of Apartments.com.  Requests regarding use of the Materials for any
                    purpose other than personal, noncommercial use should be directed to CoStar Realty Information, Inc., 1331
                    L Street, NW, Washington, DC 20005, attn.: General Counsel.


                    Third­Party Sites
                    During the course of Your visit to the Site, You may be taken to third­party websites to fulfill certain site
                    features and functionality (e.g., if You choose to view community information or check availability of a certain
                    apartment unit). You agree that when visiting third­party websites (e.g., websites not

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                            1/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document         Terms of Service | Apartments.com Corporate
                                                                     47-4 Filed 12/02/16 Page 434 of 439 Page ID
                                                                     #:1858
                    containing “Apartments.com” in the URL) You are subject to the privacy policy and terms of service, if any, of
                    that third­party website, which may differ from those of Apartments.com. By selecting links to such third­party
                    websites, You agree that You will be leaving the Site and that Apartments.com and its affiliates have no
                    responsibility or liability whatsoever in connection with Your use or Your exchange of any information with
                    such third­party websites. Apartments.com and its affiliates do not endorse, sponsor or guarantee these
                    linked websites and are not responsible in any way for any advice, content, information, practices, products
                    or services related to or made available through such linked websites.


                    Copyrights and Copyright Agents
                    It is the policy of Apartments.com to respond to claims of intellectual property infringement. Apartments.com
                    will promptly process and investigate notices of alleged infringement and take appropriate actions under the
                    Digital Millennium Copyright Act, Title 17, United States Code, Section 512(c)(2) (“DMCA”) and other
                    applicable intellectual property laws. Pursuant to the DMCA, notifications of claimed copyright infringement
                    should be sent to a Service Provider’s Designated Agent. Notification must be submitted to the following
                    Designated Agent for this Site:


                    CoStar Realty Information, Inc. 
                    Attn: General Counsel 
                    1331 L Street, NW 
                    Washington, DC 20005 
                    Phone: (202) 346­6500 
                    Fax: (202) 346­6370 
                    copyright@costar.com


                    To be effective, the notification must be a written communication that includes the following:


                      1.  A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive
                         right that is allegedly infringed;

                      2.  Identification of the copyrighted work claimed to have been infringed, or, if multiple copyrighted works
                         at a single online site are covered by a single notification, a representative list of such works at that
                         site;

                      3.  Identification of the material that is claimed to be infringing or to be the subject of infringing activity
                         and that is to be removed or access to which is to be disabled, and information reasonably sufficient
                         to permit the service provider to locate the material;

                      4.  Information reasonably sufficient to permit the service provider to contact the complaining party, such
                          as an address, telephone number and, if available, an electronic mail address at which the
                         complaining party may be contacted;

                      5.  A statement that the complaining party has a good­faith belief that use of the material in the manner
                         complained of is not authorized by the copyright owner, its agent or the law; and

                      6.  A statement that the information in the notification is accurate and, under penalty of perjury, that the
                          complaining party is authorized to act on behalf of the owner of an exclusive right that is allegedly
                         infringed.


                    Trademarks
                    You acknowledge that the Materials includes certain trademarks, service marks, and other indicia of source
                    (together “Marks”) that are owned by Apartments.com, its affiliates, Licensors and others. You agree not to
                    copy, use, infringe or dilute the Marks.  You further agree that You will not alter or remove any Mark, copyright
                    notice or other notice from the Materials or any copy thereof. The “Apartments.com” name and logo are
                    trademarks of Apartments.com. Other product and company names herein may be trademarks of their
                    respective owners.


                    Software
                    All software contained in this Site (“Software”), is owned by Apartments.com, its affiliates and/or Licensors
                    and is protected by copyright and other intellectual property laws, as well as international treaty provisions.

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                           2/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document          Terms of Service | Apartments.com Corporate
                                                                       47-4 Filed 12/02/16 Page 435 of 439 Page ID
                                                                       #:1859
                    Any unauthorized access to, reproduction, redistribution, publication, display or other use of the Software is
                    expressly prohibited by law and may result in severe civil and/or criminal penalties. Violators will be
                    prosecuted to the maximum extent possible. Use of the MapPoint/Virtual Earth Service is also governed by
                    the Microsoft Terms of Use and Privacy Statement located at http://go.microsoft.com/fwlink/?
                    LinkId=21969 andhttp://go.microsoft.com/fwlink/?LinkId=21970.


                    Linking
                    If You operate a website and wish to link to the Site, You must link to the Site’s home page
                    (www.apartments.com/) and/or You may also link to other pages found on the Site given that no manipulation
                    to the canonical URL has occurred specifically, but not limited to, the addition or removal of any unique
                    values, parameters or subfolders needed to render a page on the Site. Apartments.com reserves the right to
                    disavow, reject or terminate any links to the Materials or the Site.


                    User Content
                    By submitting listings, ads, photos, descriptions, data, or other content or materials (“Content”) to the Site,
                    You hereby grant to Apartments.com, its affiliates, and its parent and related companies a royalty­free,
                    perpetual, irrevocable, nonexclusive, fully transferable, fully sublicenseable right and license to copy, modify,
                    display, distribute, perform, create derivative works from, store, and otherwise use and exploit all such
                    Content in any form, media, software or technology of any kind now existing or developed in the future. You
                    further grant to Apartments.com, its affiliates, and its parent and related companies, a royalty­free right and
                    license to use Your name, image and likeness in connection with the reproduction or distribution of the
                    Content.


                    This Site may offer opportunities for Users 18 years of age and older to submit Content that express their
                    opinions and share their ideas, for example in a consumer blogging format (“Opinion Content”). 
                    Apartments.com and its affiliates do not endorse the accuracy or reliability of any Opinion Content.  If You
                    decide to submit Opinion Content, please use Your best judgment and be respectful of other individuals. By
                    posting or submitting Opinion Content, You agree to abide by these Terms of Service. You may not use the
                    Site to engage in any Prohibited Activities (as defined below). Uploading copyrighted or other proprietary
                    material of any kind on the Site without the express permission of the owner of that material is prohibited and
                    may result in civil and/or criminal liability.


                    Apartments.com’s Rights
                    Given the nature of the Site and the volume of messages and postings, except as otherwise provided in these
                    Terms of Service or other applicable terms, Apartments.com cannot and does not monitor all of the Content
                    posted or transmitted by You and other third­party information providers. Apartments.com reserves the right,
                    in its sole discretion, to monitor, refuse to publish, remove, delete, move or edit any Content without notice, at
                    any time for any reason. By using the Site, You expressly agree that Apartments.com (a) will not be liable for
                    any claims, actions or judgments arising out of or related to any Content and (b) may monitor, refuse to
                    publish, remove, delete, move or edit any Content without notice at any time for any reason, without liability
                    and without providing a refund. You further expressly agree that You are solely responsible for any and all
                    Content You submit to the Site.


                    Unsolicited Content
                    Apartments.com does not accept unsolicited content or ideas for use or publication in its programming or in
                    other digital, electronic or print media except in connection with the Forums, chat rooms and bulletin boards
                    on the Site. Apartments.com and its affiliates shall not be responsible for the similarity of any of its content or
                    programming in any media to Content or ideas transmitted to the Site.


                    Representations/Indemnity
                    You hereby represent and warrant that (a) You have all necessary authority, rights and permissions to submit
                    the Content to the Site, (b) the Content does not and will not infringe or misappropriate any copyright,
                    trademark, trade secret, patent or other intellectual property right of any third party, including any rights of

http://corporate.apartments.com/disclaimers/terms­of­service/                                                                             3/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document             Terms of Service | Apartments.com Corporate
                                                                         47-4 Filed 12/02/16 Page 436 of 439 Page ID
                                                                         #:1860
                    privacy or publicity, (c) the Content and Your use of the Site does not and will not violate any applicable
                    federal, state, or local law or regulation including, but not limited to, any fair housing laws or regulations or
                    applicable real estate licensure or brokerage regulations, or cause injury to any person, and (d) the Content
                    is truthful and accurate. You agree to release, defend, indemnify and hold Apartments.com, its affiliates,
                    Licensors, and their respective officers, directors, employees, agents and contractors harmless from and
                    against any and all claims, costs, demands or expenses, including attorneys’ fees, arising from (i) any
                    distribution, publication, refusal to publish, removal, deletion, movement, editing or other use of the Content
                    You provide, (ii) Your use of the Site or any reliance on the Materials, (iii) Your breach of these Terms of
                    Service or (iv) any actual, prospective or terminated sale, lease or other transaction between You and a third
                    party.


                    Prohibited Activities
                    You shall not:


                        submit Content that is patently offensive to the online community, such as content that promotes
                        racism, bigotry, hatred or physical harm of any kind against any group or individual;

                        engage in activity or submit Content that could be harmful to minors;

                        engage in activity or submit Content that harasses or advocates harassment of another person;

                        engage in activity that involves the transmission of “junk mail” or unsolicited mass mailing or “spam” to
                        others;

                        engage in activity, submit Content, or promote information, that is fraudulent, false or misleading or
                        promotes illegal activities or conduct that is abusive, threatening, obscene, defamatory or libelous;

                        submit Content that contains restricted or password­only access pages, or hidden pages or images;

                        submit Content that displays pornographic or sexually explicit material of any kind;

                        submit Content that provides instructional information about illegal activities such as making or buying
                        illegal weapons, violating someone’s privacy, or providing or creating computer viruses;

                        engage in activities or submit Content that solicit passwords or personally identifiable information for
                        unlawful purposes from others;

                        engage in commercial activities and/or sales without our prior written consent, such as contests,
                        sweepstakes, barter, advertising and pyramid schemes;

                        use the Site’s lead forms and/or toll­free numbers to advertise or promote products and services to
                        Apartments.com advertisers or to solicit Apartments.com advertisers in any manner;

                        use any robot, spider or other automatic device, or a manual process, to access, monitor or copy web
                        pages or the Materials contained in the Site or for any other unauthorized purpose;

                        use any device, software or routine to interfere or attempt to interfere with the proper working of the
                        Site;

                        decompile, reverse engineer, disassemble or otherwise attempt to obtain the source code for the
                        Software; or

                        take any action that imposes an unreasonable or disproportionately large load on Apartments.com’s
                        hardware and software infrastructure.


                    Compliance with Fair Housing Laws
                    All Content is subject to federal fair housing laws, which make it illegal to indicate in any advertisement any
                    preference, limitation, or discrimination because of race, color, religion, sex, physical or mental disability,
                    and/or familial status. Your state jurisdiction may also prohibit any preferences based on sexual orientation,
                    marital status, ancestry, source of income, or other criteria. If You have any question about the fair housing
                    laws and housing discrimination in general, please call Your local fair housing agency or the U.S. Department
                    of Housing and Urban Development. For a list of all fair housing groups, go to the Housing Rights Center’s
                    website at www.hud.gov.


                    Add a Listing Terms of Service
http://corporate.apartments.com/disclaimers/terms­of­service/                                                                           4/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document             Terms of Service | Apartments.com Corporate
                                                                          47-4 Filed 12/02/16 Page 437 of 439 Page ID
                                                                         #:1861
                    By listing an eligible property through the Site’s “Add a Listing” service (the “Listing Service”), you
                    acknowledge and agree to the Add a Listing Terms of Service, which are available
                    http://corporate.apartments.com/ad­manager­terms­of­service :


                    Warranty Disclaimer
                    YOU EXPRESSLY AGREE THAT USE OF THE SITE AND RELIANCE ON ITS CONTENT IS AT YOUR OWN
                    RISK. APARTMENTS.COM, ITS AFFILIATES AND THEIR RESPECTIVE THIRD­PARTY LICENSORS DO NOT
                    MAKE ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND REGARDING THE SITE, THE SOFTWARE,
                    THE CONTENT, THE MATERIALS, THE LISTING SERVICE OR THE RESULTS THAT MAY BE OBTAINED
                    FROM USE OF ANY OF THE FOREGOING. THE SITE, THE SOFTWARE, THE CONTENT, THE MATERIALS
                    AND THE LISTING SERVICE ARE PROVIDED ON AN “AS IS, AS AVAILABLE” BASIS, AND
                    APARTMENTS.COM, ITS AFFILIATES, AND THEIR RESPECTIVE THIRD­PARTY LICENSORS SPECIFICALLY
                    DISCLAIM ANY AND ALL EXPRESS OR IMPLIED WARRANTIES INCLUDING, WITHOUT LIMITATION, THE
                    WARRANTIES OF FITNESS FOR A PARTICULAR PURPOSE, WARRANTIES OF MERCHANTABILITY AND
                    WARRANTIES OF NONINFRINGEMENT. APARTMENTS.COM AND ITS AFFILIATES MAKE NO
                    REPRESENTATIONS OR WARRANTIES, EXPRESSED OR IMPLIED, TO ANY ACTUAL OR PROSPECTIVE
                    RENTER OF ANY APARTMENT AS TO THE EXISTENCE, OWNERSHIP OR CONDITION OF THE
                    APARTMENT; AS TO THE ADVERTISED AVAILBILITIES, RENT, LEASE TERMS, SECURITY DEPOSIT, OR
                    APPLICATION FEES, IF ANY; OR AS TO THE ACCURACY OR COMPLETENESS OF ANY INFORMATION
                    ABOUT AN APARTMENT APPEARING ON THE SITE. APARTMENTS.COM DOES NOT  WARRANT THE
                    ACCURACY OR COMPLETENESS OF SUCH INFORMATION. APARTMENTS.COM RESERVES THE RIGHT,
                    IN ITS SOLE DISCRETION, TO CORRECT ANY ERROR OR OMISSION ON THE SITE OR IN THE CONTENT.
                    ALL APARTMENTS ARE SUBJECT TO PRIOR LEASE. ANY AND ALL CONCERNS, DIFFERENCES OR
                    DISCREPANCIES REGARDING AN APARTMENT MUST BE ADDRESSED WITH THE LANDLORD AND/OR
                    PROPERTY MANAGEMENT COMPANY PRIOR TO LEASING OF THE APARTMENT. APARTMENTS.COM
                    DOES NOT MAKE AND EXPRESSLY DISCLAIMS ANY REPRESENTATIONS, WARRANTIES OR
                    GUARANTEES TO YOU REGARDING THE LISTING SERVICE INCLUDING, WITHOUT LIMITATION, ANY
                    REPRESENTATIONS, WARRANTIES OR GUARANTEES THAT YOU WILL LEASE YOUR APARTMENT,
                    OBTAIN AN ACCEPTABLE RENT FOR YOUR APARTMENT, ONLY RECEIVE LEGITIMATE INQUIRIES OR
                    SOLICITATIONS FROM QUALIFIED RENTERS, OR RECEIVE ANY INQUIRIES REGARDING YOUR
                    APARTMENT FOR RENT. FOR PURPOSES OF THIS WARRANTY DISCLAIMER, “THIRD­PARTY LICENSOR”
                    DOES NOT INCLUDE YOU. Some states do not allow the disclaimer of implied warranties, so the foregoing
                    disclaimer may not apply to You.


                    Limitation of Liability
                    APARTMENTS.COM, ITS AFFILIATES, AND THEIR RESPECTIVE OWNERS, EMPLOYEES, AGENTS,
                    CONTRACTORS AND THIRD­PARTY LICENSORS SHALL IN NO EVENT BE LIABLE FOR ANY DAMAGES OR
                    LOSSES INCLUDING, WITHOUT LIMITATION, DIRECT, INDIRECT, CONSEQUENTIAL, SPECIAL,
                    INCIDENTAL OR PUNITIVE DAMAGES, RESULTING FROM OR CAUSED BY THE SITE, THE SOFTWARE,
                    CONTENT, THE MATERIALS, THE LISTING SERVICE, THESE TERMS OF SERVICE OR OTHERWISE (THE
                    “SERVICE”), INCLUDING, WITHOUT LIMITATION, DAMAGES RESULTING FROM NEGLIGENCE. IN NO
                    EVENT WILL THE AGGREGATE MAXIMUM LIABILITY OF APARTMENTS.COM, ITS AFFILIATES, AND THEIR
                    RESPECTIVE OWNERS, EMPLOYEES, AGENTS, CONTRACTORS AND THIRD­PARTY LICENSORS FOR
                    ANY CLAIM ARISING OUT OF OR IN CONNECTION WITH YOUR USE OF THE SERVICE EXCEED THE
                    TOTAL AMOUNT OF FEES ACTUALLY PAID BY YOU TO APARTMENTS.COM. THE NEGATION OF
                    DAMAGES SET FORTH ABOVE IS A FUNDAMENTAL ELEMENT OF THE BASIS OF THE BARGAIN
                    BETWEEN APARTMENTS.COM AND YOU.  THE SERVICE WOULD NOT BE PROVIDED TO YOU WITHOUT
                    SUCH LIMITATIONS.  NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU
                    FROM APARTMENTS.COM CREATES ANY WARRANTY, REPRESENTATION AND/OR GUARANTEE NOT
                    EXPRESSLY STATED IN THIS AGREEMENT.   FOR PURPOSES OF THIS LIMITATION OF LIABILITY,
                    “THIRD­PARTY LICENSOR” DOES NOT INCLUDE YOU. Some states do not allow the exclusion or limitation
                    of incidental or consequential damages of implied warranties, so the above exclusion or limitation may not
                    apply to You.


                    Termination of Service
http://corporate.apartments.com/disclaimers/terms­of­service/                                                                    5/7
12/18/2015Case     8:15-cv-02111-JLS-KES Document         Terms of Service | Apartments.com Corporate
                                                                     47-4 Filed 12/02/16 Page 438 of 439 Page ID
                                                                     #:1862
                    You understand and agree that in Apartments.coms sole discretion, and without prior notice, Your access to
                    this Site may be terminated or suspended, and Apartments.com may exercise any other remedy available
                    and remove any Content, if it believes that Your use of the Site and/or any Content You provide (a) violate (i)
                    these Terms of Service, (ii) the rights of Apartments.com, its affiliates, a Licensor, or another User, or (iii) any
                    law or regulation, or are otherwise objectionable or inappropriate or (b) constitute fraudulent activity of any
                    nature. You agree that monetary damages may not provide a sufficient remedy to Apartments.com for
                    violations of these Terms of Service, and You consent to injunctive or other equitable relief for such violations
                    without the requirement that Apartments.com post a bond. Apartments.com is not required to provide any
                    refund to You if Your use is terminated as a result of Apartments.com determination, in its sole discretion, that
                    You have violated these Terms of Service.


                    Miscellaneous
                    These Terms of Service may be changed at any time and You will be notified of any such changes by an
                    updated posting of the new Terms of Service on this page of the Site. Your continued use of the Site after the
                    posting of any amended Terms of Service shall constitute Your agreement to be bound by any such changes.
                    Apartments.com may modify, suspend, discontinue or restrict the use of any portion of the Site without notice
                    or liability. These Terms of Service will be governed by and construed in accordance with the laws of the State
                    of Illinois without regard to its conflicts of law provisions. You hereby agree that any cause of action You may
                    have with respect to the Site must be exclusively filed in the federal or state courts located in Cook County,
                    Illinois, within one (1) year after the cause of action arises or the cause is barred. You hereby consent to
                    personal jurisdiction in the federal and state courts in Cook County, Illinois, and waive any objection based on
                    forum non conveniens. As a condition of using this Site, You agree that all causes of action arising out of or
                    connected with this Site shall be resolved individually, without resort to any form of class action. If for any
                    reason a court of competent jurisdiction finds any provision of these Terms of Service, or portion thereof, to
                    be unenforceable, that provision of these Terms of Service will be enforced to the maximum extent
                    permissible so as to affect the intent of the parties, and the remainder of these Terms of Service will continue
                    in full force and effect. Failure by Apartments.com to enforce any provision of this Terms of Service will not be
                    deemed a waiver of future enforcement of that or any other provision of these Terms of Service. These Terms
                    of Service and any other terms and conditions or policies applying to Your use of the Site, constitute the
                    entire agreement between the parties regarding the subject matter hereof. Nothing contained herein shall be
                    construed as creating a partnership, joint venture or agency relationship or granting a franchise between the
                    parties. Notwithstanding anything to the contrary herein, if you and Apartments.com have entered into a
                    separate written Apartments.com advertising contract, the terms and conditions of such contract shall control
                    with respect to any term that is inconsistent with these Terms of Service.  IF YOU DO NOT AGREE TO THE
                    TERMS STATED ABOVE OR TO ANY CHANGES TO THESE TERMS OF SERVICE, PLEASE EXIT THE
                    SERVICE IMMEDIATELY.


                    ©2015 Apartments, LLC, 1331 L Street, NW, Washington, DC 20005. 
                    Last updated: March 30, 2015




   Advertisers                                                                                                                             b
   The Marketplace                                                                                                                         b
   Neighborhoods                                                                                                                           b
   Top Cities                                                                                                                              b
   About Us                                                                                                                                b



http://corporate.apartments.com/disclaimers/terms­of­service/                                                                                  6/7
12/18/2015Case                             Terms of Service | Apartments.com Corporate
                   8:15-cv-02111-JLS-KES Document     47-4 Filed 12/02/16 Page 439 of 439 Page ID
                                                      #:1863
                                             © 2015 CoStar    Group, Inc.


                                                                  
                                                                 Equal Housing Opportunity




http://corporate.apartments.com/disclaimers/terms­of­service/                                       7/7
